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S Y S T E M V E J L E D NI N G E N
                                                                                              V P S E C U RI TI E S
                                                                                              W EI D E K A M P S G A D E 1 4
                                                                                              P. O. B O X 4 0 4 0
Si d st r e di g er et d. 1 9. d e c e m b er 2 0 1 1                                         D K- 2 3 0 0 C O P E N H A G E N S
                                                                                              P: + 4 5 4 3 5 8 8 8 0 0
                                                                                              F: + 4 5 4 3 5 8 8 8 1 0
                                                                                              E: C U S T O M E R @ V P. D K
                                                                                              W: V P. D K
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   K u n d e m e d d el el s er............................................................................................................... .......................... 7
   Tr a n s a kti o n er .................................................................................................................. ............................. 1 3
   R etti g h e d s h a v er d el e n ................................................................................................................................. 1 8
   F ul d m a gt s d el e n ................................................................................................................. .......................... 2 2
   P o st n u m m erf or d eli n g e n p å p ort ot a k s eri n g ........................................................................................ ....... 2 5
0 2 Tr a n s a k ti o n e r o g i nf o m e d d el el s eerr ................................................................................................. . 2 7
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   S y st e m o v er bli k f or cl e ari n g o g s ettl e m e nt...................................................................................... ........... 4 7
   S y st e m o v er bli k f or p a pirfilt er f o r u d e nl a n d s k e v ær dip a pir er .................................................................... 4 8
   S y st e m o v er bli k f or i n v e st eri n g sf o r e ni n g s kl a s sifi k ati o n er ....................................................................... ... 4 8
0 3 F u n k ti o n s b e s k ri v el s e r ................................................................................................................... . 4 9
   Cl e ari n g o g S ettl e m e nt ......................................................................................................... ...................... 4 9
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   K o nt o gr u p p eri n g er.............................................................................................................. ...................... 1 0 5
   A ut o m ati s k p a nt ................................................................................................................ ........................ 1 1 6
   I n v e st eri n g sf or e ni n g s kl a ssifi k ati o n ............................................................................................ ............... 1 5 7
   M at e m ati s k u dtr æ k ni n g .......................................................................................................... .................. 1 6 0
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   BI C............................................................................................................................ .................................. 1 6 8
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0 4 F o n d sr e gi st r e t f or  o r o bli g ati o n e r ................................................................................................... . 2 1 0
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   B et ali n g sf or mi dli n g............................................................................................................ ........................ 2 2 1
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   P å mi n d el s e o m æ n dri n g af v ari a b el kr y d s k ur s ......................................................................................... 2 2 4
   Æ n dri n g af PI- k o nt o n u m m er r e nt e ................................................................................................ ........... 2 2 4
   B er e d s k a b s pl a n f or til b a g e k al d el s e af r e nt e .................................................................................... ........ 2 2 5
0 6 U dt r æ k ni n g ................................................................................................................................. . 2 3 8
   B e h a n dli n g af u dt r æ k ni n g ......................................................................................................................... 2 3 8
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   B er e d s k a b s pl a n f or til b a g e k al d el s e af u dtr æ k ni n g s pr o v e n u................................................................... 2 4 7
0 7 A k ti ef o n d sr e gi st r e t ..................................................................................................................... . 2 5 7
   Et a bl eri n g af u d st e d er o pl y s ni n g er ( a kti er/i n v e st eri n g sf or e ni n g s b e vi s er................................................ 2 5 8
   Æ n dri n g af u d st e d er o pl y s ni n g er ( a kti er/i n v e st eri n g s b e vi s er) ................................................................. 2 5 8
   Et a bl eri n g af v ær di p a pir o pl y s ni n g er ............................................................................................ ............ 2 5 9
   Æ n dri n g af v ær di p a pir o pl y s ni n g er ( a kti er/i n v e st eri n g s b e vi s er) .............................................................. 2 6 0
   Et a bl eri n g af u d b ytt e o pl y s ni n g er d a n s k e a kti e s el s k a b er ..................................................................... 2 6 1
   Et a bl eri n g af u d b ytt e o pl y s ni n g er d a n s k e i n v e st eri n g sf or e ni n g er ........................................................ 2 6 2
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   F or e s p ør g s el p å a kti er m. v. i V P F o n d sr e gi st er ....................................................................................... 2 6 7
0 8 E mi s si o n a f a k ti e r ........................................................................................................................ . 2 6 8
   R e gi str eri n g i V P .............................................................................................................. .......................... 2 6 8
   T e g ni n g m e d f ort e g ni n g sr et f or n u v ær e n d e a kti o n ær er ......................................................................... 2 6 9
   S kift af I SI N .................................................................................................................. .............................. 2 7 6
   F o n d s a kti e e mi s si o n ............................................................................................................. ...................... 2 7 7
   T e g ni n g m e d f ort e g ni n g sr et i t e k ni s k f o n d s k o d e/I SI N............................................................................ 2 7 7
   T e g ni n g m e d f ort e g ni n g sr et f o r f y si s k e a kti e kl a s s e ............................................................................. ... 2 7 7
   T e g ni n g u d e n f ort e g ni n g sr et .................................................................................................... ................ 2 7 8
   L ø b e n d e e mi s si o n............................................................................................................... ....................... 2 7 9
   K a pit al u d vi d el s e i et u d e nl a n d s k s el s k a b m e d e n d el m æ n g d e i V P ........................................................ 2 7 9
   I n dfri el s e af a kti e k a pit al ............................................................................................................................ 2 8 0
   E mi s si o n af p a pir er m e d o m s æt ni n g s b e gr æ n s ni n g ................................................................................. 2 8 0
0 9 T e g ni n g s a d mi ni st r ati o n ............................................................................................................... . 2 8 1
   R e k vi siti o n af t e g ni n g si n d b y d el s e.............................................................................................. ............... 2 8 1
   I n dl æ g g el s e af t e g ni n g s ø n s k e .................................................................................................................. 2 8 1
   Æ n dri n g/ n ul stilli n g af t e g ni n g s ø n s k e ........................................................................................... ............ 2 8 2
   A n n ull eri n g af t e g ni n g s ø n s k e................................................................................................... ................. 2 8 2
   R e k vi siti o n af s a ml et m a k si m al t e g ni n g ......................................................................................... ........... 2 8 3
   R e k vi siti o n af m a k si m al t e g ni n g ................................................................................................ ................ 2 8 4
   A n n ull eri n g af t e g ni n g sr e k vi siti o n ............................................................................................. ............... 2 8 5
   R e k vi siti o n af o v er si gt o v er u b e n ytt e d e r ett er................................................................................. ........ 2 8 5
1 0 N a v n e n ot eri n g a f a k ti e r o g i n v e st eri n g s b e vi s er     er .........................................................................
                                                                                       ........................................................................... 2 8 7
   N ot eri n g s st e d er ................................................................................................................ ........................ 2 8 7
   N ot eri n g o g af n ot eri n g af e k si st er e n d e b e h ol d ni n g.............................................................................. .. 2 8 7
   N a v n e n ot eri n g af a n d e n p er s o n e n d V P- k o nt o h a v er ............................................................................... 2 8 8
                                                      ................................................................................................................. 2 9 0
   Ej er b o g sf ør er.................................................................................................................. ........................... 2 9 1
1 1 C or p or at e A cti o n - u d b y t t e b e h a n dli n g ....................................................................................... . 2 9 3
   U d b ytt e b e h a n dli n g, d a n s k e i n v e st eri n g sf or e ni n g er ............................................................................... . 3 0 1
   U d b ytt e b e h a n dli n g, u d e nl a n d s k e s el s k a b er ....................................................................................... ..... 3 1 2
   Pr o c e d ur e f or til b a g e k al d e l s e af u d b ytt e ................................................................................................. 3 2 0
   T e k ni s k u d b ytt e (t e k ni s k u dl o d ni n g) ............................................................................................ ............. 3 2 0
   U d d at a ......................................................................................................................... .............................. 3 2 1
1 2 C or p or at e A cti o n ........................................................................................................................ . 3 2 6
   Æ n dri n g af a kti e st ørr el s e ...................................................................................................... .................... 3 2 8
   Æ n dri n g af a kti e k a pit al ........................................................................................................ ..................... 3 2 9
   Til d eli n g af f o n d s a kti er/f o n d s a n d el e ( u d e n h a n dl e m e d r ett er) .............................................................. 3 3 0
   S p alt ni n g p å gr u n dl a g af i n v e st or ø n s k er ........................................................................................ .......... 3 3 1
   S p alt ni n g af et s el s k a b ........................................................................................................ ...................... 3 3 2
   F u si o n......................................................................................................................... ................................ 3 3 3
   S a m m e nl æ g ni n g af I SI N s ......................................................................................................... ................. 3 3 3
   O p h ør m e d r e gi str eri n g ......................................................................................................... ................... 3 3 4
   D a n n el s e af b et ali n g er ......................................................................................................... ..................... 3 3 8
   B e h a n dli n g af b et ali n g er fr a c or p or at e a cti o n s ................................................................................. ....... 3 3 8
   R e k vi siti o n af n y ej er b o g ........................................................................................................................... 3 4 1
   S kift af I SI N .................................................................................................................. .............................. 3 4 1
   B er e g ni n g s af u d b ytt e p å ti dli g er e g e mt b e h ol d ni n g............................................................................. . 3 4 2
   E k str a or di n ær o bli g ati o n si n dfr i el s e ( C A) vi a n y I SI N ............................................................................... 3 4 3
   K o n v ert eri n g af or di n ært r e nt e pr o v e n u til n y e a kti er ........................................................................... ... 3 4 4
   Æ n dri n g til ell er fr a N o n p ar v al u e............................................................................................ ................ 3 4 5
   K a pit al u dl o d ni n g ............................................................................................................... ........................ 3 4 6
   Pr æ d efi n er e d e c or p or at e a cti o n s ................................................................................................ ............. 3 4 8
   H a n dli n g er d er a n v e n d e s i d e pr æ d efi n er e d e c or p or at e a cti o n s............................................................ 3 5 1


                                                                                                                                                 Si d e 3 af 4 5 0
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   U d d at a ......................................................................................................................... .............................. 3 5 4
   ff e ntli g g ør el s e st y p er f or c or p or at e a cti o n s.................................................................................... .......... 3 6 4
   O v er si gt o v er off e ntli g g ør el s e si nf o er pr. off e ntli g g ør el s e st y p e ............................................................. 3 6 4
1 3 I nf or m ati o n s m uli g h e d er   er .............................................................................................................. . 3 7 1
   G e n er elt o m i nf or m ati o n s u dtr æ k ................................................................................................. ............ 3 7 1
   O v er si gt ....................................................................................................................... .............................. 3 7 2
   O n-li n e f or e s p ør g sl er .......................................................................................................... ...................... 3 7 3
   I nf or m ati o n s u dtr æ k ................................................................................................................................... 3 7 3
1 4 T e st s y st e m .................................................................................................................................. . 3 7 9
1 5 Drif t s af vi kli n g ............................................................................................................................. . 3 8 0
   O v er si gt o v er af vi kli n g s d ø g n i V P ( P R O D.)...................................................................................... ......... 3 8 0
   Sl ut m ar k eri n g sli st er ........................................................................................................... ........................ 3 8 2
   Li ni e o v er v å g ni n g ............................................................................................................... ........................ 3 8 3
   L e v eri n g af u d d at a............................................................................................................. ........................ 3 8 4
   N ø d pr o c e d ur er.................................................................................................................. ........................ 3 8 4
   B er e d s k a b s pl a n er v e d drif t sf or st yrr el s er i V P .................................................................................. ........ 3 8 6
   B er e d s k a b s pl a n f or til b a g e k al d el s e af p eri o di s k e b et ali n g er .................................................................. 3 9 0
   O v er si gt o er af vi kli n g s d ø g n i V P ( D E M O T e st) ........................................................................................ 3 9 0
1 6 Å r s ulti m o .................................................................................................................................... . 3 9 4
   A kti vit et er v e d år s ulti m o ...................................................................................................... ..................... 3 9 4
1 7 V P- st a n d ar d s y st e m ..................................................................................................................... . 3 9 8
   T er mi n al b etj e ni n g o ml a gt s y st e m .......................................................................................................... 3 9 9
   T er mi n al b etj e ni n g ej o ml a gt s y st e m ...................................................................................................... 4 1 7
   T er mi n al b etj e ni n g                              ........................................................................................................... 4 2 8
1 8 K o nt r o l o g r e vi si on o n ..................................................................................................................... . 4 3 0
   D e k o nt o a n s v arli g e s k o ntr olf or pli gt el s er ....................................................................................... .......... 4 3 1
   R e vi si o n h o s d e k o nt o a n s v arli g e................................................................................................ ............... 4 3 3
   K o ntr oll er, d er u df ør e s af V P .................................................................................................. .................. 4 3 5
             y st e mr e vi si o n ................................................................................................................................... 4 3 8
   O v er si gt o v er k o ntr oll er , d er s k al p å s e s................................................................................................... 4 3 9
1 9 G e b y r o pl y s ni n g e r ....................................................................................................................... . 4 4 5
   G e b yr o pl y s ni n g s s y st e m et ........................................................................................................ ................. 4 4 5
   I nt er b a n k- a kti e g e b yr s y st e m et .................................................................................................................. 4 4 6




                                                                                                                                                 Si d e 4 af 4 5 0
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0 1 V P k o nt o e n
F o n d s a kti v er o g r etti g h e d er h er o v er r e gi str er e s p å V P- k o nti.

E n V P- k o nt o, d er s v ar er til e n d e p ot- ell er i n d s kr i v ni n g s k o nt o, k a n k u n f ør e s g e n n e m e n k o nt o a n s v arli g
d elt a g er i V P- s y st e m et.

V P- k o nt o e n s o p b y g ni n g k a n s kit s er e s s ål e d e s:




K o nt o h a v er er m e d r e s p e kt af e v e nt u ell e r etti g h e d s h a v er e o v er f or d e n k o nt o a n s v arli g e b er etti g et til at
di s p o n er e o v er f o n d s a kti v er n e p å k o nt o e n.

S åfr e mt k o nt o h a v er s di s p o siti o n sr et o v er k o nt o e n s b e h ol d n i n g er u n d erl æ g g e s b e gr æ n s ni n g er, f x s o m
f øl g e af p a nt s æt ni n g, s k al d ett e r e gi str er e s i k o nt o e n s r etti g h e d s h a v er d el.

P å e n V P- k o nt o k a n d er p å k o nt o h a v er s a n m o d ni n g r e gi str er e s h a n d el sf ul d m a gt r e s p e kti v e
s p ør g ef ul d m a gt er t il a n dr e V P- d elt a g er e.

Eft er s kriftli g til k e n d e gi v el s e k a n k o nt o h a v er o g e vt. r etti g h e d s h a v er e fr a v æl g e m e d d el el s er.

V e d e n n o mi n e e or d ni n g f or st å s, at d et p å k o nt o e n er r e gi str er et, at k o nt o h a v er i k k e er ej er af
f o n d s a kti v er n e. D e n ej er af f o n d s a kti v er, s o m ø n s k er at v ær e a n o n y m v e d at l a d e e n a n d e n r e gi str er e s o m
k o nt o h a v er, k a n s ål e d e s o p n å b e s k ytt el s e m o d k o nt o h a v er s kr e dit or er.

N o mi n e e-r e gi str eri n g k a n o g s å a n v e n d e s m e d h e n bli k p å o p n å el s e af a d mi ni str ati v e l ett el s er. Et k s e m p el
p å d ett e er et a kti e s el s k a b, d er til br u g f or a d mi ni str ati o n af m e d ar b ej d er a kti er h ar e n n o mi n e e- k o nt o,
l y d e n d e p å a kti e s el s k a b et s e g et n a v n p å v e g n e m e d ar b ej d er n e. P å d e n n e k o nt o r e gi str er e s h el e
b e h ol d ni n g e n af m e d ar b ej d er a kti er, o g k u n a kti e s el s k a b et k e n d er o g f ør er r e g n s k a b m e d d e e g e ntli g e
ej erf or h ol d til k o nt o e n s b e h ol d ni n g er.

U d e nl a n d s k e d e p ot c e ntr al er s V P- k o nti er n o mi n e e- or d ni n g er, h v or k u n d e p å g æl d e n d e c e ntr al er k e n d er
d e e g e ntli g e ej erf or h ol d til k o nti e n e s b e h ol d ni n g er, s e Cl e ari n g v ejl e d ni n g, i d e n
F orr et ni n g s m æ s si g v ejl e d ni n g.

K o nt o h a v er k a n eft er s e p ar at s kriftli g til k e n d e gi v el s e m e d d o k u m e nt ati o n f or sit s k att e m æ s si g e
til h ør sf or h ol d til m el d e s or d ni n g f or u n d g å el s e af d o b b elt b e s k at ni n g af u d b ytt e, s e Til b a g e h ol d el s e af
u d b ytt e s k at i h e n h ol d til d o b b elt b e s k at ni n g s aft al er, R e gi str eri n g s v ejl e d ni n g i d e n
F orr et ni n g s m æ s si g v ejl e d ni n g.




                                                                                                                                       Si d e 5 af 4 5 0
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K o nt o h a v er s ø n s k e o m g e ni n v e st eri n g af u d b ytt e f or i n v e st eri n g sf or e ni n g er k a n r e gi str er e s p å V P-
k o nt o e n.
F a st e af vi g el s er fr a d et g e n er ell e ø n s k e k a n r e gi str er e s p å I SI N- ni v e a u.

B e h ol d ni n g er n e p å e n V P- k o nt o k a n b e st å af all e f or m er f or f o n d s a kti v er. F or a kti er s v e d k o m m e n d e k a n
b e h ol d ni n g er n e b e st å af s å v el n a v n e n ot er e d e a kti er s o m i h æ n d e h a v er a kti er.
F o n d s a kti v er m e d o m s æt ni n g s b e gr æ n s ni n g er k a n k u n r e gi str er e s p å u d p e g e d e V P- k o nti ( d e di k er e d e
k o nti).

F or h v er t y p e af k a st (r e nt e, u dtr æ k, u d b ytt e) s k al d er p å k o nt o e n r e gi str er e s et p e n g e k o nt o n u m m er - PI-
k o nt o nr. - til br u g f or b et ali n g sf or mi dli n g af af k a st et.

D e n k o nt o a n s v arli g e er e n e b er etti g et til at f or et a g e r e gi str eri n g er p å V P- k o nt o e n, d o g k a n
b e h ol d ni n g stil g a n g e r e gi str er e s af a n dr e k o nt o a n s v arl i g e, o g b e h ol d ni n g sfr a g a n g e k a n r e gi str er e s af
af vi kli n g s a n s v arli g e m e d r e gi str er et h a n d el sf ul d m a gt. Li g el e d e s k a n st or k u n d er s o m af vi kli n g s a n s v arli g e
r e gi str er e fr a g a n g e p å e g n e V P- k o nti p å gr u n dl a g af h a n d el sf ul d m a gt til k o nti e n e.

Pr ø v el s e i f or bi n d el s e m e d i n dr a p p ort eri n g af tr a n s a kti o n er til V P- k o nt oe n p å h vil er d e n k o nt o a n s v arli g e
ell er d e n af vi kli n g s a n s v arli g e, d er f or et a g er i n dr a p p ort eri n g e n.

A n s v ar et f or e n r e gi str er et o pl y s ni n g p å h vil er d e n k o nt o a n s v arli g e, d er f ør er V P- k o nt o e n.

N år e n V P- k o nt o s k al k u n n e i n d e h ol d e et o m s æ t ni n g s b e gr æ n s et f o n d s a kti v er d et d e n
u d st e d el s e s a n s v arli g e f or d et p å g æl d e n d e f o n d s a kti v, d er r e gi str er er till a d el s e n. Re gi str eri n g e n s k er i V P-
s y st e m et p å u d st e d er e n s li st e o v er V P - k o nti m e d till a d el s e til f o n d s a kti v et.

I s k e m a et fi n d e s e n o v er si gt o v er d e pr ø v el s er, d er s k al f or et a g e s i f or bi n d el s e m e d i n dr a p p ort eri n g af
di v er s e tr a n s a kti o n er til V P- k o nt o e n.

Tr a n s a k ti o n                                                            K o nt r ol af di s p o siti o n s                          A n d et
                                                                               b er et ti g el s e o g i d e ntit et
Et a bl eri n g af k o nt o                                                    X
Æ n dri n g af k o nt o                                                        X
O p g ør el s e af k o nt o                                                    X
G e n et a bl eri n g af k o nt o                                              X
G e n er el a dr e s s e æ n dri n g                                           X
Et a bl eri n g af ej er b o g s n a v n                                       X
Æ n dri n g af ej er b o g s n a v n                                           X
Sl et ni n g af ej er b o g s n a v n                                          X                                                           S e Sl et ni n g af
                                                                                                                                           ej er b o g s n a v n e o pl y s ni n g er
A n n ull er ej er b o g s n a v n
Et a bl eri n g af r etti g h e d s h a v er                                   X                                                           R e gi str er b art 1
Æ n dri n g af r etti g h e d s h a v er                                       X
Sl et ni n g af r etti g h e d s h a v er                                      X
Et a bl eri n g af f ul d m a gt                                               X                                                           R e gi str er b art 2
( h a n d el s / s p ør g ef ul d m a gt)
Sl et ni n g af f ul d m a gt                                                  X




1
    H a n d el sf ul d m a gt er s k al sl ett e s, h vi s r etti g h e d s h a v er i k k e tiltr æ d er d e m
2
    E n h a n d el sf ul d m a gt s k al af vi s e s fr a r e gi str eri n g, h vi s d e n i k k e er tiltr å dt af e n e v e nt u el r etti g h e d s h a v er.

                                                                                                                                                                     Si d e 6 af 4 5 0
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                                                                S Y S T E M V E J L E D NI N G



K u n d e m e d d el el s er
Til V P- k o nt o e n h ør er f øl g e n d e k u n d e m e d d el el s er, s o m af V P ell er d e n k o nt o a n s v arli g e u d s e n d e s til
k o nt o h a v er o g e vt. r etti g h e d s h a v er( e):

M e d d el el s e s nr. /      N a v n / B e s k ri v el s e
                                                                                                                        Li st e-i d / i nf o
s e k ti o n s -nr
                                                                                                                        SI 2 0 1 4 4:
                                                                                                                        - TI 2 0 2 3 7 v,
                                                                                                                        SI 2 0 1 4 5:
1/ 1                           U dtr æ k ni n g s m e d d el el s e
                                                                                                                        - TI 2 0 2 3 8 v
                                                                                                                        ell er
                                                                                                                        R e di g er et til i n v e st or
2/ 1                           M e d d el el s e v e dr ør e n d e st å e n d e l å n                                   O U 4 0 L 0 1/ L 0 3
                               Æ n dri n g s m e d d el el s e v e d u dl ø b ell er u dtr u k n e
3/ 1                           o bli g ati o n er s f orf al d                                                          O U 8 0 L 0 2/ L 0 4
                               ( m e d d el el s e n er pli gti g f or all e v e d uf or u d s et u d sl ett el s e)
4/ 1                           D a gli g æ n dri n g s m e d d el el s e,                                               D K 1 3 L 0 1/ L 0 3
4/ 2                           O pl y s ni n g er o m k o nt o st a m d at a                                            D K 1 3 L 0 1/ L 0 3
4/ 3                           B e h ol d ni n g s æ n dri n g er v e dr ør e n d e h a n dl er                         D K 1 3 L 0 1/ L 0 3
4/ 4                           B e h ol d ni n g s æ n dri n g er v e dr ør e n d e o v erf ør sl er                    D K 1 3 L 0 1/ L 0 3
4/ 5                           O pl y s ni n g er o m r etti g h e d sr e gi str eri n g er                             D K 1 3 L 0 1/ L 0 3
                                                                                                                        F or el ø bi gt:
                                                                                                                        SI 2 0 1 2 7:
                                                                                                                        TI 2 0 1 9 9 v
                                                                                                                        SI 2 0 1 4 7:
                                                                                                                        TI 2 0 2 0 0 v
                                                                                                                        E n d eli gt:
                                                                                                                        SI 2 0 1 3 9:
5/ 1                           R e nt e a d vi s                                                                        TI 2 0 1 3 9 v
                                                                                                                        SI 2 0 1 1 4:
                                                                                                                        TI 2 0 1 4 0 v
                                                                                                                        Æ n dr et:
                                                                                                                        SI 2 0 1 3 8:
                                                                                                                        TI 2 0 2 4 6 v
                                                                                                                        ell er
                                                                                                                        R e di g er et til i n v e st or
                                                                                                                        C A 0 9 L 0 1/ L 0 2
                                                                                                                        ell er
                                                                                                                        SI 2 0 3 1 0
6/ 1                           U d b ytt e m e d d el el s e
                                                                                                                        TI 2 0 3 1 0 v
                                                                                                                        SI 2 0 3 1 2:
                                                                                                                        TI 2 0 3 1 2 v
7/ 1                           T e g ni n g si n d b y d el s e                                                         N E 0 2 L 0 1/ L 0 3
8/ 1                           M e d d el el s e o m til d elt e r ett er                                               E E 0 2 L 0 1/ L 0 3
                                                                                                                        C A 2 7 L 0 1/ L 0 2 ell er
                                                                                                                        SI 2 0 2 0 3:
9/ 1                           M e d d el el s e o m s kift af I SI N
                                                                                                                        TI 2 0 2 8 0 v
                                                                                                                        TI 2 0 2 8 2 v




                                                                                                                                     Si d e 7 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



                                                                                                                         C A 0 8 L 0 1/ L 0 2
                                                                                                                         ell er
                                                                                                                         SI 2 0 2 0 3:
1 0/ 1                         Æ n dri n g s m e d d el el s e, G e ni n v e st eri n g af u d b ytt e
                                                                                                                         TI 2 0 2 8 0 v
                                                                                                                         TI 2 0 2 8 2 v
                                                                                                                         TI 2 0 3 1 1 v
                               Æ n dri n g s m e d d el el s e - o p h ør m e d r e gi str eri n g
                                                                                                                         C A 2 0 L 0 1/ L 0 2
1 1/ 1                         ( pli gti g f or k o nt o- o g di s p o siti o n s b e gr æ n s e n d e
                                                                                                                         ( U d s kri v e s alti d i V P)
                               r etti g h e d s h a v er e)
                               År s o p g ør el s e
1 2/ 1                         ( pli gti g f or k o nt o- o g di s p o siti o n s b e gr æ n s e n d e                   D K 5 1 L 0 1/ L 0 2
                               r etti g h e d s h a v er e)
                                                                                                                         C A 1 2 L 0 1/ L 0 2
                                                                                                                         ell er
                                                                                                                         SI 2 0 2 0 3:
                                                                                                                         TI 2 0 2 8 0 v
                               Æ n dri n g s m e d d el el s e - s el s k a b s h æ n d el s er
                                                                                                                         TI 2 0 2 8 1 v
1 3/ 1                         ( pli gti g f or k o nt o- o g di s p o siti o n s b e gr æ n s e n d e
                                                                                                                         TI 2 0 2 8 2 v
                               r etti g h e d s h a v er e)
                                                                                                                         TI 2 0 2 8 3 v
                                                                                                                         TI 2 0 2 8 4 v
                                                                                                                         TI 2 0 2 8 5 v
                                                                                                                         TI 2 0 3 3 9 v
                               A d vi s eri n g o m o p h ør                                                             C A 2 1 L 0 1/ L 0 2
1 4/ 1
                               ( pli gti g)                                                                              ( U d s kri v e s alti d af V P)
1 5/ 1                         K o n v ert eri n g si n d b y d el s e                                                   N E 3 3 L 0 1/ L 0 2/ L 0 3

M e d h e n s y n til b e s kri v el s e af d e e n k elt e m e d d el el s er h e n vi s e s til T e k ni s k v ejl e d ni n g af s nit 3 I nf o-
m e d d el el s e s str u kt ur, af s nit 1 0 U d d at a b e s kri v el s er - r e d. o g til htt p s:/ / w w w. v p. d k / V P _r e gl er "r e g el s æt C ".


U d sl ett el s e s o m f øl g e af e n uf or u d s et b e gi v e n h e d

G e n er elt
V e d u d sl ett el s e i f or bi n d el s e m e d r e gi str eri n g f or st å s, n år e n I SI N h elt o p h ør er m e d at v ær e r e gi str er et i
V P.
Fr a d e n 1. j a n u ar 2 0 0 5 er d er p å b a g gr u n d af e n l o v æ n dri n g kr a v o m, at d er k u n s k al u d s e n d e s
k u n d e m e d d el el s e i f or bi n d el s e m e d u d sl ett el s e s, d er p å i n v e st eri n g sti d s p u n kt et v ar uf or u d si g eli g.

I nf or m ati o n e n o m d e n uf or u d si geli g e u d sl ett el s e, k a n fr e m g å af e n k u n d e m e d d el el s e, s o m k o nt o- o g
r etti g h e d s h a v er k a n v æl g e fr a i m e d d el el s e s st yr i n g o g d et s k al d erf or si kr e s, at k u n d e m e d d el el s e n
u d s e n d e s. N e d e nf or er b e s kr e v et u d st e d er s a n s v ar s a mt k o n s e k v e n s er n e h er af. D er er li g el e d e s e n
b e s kri v el s e af sit u ati o n er, h v or u d st e d er s k al af g ør e, o m d er er t al e o m f or u d si g eli g h e d i f or bi n d el s e m e d
u d sl ett el s e n.
A n s v ar
N år u d st e d el s e s a n s v arli g f or o bli g ati o n er fi n d er, at u d sl ett el s e af d e n k o n kr et e u d st e d el s e m å v ur d er e s
s o m uf or u d s et p å i n v e st eri n g sti d s p u n kt et, s k al d e n u d st e d el s e s a n s v arli g e f å r e g i str er et e n m ar k eri n g
h er o m v e dr ør e n d e d e n p å g æl d e n d e f o n d s k o d e/I SI N i f o n d sr e gi st er et i V P. Til br u g f or m ar k eri n g e n er
d er i n d ar b ej d et e n af kr y d s ni n g s m uli g h e d p å bill e d et i v p. O N LI N E - V P F o n d sr e gi st er - L ø b eti d.
K o ns e k v e ns
P å b a g gr u n d af m ar k eri n g e n o m uf or u d si g eli g u d sl ett el s e vil d er bli v e s e n dt m e d d el el s er o m d e n
f ørti di g e i n dfri el s e til k o nt o- o g r etti g he d s h a v er e, u a n s et o m d e h ar fr a v al gt m e d d el el s e n, s o m
d o k u m e nt er er u d sl ett el s e n.



                                                                                                                                      Si d e 8 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



O v er si g t o v e r m e d d el el s e r o m u d sl et t el s e
R e al k r e dit o bli g ati o n e r
If øl g e b e m ær k ni n g er n e til d e n n y e b e st e m m el s e, vil r etti g h e d s h a v er h er efter bl a n dt a n d et k u n n e
fr a v æl g e m e d d el el s er o m u dl ø b o g f orf al d p å ti d s p u n kt er, d er m e d ri m eli g h e d k a n f or u d s ætt e s at v ær e
r etti g h e d s h a v er b e k e n dt. P å b a g gr u n d h er a f m å d et v ur d er e s, at u dtr æ k ni n g o g f orf al d af
r e al kr e dit o bli g ati o n er i k k e er e n p å i n v e st eri n g st i d s p u n kt et uf or u d s et u d sl ett el s e, u a n s et o m e n
o bli g ati o n s s eri e l u k k e s f or n y e mi s si o n er ti dli g er e e n d o pri n d eli g f or u d s at, o g d er m e d u dl ø b er ti dli g er e
e n f ør st a n gi v et.

M e d d el el s er v e dr ør e n d e r e al kr e dit o bli g ati o n er, o m f o rf al d, u dl ø b ell er u dtr æ k ni n g er i h el e l ø b eti d e n vil
s ål e d e s k u n n e v æl g e s fr a. V e d fr e mti di g e o g æ n d r e d e pr o d u kt er fr a r e al kr e diti n stit utt er s k al u d st e d er e n
v ur d er e, o m fr a v al g o g s å h er er m uli g.

A n dr e o bli g ati o n s u d st e d el s e r
F or a n dr e o bli g ati o n s u d st e d el s er, s o m f orl ø b er m e d s a m m e r e g el m æ s si g h e d s o m f or
r e al kr e dit o bli g ati o n er, g æl d er d et t il s v ar e n d e, at u dtr æ k ni n g o g f orf al d af o bli g ati o n er i k k e er e n p å
i n v e st eri n g sti d s p u n kt et uf or u d s et u d sl ett el s e.

U d st e d er e af s å d a n n e o bli g ati o n er s k al s ål e d e s v ur d er e, o m d e n k o n kr et e u d sl ett el s e o pf yl d er
b eti n g el s er n e f or, at d e n m e d ri m eli g h e d k a n f or u d s ætt e s at v ær e o bli g ati o n s ej er n e m v. b e k e n dt, o g at
m e d d el el s e n d er m e d k a n fr a v æl g e s.

H vi s u d st e d er v ur d er er, at d er er t al e o m e n u d sl ett el s e p å gr u n d af e n uf or u d s et b e gi v e n h e d, s k al d et
r e gi str er e s p å d e n p å g æl d e n d e I SI N i f o n d sr e gi st er et i V P.

Uf or u d s et e s el s k a b s h æ n d el s e r
K o n k ur s, li k vi d ati o n, f u si o n o g s p alt ni n g er dir e kt e n æ v nt i l o vt e k st e n s o m e n p å i n v e st eri n g sti d s p u n kt et
uf or u d s et b e gi v e n h e d, f or h vil k e d er alti d s k al s e n d e s m e d d el el s e, n år b e gi v e n h e d e n i V P r e gi str er e s
v e dr ør e n d e d e o mf att e d e a kti er.

F or m e d d el el s er v e dr ør e n d e k o n k ur s, li k vi d ati o n, f u si o n, s p alt ni n g s a m t f or ø vri g e i k k e f or u d si g eli g e
s el s k a b s h æ n d el s er -                                                              - vil d er s ål e d e s i k k e t e k ni s k v ær e
m uli g h e d er f or fr a v al g.

Ø v ri g e uf or u d s et e b e g i v e n h e d er
                                                er


                                                         r, h v or u d st e d er e n i h el e ell er d el e af l å n et s l ø b eti d h ar e n o pti o n
p å e n f ørti di g i n dfri el s e af l å n et. M e d d el el s e n er pli gti g, n år o pti o n e n u d n ytt e s, o g s å s el v o m o pti o n e n
b y g g er p å o bj e kti v e krit eri er, d er er k o n st at er b ar e f or i n v e st or m v.


M e d d el el s e s st yri n g, fr a v al g af m e d d el el s er
All e i n v e st or m e d d el el s er s o m l o v gi v ni n g e n å b n er m uli g h e d f or, s k al k u n n e fr a v æl g e s af k o nt o-
/r etti g h e d s h a v er.

Fr a v al g s k al r e gi str er e s p å V P- k o nt o e n. All e m e d d el el s er er pr. d ef a ult til m el dt. Af s k e m a et i af s nit "
O v er si gt o v er fr a v al g s m uli g h e d er p å V P- k o nt o e n " fr e m g år d et h vil k e m e d d el el s er d er k a n fr a v æl g e s af
k o nt o h a v er r e s p e kti v e r etti g h e d s h a v er.

E n m e d d el el s e k a n o p d el e s i fl er e m e d d el el s er ( s e kti o n er), h vil k et gi v er m uli g h e d f o r d el s at fr a v æl g e h el e
m e d d el el s e n ell er d el e af m e d d el el s e n. Et a bl eri n g af fr a v al g p å h el e m e d d el el s e n vil er st att e e v e nt u ell e
ti dli g er e fr a v al g p å s e kti o n s ni v e a u. O m v e n dt vil et a bl eri n g af fr a v al g p å s e kti o n s ni v e a u er st att e e v e nt u elt
ti dli g er e fr a v al g p å h el e m e d d el el s e n.

                                                                                                                                         Si d e 9 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G



F or el ø bi g er D a gli g æ n dri n g s m e d d el el s e ( D K 1 3 L 0 1/ L 0 3) d e n e n e st e m e d d el el s e d er er o p d elt p å d e n n e
m å d e ( s e O p d eli n g af D a gli g e æ n dri n g s m e d d el el s er ( D K 1 3 L 0 1/ L 0 3) i s e kti o n er).

V e d et a bl eri n g af V P- k o nti ell er r etti g h e d s h a v er e s k al d er s a mti di g t a g e s stilli n g til h vil k e m e d d el el s er
k u n d e n ø n s k er at fr a v æl g e.

F øl g e n d e f or h ol d b ør i a gtt a g e s:
Fr a v al g af m e d d el el s er o m u dt r æ k ni n g
Ø n s k er e n k u n d e at fr a v æl g e U dtr æ k ni n g s m e d d el el s e n ( 1/ 1 o g/ ell er 2/ 1) o g d er s a mti di g er/ ø n s k e s
fr a v al g af M e d d el el s e o m u dtr u k n e o bli g ati o n er s f orf al d ( 3/ 1), b et y der d et at k u n d e n sl et i k k e vil m o dt a g e
m e d d el el s er i f or bi n d el s e m e d u dtr æ k ni n g

B e m ær k
V e d uf or u d s et u d sl ett el s e u d s e n d e s " M e d d el el s e o m u dtr u k n e o bli g ati o n er s f orf al d " ( 3/ 1) til all e k o nt o-
o g r etti g h e d s h a v er e u a n s et o m m e d d el el s e n er fr a v al gt.

Fr a v al g af d a gli g æ n dri n g s m e d d el el s e
D a gli g æ n dri n g s m e d d el el s e k a n fr a v æ l g e s i si n h el h e d ( 4/ 1) ell er d el e af m e d d el el s e n k a n fr a v æl g e s d. v. s.
O pl y s ni n g er o m k o nt o st a m d at a ( 4/ 2), B e h o l d ni n g s æ n dri n g er v e dr ør e n d e h a n dl er ( 4/ 3),
B e h ol d ni n g s æ n dri n g er v e dr ør e n d e o v erf ør sl er ( 4/ 4) o g O pl y s ni n g er o m r etti g h e d sr e gi str eri n g er ( 4/ 5)
( s e O v er si gt o v er fr a v al g s m uli gh e d er p å V P- k o nt o e n).

B e m ær k
Ø n s k er e n k u n d e at fr a v æl g e d e n d a gli g e æ n dr i n g s m e d d el el s e ( 4/ 1, 4/ 3 ell er 4/4) o g d er s a mti di g
er/ ø n s k e s fr a v al g af M e d d el el s e o m s kift af I SI N ( 9/ 1), b et y d er d et at k u n d e n sl et i k k e vil m o dt a g e
m e d d el el s e i f or bi n d el s e m e d s kift af e n mi dl erti di g I SI N til e n e n d eli g I SI N ( s e Fr a v al g af m e d d el el s e o m
s kift af I SI N).

Fr a v al g af m e d d el el s e o m s kif t af I SI N
V P p åf ør er t e k st e n:

" D er e s mi dl erti di g e a kti er ell er i n v e st eri n g sf or e ni n g s a n d el e o ml æ g g e s s e n er e til e n d eli g e a kti er ell er
i n v e st eri n g sf or e ni n g s a n d el e.
S ær s kilt m e d d el el s e o m o ml æ g ni n g e n u d s e n d e s k u n, h vi s D e h ar aft alt d ett e m e d D er e s k o nt of ør e n d e
i n stit ut. "

p å all e æ n dri n g s m e d d el el s er v e d t e g ni n g ( 4/ 1, 4/ 4) ell er til g a n g af mi dl erti di g e a kti er ell er
i n v e st eri n g sf or e ni n g s a n d el e ( 4/ 1, 4/ 3). D er v e d si kr e s d et, at k u n d er d er o g s å h ar fr a v al gt " M e d d el el s e o m
s kift af I SI N " ( 9/ 1), f år d e n n e i nf or m ati o n.

K o nt of ør e n d e i n stit utt er s o m s el v f or e st år u d s kri v ni n g d e c e ntr alt s k al j æ v nf ør
r e gi str eri n g s b e k e n dt g ør el s e n s § 5 2 p åf ør e i nf or m ati o n m e d e n li g n e n d e or dl y d i d e n æ v nt e sit u ati o n er.

M e n o g s å æ n dri n g s m e d d el el s er n e, h v or o v e n n æ v nt e t e k st s k al fr e m g å, k a n i mi dl erti d fr a v æl g e s ( s e
Fr a v al g af d a gli g æ n dri n g s m e d d el el s e). D erf or s k al h a n d el s n ot a e n i tilf æl d e af til g a n g e i e n mi dl erti di g
a kti e ell er i n v e st eri n g sf or e ni n g s a n d el e li g el e d e s p åf ør e s o v e n n æ v nt e t e k st, ell er e n t e k st m e d e n
li g n e n d e or dl y d.

B e m ær k
Ø n s k er e n k u n d e at fr a v æl g e M e d d el el s e o m s kift af I SI N ( 9/ 1) o g d er s a mti di g er/ ø n s k e s fr a v al g af d e n
d a gli g e æ n dri n g s m e d d el el s e ( 4/ 1, 4/ 3 ell er 4/ 4), b et y d er d et at k u n d e n sl et i k k e vil m o dt a g e m e d d el el s e i
f or bi n d el s e m e d s kift af e n mi dl erti di g I SI N til e n e n d eli g I SI N ( s e Fr a v al g af d a gli g æ n dri n g s m e d d el el s e).




                                                                                                                                    Si d e 1 0 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G



O v er si gt o v er fr a v al g s m uli g h e d er p å V P- k o nt o e n

            M e d d el el s e                                           K o nt o h a v er            Di s p o siti o n s            I k k e di s p o siti o n s
                                                                                                     b e gr æ n s e n d e           b e gr æ n s e n d e
                                                                                                     r et ti g h e d s h a v er     r et ti g h e d s h a v er
1/ 1        U dtr æ k ni n g s m e d d el el s e                        X                            X                              X
2/ 1        M e d d el el s e v e dr. st å e n d e l å n                X                            X                              X
3/ 1        Æ n dri n g s m e d d el el s e v e d u dl ø b ell er       X                            X                              X
            u dtr u k n e o bli g ati o n er s f orf al d *)
4/ 1        D a gli g æ n dri n g s m e d d el el s e                   X                            X                              X
4/ 2        O pl y s ni n g er o m k o nt o st a m d at a               X                            X                              X
4/ 3        B e h ol d ni n g s æ n dri n g er v e dr ør e n d e        X                            X                              X
            h a n dl er
4/ 4        B e h ol d ni n g s æ n dri n g er v e dr ør e n d e        X                            X                              X
            o v erf ør sl er
4/ 5        O pl y s ni n g er o m r etti g h e d s h a v er            X                            X                              X
5/ 1        R e nt e a d vi s                                           X                            X                              X
6/ 1        U d b ytt e m e d d el el s e                               X                            X                              X
7/ 1        T e g ni n g si n d b y d el s e                            X                            X                              X
8/ 1        M e d d el el s e o m til d elt e r ett er                  X                            X                              X
9/ 1        M e d d el el s e o m s kift af I SI N                      X                            X                              X
1 0/ 1      Æ n dri n g s m e d d el el s e -                           X                            X                              X
            G e ni n v e st eri n g af u d b ytt e
1 1/ 1      Æ n dri n g s m e d d el el s e - O p h ør m e d                                                                        X
            r e gi str eri n g *) * *)
1 2/ 1      År s o p g ør el s e * *)                                                                                               X
1 3/ 1      Æ n dri n g s m e d d el el s e -                                                                                       X
            S el s k a b s h æ n d el s er *) * *)
1 4/ 1      A d vi s eri n g o m O p h ør m e d
            r e gi str eri n g

D e k o nt of ør e n d e i n stit utt er, s o m o ptr æ d er s o m k o nt o - o g/ ell er r etti g h e d s h a v er e, o g s o m m o dt a g er
i n d h ol d et af m e d d el el s er n e p å a n d e n vi s, k a n fr a væl g e o v e n n æ v nt e k u n d e m e d d el el s er i d e sit u ati o n er
h v or d et er m uli gt.

*) I f or bi n d el s e m e d uf or u d si g eli g e u d sl ett el s er vil m e d d el el s e n bli v er u d s e n dt til all e k o nt o- o g
r etti g h e d s h a v er e u a n s et o m d e n er fr a v al gt.

* *) V ær o p m ær k s o m p å at d et k o nt of ør e n d e i n stit ut i d er e s pr ø v el s e i f or bi n d el s e m e d a n m el d el s e af
fr a v al g f or e n r etti g h e d s h a v er s k al si kr e, at d er s k el n e s m ell e m di s p o siti o n s b e gr æ n s e n d e r etti g h e d er o g
i k k e di s p o siti o n s b e gr æ n se n d e r etti g h e d er.
D er m å i k k e r e gi str er e s fr a v al g af m e d d el el s e 1 1/ 1, 1 2/ 1 o g 1 3/ 1 f o r e n di s p o siti o n s b e gr æ n s e n d e
r etti g h e d s h a v er.

O p d eli n g af D a gli g e æ n dri n g s m e d d el el s er ( D K 1 3 L 0 1/ L 0 3) i s e kti o n er

                                                         O v er si gt o v er h v a d d er u d el a d e s v e d         K o m m e nt ar
                                                         f or s k elli g e f r av
                                                                               a v al g
                                                         S e k ti o n S e k ti o n S e k ti o n      S e k ti o n
                                                         2               3              4            5




                                                                                                                                    Si d e 1 1 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



U d s k ri v e s h vi s i nt et er f r a v al gt         St a m          H a n dl er     B e h ol d         R et ti g
S v ar er til s e k ti o n 1                             o pl y s                        ni n g s           h e ds
                                                         ni n g er                       bev æ              h a v er
                                                                                         g el s er          r e gi st r e
                                                                                                            ri n g er
K o nt o h a v er a dr e s s e
R etti g h e d s h a v er a dr e s s er
R e kl a m ati o n s a dr e s s e
K o nt o æ n dri n g                                     x
K o nt o h a v er, Fr a v al gt m e d d el el s e        x                                                                  NY
I n g e n b e h ol d ni n g                              x                                                                  D a n n e s v e d g e n et a bl eri n g
O bli g ati o n s b e h ol d ni n g, æ n dri n g                         x               x
O bli g ati o n s sl ut b e h ol d ni n g                                x               x
A kti e b e h ol d ni n g, æ n dri n g                                   x               x
A kti e sl ut b e h ol d ni n g                                          x               x
A kti e b et ali n g sf o r mi dli n g                                                   x                                  S pi d s b et ali n g v e d
                                                                                                                            k o n v ert eri n g
                                                                                                                            o bli g ati o n er - > a kti er
F ul d m a gt, sl et - et a bl er                        x
K o nt o h a v er f æl d er e g el b e h ol d ni n g.    x                                                                  Ny
R etti g h e d s h a v er et a b l eri n g/ æ n dr                                                          x
R etti g h e d s h a v er, Fr a v al gt                                                                     x               NY
m e d d el el s e
R etti g h e d, Til hi n d er                                                                               x
R etti g h e d s h a v er, Fr a v al gt                                                                     x               N y. D a n n e s k u n v e d
m e d d el el s e                                                                                                           g e n et a bl eri n g o g til
                                                                                                                            r etti g h e d s h a v er s el v
O bli g ati o n s b e h ol d ni n g                      x                                                                  D a n n e s v e d g e n et a bl eri n g
A kti e b e h ol d ni n g                                x                                                                  D a n n e s v e d g e n et a bl eri n g
R etti g h e d s h a v er sl et ni n g                                                                      x

S a m m e n h æ n g m ell e m m e d d el el s e s nr. o g t y p er af c or p or at e a cti o n s

M e d d el el s e s nr. /       Li st e -I D / I nf o    P r æ d efi n er et c or p or at e a cti o n                 Off e ntli g g ør el s e st y p e
s e k ti o n s nr.
1 3/ 1                          C A 1 2 L 0 1/ L 0 2     O m b yt ni n g af b e h ol d ni n g                         0 1, 0 2, 0 4, 0 4, 0 5 o g 0 6
                                Ell er i nf o:           O p s plit ni n g af b e h ol d ni n g                       0 8, 0 9 o g 1 1
                                                         Til d eli n g af b e h ol d ni n g                           1 3, 1 4, 1 5 o g 1 6
                                TI 2 0 2 8 0 v           N ul stilli n g af b e h ol d ni n g                         18 og 19
                                TI 2 0 2 8 1 v           D a n n el s e af b et ali n g s gr u n dl a g -             22
                                TI 2 0 2 8 2 v           af k a st
                                TI 2 0 2 8 3 v           Æ n dri n g af a kti e k a pit al                            23 og 24
                                TI 2 0 2 8 4 v           S p alt ni n g af b e h ol d ni n g p å                      25
                                TI 2 0 2 8 5 v           b a g gr u n d af i n v e st or ø n s k er
                                TI 2 0 3 3 9 v           Æ n dri n g til/fr a N o n p ar v al u e                     40 og 41
1 1/ 1                          C A 2 0 L 0 1/ L 0 2 *   O p h ør m e d r e gi str eri n g                            20 og 21
                                og
1 4/ 1                          C A 2 1 L 0 1/ L 0 2 *
6/ 1                            C A 0 9 L 0 1/ L 0 2     U d b ytt e                                                  2 6, 2 7, 2 8 , 2 9 o g 3 0
                                Ell er i nf o:

                                TI 2 0 3 1 0 v
                                TI 2 0 3 1 2 v

                                                                                                                                        Si d e 1 2 af 4 5 0
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                                                                S Y S T E M V E J L E D NI N G



1 0/ 1                          C A 0 8 L 0 1/ L 0 2      G e ni n v e st eri n g af u d b ytt e                      29 og 30
                                Ell er i nf o:

                                TI 2 0 2 8 0 v
                                TI 2 0 2 8 2 v
                                TI 2 0 3 1 1 v
9/ 1                            C A 2 7 L 0 1/ L 0 2      S kift af I SI N                                            31 og 32
                                ell er i nf o:

                                TI 2 0 2 8 0 v
                                Ti 2 0 2 8 2 v

* U d s kri v e s o g af s e n d e s alti d af V P


Tr a n s a k ti o n er

K o nt o h a v er d el e n

Et a bl eri n g af k o nt o
Tr a n s a kti o n e n br u g e s af d e n k o nt o a n s v arli g e til et a bl eri n g af n y e V P- k o nti.

B e h a n dli n g h o s d e n k o nt o a n s v arli g e
V e d et a bl eri n g af e n V P- k o nt o s k al d e n k o nt o a n s v arli g e v ær e s ærli g o p m ær k s o m p å u df yl d el s e n af
f øl g e n d e f elt er:

V P- k o nt o n u m m er
K o nt o h a v er s k al til d el e s et n yt V P- k o nt o n u m m er. M e d h e n s y n til o p b y g ni n g af k o nt o n u mr e h e n vi s e s til
d e n k o nt o a n s v arli g e s e g n e f orr et ni n g s g a n g e.

K o nt o st at u s
S åfr e mt d ett e f elt u df yl d e s, vil d e n a n v e n dt e t e k st fr e m g å af æ n dri n g s m e d d el el s er til k o nt o h a v er o g e vt.
r etti g h e d s h a v er( e), o g fr a g a n g stra n s a kti o n er ( s al g, o v erf ør sl er, r e nt efl y t ni n g m v.) s k al f or c er e s i g e n n e m.

K o nt o h a v er-I D
P å e n V P- k o nt o s k al k o nt o h a v er v ær e i d e ntifi c er et v e d et C P R- ell er C V R- n u m m er. H vi s k o nt o h a v er er
u dl æ n di n g, s k al d e n k o nt o a n s v arli g e til d el e k o nt o h a v er et k o n str u er et C P R-/ C V R- n u m m er. F elt et
r a p p ort er e s til D a n m ar k s St ati st i k, h v orf or br u g af k o n str u er e d e C P R-/ C V R- n u mr e b ør mi ni m er e s.

B et ali n g s m å d e r e nt e / u dt r æ k / u d b y t t e.
F elt er n e s k al alti d u df yl d e s.

PI- k o nt o nr. til r e nt e / u dt r æ k / u d b y t t e.
D e a n v e n dt e PI- k o nt o n u mr e k a n v ær e f or s k elli g e, bl ot s k al d e til k n ytt e d e r e g. n u mr e v ær e til m el dt
cl e ari n g i V P.

L a n d e k o d e, p o stf or s e n d el s e s k o d e, v al ut a st at u s o g s k at t e st at u s
V ær o p m ær k s o m p å, at d er er e n n at urli g s a m m e n h æ n g m ell e m i n d h ol d et i fl er e af di s s e f elt er.

E k s.: H vi s l a n d e k o d e n f or D a n m ar k a n v e n d e s, s k al p o stf or s e n d el s e s k o d e n f or al mi n d eli g f or s e n d el s e
a n v e n d e s.




                                                                                                                                        Si d e 1 3 af 4 5 0
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K o d e f or u d b y t t e er kl æri n g
K o d e n a n gi v er, h vil k e n u d b ytt e er kl æri n g d er s k al u d s kri v e s, s a mt o m d er s k al ti l b a g e h ol d e s u d b ytt e s k at.

H vi s k o d e n er u df yl dt m e d R E V, F RI el l er K A P, S K A L k o nt o e n tilli g e i n d h ol d e et C V R- N R ell er C P R- N R til
br u g f or i n d b er et ni n g til S K A T.

P å e n V P- k o nt o, s o m r e pr æ s e nt er er et p e n g ei n st it ut s k a pit al p e n si o n s d e p ot ( p ulj e or d ni n g), s k al k o d e n
u df yl d e s m e d F RI, o g p e n g ei n stit utt et s e g et C V R- N R r e gi str er e s til br u g f or i n d b er et ni n g til S K A T.

P å V P- k o nti, d er i n d e h ol d er e g n e a kti er, k a n k o d er r e gi str er e s m e d R E V.

F or d e k o nti, h v or k o d e n er u df yl dt m e d R E V, s k al d e k o nt of ør e n d e i n stit utt er s el v u df ær di g e
r e vi s or er kl æri n g o g i n d s e n d e d e n n e til S K A T, s åfr e mt d ett e er kr æ v et.

H vi s V P- k o nt o e n til h ør er et d a n s k s el s k a b ( A/ S ell er A P S), d er if øl g e S K A T er b er etti g et til at b e n ytt e
or d ni n g o m r e d u kti o n af d a n s k u d b ytt e s k at, s k al k o d e n r e gi str er e s m e d S E L, o g k o nt o e n s k al tilli g e
i n d e h ol d e et C V R- N R til br u g f or i n d b er et ni n g til S K A T.

H vi s V P- k o nt o e n til h ør er e n i n v e st eri n g sf or e ni n g, d er i f øl g e S K A T er b er etti g et til at b e n ytt e or d ni n g e n
o m r e d u kti o n af d a n s k u d b ytt e s k at, s k al k o d e n r e gi str er e s m e d F O R, o g k o nt o e n s k al tilli g e i n d e h ol d e et
C V R- N R til br u g f or i n d b er et ni n g til S K A T.

S K A T h ar o pl y st, at d e l e v er er k v art al s v i s e o pl y s ni n g er til KI' er m e d d e s el s k a b er o g
i n v e st eri n g sf or e ni n g er, d er if ølg e S K A T er b er etti g et til at b e n ytt e d e n n e or d ni n g.

Li st e n er o g s å til g æ n g eli g p å S K A T' s hj e m m e si d e.

D er er i n g e n dir e kt e s a m m e n h æ n g m ell e m k o d e f or u d b ytt e er kl æri n g o g i n d h ol d et i f elt er n e s k att e st at u s
o g k o nt o st at u s. U df yl d e s k o d e n i k k e, vil d er bli v e til b a g e h ol dt u d b ytt e s k at. Æ n dr i n g af k o d e n h ar k u n
i n d vir k ni n g p å fr e mti di g e u d b ytt e k ør sl er.

N o mi n e e m e d ar b ej d er a k ti er
F elt et u df yl d e s, h vi s d e n r e gi str er e d e k o nt o h a v er i k k e er ej er af k o nt o e n s b e h ol d ni n g er, ell er h vi s di s s e
b e h ol d ni n g er er m e d ar b ej d er a kti er.
L a n d e k o d e f or s k at
F elt et u df yl d e s, h vi s k o nt o h a v er ø n s k er at u n d g å d o b b elt b e s k at ni n g af u d b ytt e.
U df yl d el s e h ar k u n eff e kt, n år k o nt of ør er e n s aft al e h a v er h ar til m el dt si g V P' s or d ni n g til u n d g å el s e af
d o b b elt b e s k at ni n g

N B! V ær s p e ci elt o p m ær k s o m p å kr a v til d o k u m e nt ati o n af b o p æl o g s k att e pli gt o g s kriftli g a c c e pt af
u dl e v eri n g af o pl y s ni n g er til s k att e m y n di g h e d er n e.

S e F orr et ni n g s m æ s si g v ejl e d ni n g, R e gi str eri n g s v ejl e d ni n g, T il b a g e h ol d el s e af u d b ytt e s k at i h e n h ol d til
d o b b elt b e s k at ni n g s aft al er.

D e p ot t y p er
S k al u df yl d e s i h e n h ol d til S K A T s v ær di s æt, s e T e k ni s k v ejl e d ni n g, 0 8. F elt b e s kri v el s er D ( Gl. s y st e m).

K o nt o b eti n g el s er
D e n k o nt o a n s v arli g e s k al u dl e v er e si n e k o nt o b eti n g el s er til V P- k o nt o h a v er e n s a mti di g m e d
k o nt o et a bl eri n g e n, s e F orr et ni n g s m æ s si g v ejl e d ni n g, R e gi str eri n g s v ejl e d ni n g, K o nt o b eti n g el s er.

B e h a n dli n g i V P
K o nt o et a bl eri n g er o p d at er e s str a k s v e d i n dr a p p ort eri n g e n.


                                                                                                                                        Si d e 1 4 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G



O m aft e n e n p å i n dr a p p ort eri n g s d a g e n d a n n e s:

U d d at a                                                                          M o dt a g er
K o nt oj o ur n al                                                                 D e n k o nt o a n s v arli g e
Æ n dri n g s m e d d el el s e                                                    K o nt o h a v er o g e vt.
                                                                                    r etti g h e d s h a v er( e)
D a gli g e Ej er b o g s æ n dri n g er                                            Ej er b o g sf ør er( e)

Æ n dri n g af r e g el f or o pl ø s ni n g af b e h ol d ni n g s o v ertr æ k

F or et a g e s m e d s e p ar at tr a n s a kti o n T U 2 0 1 0 0 1 ( s e T e k ni s k v ejl e d ni n g Af s nit 0 1 V P- k o nt o e n, T U 2 0 1 0 0 1
Æ n dri n g af r e g el f or o pl ø s ni n g af b e h ol d ni n g s o v ertr æ k).

Fr a v al g af m e d d el el s er
F or et a g e s m e d s e p ar at tr a n s a kti o n T C 2 0 1 5 9 1, s e " Fr a v al g af m e d d el el s er ".


Æ n dri n g af k o nt o
Tr a n s a kti o n e n a n v e n d e s af d e n k o nt o a n s v arli g e til æ n dri n g af r e gi str er e d e k o nt o- o g/ ell er
k o nt o h a v er o pl y s ni n g er.

B e h a n dli n g h o s d e n k o nt o a n s v arli g e

Æ n dri n g af f elti n d h ol d
R e gi str er e d e o pl y s ni n g er fr e m g år af s k ær m bill e d et. Æ n dri n g af f elti n d h ol d f or et a g e s v e d i n dt a st ni n g
o v e n i d e vi st e o pl y s ni n g er. D er s k al k u n s k e i n dt a st ni n g i d e f elt er, h vi s i n d h ol d æ n dr e s.

B e m ær k
H vi s k o nt o h a v er h ar n a v n e n ot er e d e a kti er, o g d er i k k e er r e gi str er et ej er b o g s n a v n, vil æ n dri n g af
k o nt o h a v er s n a v n o g a dr e s s e til g å ej er b o g sf ør er.
V e d æ n dri n g af k o nt o h a v er I D, v il d e r e gi str er e d e o pl y s ni n g er o m fr av al g a ut o m ati s k v ær e til k n ytt et d e n
n y e k o nt o h a v er I D.

Sl et ni n g af f elti n d h ol d
Sl et ni n g af f elti n d h ol d s k er v e d i n dt a st ni n g af e n bi n d e str e g i f elt et s f ør st e p o siti o n.

B e m ær k
Af vi kli n g s gr u p p e k a n i k k e æ n dr e s til ell er fr a F H/ S T, s åfr e mt d er er u af vi kl e d e h a n dl er til k n ytt et V P-
k o nt o e n.

B e h a n dli n g i V P
K o nt o æ n dri n g er o p d at er e s o m aft e n e n p å i n dr a p p ort eri n g s d a g e n.

V e d o p d at eri n g e n d a n n e s:

U d d at a                                                                          M o dt a g er
K o nt oj o ur n al                                                                 D e n k o nt o a n s v arli g e
Æ n dri n g s m e d d el el s e                                                     K o nt o h a v er
                                                                                    E vt. r etti g h e d s h a v er( e)
D a gli g e Ej er b o g s æ n dri n g er                                            Ej er b o g sf ør er( e)

Æ n dri n g af r e g el f or o pl ø s ni n g af b e h ol d ni n g s o v ertr æ k




                                                                                                                                     Si d e 1 5 af 4 5 0
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                                                                S Y S T E M V E J L E D NI N G



F or et a g e s m e d s e p ar at tr a n s a kti o n T U 2 0 1 0 0 1 ( s e T e k ni s k v ejl e d ni n g, 0 1 V P- k o nt o e n, T U 2 0 1 0 0 1 Æ n dri n g
af r e g el f or o pl ø s ni n g af b e h ol d ni n g s o v ertr æ k).

Fr a v al g af m e d d el el s er
F or et a g e s m e d s e p ar at tr a n s a kti o n T C 2 0 1 5 9 1, S e " Fr a v al g af m e d d el el s er ".


O p g ør el s e af k o nt o
Tr a n s a kti o n e n a n v e n d e s af d e n k o nt o a n s v arli g e til o p g ør el s e af V P- k o nti, s o m i k k e l æ n g er e s k al br u g e s.

B e h a n dli n g h o s d e n k o nt o a n s v arli g e
E n V P- k o nt o k a n k u n o p g ør e s, n år f øl g e n d e b eti n g el s er er o pf yl dt:
      r e gi str er et n o mi n el b e h ol d ni n g/ a nt al st k. = 0
      d er fi n d e s i k k e u af vi kl e d e tr a n s a kti o n er til k o nt o e n i " p o st k a s s e n "
      d er fi n d e s i k k e u af vi kl e d e h a n dl er til k o nt o e n

D e n k o nt o a n s v arli g e k a n v e dli g e h ol d e o pl y s ni n g er n e p å e n o p gj ort V P- k o nt o, i n dtil d e n sl ett e s v e d e n
o pr y d ni n g s k ør s el. V e dli g e h ol d el s e af o pl y s ni n g er i d e n n e p eri o d e m e df ør er i k k e u d s e n d el s e af
æ n dri n g s m e d d el el s e.

B e m ær k
S åfr e mt d er i n dr a p p ort er e s b e h ol d ni n g s b e v æ g el s er til e n o p gj ort V P- k o nt o, vil di s s e b e v æ g el s er bli v e
af vi st.

B e h a n dli n g i V P
O p g ør el s e str a n s a kti o n er o p d at er e s o m aft e n e n p å i n dr a p p ort eri n g s d a g e n. V e d o p d at eri n g e n r e gi str er e s
i n dr a p p ort eri n g s d at o e n s o m o p g ør el s e s d at o p å d e n e n k elt e k o nt o, o g k o nt o e n m ar k er e s o p gj ort i
k o nt o st at u s.

O p gj ort e k o nti sl ett e s i k o nt or e gi str et i f or bi n d el s e m e d V P' s år s ulti m o k ør sl er o g eft er g e b yr k ør sl e n pr.
d e n 3 1. m aj.

V e d o p d at eri n g e n af o p g ør el s e str a n s a kti o n er d a n n e s:

U d d at a                                                                              M o dt a g er
K o nt oj o ur n al                                                                     D e n k o nt o a n s v arli g e


G e n et a bl eri n g af k o nt o
Tr a n s a kti o n e n a n v e n d e s af d e n k o nt o a n s v arli g e til g e n et a bl eri n g af o p gj ort e k o nti.

B e h a n dli n g h o s d e n k o nt o a n s v arli g e
D e n k o nt o a n s v arli g e k a n g e n et a bl er e o p gj ort e k o nti i p eri o d e n fr e m til V P' s n æ st e o pr y d ni n g s k ør s el.

B e m ær k
G e n et a bl eri n g af e n o p gj ort k o nt o k a n k u n s k e v e d a n v e n d el s e af o v e n n æ v nt e tr a n s a kti o n, i h vil k e n d e n
k o nt o a n s v arli g e s a mti di g h ar m uli g h e d f or at æ n dr e k o nt o st at u s p å k o nt o e n.

V e d g e n et a bl eri n g af e n k o nt o bi b e h ol d e s d e m e d d el el s e sfr a v al g d er v ar r e gi str er et p å k o nt o e n p å
o p g ør el s e sti d s p u n kt et.

Æ n dri n g af k o nt o st at u s v e d hj æl p af tr a n s a kti o n e n " Æ n dri n g af k o nt o " m e df ør er i k k e g e n et a bl eri n g af
k o nt o e n, s o m d erf or vil bli v e sl ett et i f or bi n d el s e m e d V P' s o pr y d ni n g s k ør sl er.


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                                                             S Y S T E M V E J L E D NI N G




B e h a n dli n g i V P
G e n et a bl eri n g str a n s a kti o n er o p d at er e s o m aft e n e n p å i n dr a p p ort eri n g s d a g e n. Ve d o p d at eri n g e n sl ett e s
k o nt o e n s o p g ør el s e s d at o. D e s u d e n sl ett e s k o nt o st at u s, m e d mi n dr e d e n k o nt o a n s v arli g e h ar æ n dr et
d e n n e i g e n et a bl eri n g str a n s a kti o n e n.

V e d o p d at eri n g e n d a n n e s:

U d d at a                                                                         M o dt a g er
K o nt oj o ur n al                                                                D e n k o nt o a n s v arli g e
Æ n dri n g s m e d d el el s e                                                    K o nt o h a v er
( u d s kri v e s k u n, h vi s d er h ar v ær et k o nt o æ n dri n g er          E vt. r etti g h e d s h a v er( e)
si d e n o p g ør el s e s d a g e n)


G e n er el a dr e s s e æ n dri n g
Tr a n s a kti o n e n a n v e n d e s af d e n k o nt o a n s v arli g e til æ n dr i n g af n a v n e- o g a dr e s s e o pl y s ni n g er n e p å all e
k o nt o h a v er e n s V P- k o nti h o s d e n k o nt o a n s v arli g e.

B e h a n dli n g h o s d e n k o nt o a n s v arli g e
D et tilr å d e s, at all e n a v n e- o g a dr e s s e o pl y s ni n g er i n dt a st e s, o g at i k k e a n v e n dt e n a v n eli ni er sl ett e s
( bi n d e str e g i f elt et s f ør st e p o siti o n). H er v e d u n d g å s, at o pl y s ni n g er n e eft er o p d at eri n g e n er r e gi str er et
d o b b elt p å d e e n k elt e V P- k o nti.

B e m ær k
V P- k o nti m e d S P E CI E L A D R E S S E K O D E = S b er ør e s i k k e af d e n g e n er ell e a dr e s s e æ n dri n g.

B e h a n dli n g i V P
G e n er ell e a dr e s s e æ n dri n g er o p d at er e s o m aft e n e n p å i n dr a p p ort eri n g s d a g e n.

V e d o p d at eri n g e n d a n n e s:

U d d at a                                                                         M o dt a g er
K o nt oj o ur n al                                                                D e n k o nt o a n s v arli g e


Et a bl eri n g af ej er b o g s n a v n, Æ n dri n g af ej er b o g s n a v n, Sl et ni n g af ej er b o g s n a v n
Tr a n s a kti o n er n e a n v e n d e s af d e n k o nt o a n s v arli g e til h e n h ol d s vi s et a bl eri n g, æ n dri n g o g sl et ni n g af
ej er b o g s n a v n.

B e h a n dli n g h o s d e n k o nt o a n s v arli g e
D er h e n vi s e s til af s nit 1 0 N a v n e n ot eri n g af a kti er - N ot eri n g o g af n ot eri n g af e k si st er e n d e b e h ol d ni n g

B e h a n dli n g i V P
Tr a n s a kti o n er n e o p d at er e s o m aft e n e n p å i n dr a p p ort eri n g s d a g e n.

V e d o p d at eri n g e n d a n n e s:

U d d ata                                                                          M o dt a g er
K o nt oj o ur n al                                                                D e n k o nt o a n s v arli g e
D a gli g e ej er b o g s æ n dri n g er                                           Ej er b o g sf ør er
( k u n p å k o nti, h v or p å d er s e n e st s a m m e d a g
r e gi str er e s e n n a v n e n ot er et b e h ol d ni n g)


                                                                                                                                     Si d e 1 7 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G




A n n ull er ej er b o g s n a v n
Tr a n s a kti o n e n a n v e n d e s af d e n k o nt o a n s v arli g e til a n n ull eri n g af e n af d e u n d er
" Et a bl eri n g af ej er b o g s n a v n, Æ n dri n g af ej er b o g s n a v n, Sl et ni n g af ej er b o gs n a v n " n æ v nt e tr a n s a kti o n er.

B e h a n dli n g h o s d e n k o nt o a n s v arli g e
D er h e n vi s e s til af s nit 1 0 N a v n e n ot eri n g af a kti er - N ot eri n g o g af n ot eri n g af e k si st er e n d e b e h ol d ni n g.
B e h a n dli n g i V P
A n n ull eri n g er af ej er b o g s n a v n g e n n e mf ør e s o m aft e n e n p å i n dra p p ort eri n g s d a g e n.

V e d a n n ull eri n g e n d a n n e s:

U d d at a                                                                         M o dt a g er
F ejl o v er si gt                                                                 D e n k o nt o a n s v arli g e


R et ti g h e d s h a v er d el e n
Et a bl eri n g af r et ti g h e d s h a v er
Tr a n s a kti o n e n a n v e n d e s af d e n k o nt o a n s v arli g e til et a bl eri n g af e n r etti g h e d s h a v er p å e n V P- k o nt o.

B e h a n dli n g h o s d e n k o nt o a n s v arli g e
D e n k o nt o a n s v arli g e s k al si kr e, at e n a n m el d el s e i k k e kr æ n k er e n ti dli g er e m o dt a g et a n m el d el s e s b e dr e
r et, s e F orr et ni n g s m æ s si g v ejl e d ni n g, R e gi str eri n g s v ejl e d ni n g, af s nit Pr ø v el s e n.

Tilt r a n s p or t er e d e r et ti g h e d er
H vi s e n r etti g h e d tr a n s p ort er e s t il e n n y r etti g h e d s h a v er, et a bl er e s d e n n y e r etti g h e d s h a v er m e d
ti d s p u n kt et f or tr a n s p ort e n s a n m el d el s e s o m r et s vir k ni n g sti d s p u n kt. D et o pri n d eli g e
r et s vir k ni n g sti d s p u n kt f or r etti g h e d e n s r e gi str eri n g a nf ør e s s o m e n d el af r etti g h e d st e k st e n. D et er
d er m e d m uli gt at r e gi str er e b å d e d et o pri n d eli g e r et s vir k ni n g sti d s p u n kt o g ti d s p u n kt et f or
o v er dr a g el s e n.

V e d et a bl eri n g af e n r etti g h e d s h a v er s k al d e n k o nt o a n s v arli g e v ær e s ærli g o p m ær k s o m p å u df yl d el s e n af
f øl g e n d e f elt er:

R et s vir k ni n g s d at o /-ti d
D a r etti g h e d er s r et s vir k ni n g i n dtr æ d er v e d p å b e g y n d el s e n af d e n e n d eli g e pr ø v el s e i V P, s k al di s s e f elt er
s æ d v a nli g vi s i k k e i n dt a st e s. K u n v e d o v er dr a g el s e af e n r etti g h e d til e n a n d e n r etti g h e d s h a v er, jf.
o v e nf or, ell er v e d o pr et h ol d el s e af k o nt a ntf or b e h ol d er d er b e h o v f or r e gi str eri n g m e d til b a g e vir k e n d e
kr aft. I di s s e tilf æl d e s k al r et s vir k ni n g s d a t o o g ti d i n dt a st e s. O m r et s vir k ni n g er s e
F orr et ni n g s m æ s si g v ejl e d ni n g, R e gi str eri n g s v ejl e d ni n g, af s nit R et s vir k ni n g er.
F or u d d y b ni n g af k o nt a ntf or b e h ol d s e F orr et ni n g s m æ s si g v ejl e d ni n g, Cl e ari n g v ejl e d ni n g, af s nit H a n dl er til
fr e mti di g af vi kli n g ( n ett o af vi kli n g).

R et ti g h e d s h a v er-I D
R etti g h e d s h a v er-I D s k al v ær e e nt y di g pr. V P- k o nt o.

R etti g h e d s h a v er s k al v ær e i d e nti fi c er et v e d et C P R- n u m m er ell er C V R-n u m m er, s åfr e mt r etti g h e d s h a v er
s k al v ær e i n d b er et ni n g s pli gti g f or s k att e pli gti g e af k a st af k o nt o e n s b e h ol d ni n g er ( s e af nit 0 1 V P- k o nt o e n
" Et a bl eri n g af k o nt o ").

S k at t e st at u s
I n d h ol d et i d ett e f elt s k al s e s i s a m m e n h æ n g m e d i n dh ol d et i r etti g h e d s h a v er-I D ( s e o v e nf or), v al ut a st at u s
( s e n e d e nf or) o g s k att e st at u s i k o nt o h a v er d el e n.


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                                                              S Y S T E M V E J L E D NI N G



M e d h e n s y n til b e s kri v el s e n af di s s e s a m m e n h æ n g e h e n vi s e s til T e k ni s k v ejl e d ni n g, af s nit 0 8.
F elt b e s kri v el s er S ( Gl. s y st e m).

L a n d e k o d e , p o stf or s e n d el s e s k o d e o g v al ut a st at u s
V ær o p m ær k s o m p å, at d er er e n n at urli g s a m m e n h æ n g m ell e m i n d h ol d et i fl er e af di s s e f elt er.

E k s .: H vi s l a n d e k o d e n f or D a n m ar k a n v e n d e s, s k al p o stf or s e n d el s e s k o d e n f or al mi n d eli g f or s e n d el s e
a n v e n d e s.

R et ti g h e d st e k s t
I d ett e f elt k a n r etti g h e d e n s art o g o mf a n g b e s kri v e s. F elt et s k a l u df yl d e s, n år d er et a bl er e s e n
di s p o siti o n s b e gr æ n s e n d e r etti g h e d, f x p a nt, u dl æ g, u m y n di g g ør el s e, k o n k ur s.

R et s vir k ni n g s d at o/-ti d vil k u n bli v e o p d at er et i k o nt or e gi st er et, n år r etti g h e d st e k st e n er u df yl dt
( di s p o siti o n s b e gr æ n s e nd e r etti g h e d).

B e m ær k
S åfr e mt k o nt o e n ø n s k e s m ar k er et s o m s p ærr et i k o nt o st at u s, s k al d ett e s k e v e d a n v e n d el s e af
tr a n s a kti o n e n " Æ N D RI N G A F K O N T O ".

D e n k o nt o a n s v arli g e s k al i n d e n i n dr a p p ort eri n g e n u n d er s ø g e, o m d er er r e gi s tr er et h a n d el sf ul d m a gt er. I
gi v et f al d s k al f ul d m a gt er n e sl ett e s, ell er r etti g h e d s h a v er s k al a c c e pt er e, at d e f ort s at er r e gi str er et.

D et er m uli gt at et a bl er e o g sl ett e e n r etti g h e d i n d e n f or s a m m e d a g. Æ n dri n g s m e d d el el s e n vil s å vi s e
r et s vir k ni n g sti d s p u n kt f or b å d e et a bl eri n g e n o g sl et ni n g e n.

B e h a n dli n g i V P
Et a bl eri n g af r etti g h e d s h a v er e o p d at er e s o m aft e n e n p å i n dr a p p ort eri n g s d a g e n. S e d o g tilli g e
n e d e n st å e n d e B e m ær k .

V e d o p d at eri n g e n d a n n e s:

U d d at a                                                                            M o dt a g er
K o nt oj o ur n al                                                                   D e n k o nt o a n s v arli g e
Æ n dri n g s m e d d el el s e                                                      K o nt o h a v er
                                                                                      E vt. r etti g h e d s h a v er( e)

B e m ær k
P å ti d s p u n kt et f or i n dr a p p ort eri n g e n af r etti g h e d s h a v er o pl y s ni n g er n e u n d er s ø g er V P- s y st e m et
a ut o m ati s k, h v or vi dt d er er i n dr a p p o rt er et i n str u ct e d e s al g til fr e mti di g af vi kli n g p å d e n p å g æl d e n d e V P-


Fr a v al g a f m e d d el el s e r
F or et a g e s m e d s e p ar at tr a n s a kti o n T C 2 0 1 5 9 1, ( s e af s nit 0 1 V P- k o nt o e n Fr a v al g af m e d d el el s er).


Æ n dri n g af r etti g h e d s h a v er
Tr a n s a kti o n e n a n v e n d e s af d e n k o nt o a n s v arli g e til at æ n dr e i r e gi str er e d e r etti g h e d er.

B e h a n dli n g h o s d e n k o nt o a n s v arli g e
D e n k o nt o a n s v arli g e s k al si kr e, at e n a n m el d el s e i k k e kr æ n k er e n ti dli g er e m o dt a g et a n m el d el s e s b e dr e
r et, s e F orr et ni n g s m æ s si g v ejl e d ni n g, R e gi str eri n g s v ejl e d ni n g, af s nit Pr ø v el s e n.

Tr a n s a kti o n e n i n dr a p p ort er e s u n d er a n gi v el s e af d e n r etti g h e d s h a v er-I D, d er s k al æ n dr e s.

                                                                                                                                         Si d e 1 9 af 4 5 0
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                                                               S Y S T E M V E J L E D NI N G




Æ n dri n g i f elti n d h ol d
S k ær m bill e d et vi s er d e all er e d e r e gi st r er e d e o pl y s ni n g er o m r etti g h e d e n. Æ n dri n g af f elti n d h ol d
f or et a g e s v e d i n dt a st ni n g o v e n i d e vi st e o pl y s ni n g er. D er s k al k u n s k e i n dt a st ni n g i d e f elt er, h vi s i n d h ol d
ø n s k e s æ n dr et.

B e m ær k
Æ n dri n g i r et s vir k ni n g s d at o e n o g - ti d e n k a n k u n s k e v e d s a mti di g æ n dri n g i r etti g h e d st e k st e n,
. R et s vir k ni n g s d at o o g - ti d æ n dr e s k u n, h vi s felt er n e i n dt a st e s - ell er s b e v ar e s d e n r e gi str er e d e
r et s vir k ni n g. V e d æ n dri n g af r etti g h e d st e k st e n s k al d e n k o nt o a n s v arl i g e v ær e o p m ær k s o m p å, at V P-
s y st e m et o pf att er f elt et s s e k s li ni er s o m e n h el h e d. O m r et s vir k ni n g er s e F orr et ni n g s m æ s si g v ejl e d ni n g,
R e gi str eri n g s v ejl e d ni n g, af s nit R et s vir k ni n g er.

Sl et ni n g af f elti n d h ol d
Sl et ni n g af f elti n d h ol d s k er v e d i n dt a st ni n g af e n bi n d e str e g i f elt et s f ør st e p o siti o n.

B e h a n dli n g i V P
R etti g h e d s æ n dri n g er o p d at er e s o m aft e n e n p å i n dr a p p ort eri n g s d a g e n.

V e d o p d at eri n g e n d a n n e s:

U d d at a                                                                             M o dt a g er
K o nt oj o ur n al                                                                    D e n k o nt o a n s v arli g e
Æ n dri n g s m e d d el el s e                                                        K o nt o h a v er
                                                                                       E vt. r etti g h e d s h a v er( e)

Fr a v al g af m e d d el el s er
F or et a g e s m e d s e p ar at tr a n s a kti o n T C 2 0 1 5 9 1, s e af s nit 0 1 V P- k o nt o e n Fr a v al g af m e d d el el s er).

Sl et ni n g af r etti g h e d s h a v er
Tr a n s a kti o n e n a n v e n d e s af d e n k o nt o a n s v arli g e til at sl ett e e n o p h ørt r etti g h e d.

B e h a n dli n g h o s d e n k o nt o a n s v arli g e
Tr a n s a kti o n e n i n dr a p p ort er e s u n d er a n gi v el s e af d e n r etti g h e d s h a v er-I D, d er s k al sl ett e s.

B e h a n dli n g i V P
R etti g h e d s h a v er sl et ni n g er o p d at er e s o m aft e n e n p å i n dr a p p ort eri n g s d a g e n.

V e d o p d at eri n g e n d a n n e s:

U d d at a                                                                             M o dt a g er
K o nt oj o ur n al                                                                    D e n k o nt o a n s v arli g e
Æ n dri n g s m e d d el el s e                                                        K o nt o h a v er
                                                                                       E vt. r etti g h e d s h a v er( e)


Fr a v al g af m e d d el el s er
Et a bl eri n g af f r a v al g af m e d d el el s er f or k o nt o h a v er o g r et ti g h e d s h a v er
B e h a n dli n g h o s d e n k o nt o a n s v arli g e
Tr a n s a kti o n e n a n v e n d e s af d e n k o nt o a n s v arli g e til at et a bl er e et fr a v al g af e n m e d d el el s e f or e n
k o nt o h a v er ell er r etti g h e d s h a v er.

I d e ntifi k ati o n
I f elt et a n gi v e s k o nt o h a v er i d r e s p e kti v e r etti g h e d s h a v er i d.

                                                                                                                                       Si d e 2 0 af 4 5 0
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                                                               S Y S T E M V E J L E D NI N G




B e m ær k
H vi s k o nt o h a v er i d i k k e er a n gi v et h e nt e s d et a ut o m ati s k fr a V P' s r e gi str e.
H vi s r etti g h e d s h a v er i d i k k e er a n gi v et h e nt e s d ett e a ut o m ati s k fr a V P' s r e gi str e, s åfr e mt d er k u n fi n d e s
e n r etti g h e d s h a v er. V e d fl er e r etti g h e d s h a v er e s k al r etti g h e d s h a v er i d a n gi v e s.

Ty p e
I f elt et a n gi v e s o m fr a v al g et g æl d er f or k o nt o h a v er ell er e n r etti g h e d s h a v er

B e m ær k
F elt et er d ef a ult u df yl dt m e d k o nt o h a v er

S e k ti o n s n u m m er
I f elt et a n gi v e s o m d et er h el e m e d d el el s e n ell er e n s pe cifi k s e kti o n af e n m e d d el el s e d er ø n s k e s fr a v al gt
( s e af s nit 0 1 V P- k o nt o e n O v er si gt o ver fr a v al g s m uli g h e d er p å V P- k o nt o e n).

B e m ær k
H vi s f elt et i k k e er u df yl dt s ætt e s d et d ef a ult til h el e m e d d el el s e n.

Et a bl eri n g af fr a v al g p å h el e m e d d el el s e n vil er st att e e v e nt u ell e ti dli g er e fr a v al g p å s e kti o n s ni v e a u.
O m v e n dt vil et a bl eri n g af fr a v al g p å s e kti o n s ni v e a u er st att e e v e nt u el t ti dli g er e fr a v al g p å h el e
m e d d el el s e n.

U d d at a                                                                             M o dt a g er
TI 2 0 4 0 1 v O pr ett el s e af m e d d el el s e sfr a v al g                       D e n k o nt o a n s v arli g e
TI 2 0 4 0 0 v Sl et ni n g af m e d d el el s e sfr a v al g                          D e n k o nt o a n s v arli g e



Sl et ni n g af fr a v al g af m e d d el el s er f or k o nt o h a v er o g r etti g h e d s h a v er
B e h a n dli n g h o s d e n k o nt o a n s v arli g e
Tr a n s a kti o n e n a n v e n d e s af d e n k o nt o a n s v arli g e til at sl ett e et fr a v al g af e n m e d d el el s e f or e n k o nt o h a v er
ell er r etti g h e d s h a v er, s å m e d d el el s e n i g e n m o dt a g e s.

I d e ntifi k ati o n
I f elt et a n gi v e s k o nt o h a v er i d r e s p e kti v e r etti g h e d s h a v er i d.

B e m ær k
H vi s k o nt o h a v er i d i k k e er a n gi v et h e nt e s d et a ut o m ati s k fr a V P' s r e gi str e.
H vi s r etti g h e d s h a v er i d i k k e er a n gi v et h e nt e s d ett e a ut o m ati s k fr a V P' s r e gi str e, s åfr e mt d er k u n fi n d e s
e n r etti g h e d s h a v er. V e d fl er e r etti g h e d s h a v er e s k al r etti g h e d s h a v er i d a n gi v e s.

Ty p e
I f elt et a n gi v e s o m sl et ni n g af fr a v al g et g æl der f or k o nt o h a v er ell er e n r etti g h e d s h a v er

B e m ær k
F elt et er d ef a ult u df yl dt m e d k o nt o h a v er

S e k ti o n s n u m m er
I f elt et a n gi v e s o m d et er h el e m e d d el el s e n ell er e n s pe cifi k s e kti o n af e n m e d d el el s e d er ø n s k e s til v al gt
( s e af s nit V P- k o nt o e n O v er si gt o v er fra v al g s m uli g h e d er p å V P- k o nt o e n).

B e m ær k
H vi s f elt et i k k e er u df yl dt s ætt e s d et d ef a ult til h el e m e d d el el s e n.

                                                                                                                                     Si d e 2 1 af 4 5 0
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                                                                S Y S T E M V E J L E D NI N G




Et a bl eri n g af fr a v al g p å h el e m e d d el el s e n vil er st att e e v e nt u ell e ti dli g er e fr a v al g p å s e kti o n s ni v e a u.
O m v e n dt vil et a bl eri n g af fr a v al g p å s e kti o n s ni v e a u er st att e e v e nt u el t ti dli g er e fr a v al g p å h el e
m e d d el el s e n.

U d d at a                                                                          M o dt a g er
TI 2 0 4 0 0 v Sl et ni n g af m e d d el el s e sfr a v al g                       D e n k o nt o a n s v arli g e

F ul d m a gt s d el e n

H a n d el sf ul d m a gt
E n h a n d el sf ul d m a gt gi v er e n af vi kli n g s a n s v arli g a d g a n g til at d e bit er e e n V P- k o nt o s a mt til at f or e s p ør g e
p å b e h ol d ni n g er n e. H a n d el sf ul d m a gt e n o mf att er all e b e h ol d ni n g er p å e n V P- k o nt o.

H a n d el sf ul d m a gt e n h ar vir k ni n g fr a i n dr a p p ort eri n g sti d s p u n kt et.

I n dr a p p or t eri n g h o s d e n k o nt o a n s v arli g e
E n h a n d el sf ul d m a gt i n dr a p p ort er e s v e d hj æl p af tr a n s a kti o n e n ' Et a bl eri n g af f ul d m a gt'.

D e n k o nt o a n s v arli g e s k al u n d err ett e d e n af vi kli n g s a n s v arli g e o m, at d er er r e gi s tr er et e n h a n d el sf ul d m a gt
til d e n p å g æl d e n d e. D e n af vi kli n g s a n s v arli g e k a n s p ør g e p å, p å h vil k e V P- k o nti d er er r e gi str er et
h a n d el sf ul d m a gt til d e n n e v e d hj æl p af tr a n s a kti o n e n T R 2 0 0 9 4 1 ' A n m o d ni n g o m o v er si gt o v er
f ul d m a gt er', s e af s nit 0 3. F u n kti o n s be s kri v el s er, A n m o d ni n g o m o v er si gt o v er f ul d m a gt er - ( T R 2 0 0 9 4 v).

D e n k o nt o a n s v arli g e s k al af vi s e h a n d el sf ul d m a gt e n fr a r e gi str eri n g, h vi s d er er r e gi str er et e n
di s p o siti o n s b e gr æ n s e n d e r etti g h e d p å k o nt o e n, o g f ul d m a gt e n i k k e er tiltr å dt af r etti g h e d s h a v er e n.

H a n d el sf ul d m a gt e n k a n sl ett e s i g e n p å k o nt o h a v er s ell er e n r etti g h e d s h a v er s f or a nl e d ni n g.

B e h a n dli n g i V P
V e d o p d at eri n g e n d a n n e s:

U d d at a                                                                          M o dt a g er
K o nt oj o ur n al                                                                 D e n k o nt o a n s v arli g e
Æ n dri n g s m e d d el el s e                                                     K o nt o h a v er
I nf o: TI 2 0 2 3 1 1 Et a bl er f ul d m a gt                                     F ul d m a gt s h a v er


S p ør g ef ul d m a gt
E n s p ør g ef ul d m a gt r e gi str er e s til f or d el f or e n d elt a g er i V P- s y st e m et.

S p ør g ef ul d m a gt e n gi v er d elt a g er e n s p ør g e a d g a n g til all e b e h ol d ni n g er p å V P- k o nt o e n.

S p ør g ef ul d m a gt e n h ar vir k ni n g fr a i n dr a p p ort eri n g sti d s p u n kt et.

I n dr a p p or t eri n g h o s d e n k o nt o a n s v arli g e
E n s p ør g ef ul d m a gt i n dr a p p ort er e s til r e gi str eri n g v e d hj æl p af tr a n s a kti o n e n ' Et a bl eri n g af f ul d m a gt'.

D e n k o nt o a n s v arli g e s k al u n d err ett e f ul d m a gt s h a v er e n o m, at d er er r e gi str er et e n s p ør g ef ul d m a gt til
d e n p å g æl d e n d e. F ul d m a gt s h a v er e n k a n s p ør g e p å, p å h vil k e V P- k o nti d er er r e gi str er et s p ør g ef ul d m a gt
til d e n n e. S e af s nit 3 F u n kti o ns b e s kri v el s er A n m o d ni n g o m o v er si gt o v er f ul d m agt er - ( T R 2 0 0 9 4 v).

S p ør g ef ul d m a gt e n k a n sl ett e s i g e n p å k o nt o h a v er s f or a nl e d ni n g.


                                                                                                                                      Si d e 2 2 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G




B e h a n dli n g i V P
V e d o p d at eri n g e n d a n n e s:

U d d at a                                                                           M o dt a g er
K o nt oj o ur n al                                                                  D e n k o nt o a n s v arli g e
Æ n dri n g s m e d d el el s e                                                      K o nt o h a v er
I nf o: TI 2 0 2 3 1 1 Et a bl er f ul d m a gt                                      F ul d m a gt s h a v er


Sl et ni n g af f ul d m a gt
Tr a n s a kti o n e n br u g e s af d e n k o nt o a n s v arli g e til at sl ett e e n h a n d el s- ell er s p ør g ef ul d m a gt.

I n dr a p p or t eri n g h o s d e n k o nt o a n s v arli g e
E n f ul d m a gt sl ett e s p å f or a nl e d ni n g af k o nt o h a v er ell er a n m el d er e n af e n di s p o siti o n s b e gr æ n s e n d e
r etti g h e d.

D e n k o nt o a n s v arli g e s k al m e d d el e f ul d m a gt s h a v er, at h a n d el sful d m a gt e n ell er s p ø r g ef ul d m a gt e n er
sl ett et.

B e m ær k
H vi s e n s p ør g ef ul d m a gt sl ett e s m e d h e n bli k p å i st e d et at r e gi str er e e n h a n d el sf ul d m a gt til d e n
p å g æl d e n d e f ul d m a gt s h a v er, k a n h a n d el sf ul d m a gt e n ti dli g st i n dr a p p ort er e s til r e gi str eri n g d a g e n eft er
sl et ni n g e n af s p ør g ef ul d m a gt e n.

B e h a n dli n g i V P
Tr a n s a kti o n e n o p d at er e s o m aft e n e n i d a gli g o p d at eri n g, m e n sl et ni n g e n h ar vir k ni n g fr a
i n dr a p p ort eri n gti d s p u n kt et.

V e d o p d at eri n g e n d a n n e s:
U d d at a                                                                           M o dt a g er
K o nt oj o ur n al                                                                  D e n k o nt o a n s v arli g e
Æ n dri n g s m e d d el el s e                                                      K o nt o h a v er
I nf o: TI 2 0 2 3 2 1 Sl et f ul d m a gt                                           F ul d m a gt s h a v er


G e ni n v e st eri n g s aft al er
E n g e ni n v e st eri n g s aft al e a n gi v er e n k o nt o h a v er s g e n er ell e ø n s k e o m g e ni n v e st eri n g af u d b ytt e fr a
i n v e st eri n g sf or e ni n g er. Aft al e n o mf att er all e k o nt o h a v er s b e h ol d ni n g er af i n v e st eri n g sf or e ni n g s a n d el e,
h v or i n v e st eri n g sf or e ni n g e n til b y d er g e ni n v e st eri n g af u d b ytt e .

D e s u d e n k a n d er p å I SI N- ni v e a u r e gi str er e s f a st e af vi g el s er fr a d e n g e n er ell e aft al e.

B å d e p å k o nt o- o g I SI N- ni v e a u er d er m uli g h e d f o r at a n gi v e, o m d et er h el e u d b ytt et ell er k u n e n f a st
pr o c e nt d el, d er s k al a n v e n d e s til g e ni n v e st eri n g.

V e dli g e h ol d g e ni n v e st eri n g s af t al e
B e h a n dli n g h o s d e n k o nt o a n s v arli g e
Til et a bl eri n g ell er æ n dri n g af g e ni n v e st eri n g s aft al e p å a n v e n d e s tr a n s a kti o n e n " V e dli g e h ol d
g e ni n v e st eri n g s aft al e ".

M æ n g d e b e h a n dli n g s k o d e
I f elt et a n gi v e s k o nt o h a v er s ø n s k e o m g e ni n v e st eri n g.


                                                                                                                                       Si d e 2 3 af 4 5 0
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                                                               S Y S T E M V E J L E D NI N G



B e m ær k
H vi s k o nt o h a v er ø n s k er at bli v e i n f or m er et, n år d er er m uli g h e d f or g e ni n v e st eri n g af u d b ytt e f or e n
i n v e st eri n g sf or e ni n g, f or at k u n n e t a ge stilli n g fr a g a n g til g a n g, er d et d e n k o nt o a n s v arli g e d er s k al s ør g e
f or d e n n e i nf or m ati o n.

P r o c e nt
I f elt et a n gi v e s d e n pr o c e nt d el af u d b yttet, d er s k al a n v e n d e s til g e ni n v e st eri n g.

F elt et m å k u n u df yl d e s, h vi s M Æ N G D E B E H A N D LI N G S K O D E er s at til J A. H vi s f elt et i k k e er u df yl dt,
s ætt e s pr o c e nt til 1 0 0.

N a v n e n ot eri n g s k o d e
K o d e n a n gi v er o m d e n y e i n v e st eri n g sf or e ni n g s a n d el e s k al n ot er e s p å n a v n ell er ej. H vi s k o d e n i k k e er
u df yl dt, vil d e n a ut o m ati s k bli v e s at til N E J.

U d d at a                                                                             M o dt a g er
TI 2 0 3 6 1 v Et a bl eri n g af g e ni n v e st eri n g s aft al e                   D e n k o nt o a n s v arli g e
TI 2 0 3 6 2 v Æ n dri n g af g e ni n v e st eri n g s aft al e                       D e n k o nt o a n s v arli g e


Sl et ni n g af g e ni n v e st eri n g s aft al e
B e h a n dli n g h o s d e n k o nt o a n s v arli g e
Til sl et ni n g af g e ni n v e st eri n g s aft al e a n v e n d e s tr a n s a kti o n e n " V e dli g e h ol d g e ni n v e st eri n g s aft al e ".

B e m ær k
V e d sl et ni n g af e n g e ni n v e st eri n g s af t al e vil s a mtli g e til h ør e n d e f or e k o mst er af g e ni n v e st eri n g s aft al er p å
I SI N- ni v e a u s a mti di g bli v e sl ett et.

U d d at a                                                                             M o dt a g er
TI 2 0 3 6 3 v Sl et ni n g af g e ni n v e st eri n g s aft al e                      D e n k o nt o a n s v arli g e



V e dli g e h ol d g e ni n v e st er i n g s aft al e - I SI N
F or at et a bl er e e n g e ni n v e st eri n g s aft al e p å I SI N - ni v e a u f or u d s ætt e s d et at d er fi n d e s e n
g e ni n v e st eri n g s aft al e p å V P- k o nt o e n.

H vi s d er i k k e e k si st er er e n g e ni n v e st eri n g s aft al e p å k o nt o e n vil d e n n e a ut o m ati s k bli v e et a bl er et m e d
M Æ N G D E B E H A N D LI N G S K O D E = N E J, n år d er et a b l er e s e n g e ni n v e st eri n g s aft al e p å I SI N- ni v e a u.

B e h a n dli n g h o s d e n k o nt o a n s v arli g e
Til et a bl eri n g ell er æ n dri n g af g e n i n v e st eri n g s aft al e p å I SI N- ni v e a u a n v e n d e s tr a n s a kti o n e n " V e dli g e h ol d
g e ni n v e st eri n g s aft al e - I SI N ".

M æ n g d e b e h a n dli n g s k o d e
I f elt et a n gi v e s k o nt o h a v er s ø n s k e o m g e ni n v e st eri n g.

B e m ær k
H vi s k o nt o h a v er ø n s k er at bli v e i n f or m er et, n år d er er m uli g h e d f or g e ni n v e st eri n g af u d b ytt e f or e n
i n v e st eri n g sf or e ni n g, f or at k u n n e t a ge stilli n g fr a g a n g til g a n g, er d et d e n k o nt o a n s v arli g e d er s k al s ør g e
f or d e n n e i nf or m ati o n.

P r o c e nt
I f elt et a n gi v e s d e n pr o c e nt d el af u d b yttet, d er s k al a n v e n d e s til g e ni n v e st eri n g.

                                                                                                                                          Si d e 2 4 af 4 5 0
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                                                               S Y S T E M V E J L E D NI N G



F elt et m å k u n u df yl d e s, h vi s M Æ N G D E B E H A N D LI N G S K O D E er s at til J A. H vi s f elt et i k k e er u df yl dt,
s ætt e s pr o c e nt til 1 0 0.

N a v n e n ot eri n g s k o d e
K o d e n a n gi v er o m d e n y e i n v e st eri n g sf or e ni n g s a n d el e s k al n ot er e s p å n a v n ell er ej. H vi s k o d e n i k k e er
u df yl dt, vil d e n a ut o m ati s k bli v e s at til N E J.

U d d at a                                                                            M o dt a g er
TI 2 0 3 6 4 v Et a bl eri n g af g e ni n v e st eri n g s aft al e I SI N           D e n k o nt o a n s v arli g e
TI 2 0 3 6 5 v Æ n dri n g af g e ni n v e st eri n g s aft al e I SI N               D e n k o nt o a n s v arli g e


Sl et ni n g af g e ni n v e st eri n g s aft al e - I SI N
B e h a n dli n g h o s d e n k o nt o a n s v arli g e
Til sl et ni n g af g e ni n v e st eri n g s aft al e p å I SI N- ni v e a u a n v e n d e s tr a n s a kti o n e n " v e dli g e h ol d
g e ni n v e st eri n g s aft al e - I SI N ".

U d d at a                                                                            M o dt a g er
TI 2 0 3 6 6 v Sl et ni n g af g e ni n v e st eri n g s aft al e I SI N              D e n k o nt o a n s v arli g e


P o st n u m m erf or d eli n g e n p å p or t ot a k s eri n g


      B y a n gi v el s e ( = k ar a kt erf elt) o g

r el e v a nt e f or p o st v æ s e n et s m uli g h e d f or u b e s v ær et l e v eri n g til a dr e s s at e n       jf. n e d e n st å e n d e
s k ær m bill e d e:




                                                                                                                                            Si d e 2 5 af 4 5 0
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                                                          S Y S T E M V E J L E D NI N G




Af b et y d ni n g f or d e n pp or t of a k t ur eri n g , V P g e n n e mf ør er o v er f or d e k o nt of ør e n d e i n stit utt er ( KI), d er h ar
f or s e n d el s e s aft al e m e d V P er
til b e st e m m el s e af p o stf or d eli n g s o mr å d e

     1: D a n m ar k,
     2: Gr ø nl a n d o g F ær ø er n e o g
     3: Ø vri g e u dl a n d

K u n b e n ytt e s p o st n u m m er.




                                                                                                                               Si d e 2 6 af 4 5 0
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                                                               S Y S T E M V E J L E D NI N G



0 2 Tr a n s a k ti o n er o g i nf o m e d d el el s er
S y st e m o v er bli k f or p eri o di s k e f u n k ti o n er

R e nt e tr a n s a kti o n er - i n d s e n d e r, i nf o er o g m o dt a g er
Et a bl eri n g af v al ut a k or r e k ti o n s b el ø b
P K ( T C 2 0 1 0 2 v)
I nf o- m e d d el el s er:                                                                                M o dt a g er ( k o m m e nt ar):
      Et a bl eri n g af v al ut a k orr e kti o n ( TI 2 0 1 0 9 v)                                       PK
      L u k ni n g af v al ut a k orr e kti o n ( TI 2 0 1 4 1 v)                                          P K ( h vi s d er e k si st er er e n s o m
                                                                                                           s k al l u k k e s)

Et a bl eri n g af v al ut a k or r e k ti o n s b el ø b
V P ( T C 2 0 1 0 2 v)
I nf o- m e d d el el s er:                                                                                M o dt a g er ( k o m m e nt ar):
      Et a bl eri n g af v al ut a k orr e kti o n - Fi n a n sr å d et ( TI 2 0 1 1 2 v)                  All e
      L u k ni n g af v al ut a k orr e kti o n - Fi n a n sr å d et ( TI 2 0 1 1 3 v)                     All e ( h vi s d er e k si st er er e n s o m
                                                                                                           s k al l u k k e s)

Æ n dri n g af v al ut a k or r e k ti o n s b el ø b
P K ( T U 2 0 1 0 2 v)
I nf o- m e d d el el s er:                                                                                M o dt a g er ( k o m m e nt ar):
      Æ n dri n g af v al ut a k orr e kti o n ( TI 2 0 1 1 8 v)                                           PK
      Æ n dri n g af v al ut a k orr e kti o n - Fi n a n sr å d et ( TI 2 0 1 3 2 v)                      All e

Sl et ni n g af v al ut a k or r e k ti o n b el ø b
P K ( T D 2 0 1 0 2 v)
I nf o- m e d d el el s er:                                                                                M o dt a g er ( k o m m e nt ar):
      L u k ni n g af v al ut a k orr e kti o n ( TI 2 0 1 4 1 v)                                          PK

Sl et ni n g af v al ut a k or r e k ti o n s b el ø b
V P ( T D 2 0 1 0 2 v)
I nf o- m e d d el el s er:                                                                                M o dt a g er ( k o m m e nt ar):
      L u k ni n g af v al ut a k orr e kti o n - Fi n a n sr å d et ( TI 2 0 1 1 3 v)                     All e

Et a bl eri n g af k r y d s k ur s f or et h a n d el s pr o d u k t
U D ( T C 2 0 1 0 5 v)
I nf o- m e d d el el s er:                                                                                M o dt a g er ( k o m m e nt ar):
      Et a bl eri n g af kr y d s k ur s f or et h a n d el s pr o d u kt ( TI 2 0 1 1 9 v)                U D
      Et a bl eri n g af kr y d s k ur s f or et h a n d el s pr o d u kt, k o pi ( TI 2 0 1 5 1 v)        All e ( d o g k u n h vi s p a pir et er
                                                                                                           p u bli c er et)

Æ n dri n g af k r y d s k ur s f or et h a n d el s pr o d u k t
U D ( T U 2 0 1 0 5 v)
I nf o- m e d d el el s er:                                                                                M o dt a g er ( k o m m e nt ar):
      Æ n dri n g af kr y d s k ur s f or et h a n d el s pr o d u kt ( TI 2 0 1 2 0 v)                    U D
      Æ n dri n g af kr y d s k ur s f or et h a n d el s pr o d u kt, k o pi ( TI 2 0 1 5 2 v)            All e ( d o g k u n h vi s p a pir et er
                                                                                                           p u bli c er et)

Sl et ni n g af k r y d s k ur s f or et h a n d el s pr o d u k t
U D ( T D 2 0 1 0 5 v)
I nf o- m e d d el el s er:                                                                                M o dt a g er ( k o m m e nt ar):

                                                                                                                            Si d e 2 7 af 4 5 0
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                                                                  S Y S T E M V E J L E D NI N G



      Sl et ni n g af kr y d s k ur s f or et h a n d el s pr o d u kt ( TI 2 0 1 2 1 v)                            U D
      Sl et ni n g af kr y d s k ur s f or et h a n d el s pr o d u kt, k o pi ( TI 2 0 1 5 3 v)                    All e ( d o g k u n h vi s p a pir et er
                                                                                                                    p u bli c er et)

Et a bl eri n g a f r e nt e k ar a k t eri sti k a (v p. O N LI N E )
I nf o- m e d d el el s er:                                                                                         M o dt a g er ( k o m m e nt ar):
      Et a bl eri n g af r e nt e p eri o d er, k o pi ( TI 2 0 1 4 3 v)                                            All e ( d o g k u n h vi s p a pir et er
                                                                                                                    p u bli c er et)


Æ n dri n g a f r e nt e k ar a k t eri s t i ka
                                              ka ( v p. O N LI N E)
I nf o- m e d d el el s er:                                                                                         M o dt a g er ( k o m m e nt ar):
      Et a bl eri n g af r e nt e p eri o d er, k o pi ( TI 2 0 1 4 3 v)                                            All e ( d o g k u n h vi s p a pir et er
                                                                                                                    p u bli c er et)
      Sl et ni n g af r e nt e p eri o d er, k o pi ( TI 2 0 1 4 7 v)                                               All e ( d o g k u n h vi s p a pir et er
                                                                                                                    p u bli c er et)


Sl et ni n g a f r e n t e k ar a k t eri sti k a ( v p. O N LI N E)
I nf o- m e d d el el s er:                                                                                         M o dt a g er ( k o m m e nt ar):
      Sl et ni n g af r e nt e p eri o d er, k o pi ( TI 2 0 1 4 7 v)                                               All e ( d o g k u n h vi s p a pir et er
                                                                                                                    p u bli c er et)


Et a bl eri n g a f e n r e nt e s at s (v p. O N LI N E )
I nf o- m e d d el el s er:                                                                                         M o dt a g er ( k o m m e nt ar):
      Et a bl eri n g af r e nt e s at s, k o pi ( TI 2 0 1 5 0 v)                                                  All e ( d o g k u n h vi s p a pir et er
                                                                                                                    p u bli c er et)

Æ n dri n g a f r e nt e s at s (v p. O N LI N E )
I nf o- m e d d el el s er:                                                                                         M o dt a g er ( k o m m e nt ar):
      Æ n dri n g af r e nt e s at s, k o pi ( TI 2 0 1 7 2 v)                                                      All e ( d o g k u n h vi s p a pir et er
                                                                                                                    p u bli c er et)

Sl et ni n g a f r e nt e s a t s ( v p. O N LI N E) E)
I nf o- m e d d el el s er:                                                                                         M o dt a g er ( k o m m e nt ar):
      Sl et ni n g af r e nt e s at s, k o pi ( TI 2 0 1 4 9 v)                                                     All e ( d o g k u n h vi s p a pir et er
                                                                                                                    p u bli c er et)

R e nt efl y t ni n g
K I ( T C 2 0 1 0 3 v)
I nf o- m e d d el el s er:                                                                                         M o dt a g er ( k o m m e nt ar):
      R e nt efl yt ni n g ( TI 2 0 1 2 7 v)                                                                        KI ( b å d e m o dt a g e n d e o g
                                                                                                                    af s e n d e n d e)
      Fr a g a n g i li k vi dit et ( TI 2 0 1 7 7 v) * *)                                                          P K (f or i n v ol v er et p e n g e k o nt o)
      Til g a n g i li k vi dit et ( TI 2 0 1 7 8 v) * *)                                                           P K (f or i n v ol v er et p e n g e k o nt o)
      N ett o p å vir k ni n g i li k vi d it et pr. di s p o siti o ns d a g ( TI 2 0 1 8 2 v) * *)                PK

K or r e k ti o n a f o mr e g n e t r e nt e b el øb
                                                   øb
P K / K I ( T C 2 0 1 0 4 v)
I nf o- m e d d el el s er:                                                                                         M o dt a g er ( k o m m e nt ar):
      K orr e kti o n af r e nt e o g br u tt o u d b ytt e ( TI 2 0 1 2 8 v)                                       KI o g P K

Æ n dri n g a f PI _ K O N T O N R _ R E N T E i g a m m el t s y st e m D P 1 2 T 0 0                 k o nt o o pl y s ni n g er , æ n dri n g
I nf o- m e d d el el s er:                                                                                          M o dt a g er ( k o m m e nt ar):

                                                                                                                                      Si d e 2 8 af 4 5 0
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                                                                   S Y S T E M V E J L E D NI N G



          R e nt efl yt ni n g ( TI 2 0 1 2 7 v) *)                                                                 KI
          Fr a g a n g i li k vi dit et ( TI 2 0 1 7 7 v) * * *)                                                    P K (f or i n v ol v er et p e n g e k o nt o)
          Til g a n g i li k vi dit et ( TI 2 0 1 7 8 v) * * *)                                                     P K (f or i n v ol v er et p e n g e k o nt o)
          N ett o p å vir k ni n g i li k vi dit et pr. di s p o siti o n s d a g ( TI 2 0 1 8 2 v) * * *)          PK

*)             D a n n e s k u n h vi s d er er b er e g n et pr o v e n u.

* *)           D a n n e s k u n h vi s d er er b er e g n et pr o v e n u, s o m e n d n u i k k e er b et ali n g sf or mi dl et. D et b er e g n e d e
               pr o v e n u vil fr a g å g a m m el p e n g e k o nt o o g til g å n y p e n g e k o nt o.

* * *)         D a n n e s k u n h vi s d er er b er e g n et pr o v e n u, s o m e n d n u i k k e er b et ali n g sf or mi dl et. All e b er e g n e d e
               pr o v e n u er vil fr a g å g a m m el p e n g e k o nt o o g til g å n y p e n g e k o nt o.


K o nt o gr u p p eri n g f or r e nt e - i n d s e n d er, i nf o er o g m o dt a g er

Et a bl eri n g af k o nt o gr u p p eri n g
U D ( T C 2 0 1 1 0 v)
I nf o- m e d d el el s er:                                                                                         M o dt a g er ( k o m m e nt ar):
      Et a bl eri n g af k o nt o gr u p p eri n g ( TI 2 0 1 2 2 v)                                                U D
      Æ n dri n g af k o nt o gr u p p eri n g ( TI 2 0 1 2 3 v) *)                                                 U D
      Til g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( TI 2 0 1 0 7 v) * *)                         PK
      Fr a g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( TI 2 0 1 6 8 v) * *)                        PK
      N ett o p å vir k ni n g i li k vi d it et pr. di s p o siti o ns d a g ( TI 2 0 1 8 2 v) * *)                PK
      P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( TI 2 0 1 3 6 v) * *)                        U D

Æ n dri n g af k o nt o gr u p p eri n g
U D ( T U 2 0 1 1 0 v)
I nf o- m e d d el el s er:                                                                                         M o dt a g er ( k o m m e nt ar):
      Æ n dri n g af k o nt o gr u p p eri n g ( TI 2 0 1 2 3 v)                                                    U D
      Til g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( TI 2 0 1 0 7 v) * * *)                       PK
      Fr a g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( TI 2 0 1 6 8 v) * * *)                      PK
      N ett o p å vir k ni n g i li k vi dit et pr. di s p o siti o n s d a g ( TI 2 0 1 8 2 v) * * *)              PK
      P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( TI 2 0 1 3 6 v) * * * *)                    U D

*)               D a n n e s k u n h vi s e n d ef a ult k o nt o gr u p p eri n g er st att e s af e n n y d ef a ult k o nt o gr u p p eri n g

* *)             D a n n e s k u n h vi s e n d ef a ult k o nt o gr u p p eri n g er st att e s af e n n y d ef a ult k o nt o gr u p p eri n g, o g d er er
                 b er e g n et pr o v e n u, s o m e n d n u i k k e er b et ali n g sf or mi dl et. D et b er e g n e d e pr o v e n u vil til g å
                 d e b et k o nti i n y d ef a ult k o nt o gr u p p eri n g o g fr a g å d e b et k o nti i g a m m el k o nt o gr u p p eri n g.

* * *)           D a n n e s k u n h vi s d er er b er e g n et pr o v e n u, s o m e n d n u i k k e er b et ali n g sf or mi dl et, o g et af f øl g e n d e
                 æ n dr e s:
  a)                        N år e n i k k e- d ef a ult k o nt o gr u p p eri n g s p eri o d e æ n dr e s ( st art d at o ell er sl ut d at o) s ål e d e s, at
                            d e n f al d er u d e n f or d et b er e g n e d e pr o v e n u' s b et ali n g sf or mi dli n g s d a g. D et b er e g n e d e
                            pr o v e n u vil fr a g å d e b et k o nti i i k k e- d ef al ut k o nt o gr u p p eri n g o g til g å d e b et k o nti i d ef a ult
                            k o nt o gr u p p eri n g i d e n v al ut a, s o m pr o v e n u et er b er e g n et i.
     b)                     N år pr o c e ntf or d eli n g æ n dr e s ell er d er tilf øj e s n y e k o nti. D et b er e g n e d e pr o v e n u vil bli v e
                            g e n b er e g n et o g f or d elt u d p å d e d e b et k o nti, d er er i k o nt o gr u p p eri n g e n.
                  c)          N år k o nt o gr u p p e k o d e n æ n dr e s fr a i k k e- d ef a ult til d ef a ult. D et b er e g ne d e pr o v e n u vil fr a g å
                            d e b et k o nti i g a m m el d ef a ult k o nt o gr u p p eri n g o g til g å d e b et k o nti i n y d ef a ult
                            k o nt o gr u p p eri n g.


                                                                                                                                      Si d e 2 9 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G




* * * *)     D a n n e s h vi s d er er b er e g n et pr o v e n u, s o m e n d n u i k k e er b et ali n g sf or mi dl et.

Fj er n d e b et k o nti f r a k o nt o gr u p p eri n g
U D ( T D 2 0 1 1 0 v)
I nf o- m e d d el el s er:                                                                                      M o dt a g er ( k o m m e nt ar):
Sl et ni n g af k o nt o gr u p p eri n g ( TI 2 0 1 2 4 v)                                                      U D

Til k n y t ni n g af h a n d el s pr o d u k t til e n k o nt o gr u p p eri n g
U D ( T C 2 0 1 1 1 v)
I nf o- m e d d el el s er:                                                                                      M o dt a g er ( k o m m e nt ar):
       Til k n yt ni n g af h a n d el s pr o d u kt t il e n k o nt o gr u p p eri n g ( TI 2 0 1 2 5 v)        U D
       Til g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( TI 2- 0 1 0 7 v) *)                      PK
       Fr a g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( TI 2 0 1 6 8 v) *)                      PK
       N ett o p å vir k ni n g i li k vi d it et pr. di s p o siti o n s d a g ( TI 2 0 1 8 2 v) *)             PK
       P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( TI 2 0 1 3 6 v) *)                      U D

Sl et ni n g af h a n d el s pr o d u k t f r a e n k o nt o gr u p p eri n g
U D ( T D 2 0 1 1 1 v)
I nf o- m e d d el el s er:                                                                                      M o dt a g er ( k o m m e nt ar):
      Sl et ni n g af h a n d el s pr o d u kt fr a e n k o nt o gr u p p eri n g ( TI 2 0 1 2 6 v)              U D
      Til g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( TI 2 0 1 0 7 v) * *)                      PK
      Fr a g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( TI 2 0 1 6 8 v) * *)                     PK
      N ett o p å vir k ni n g i li k vi d it et pr. di s p o siti o ns d a g ( TI 2 0 1 8 2 v) * *)             PK
      P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( TI 2 0 1 3 6 v) * *)                     U D

*)         D a n n e s k u n h vi s d er er b er e g n et pr o v e n u, s o m e n d n u i k k e er b et ali n g sf or mi dl et, o g
           - h a n d el s pr o d u kt et til k n ytt e s e n i k k e- def a ult k o nt o gr u p p eri n g i s a m m e v al ut a, o g
           - k o nt o gr u p p eri n g s p eri o d e n p å " n y " k o nt o gr u p peri n g f al d er i n d e n f or d et b er e g n e d e
               pr o v e n u' s b et ali n g sf or mi dli n g s d a g

           D et b er e g n e d e pr o v e n u vil fr a g å d e b et k o nti i d ef a ult k o nt o gr u p peri n g, o g til g å d e b et k o nti i
           i k k e- d ef a ult k o nt o gr u p p eri n g.

* *)       D a n n e s k u n h vi s d er er b er e g n et pr o v e n u, s o m e n d n u i k k e er b et ali n g sf or mi dl et. D et b er e g n e d e
           pr o v e n u vil fr a g å d e b et k o nti i g a m m el k o nt o gr u p p eri n g o g til g å d e b et k o nti i d ef a ult
           k o nt o gr u p p eri n g i d e n v al ut a, pr o v e n u et er b er e g n et i.


Æ n dri n g af k o nt o gr u p p e f or h a n d el s pr o d u k t er
U D ( T U 2 0 1 1 7 v)
I nf o- m e d d el el s er:                                                                                      M o dt a g er ( k o m m e nt ar):
      Til k n yt ni n g af h a n d el s pr o d u kt t il e n k o nt o gr u p p eri n g ( TI 2 0 1 2 5 v)         U D
      Sl et ni n g af h a n d el s pr o d u kt til e n k o nt o gr u p p eri n g ( TI 2 0 1 2 6 v)               U D
      Til g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( TI 2 0 1 0 7 v) *)                        PK
      Fr a g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( TI 2 0 1 6 8 v) *)                       PK
      N ett o p å vir k ni n g i li k vi d it et pr. di s p o siti o n s d a g ( TI 2 0 1 8 2 v) *)              PK
      P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( TI 2 0 1 3 6 v) *)                       U D

*)           D a n n e s k u n h vi s d er er b er e g n et pr o v e n u, s o m e n d n u i k k e er b et ali n g sf or mi dl et, o g et af f øl g e n d e
            f or h ol d er g æl d e n d e:




                                                                                                                                   Si d e 3 0 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G




            1)          N å r h a n d el s pr o d u k t e t fl y t t eess f rraa e n i k k e- d ef a ult
                                                                                                     ult k o nt o gr u p p eri n g i e n v al ut a ( D K K)
                                                                                                                                                         K ) til
                                                                                                                                                             ti l
                        e n a n d e n i k k e-
                                             e-d ef a ult k o nt o gr u p p eri n g i e n a n d e n v al ut a (f. e k ss.. N O K).

                        D et b er e g n e d e pr o v e n u v il fr a g å d e b et k o nti i g a m m el i k k e- d ef a ult k o nt o gr u p p eri n g ( D K K)
                        o g til g å d e b et k o nti i d ef a ult k o nt o gr u p p eri n g i d e n v al ut a ( D K K) pr o v e n u et er b er e g n et i.

            2)          N å r h a n d el s pr o d u k t e t fl y t t eess f rraa o g ti
                                                                                     till e n i k k e-
                                                                                                    e-dd ef a ul t k o nt o gr u p p eri n g i s a m m e v al ut a
                        og
                        a)          " n y " i k k e- d ef a ult k o nt o gr u p p eri n g s p eri o d e f al d er i n d e n f or d et b er e g n e d e
                                    pr o v e n u' s b et ali n g sf or mi dli n g s d a g. D et b er e g n e d e pr o v e n u vil fr a g å d e b et k o nti i
                                    g a m m el k o nt o gr u p p eri n g o g til g å d e b et k o nti i n y k o nt o gr u p p eri n g.
                        b)         " n y " i k k e- d ef a ult k o nt o gr u p p eri n g s p eri o d e f al d er u d e n f or d et b er e g n e d e
                                    pr o v e n u' s b et ali n g sf or mi dli n g s d a g. D et b er e g n e d e pr o v e n u vil fr a g å d e b et k o nti i
                                    g a m m el i k k e- d ef a ult k o nt o gr u p p eri n g o g til g å d e b et k o nti i d ef a ult
                                    k o nt o gr u p p eri n g m e d s a m m e v al ut a.


R e nt ef u n kti o n er
O mr e g ni n g a f r e nt e b el øb ø b i v al ut a
I nf o- m e d d el el s er:                                                                                        M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el O mr e g ni n g af pr o v e n u til b a si s v al ut a                   D C ( b e h a n dli n g- af- pr o v e n u
      ( TI 2 0 1 6 6 v)                                                                                            k o d e = 4)
      O mr e g n e d e r e nt e b el ø b o g br utt o u d b ytt e til b a si s v al ut a ( TI 2 0 1 0 8 v)         KI o g P K
      Af sl ut ni n g p å p eri o di s k k ør s el - O mr e g ni n g af pr o v e n u til b a si s v al ut a        D C ( b e h a n dli n g - af- pr o v e n u
      ( TI 2 0 1 6 7 v)                                                                                            k o d e = 4)

R e nt e b er e g ni n g
I nf o- m e d d el el s er:                                                                                        M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el     B er e g ni n g af pr o v e n u ( TI 2 0 1 6 6 v)                    D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                   k o d e = 1)
     Pr o v e n u o pl y s ni n g er ( TI 2 0 1 0 5 v)                                                             KI
     T ot al b er e g n et r e nt er pr. h a n d el s pr o d u kt ( TI 2 0 1 3 7 v)                                U D
     Æ n dri n g er i t ot al b er e g n et r e nt e pr. h a n d el s pr o d u kt ( TI 2 0 2 4 5 v)                U D
     P e n g etr æ k pr. d e b et k o nt o i k o nt o gr u p p e n ( TI 2 0 1 3 6 v)                               U D
     Til g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( TI 2 0 1 0 7 v)                              PK
     Fr a g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( TI 2 0 1 6 8 v)                             PK
     Fr a g a n g i li k vi dit et ( TI 2 0 1 7 7 v)                                                               PK
     Til g a n g i li k vi dit et ( TI 2 0 1 7 8 v)                                                                PK
     N ett o p å vir k ni n g i li k vi dit et pr . di s p o siti o n s d a g ( TI 2 0 1 8 2 v)                    PK
     Af sl ut ni n g p å p eri o di s k k ør s el B er e g ni n g af pr o v e n u ( TI 2 0 1 6 7 v)                D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                   k o d e = 1)

Æ n dri n g i r e nt e p eri o d e n
I nf o- m e d d el el s er:                                                                                        M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el     Æ n dri n g er til pr o v e n u ( TI 2 0 1 6 6 v)                    D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                   k o d e = 2 3)
     Pr o v e n u o pl y s ni n g er ( TI 2 0 1 0 5 v)                                                             KI
     Æ n dri n g er til pr o v e n u o pl y s ni n g er ( TI 2 0 2 4 3 v)                                          KI
     Æ n dri n g er til p o st eri n g s gr u n dl a g pr. V P- k o nt o ( TI 2 0 2 4 4 v)                         PK
     P o st eri n g s gr u n dl a g pr. v ær di p a pir k o nt o pr. p e n g e k o nt o ( TI 2 0 1 3 8 v)          PK
     Af sl ut ni n g p å p eri o di s k k ør s el Æ n dri n g er til pr o v e n u ( TI 2 0 1 6 7 v)                D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                   k o d e = 2 3)

                                                                                                                                     Si d e 3 1 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G




F or el ø bi g r e nt e a d vi s eri n g
I nf o- m e d d el el s er:                                                                                        M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el      F or el ø bi gt r e nt e a d vi s ( TI 2 0 1 6 6 v)                 D C ( b e h a n dli n g- af- p r o v e n u
                                                                                                                   k o d e = 9)
      F or el ø bi g r e nt e a d vi s A dr e s s e o pl y s ni n g er ( TI 2 0 1 9 9 v)                           KI
      F or el ø bi g r e nt e a d vi s B et ali n g s o pl y s ni n g er ( TI 2 0 2 0 0 v)                         KI
      Af sl ut ni n g p å p eri o di s k k ør s el - F or el ø bi gt r e nt e a d vi s ( TI 2 0 1 6 7 v)           D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                   k o d e = 9)

D a n n el s e a f li k vi dit ets
                               ets o v er si g t
I nf o- m e d d el el s er:                                                                                        M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el D a n n el s e af li k vi dit et s o v er si gt ( TI 2 0 1 6 6 v)        D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                   k o d e = 2)
     D e n e n k elt e d elt a g er s f or v e nt e d e p e n g etr æ k pr. p e n g e k o nt o pr.                 PK
     di s p o siti o n s d a g ( TI 2 0 1 3 5 v)
     D e n e n k elt e d elt a g er s b er e g n et kr e dit eri n g er pr. p e n g e k o nt o pr.                 PK
     di s p o siti o n s d a g ( TI 2 0 1 3 4 v)
     P e n g etr æ k pr. d e b et k o nt o i k o nt o gr u p p e n ( TI 2 0 1 3 6 v)                               U D
     N ett o p å vir k ni n g i li k vi dit et pr . di s p o siti o n s d a g ( TI 2 0 1 8 2 v)                    PK
     Af sl ut ni n g p å p eri o di s k k ør s el D a n n el s e af li k v i dit et s o v er si gt                 D C ( b e h a n dli n g- af- pr o v e n u
     ( TI 2 0 1 6 7 v)                                                                                             k o d e = 2)

B et ali n g sf or mi dli n g
I nf o- m e d d el el s er:                                                                                        M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el      D a n n el s e af b et ali n g sf or mi dli n g ( TI 2 0 1 6 6 v)   D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                   k o d e = 3)
     P o st eri n g s gr u n dl a g pr. v ær di p a pir k o nt o pr. p e n g e k o nt o ( TI 2 0 1 3 8 v)          PK
     P o st eri n g s gr u n dl a g pr. d e b et k o nt o ( TI 2 0 1 9 7 v)                                        PK
     P o st eri n g s gr u n dl a g pr. af k a st / afr e g ni n g s k o nt o ( TI 2 0 1 9 8 v)                    PK
     Af st e m ni n g s o pl y s ni n g er, p eri o di s k e b et ali n g er ( TI 2 0 1 0 6 v)                     U D
     Af sl ut ni n g p å p eri o di s k k ør s el D a n n el s e af b et ali n g sf or mi dli n g                  D C ( b e h a n dli n g- af- pr o v e n u
     ( TI 2 0 1 6 7 v)                                                                                             k o d e = 3)

F or el ø bi g b et ali n g sf or mi dli n g
I nf o- m e d d el el s er:                                                                                        M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el F or el ø bi g b et ali n g sf or mi dli n g ( TI 2 0 1 6 6 v)           D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                   k o d e = 2 2)
     P o st eri n g s gr u n dl a g pr. v ær di p a pir k o nt o pr. p e n g e k o nt o ( TI 2 0 1 3 8 v)          PK
     Af sl ut ni n g p å p eri o di s k k ør s el F or el ø bi g b et ali n g sf or mi dli n g                     D C ( b e h a n dli n g - af- pr o v e n u
     ( TI 2 0 1 6 7 v)                                                                                             k o d e = 2 2)

E n d eli g r e nt e a d vi s eri n g
I nf o- m e d d el el s er:                                                                                        M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el      E n d eli gt r e nt e a d vi s ( TI 2 0 1 6 6 v)                    D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                   k o d e = 1 8)
      R e nt e a d vi s B et ali n g s o pl y s ni n g er ( TI 2 0 1 3 9 v)                                        KI
      R e nt e a d vi s A dr e s s e o pl y s ni n g er ( TI 2 0 1 4 0 v)                                          KI
      Af sl ut ni n g p å p eri o di s k k ør s el E n d eli gt r e nt e a d vi s ( TI 2 0 1 6 7 v)                D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                   k o d e = 1 8)

Æ n dri n g r e nt e a d vi s
I nf o- m e d d el el s er:                                                                                        M o dt a g er ( k o m m e nt ar):


                                                                                                                                     Si d e 3 2 af 4 5 0
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                                                                  S Y S T E M V E J L E D NI N G



      St art p å p eri o di s k k ør s el        Æ n dri n g til r e nt e a d vi s ( TI 2 0 1 6 6 v)            D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                k o d e = 2 4)
      Æ n dri n g er til r e nt e a d vi s    b et ali n g s o pl y s ni n g er ( TI 2 0 2 4 6)                 KI
      R e nt e a d vi s B et ali n g s o pl y s ni n g er ( TI 2 0 1 3 9 v)                                     KI
      R e nt e a d vi s A dr e s s e o pl y s ni n g er ( TI 2 0 1 4 0 v)                                       KI
      Af sl ut ni n g p å p eri o di s k k ør s el Æ n dri n g til r e nt e a d vi s ( TI 2 0 1 6 7 v)          D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                k o d e = 2 4)

P u bli c eri n g a f R e nt e o pl y s ni n g er
I nf o- m e d d el el s er:                                                                                     M o dt a g er ( k o m m e nt ar):
      Et a bl eri n g af r e nt e p eri o d er, k o pi ( TI 2 0 1 4 3 v)                                        All e


      Et a bl eri n g af r e nt e s at s, k o pi ( TI 2 0 1 5 0 v)                                              All e


      Et a bl eri n g af kr y d s k ur s f or et h a n d el s pr o d u kt, k o pi ( TI 2 0 1 5 1 v)             All e


      Et a bl eri n g af i n d e k sf a kt or ( TI 2 0 1 0 3 v)                                                 All e



M å n e dli g e x t r a k t a f r e nt e o pl y s n i n g er
                                                           er a k t u ell e o pl y s ni n g e r
I nf o- m e d d el el s er:                                                                                     M o dt a g er ( k o m m e nt ar):
      A kt u ell e r e nt e p eri o d er ( TI 2 0 1 5 8 v)                                                      All e


      A kt u ell e r e nt e s at s er ( TI 2 0 1 5 9 v)                                                         All e


      A kt u el kr y d s k ur s f or et h a n d el s pr o d u kt ( TI 2 0 1 6 0 v)                              All e


      Et a bl eri n g af i n d e k sf a kt or ( TI 2 0 1 0 3 v)                                                 All e



P å m i n d el ssee o m æ n dri n g a f v ari a b e l r e nt e
I nf o- m e d d el el s er:                                                                                     M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el - A d vi s er i n g o m v ari a b el r e nt e ( TI 2 0 1 6 6 v)       D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                k o d e = 7)
      P å mi n d el s e o m v ari a b el r e nt e - u d e n af vi g e n d e r e nt e b e h a n dli n g          U D
      ( TI 2 0 1 1 1 v)
      P å mi n d el s e o m v ari a b el r e nt e - m e d af vi g e n d e r e nt e b e h a n dli n g            U D
      ( TI 2 0 6 1 9 v)
      Af sl ut ni n g p å p eri o di s k k ør s el a d vi s eri n g o m v ari a b el                            D C ( b e h a n dli n g- af- pr o v e n u
      r e nt e( TI 2 0 1 6 7 v)                                                                                 k o d e = 7)

P å mi n d el s e o m æ n dri n g a f v ari a b e l k r y d s k ur s
I nf o- m e d d el el s er:                                                                                     M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el A d vi s eri n g o m v ari a b el kr y d s k ur s                     D C ( b e h a n dli n g- af- pr o v e n u
      ( TI 2 0 1 6 6 v)                                                                                         k o d e = 8)
      P å mi n d el s e o m v ari a b el kr y d s k ur s ( TI 2 0 1 7 3 v)                                      U D
      Af sl ut ni n g p å p eri o di s k k ør s el a d vi s eri n g o m v ari a b el kr y d s k ur s            D C ( b e h a n dli n g- af- pr o v e n u
      ( TI 2 0 1 6 7 v)                                                                                         k o d e = 8)



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R e nt ef u n k ti o n er - F or e s p ør g sl er

F or e s p ør g s el p å V al ut a k or r e k ti o n s b el ø b
P K ( T R 2 0 1 0 2 v)
I nf o- m e d d el el s er:                                                                                      M o dt a g er ( k o m m e nt ar):
      S v ar p å f or e s p ør g s el                                                                            P K (f år v e d f or e s p ør g s el d e
                                                                                                                 v al ut a k orr e kti o n s b el ø b d e s el v
                                                                                                                 h ar i n dr a p p ort er et.

                                                                                                                 H ar P K i k k e i n dr a p p ort er et
                                                                                                                 v al ut a k orr e kti o n s b el ø b, vil d et
                                                                                                                 v ær e Fi n a n sr å d et s
                                                                                                                 v al ut a k orr e kti o n s b el ø b d er
                                                                                                                 vi s e s)

F or e s p ør g s el p å k r y d s k ur s f or et h a n d el s pr o d u k t
A L L E ( T R 2 0 1 0 5 v)
I nf o- m e d d el el s er:                                                                                      M o dt a g er ( k o m m e nt ar):
      S v ar p å f or e s p ør g s el                                                                            All e ( gi v er alti d d e n a kt u ell e
                                                                                                                 kr y d s k ur s)


F or e s p ør g s el p å k o nt o gr u p p eri n g
U D ( T R 2 0 1 1 0 v)
I nf o- m e d d el el s er:                                                                                      M o dt a g er ( k o m m e nt ar):
      S v ar p å f or e s p ør g s el, k o nt o gr u p p eri n g ( TI 2 0 1 6 3 v)                               U D



F or e s p ør g s el p å h a n d el s pr o d u k t er i e n k o nt o gr u p p eri n g
U D ( T R 2 0 1 1 1 v)
I nf o- m e d d el el s er:                                                                                      M o dt a g er ( k o m m e nt ar):
      S v ar p å f or e s p ør g s el, til k n ytt e d e h a n d el s pr o d u kt er i e n k o nt o gr u p p e   U D
      ( TI 2 0 1 6 4 v)

F or e s p ør g s el p å pr o v e n u
KI ( T R 2 0 1 1 3 v)
I nf o- m e d d el el s er:                                                                                      M o dt a g er ( k o m m e nt ar):
      S v ar p å f or e s p ør g s el, pr o v e n u ( TI 2 0 1 5 5 v)                                            KI

F or e s p ør g s el p å pr o v e n u b e v æ g el s er
KI ( T R 2 0 1 1 4 v)
I nf o- m e d d el el s er:                                                                                      M o dt a g er ( k o m m e nt ar):
      S v ar p å f or e s p ør g s el, pr o v e n u b e v æ g el s er ( TI 2 0 1 5 6 v)                          KI

R e nt ef u n k ti o n er - Til b a g e k al d el s e

D a n a k ti v er i f or bi n d el s e m e d til b a g e k al d el s e
I nf o- m e d d el el s er:                                                                                      M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el - D a n a kti v er i f or bi n d el s e m e d                          D C ( b e h a n dli n g- af- pr o v e n u
      til b a g e k al d el s e ( TI 2 0 1 6 6 v)                                                                k o d e = 5)
      St at u s p å b e h ol d ni n g - til b a g e k al d el s e af cl e ari n g ( TI 2 0 2 0 3 v)              KI
      Af sl ut ni n g p å p eri o di s k k ør s el - D a n a kti v er i f or bi n d el s e m e d                 D C ( b e h a n dli n g- af- pr o v e n u
      til b a g e k al d el s e ( TI 2 0 1 6 7 v)                                                                k o d e = 5)


                                                                                                                                   Si d e 3 4 af 4 5 0
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V P fl y t t er
              e r d e bit eri n g e n f rar a " n ø dli d e n d e " p e n g e k o nt of ør e n d e i n stit uutt ti
                                                                                                                 till " n y t " p e n g e k o nt of ør e n d e
i n stit ut
I nf o- m e d d el el s er:                                                                                             M o dt a g er ( k o m m e nt ar):
      Til b a g e k al d el s e af p o st eri n g s gr u n dl a g pr. d e b et k o nt o ( TI 2 0 2 0 6 v)               PK
      Til b a g e k al d el s e af af st e m ni n g s o pl y s ni n g er, p eri o di s k e b et ali n g er              U D
      ( TI 2 0 2 0 8 v)
      P o st eri n g s gr u n dl a g pr. d e b etr e nt e k o nt o ( TI 2 0 1 9 7 v)                                    PK
      Af st e m ni n g s o pl y s ni n g er, p eri o di s k e b et ali n g er ( TI 2 0 1 0 6 v)                         U D
      Til g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( TI 2 0 1 0 7 v)                                  PK
      Fr a g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( TI 2 0 1 6 8 v)                                 PK
      Æ n dri n g af k o nt o gr u p p eri n g ( TI 2 0 1 2 3 v)                                                        U D
      N ett o p å vir k ni n g i li k vi dit et pr . di s p o siti o n s d a g ( TI 2 0 1 8 2 v)                        PK
      P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( TI 2 0 1 3 6 v)                                 U D

Til b a g ef ør s e l a f li k vi dit et
                                      et
I nf o- m e d d el el s er:                                                                                           M o dt a g er ( k o m m e nt ar):
       St art p å p eri o di s k k ør s el - Til b a g ef ør s el af li k vi dit et ( TI 2 0 1 6 6 v)                 D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                      k o d e = 1 4)
      Fr a g a n g i li k vi dit et ( TI 2 0 1 7 7 v)                                                                 PK
      Fr a g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( TI 2 0 1 6 8 v)                               PK
      N ett o p å vir k ni n g i li k vi dit et pr . di s p o siti o n s d a g ( TI 2 0 1 8 2 v)                      PK
      P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( TI 2 0 1 3 6 v)                               U D
      Til b a g e k al d el s e af pr o v e n u o pl y s ni n g er ( TI 2 0 2 0 9 v)                                  KI
      Af sl ut ni n g p å p eri o di s k k ør s el til b a g ef ør s el af li k vi dit et ( TI 2 0 1 6 7 v            D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                      k o d e = 1 4)

Til b a g ef ør s e l a f B o gf øri n g s p o st er
I nf o- m e d d el el s er:                                                                                           M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el - Til b a g ef ør s el af b o gf øri n g s p o st er                        D C ( b e h a n dli n g- af- pr o v e n u
      ( TI 2 0 1 6 6 v)                                                                                               k o d e = 1 5)
      Til b a g e k al d el s e af p o st eri n g s gr u n dl a g pr. v ær di p a pir k o nt o pr.                    PK
      p e n g e k o nt o pr. h a n d el s pr o d u kt ( TI 2 0 2 0 5 v)
      Til b a g e k al d el s e af p o st eri n g s gr u n d l a g pr. d e b et k o nt o ( TI 2 0 2 0 6 v)            PK
      Til b a g e k al d el s e af p o st eri n g s gr u n dl a g pr. af k a st/ afr e g ni n g s k o nt o            PK
      ( TI 2 0 2 0 7 v)
      Til b a g e k al d el s e af af st e m ni n g s o p l y s ni n g er, p eri o di s k e b et ali n g er           U D
      ( TI 2 0 2 0 8 v)
      Af sl ut ni n g p å p eri o di s k k ør s el til b a g ef ør s el af b o gf øri n g s p o st er                 D C ( b e h a n dli n g- af- pr o v e n u
      ( TI 2 0 1 6 7 v)                                                                                               k o d e = 1 5)


K o nt o gr u p p eri n g f or u dtr æ k ni n g - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

Et a bl eri n g a f k o nt o gr u p p eri n g
U D ( T C 2 0 1 1 0 v)
I nf o- m e d d el el s er:                                                                                           M o dt a g er ( k o m m e nt ar):
      Et a bl eri n g af k o nt o gr u p p eri n g ( TI 2 0 1 2 2 v)                                                  U D
      Æ n dri n g af k o nt o gr u p p eri n g ( TI 2 0 1 2 3 v)                                                      U D



  D a n n e s k u n h vi s e n d ef a ult k o nt o gr u p p eri n g     er st att e s af e n n y d ef a ult k o nt o gr u p p eri n g

                                                                                                                                        Si d e 3 5 af 4 5 0
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Æ n dri n g af k o nt o gr u p p eri n g
U D ( T U 2 0 1 1 0 v)
I nf o- m e d d el el s er:                                                                                 M o dt a g er ( k o m m e nt ar):
      Æ n dri n g af k o nt o gr u p p eri n g ( TI 2 0 1 2 3 v)                                            U D

Sl et ni n g af k o nt o gr u p p eri n g
U D ( T D 2 0 1 1 0 v)
I nf o- m e d d el el s er:                                                                                 M o dt a g er ( k o m m e nt ar):
      Sl et ni n g af k o nt o gr u p p eri n g ( TI 2 0 1 2 4 v)                                           U D

Til k n y t ni n g af h a n d el s pr o d u k t til e n k o nt o gr u p p eri n g
U D ( T C 2 0 1 1 1 v)
I nf o- m e d d el el s er:                                                                                 M o dt a g er ( k o m m e nt ar):
       Til k n yt ni n g af h a n d el s pr o d u kt t il e n k o nt o gr u p p eri n g ( TI 2 0 1 2 5 v)   U D

Æ n dri n g af k o nt o gr u p p e f or h a n d el s pr o d u k t er
U D ( T U 2 0 1 1 7 v)
I nf o- m e d d el el s er:                                                                                 M o dt a g er ( k o m m e nt ar):
      Til k n yt ni n g af h a n d el s pr o d u kt t il e n k o nt o gr u p p eri n g ( TI 2 0 1 2 5 v)    U D
      Sl et ni n g af h a n d el s pr o d u kt til e n k o nt o gr u p p eri n g ( TI 2 0 1 2 6 v)          U D

Sl et ni n g af h a n d el s pr o d u k t f r a e n k o nt o gr u p p eri n g
U D ( T D 2 0 1 1 1 v)
I nf o- m e d d el el s er:                                                                                 M o dt a g er ( k o m m e nt ar):
      Sl et ni n g af h a n d el s pr o d u kt fr a e n k o nt o gr u p p eri n g ( TI 2 0 1 2 6 v)         U D


U dtr æ k ni n g sf u n kti o n er - tr a n s a kti o n er , i n d s e n d er, i nf o er o g m o dt a g er

Et a bl eri n g af e n ø n s k et m æ n g d e til u dt r æ k ni n g
U D ( T C 2 0 0 7 5 v)
I nf o- m e d d el el s er:                                                                                 M o dt a g er ( k o m m e nt ar):
      Et a bl eri n g af ø n s k et m æ n g d e til u dtr æ k ni n g ( TI 2 0 1 6 9 v)                      U D

Æ n dri n g af e n ø n s k et m æ n g d e til u dt r æ k ni n g
U D ( T U 2 0 0 7 5 v)
I nf o- m e d d el el s er:                                                                                 M o dt a g er ( k o m m e nt ar):
      Æ n dri n g af ø n s k et m æ n g d e til u dtr æ k ni n g ( TI 2 0 1 7 1 v)                          U D

U dt r æ k ni n g - f or e s p ør g sl er

F or e s p ør g s el p å t r æ k ni n g s s p e cifi k ati o n
U D ( T R 2 0 2 1 1 v)
I nf o- m e d d el el s er:                                                                                 M o dt a g er ( k o m m e nt ar):
      Tr æ k ni n g s s p e cifi k ati o n f or m at e m ati s k u dtr æ k ni n g ( TI 2 0 0 4 5 v)         U D

F or e s p ør g s el p å t r æ k ni n g s s p e cifi k ati o n o g r e s ult at
U D ( T R 2 0 2 1 7 v)
I nf o- m e d d el el s er:                                                                                 M o dt a g er ( k o m m e nt ar):




                                                                                                                             Si d e 3 6 af 4 5 0
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                                                                S Y S T E M V E J L E D NI N G



      Tr æ k ni n g s s p e cifi k ati o n o g     r e s ult at f or m at e m ati s k u dtr æ k ni n g            U D
      ( TI 2 0 0 5 7 v)

F or e s p ør g s e l p å m at e m ati s k u dt r æ k ni n g s pr o c e n t
KI , F H , U D , S T ( T R 2 0 2 1 6 v)
I nf o- m e d d el el s er:                                                                                       M o dt a g er ( k o m m e nt ar):
      F or e s p ør g s el p å pr o c e nt ( o k s v ar)                                                          KI, F H, U D, S T

U dt r æ k ni n g sf u n k ti o n e r

B er e g ni n g a f u dt r æ k ni n g s pr o c e nt
I nf o- m e d d el el s er:                                                                                       M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el B er e g ni n g af u dtr æ k ni n g s pr o c e nt                       D C ( b er e g ni n g af
      ( TI 2 0 1 6 6 v)                                                                                           u dtr æ k ni n g s pr o c e nt k o d e = 1 9)
      B er e g n et u dtr æ k ni n g s pr o c e nt ( TI 2 0 2 3 3 v)                                              U D
      Af sl ut ni n g p å p eri o di s k k ør s el B er e g ni n g af u dtr æ k ni n g s pr o c e nt              D C ( b er e g ni n g af
      ( TI 2 0 1 6 7 v)                                                                                           u dtr æ k ni n g s pr o c e nt k o d e = 1 9)

B er e g ni n g a f u dt r u k k e t m æ n g d e
I nf o- m e d d el el s er:                                                                                       M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el B er e g ni n g af u dtr u k k et m æ n g d e                           D C ( b er e g ni n g af u dtr u k k et af
      ( TI 2 0 1 6 6 v)                                                                                           m æ n g d e k o d e = 2 0)
      Off e ntli g g ør el s e af b er e g n et u dtr æ k ni n g s pr o c e nt ( TI 2 0 2 3 9 v)                  D C
      Af st e m ni n g s gr u n dl a g pr. I SI N ( TI 2 0 2 3 4 v)                                               U D
      P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( TI 2 0 2 3 5 v)                           U D
      Af sl ut ni n g p å p eri o di s k k ør s el B er e g ni n g af u dtr u k k et m æ n g d e                  D C ( b er e g ni n g af u dtr u k k et af
      ( TI 2 0 1 6 7 v)                                                                                           m æ n g d e k o d e = 2 0)

U dt r æ k ni n g s a d vi s eri n g
I nf o- m e d d el el s er:                                                                                       M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el        U dtr æ k ni n g s a d vi s eri n g ( TI 2 0 1 6 6 v)            D C ( u dtr æ k ni n g s a d vi s eri n g
                                                                                                                  k o d e = 2 1)
      U dtr æ k ni n g s a d vi s eri n g til k o nt of ør er ( TI 2 0 2 3 6 v)                                   KI
      U dtr æ k ni n g s a d vi s eri n g - k o nt o o pl y s ni n g er ( TI 2 0 2 3 7 v)                         KI
      U dtr æ k ni n g s a d vi s eri n g b e h ol d ni n g s o pl y s ni n g er ( TI 2 0 2 3 8 v)                KI
      Af sl ut ni n g p å p eri o di s k k ør s el U dtr æ k ni n g s a d vi s eri n g ( TI 2 0 1 6 7 v)          D C ( u dtr æ k ni n g s a d vi s eri n g
                                                                                                                  k o d e = 2 1)
D a n n el s e a f li k vi dit et s o v er si gt
I nf o- m e d d el el s er:                                                                                       M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el - D a n n el s e af li k vi dit et s o v er si gt ( TI 2 0 1 6 6 v)     D C ( b e h a n dli n g af pr o v e n u
                                                                                                                  k o d e = 2)
      D e n e n k elt e d elt a g er s f or v e nt e d e p e n g etr æ k pr. p e n g e k o nt o pr.               PK
      di s p o siti o n s d a g ( TI 2 0 1 3 5 v)
      P e n g etr æ k pr. d e b et k o nt o i k o nt o gr u p p e n ( TI 2 0 1 3 6 v)                             U D
      N ett o p å vir k ni n g i li k vi dit et pr . di s p o siti o n s d a g ( TI 2 0 1 8 2 v)                  PK
      D e n e n k elt e d elt a g er s b er e g n e d e kr e dit eri n g er pr. p e n g e k o nt o pr.            P K, U D
      di s p o siti o n s d a g ( TI 2 0 1 3 4 v)
      Af sl ut ni n g p å p eri o di s k k ør s el - D a n n el s e af li k vi dit et s o v er si gt              D C ( b e h a n dli n g af pr o v e n u
      ( TI 2 0 1 6 7 v)                                                                                           k o d e = 2)

B et ali n g sf or mi d li ng
                            ng
I nf o- m e d d el el s er:                                                                                       M o dt a g er ( k o m m e nt ar):



                                                                                                                                    Si d e 3 7 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



      St art p å p eri o di s k k ør s el - D a n n el s e af b et ali n g sf or mi dli n g ( TI 2 0 1 6 6 v)    D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                 k o d e = 3)
      P o st eri n g s gr u n dl a g pr. v ær di p a pir k o nt o pr. p e n g e k o nt o ( TI 2 0 1 3 8 v)       PK
      P o st eri n g s gr u n dl a g pr. d e b et k o nt o ( TI 2 0 1 9 7 v)                                     PK
      P o st eri n g s gr u n dl a g pr. af k a st / afr e g ni n g s k o nt o ( TI 2 0 1 9 8 v)                 PK
      Af st e m ni n g s o pl y s ni n g er, p eri o di s k e b et ali n g er ( TI 2 0 1 0 6 v)                  U D
      Af sl ut ni n g p å p eri o di s k k ør s el - D a n n el s e af b et ali n g sf or mi dli n g             D C ( b e h a n dli n g- af- pr o v e n u
      ( TI 2 0 1 6 7 v)                                                                                          k o d e = 3)

F or e s p ør g sl er

F or e s p ør g s el p å k o nt o gr u p p eri n g
U D ( T R 2 0 1 1 0 v)
I nf o- m e d d el el s er:                                                                                      M o dt a g er ( k o m m e nt ar):
      S v ar p å f or e s p ør g s el, k o nt o gr u p p eri n g ( TI 2 0 1 6 3 v)                               U D

F or e s p ør g s el p å h a n d el s pr o d u k t er i e n k o nt o gr u p p eri n g
U D ( T R 2 0 1 1 1 2)
I nf o- m e d d el el s er:                                                                                      M o dt a g er ( k o m m e nt ar):
      S v ar p å f or e s p ør g s el, til k n ytt e d e h a n d el s pr o d u kt er i e n k o nt o gr u p p e   U D
      ( TI 2 0 1 6 4 2)
  F or e s p ør g s el p å pr o v e n u
KI ( T R 2 0 1 1 3 v)
I nf o- m e d d el el s er:                                                                                      M o dt a g er ( k o m m e nt ar):
      S v ar p å f or e s p ør g s el, pr o v e n u ( TI 2 0 1 5 5 v)                                            KI

Til b a g e k al d el s e

 D a n a k ti v er i f or bi n d el s e m e d til b a g e k al d el s e
I nf o- m e d d el el s er:                                                                                      M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el - D a n a kti v er i f or bi n d el s e m e d                          D C ( b e h a n dli n g- af- pr o v e n u
      til b a g e k al d el s e ( TI 2 0 1 6 6 v)                                                                k o d e = 1 2)
      St at u s p å b e h ol d ni n g - til b a g e k al d el s e af cl e ari n g ( TI 2 0 2 0 3 v)              KI
      Af sl ut ni n g p å p eri o di s k k ør s el - D a n a kti v er i f or bi n d el s e m e d                 D C ( b e h a n dli n g- af- pr o v e n u
      til b a g e k al d el s e ( TI 2 0 1 6 7 v)                                                                k o d e = 1 2)

V P fl y t t er d e bit eri n g e n f r a " n ø dli d e n d e " p e n g e k o nt of ør e n d e i n stit ut
til " n y t " p e n g e k o nt of ør e n d e i n stit ut
I nf o- m e d d el el s er:                                                                                      M o dt a g er ( k o m m e nt ar):
      Til b a g e k al d el s e af p o st eri n g s gr u n d l a g pr. d e b et k o nt o ( TI 2 0 2 0 6 v)       PK
      Til b a g e k al d el s e af af st e m ni n g s o pl y s ni n g er, p eri o di s k e b et ali n g er       U D
      ( TI 2 0 2 0 8 v)
      P o st eri n g s gr u n dl a g pr. d e b etr e nt e k o nt o ( TI 2 0 1 9 7 v)                             PK
      Af st e m ni n g s o pl y s ni n g er, p eri o di s k e b et ali n g er ( TI 2 0 1 0 6 v)                  U D
      Til g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( TI 2 0 1 0 7 v)                           PK
      Fr a g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( TI 2 0 1 6 8 v)                          PK
      Æ n dri n g af k o nt o gr u p p eri n g ( TI 2 0 1 2 3 v)                                                 U D
      N ett o p å vir k ni n g i li k vi dit et pr . di s p o siti o n s d a g ( TI 2 0 1 8 2 v)                 PK
      P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( TI 2 0 1 3 6 v)                          U D

Til b a g ef ør s el af li k vi dit et
I nf o- m e d d el el s er:                                                                                      M o dt a g er ( k o m m e nt ar):


                                                                                                                                   Si d e 3 8 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



      St art p å p eri o di s k k ør s el - Til b a g ef ør s el af li k vi dit et ( TI 2 0 1 6 6 v)               D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                   k o d e = 1 4)
      Fr a g a n g i li k vi dit et ( TI 2 0 1 7 7 v)                                                              PK
      Fr a g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( TI 2 0 1 6 8 v)                            PK
      N ett o p å vir k ni n g i li k vi dit et pr . di s p o siti o n s d a g ( TI 2 0 1 8 2 v)                   PK
      P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( TI 2 0 1 3 6 v)                            U D
      Af sl ut ni n g p å p eri o di s k k ør s el - Til b a g ef ør s el af li k vi dit et ( TI 2 0 1 6 7 v)      D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                   k o d e = 1 4)


Til b a g ef ør s e l a f b o gf øri n g s p o st er
I nf o- m e d d el el s er:                                                                                        M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el - T il b a g ef ør s el af b o gf øri n g s p o st er                    D C ( b e h a n dli n g- af- pr o v e n u
      ( TI 2 0 1 6 6 v)                                                                                            k o d e = 1 5)
      Til b a g e k al d el s e af p o st eri n g s gr u n dl a g pr. v ær di p a pir k o nt o pr.                 PK
      p e n g e k o nt o pr. h a n d el s pr o d u kt ( TI 2 0 2 0 5 v)
      Til b a g e k al d el s e af p o st eri n g s gr u n d l a g pr. d e b et k o nt o ( TI 2 0 2 0 6 v)         PK
      Til b a g e k al d el s e af p o st eri n g s gr u n dl a g pr. af k a st/ afr e g ni n g s k o nt o         PK
      ( TI 2 0 2 0 7 v)
      Til b a g e k al d el s e af af st e m ni n g s o pl y s ni n g er, p eri o di s k e b et ali n g er         U D
      ( TI 2 0 2 0 8 v)
      Af sl ut ni n g p å p eri o di s k k ør s el - T il b a g ef ør s el af b o gf øri n g s p o st er           D C ( b e h a n dli n g- af- pr o v e n u
      ( TI 2 0 1 6 7 v)                                                                                            k o d e = 1 5)


C or p or at e A cti o n


Off e ntli g g ør el s e a f C or p or at e A cti o n s
I nf o- m e d d el el s er:                                                                                        M o dt a g er ( k o m m e nt ar):
      Off e ntli g g ør el s e af c or p or at e a cti o n - p a pir o pl y s ni n g er ( TI 2 0 2 7 2 v)          D C
      Off e ntli g g ør el s e af c or p or at e a cti o n - f or h ol d s o pl y s ni n g er ( TI 2 0 2 7 3 v)    D C
      Off e ntli g g ør el s e af c or p or at e a cti o n - k ur s o pl y s ni n g er ( TI 2 0 2 7 4 v)           D C
      Off e ntli g g ør el s e af c or p or at e a cti o n - b et ali n g s o pl y s ni n g er ( TI 2 0 2 7 5 v)   D C
      Off e ntli g g ør el s e af c or p or at e a cti o n - æ n dri n g af a kti e k a pit al                     D C
      ( TI 2 0 2 7 6 v)
      Off e ntli g g ør el s e af c or p or at e a cti o n - b er e g ni n g s o pl y s ni n g er                  D C
      ( TI 2 0 2 7 7 v)
      Off e ntli g g ør el s e af c or p or at e a cti o n - u d b ytt e o pl y s ni n g er ( TI 2 0 2 7 9 v)      D C
      Off e ntli g g ør el s e af c or p or at e a cti o n       æ n dri n g af p a pir til ell er fr a            D C
      N o n p ar v al u e
      Sl ut p å u d s e n d el s e af off e ntli g g ør el s e si nf o er ( TI 2 0 2 7 1 v)                        D C

Af vi kli n g a f C or p or at e A cti o n s
I nf o- m e d d el el s er:                                                                                        M o dt a g er ( k o m m e nt ar):
      St art p å s el s k a b s h æ n d el s e k ør s el ( TI 2 0 3 0 2 v)                                         D C
      H o v e d b o g s o pl y s ni n g er - a kti er ( TI 2 0 2 9 0 v)                                            U D
      H o v e d b o g s o pl y s ni n g er - o bli g ati o n er ( TI 2 0 2 9 1 v)                                  U D
      Af st e m ni n g u d b ytt e - t ot al v e d b er e g ni n g ( TI 2 0 3 2 5 v)                               U D
      Af st e m ni n g u d b ytt e a kti er - t ot al v e d b er e g ni n g ( TI 2 0 3 3 5 v)                      U D
      Af st e m ni n g u d b ytt e - t ot al u d e nl a n d s k v e d b er e g ni n g ( TI 2 0 3 2 7 v)            U D
      Æ n dri n g s m e d d el el s e - a dr e s s e o pl y s ni n g er ( TI 2 0 2 8 0 v)                          KI


                                                                                                                                     Si d e 3 9 af 4 5 0
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                                                               S Y S T E M V E J L E D NI N G



      Æ n dri n g s m e d d el el s e - o p g a v e t e k st fr a u d st e d er ( TI 2 0 2 8 1 v)                   KI
      Æ n dri n g s m e d d el el s e - b e h ol d ni n g s o pl y s ni n g er - a kti er ( TI 2 0 2 8 2 v)         KI
      Æ n dri n g s m e d d el el s e - b e h ol d ni n g s o pl y s ni n g er - o bli g ati o n er                 KI
      ( TI 2 0 2 8 3 v)
      Æ n dri n g s m e d d el el s e - k a pit al o pl y s ni n g er ( TI 2 0 2 8 4 v)                             KI
      Æ n dri n g s m e d d el el s e - pr o v e n u o pl y s ni n g er u d e n s k at / af gift                    KI
      ( TI 2 0 2 8 5 v)
      Æ n dri n g s m e d d el el s e - pr o v e n u o pl y s ni n g er m e d s k at/ af gift ( TI 2 0 3 3 9 v)     KI
      Æ n dri n g s m e d d el el s e - b et ali n g s o p l y s ni n g er - u d b ytt e a kti er                   KI
      ( TI 2 0 3 1 1 v)
      U d b ytt e m e d d el el s e - a dr e s s e o pl y s ni n g er ( TI 2 0 3 1 0 v)                             KI
      U d b ytt e m e d d el el s e - b et ali n g s o pl y s ni n g er ( TI 2 0 3 1 2 v)                           KI
      A d vi s eri n g til k o nt of ør er - b e h ol d n i n g s o pl y s ni n g er - a kti er ( TI 2 0 2 8 6 v)   KI
      A d vi s eri n g til k o nt of ør er - b e h ol d ni n g s o pl y s ni n g er - o bli g ati o n er            KI
      ( TI 2 0 2 8 7 v)
      A d vi s eri n g til k o nt of ør er - pr o v e n u o pl y s ni n g er u d e n til b a g e h ol dt            KI
      s k at/ af gift ( TI 2 0 2 8 8 v)
      St at u s p å b e h ol d ni n g eft er e n af vi kli n g af e n c or p or at e a cti o n                      KI
      ( TI 2 0 2 8 9 v)
      P a pir o pl y s ni n g er - u d b ytt e v e d b er e g ni n g ( TI 2 0 3 1 5 v)                              KI
      P a pir o pl y s ni n g er - u d b ytt e a kti er v e d b er e g ni n g ( TI 2 0 3 1 4 v)                     KI
      U d b ytt e o v er si gt - b et ali n g sf o r mi dli n g til KI ( TI 2 0 3 1 6 v)                            KI
      U d b ytt e o v er si gt - b et ali n g sf or mi dli n g til KI - u d b ytt e a kti er ( TI 2 0 3 1 7 v)
      A d vi s eri n g til ej er b o g sf ør er - b e h ol d ni n g s o pl y s ni n g er if m. af vi kli n g af     AB
      e n c or p or at e a cti o n ( TI 2 0 2 9 2 v)
      A d vi s eri n g til ej er b o g sf ør er - n a v n e- o g a dr e s s e o pl y s ni n g er if m.              AB
      af vi kli n g af e n c or p or at e a cti o n ( TI 2 0 3 0 4 v)
      Ej er b o g sf ør er s n a v n o g a dr e s s e ( TI 2 0 3 0 6 v)                                             AB
      S kift af I SI N p å pr e a d vi c e - t e g ni n g ( TI 2 0 0 8 0 v)                                         F H, P K, KI, S T


      Sl ut p å s el s k a b s h æ n d el s e k ør s el ( TI 2 0 3 0 3 v)                                           C D



O mr e g ni n g a f br ut t o u d b y t t e b el ø b i v al ut a f oorr pr o v e n ut y p e = 3 ( u d b y t t e)
I nf o- m e d d el el s er:                                                                                     M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el O mr e g ni n g af pr o v e n u til b a si s v al ut a                D C ( b e h a n dli n g- af- pr o v e n u
      ( TI 2 0 1 6 6 v)                                                                                         k o d e = 4)
      O mr e g n e d e r e nt e o g br utt o u d b ytt e til b a si s v al ut a ( TI 2 0 1 0 8 v)               KI o g P K
      Af sl ut ni n g p å p eri o di s k k ør s el - O mr e g ni n g af pr o v e n u til b a si s v al ut a     D C ( b e h a n dli n g- af- pr o v e n u
      ( TI 2 0 1 6 7 v)                                                                                         k o d e = 4)

D a n n el s e a f li k vi dit et s o v er si gt
                                              gt f or
                                                   o r pr o v e n ut y p e = 3 ( u d b y t t e)
I nf o- m e d d el el s er:                                                                                         M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el - D a n n el s e af li k vi dit et s o v er si gt ( TI 2 0 1 6 6 v)       D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                    k o d e = 2)
      N ett o p å vir k ni n g i li k vi dit et pr.    di s p o siti o n s d a g ( TI 2 0 1 8 2 v)                  PK
      Af sl ut ni n g p å p eri o di s k k ør s el      D a n n el s e af li k v i dit et s o v er si gt            D C ( b e h a n dli n g- af- pr o v e n u
      ( TI 2 0 1 6 7 v)                                                                                             k o d e = 2)

B et ali n g sf or mi dli n g f or
                                o r pr o v e n ut y p e = 3 ( u d b y t t e)
I nf o- m e d d el el s er:                                                                                         M o dt a g er ( k o m m e nt ar):


                                                                                                                                      Si d e 4 0 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



      St art p å p eri o di s k k ør s el - D a n n el s e af b et ali n g sf or mi dli n g ( TI 2 0 1 6 6 v)       D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                    k o d e = 3)
      P o st eri n g s gr u n dl a g pr. v ær di p a pir k o nt o pr. p e n g e k o nt o ( TI 2 0 1 3 8 v)          PK
      P o st eri n g s gr u n dl a g pr. d e b et k o nt o ( TI 2 0 1 9 7 v) *)                                     PK
      P o st eri n g s gr u n dl a g pr. af k a st / afr e g ni n g s k o nt o ( TI 2 0 1 9 8 v)                    PK
      Af st e m ni n g s o pl y s ni n g er, p eri o di s k e b et ali n g er ( TI 2 0 1 0 6 v) *)                  U D
      Af sl ut ni n g p å p eri o di s k k ør s el D a n n el s e af b et ali n g sf or mi dli n g                  D C ( b e h a n dli n g- af- pr o v e n u
      ( TI 2 0 1 6 7 v)                                                                                             k o d e = 3)

D a n n el s e a f li k vi dit et s o v er si gt
                                              gt f or
                                                   o r pr o v e n ut y p e = 4 ( adad h o c)
I nf o- m e d d el el s er:                                                                                         M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el - D a n n el s e af li k vi dit et s o v er si gt ( TI 2 0 1 6 6 v)       D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                    k o d e = 2)
      N ett o p å vir k ni n g i li k vi dit et pr . di s p o siti o n s d a g ( TI 2 0 1 8 2 v)                    PK
      Af sl ut ni n g p å p eri o di s k k ør s el D a n n el s e af li k vi dit et s o v er si gt                  D C ( b e h a n dli n g- af- pr o v e n u
      ( TI 2 0 1 6 7 v)                                                                                             k o d e = 2)

B et ali n g sf or mi dli n g f or
                                o r pr o v e n ut y p e = 4 ( ad
                                                               ad h o c)
I nf o- m e d d el el s er:                                                                                         M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el - D a n n el s e af b et ali n g sf or mi dli n g ( TI 2 0 1 6 6 v)       D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                    k o d e = 3)
      P o st eri n g s gr u n dl a g pr. v ær di p a pir k o nt o pr. p e n g e k o nt o ( TI 2 0 1 3 8 v)          PK
      P o st eri n g s gr u n dl a g pr. d e b et k o nt o ( TI 2 0 1 9 7 v)                                        PK
      P o st eri n g s gr u n dl a g pr. af k a st / afr e g ni n g s k o nt o ( TI 2 0 1 9 8 v)                    PK
      Af st e m ni n g s o pl y s ni n g er, p eri o di s k e b et ali n g er ( TI 2 0 1 0 6 v)                     U D
      Af sl ut ni n g p å p eri o di s k k ør s el D a n n el s e af b et ali n g sf or mi dli n g                  D C ( b e h a n dli n g - af- pr o v e n u
      ( TI 2 0 1 6 7 v)                                                                                             k o d e = 3)

O mr e g ni n g a f br ut t o u d b y t t e b el ø b i v al ut a f oorr pr o v e n ut y p e = 5 ( u d b y t t eli g n e n de
                                                                                                                          de u dl o d ni n g)
I nf o- m e d d el el s er:                                                                                     M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el O mr e g ni n g af pr o v e n u til b a si s v al ut a                D C ( b e h a n dli n g- af- pr o v e n u
      ( TI 2 0 1 6 6 v)                                                                                         k o d e = 4)
      O mr e g n e d e r e nt e o g br utt o u d b ytt e til b a si s v al ut a ( TI 2 0 1 0 8 v)               KI o g P K
      Af sl ut ni n g p å p eri o di s k k ør s el - O mr e g ni n g af pr o v e n u til b a si s v al ut a     D C ( b e h a n dli n g- af- pr o v e n u
      ( TI 2 0 1 6 7 v)                                                                                         k o d e = 4)

D a n n el s e a f li k vi dit et s o v er si gt
                                               gt f or
                                                    o r pr o v e n ut y p e = 5 ( u d b y t t eli g n e n de
                                                                                                           de u dl o d ni n g)
I nf o- m e d d el el s er:                                                                                        M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el - D a n n el s e af li k vi dit et s o v er si gt ( TI 2 0 1 6 6 v)      D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                   k o d e = 2)
      N ett o p å vir k ni n g i li k vi dit et pr. di s p o sit i o n s d a g ( TI 2 0 1 8 2 v)                   PK
      Af sl ut ni n g p å p eri o di s k k ør s el D a n n el s e af li k v i dit et s o v er si gt                D C ( b e h a n dli n g- af- pr o v e n u
      ( TI 2 0 1 6 7 v)                                                                                            k o d e = 2)

B et ali n g sf or mi dli n g f or
                                o r pr o v e n ut y p e = 5 ( u d b y t t eli g n e n ddee u dl o d ni n g)
I nf o- m e d d el el s er:                                                                                         M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el - D a n n el s e af b et ali n g sf or mi dli n g ( TI 2 0 1 6 6 v)       D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                    k o d e = 3)
      P o st eri n g s gr u n dl a g pr. v ær di p a pir k o nt o pr. p e n g e k o nt o ( TI 2 0 1 3 8 v)          PK
      P o st eri n g s gr u n dl a g pr. d e b et k o nt o ( TI 2 0 1 9 7 v)                                        PK
      P o st eri n g s gr u n dl a g pr. af k a st / afr e g ni n g s k o nt o ( TI 2 0 1 9 8 v)                    PK
      Af st e m ni n g s o pl y s ni n g er, p eri o di s k e b et ali n g er ( TI 2 0 1 0 6 v)                     U D


                                                                                                                                      Si d e 4 1 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



      Af sl ut ni n g p å p eri o di s k k ør s el      D a n n el s e af b et ali n g sf or mi dli n g             D C ( b e h a n dli n g- af- pr o v e n u
      ( TI 2 0 1 6 7 v)                                                                                             k o d e = 3)

O mr e g ni n g a f br ut t o u d b y t t e b e l øbøb i v al ut a f oorr pr o v e n ut y p e = 6 ( t e k ni sskk u d b y t t e )
I nf o- m e d d el el s er:                                                                                        M o dt a g er ( k o m m e nt ar):
      St art p å p eri o di s k k ør s el O mr e g ni n g af pr o v e n u til b a si s v al ut a                   D C ( b e h a n dli n g- af- pr o v e n u
      ( TI 2 0 1 6 6 v)                                                                                            k o d e = 4)
      O mr e g n e d e r e nt e o g br utt o u d b ytt e til b a si s v al ut a ( TI 2 0 1 0 8 v)                  KI o g P K
      Af sl ut ni n g p å p eri o di s k k ør s el - O mr e g ni n g af pr o v e n u til b a si s v al ut a        D C ( b e h a n dli n g - af- pr o v e n u
      ( TI 2 0 1 6 7 v)                                                                                            k o d e = 4)

U 2 - s k at t e k ør s e l
I nf o- m e d d el el s er:                                                                                         M o dt a g er ( k o m m e nt ar):
      Af st e m ni n g u d b ytt e - t ot al U 2 - s k att e k ør s el ( TI 2 0 3 3 1 v)                            U D


      P a pir o pl y s ni n g er u d b ytt e v e d U 2 - s k att e k ør s el ( TI 2 0 3 3 2 v)                      KI


      O v er si gt o v er u d b ytt e s k at til KI ( TI 2 0 3 2 1 v)                                               KI


      Af sl ut ni n g p å U 2 - s k att e k ør s el ( TI 2 0 2 4 2 v)                                               D C ( b e h a n dli n g- af- pr o v e n u
                                                                                                                    k o d e = 2 6)



*) I i nf o e n vil a kti e s el s k a b s i d e nt e n v ær e a n gi v et, s o m u d st e d e n d e i n stit ut.

U d b y t t ef or e s p ør g sl e r

F or e s p ør g s e l p å pr o v e n u
K I ( T R 2 0 1 1 3 v)
I nf o- m e d d el el s er:                                                                                         M o dt a g er ( k o m m e nt ar):
      S v ar p å f or e s p ør g s el, pr o v e n u ( TI 2 0 1 5 5 v)                                               KI

U d b y t t et r a n s a k ti o n e r
K or r e k ti o n a f o mr e g n e t r e nt e - ell e r br ut t o u d b y t t e b el ø b
P K / K I ( TC
             TC 2 0 1 0 4 v )
I nf o- m e d d el el s er:                                                                                         M o dt a g er ( k o m m e nt ar):
      K orr e kti o n af r e nt e o g br u tt o u d b ytt e ( TI 2 0 1 2 8 v)                                       KI o g P K

U d b y t t efl y t ni n g
K I ( T C 2 0 0 2 7 v)
I nf o- m e d d el el s er:                                                                                         M o dt a g er ( k o m m e nt ar):
      U d b ytt efl yt ni n g til KI ( TI 2 0 3 2 3 v)                                                              KI
      Æ n dri n g af u d b ytt e s k at til u d st e d er a n s v arli g ( TI 2 0 3 2 8 v)                          U D ( D a n n e s k u n h vi s d er s k er
                                                                                                                    æ n dri n g i u d b ytt e s k at o v erf or
                                                                                                                    u d st e d er, o g k u n i n dtil U 2 -
                                                                                                                    s k att e k ør s el h ar f u n d et st e d.)

Æ n dri n g a f a n v e n d t u d b y t t e er kl æri n g
K I ( T U 2 0 0 8 1 v)
I nf o- m e d d el el s er:                                                                                         M o dt a g er ( k o m m e nt ar):
      Æ n dri n g af a n v e n dt u d b ytt e er kl æri g til KI ( TI 2 0 3 2 2 v)                                  KI


                                                                                                                                      Si d e 4 2 af 4 5 0
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      Æ n dri n g af u d b ytt e s k at til u d st e d er a n s v arli g ( TI 2 0 3 2 8 v)                 U D ( D a n n e s k u n h vi s d er s k er
                                                                                                           æ n dri n g i u d b ytt e s k at o v erf or
                                                                                                           u d st e d er, o g k u n i n dtil U 2 -
                                                                                                           s k att e k ør s el h ar f u n d et st e d.)

Æ n dri n g a f u d b y t t e s k a t
K I ( T U 2 0 0 2 9 v)
I nf o- m e d d el el s er:                                                                                M o dt a g er ( k o m m e nt ar):
      Æ n dri n g af u d b ytt e s k at til KI eft er U 2 - s k att e k ør s el ( TI 2 0 3 2 4 v)          KI


F æll e s f u n kti o n f or r e nt e, u d tr æ k ni n g, u d b ytt e o g a d h o c

P e n g e k o nt r oll e n
I nf o- m e d d el el s er:                                                                                M o dt a g er ( k o m m e nt ar):
      St art p å e n af vi kli n g s k ør s el ( TI 2 0 2 1 3 v)                                           D C
      St at u s p å af vi kli n g s k ør s el ( TI 2 0 0 0 7 v)                                            D C
      B o gf øri n g s p o st er fr a e n af vi kli n g s k ør s el - k o pi ( TI 2 0 0 3 4 v)             BS
      Af sl ut ni n g p å e n af vi kli n g s k ør s el ( TI 2 0 2 1 4 v)                                  D C


S y st e m o v er bli k f oorr a ut o m ati s k p a n t

P a nt er et - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

A n n ull eri n g a f p a nt er et s ø n s k e
P K ( T U 2 0 0 7 9 v)
I nf o- m e d d el el s er:                                                                                M o dt a g er ( k o m m e nt ar):
      A n n ull er et p a nt er et s ø n s k e ( TI 2 0 1 7 9 v)                                           P K, KI

Vi s p a nt er e t pr . p a nt e h a v e r
K I ( T R 2 0 0 9 0 v)
I nf o- m e d d el el s er:                                                                                M o dt a g er ( k o m m e nt ar):
      P a nt er et pr. p a nt e h a v er ( TI 2 0 1 9 3 v)                                                 KI

N e d s k ri v ni n g / o p h æ v el s e a f p a nt er e t
P K ( T U 2 0 0 8 0 v)
I nf o- m e d d el el s er:                                                                                M o dt a g er ( k o m m e nt ar):
      N e d s kr e v et/ o p h æ v et p a nt er et ( TI 2 0 1 8 0 v)
      Et a bl er et p a nt er et fr a e n af vi kli n g s k ør s el ( TI 2 0 1 8 1 v)


Si k k er h e d s aft al er - p o siti vli st e n - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

Tilf ø j h a n d el s pr o d u k t p å p o siti vli st e
B S ( T C 2 0 0 8 5 v)
I nf o- m e d d el el s er:                                                                                M o dt a g er ( k o m m e nt ar):
      Tilf øj el s e p å p o siti vli st e ( TI 2 0 1 8 7 v)                                               BS
                                                                                                           L å n gi v er s A H,
                                                                                                           L å nt a g er s A H




                                                                                                                             Si d e 4 3 af 4 5 0
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Æ n dri n g a f v ær di k o effi ci e n t p å h a n d el s pr o d u k t p å p o siti vli st e
B S ( T U 2 0 0 8 5 v)
I nf o- m e d d el el s er:                                                                                                                         M o dt a g er ( k o m m e nt ar):
      Æ n dr et k o effi ci e nt p å p o siti vli st e ( TI 2 0 1 9 6 v)                                                                            B S,
                                                                                                                                                    L å n gi v er s A H,
                                                                                                                                                    L å nt a g er s A H

Sl et ni n g a f h a n d el s pr o d u k t p å p o siti vli st e
B S ( T U 2 0 0 8 5 v)
I nf o- m e d d el el s er:                                                                                                                         M o dt a g er ( k o m m e nt ar):
      Fj er n et fr a p o siti vli st e ( TI 2 0 1 9 5 v)                                                                                           B S,
                                                                                                                                                    L å n gi v er s A H,
                                                                                                                                                    L å nt a g er s A H

Vi s p o siti vli st e L å nt a g er s A H , KI , L å n gi v er s A H , B S
( T R 2 0 0 8 9 v)
I nf o- m e d d el el s er:                                                                                                                         M o dt a g er ( k o m m e nt ar):
      H a n d el s pr o d u kt p å p o siti v li st e ( TI 2 0 1 9 2 v)                                                                             L å nt a g er s A H, KI,
                                                                                                                                                    L å n gi v er s A H, B S

Vi s af vi kli n g s d a g e n s p o siti vli st e f oro r si k k er h e d sr e t
L å nt a g er s A H , KI , L å n gi v er s A H , B S ( T R 2 0 2 2 5 v)
I nf o- m e d d el el s er:                                                                                                                         M o dt a g er ( k o m m e nt ar):
      H a n d el s pr o d u kt p å af vi kli n g s d a g e n s p o siti vli st e ( TI 2 0 2 0 4 v)                                                  L å nt a g er s A H, KI,
                                                                                                                                                    L å n gi v er s A H, B S

Si k k er h e d s aft al er - l å nt a g er si d e n - tr a n s a kti o n , i n d s e n d er, i nf o er o g m o dt a g er


Til k n y t V P- k o nt o tilti l si k k er h e d sr et s af t al e
K I ( T C 2 0 0 8 6 v)
I nf o- m e d d el el s er:                                                                                                                         M o dt a g er ( k o m m e nt ar):
       D e p ot til k n ytt et si k k er h e d sr et s aft al e ( TI 2 0 1 8 3 v) 3                                                                 KI,
                                                                                                                                                    L å nt a g er s A H
                                                                                                                                                    L å n gi v er s A H
          Æ n dr et l å nt a g er sl oft ( TI 2 0 1 9 1 v)             2)                                                                           KI,
                                                                                                                                                    L å nt a g er s A H
          H a n d el s pr o d u kt p å p o siti v li st e ( TI 2 0 1 9 2 v) 3)                                                                      L å nt a g er s A H
          Æ n dr et si k k er h e d s v ær di ( TI 2 0 2 1 9 v) 4)                                                                                  L å nt a g er s A H

Æ n dr e l å nt a g erl of  oftt
K I ( T U 2 0 0 8 6 v)
I nf o- m e d d el el s er:                                                                                                                         M o dt a g er ( k o m m e nt ar):




3
     S e n d e s k u n til l å n gi v er s A H v e d til k n yt ni n g af f ør st e V P- k o nt o til e n si k k er h e d sr et s aft al e, s v ar e n d e til o pr ett el s e n af s el v e
si k k er h e d sr et s aft al e n .
2)
   S e n d e s v e d o pr ett el s e af s el v e si k k er h e d sr et s aft al e n ( d v s. til k n yt ni n g af f ør st e V P- k o nt o) s a mt v e d til k n yt ni n g af eft erf øl g e n d e V P-
k o nti til si k k er h e d sr et s aft al e n, h v or l oft-i n di k at or o g/ ell er l oft æ n dr e s .
3)
   S e n d e s v e d o pr ett el s e af si k k er h e d sr et s aft al e n , d v s. til k n yt ni n g af f ør st e V P- k o nt o.
4)
     S e n d e s k u n v e d til k n yt ni n g/f j er n el s e af V P- k o nti til a c c e pt er e d e si k k er h e d sr et s aft al er, h v or si k k er h e d s v ær di e n æ n dr e s .

                                                                                                                                                                          Si d e 4 4 af 4 5 0
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         Æ n dr et l å nt a g erl oft ( TI 2 0 1 9 1 v)                                                                                             KI,
                                                                                                                                                    L å nt a g er s A H

Fj er n V P- k o nt o f ra r a si k k er h e d sr et s af t al e
K I ( T D 2 0 0 8 6 v)
I nf o- m e d d el el s er:                                                                                                                         M o dt a g er ( k o m m e nt ar):
      D e p ot fj er n et fr a si k k er h e d sr et s aft al e ( TI 2 0 1 8 6 v) 5)                                                                KI,
                                                                                                                                                    L å n gi v er s A H,
                                                                                                                                                    L å nt a g er s A H
         Æ n dr et si k k er h e d s v ær di ( TI 2 0 2 1 9 v)                6)                                                                    L å nt a g er s A H

Vi s si k k er h e d sr et s af t al e
L å nt a g er s A H , K I ( T R 2 0 0 8 3 v)
I nf o- m e d d el el s er:                                                                                                                         M o dt a g er ( k o m m e nt ar):
      O pl y s ni n g o m e n si k k er h e d sr et s aft al e ( TI 2 0 1 8 8 v)                                                                    L å nt a g er s A H, KI

Vi s si k k er h e d s v ær d i a f f r e mti di ge
                                                 g e h a n dl e r
L å nt a g er s A H , K I (T R 2 0 0 9 5 v )
I nf o- m e d d el el s er:                                                                                                                         M o dt a g er ( k o m m e nt ar):
      Si k k er h e d s v ær di e n af fr e mti d i g e h a n dl er ( TI 2 0 1 9 4 v)                                                               L å nt a g er s A H, KI

Vi s si k k er h e d s v ær d i a f f r e mti di ge
                                                  g e h a n dl e r u d e n p e n g e
L å nt a g er s A H , K I ( T R 2 0 3 6 1 v)
I nf o- m e d d el el s er:                                                                                                                         M o dt a g er ( k o m m e nt ar):
      Si k k er h e d s v ær di e n af fr e mti di g e h a n dl er u d e n p e n g e ( TI 2 0 2 1 0 v)                                              L å nt a g er s A H, KI

Si k k er h e d s aft al er - l å n gi v er si d e n - tr a n s a kti o n , i n d s e n d er, i nf o er o g m o dt a g er

A c c e p t a f si k k er h e d sr et s af t al e
B S ( T C 2 0 0 8 7 v)
I nf o- m e d d el el s er:                                                                                                                         M o dt a g er ( k o m m e nt ar):
       Æ n dr et si k k er h e d sr et s aft al e ( l å n gi v er o pl y s ni n g er) ( TI 2 0 1 9 0 v)                                             B S,
                                                                                                                                                    L å nt a g er s A H
                                                                                                                                                    L å n gi v er s A H

         Æ n dr et si k k er h e d s v ær di ( TI 2 0 2 1 9 v)                                                                                      L å nt a g er s A H

Æ n dri n g a f l å n gi v erl of oftt
B S ( T U 2 0 0 8 7 v)
I nf o- m e d d el el s er:                                                                                                                         M o dt a g er ( k o m m e nt ar):
      Æ n dr et l å n gi v erl oft ( TI 2 0 2 1 2 v)                                                                                                B S,
                                                                                                                                                    L å n gi v er s A H,
                                                                                                                                                    L å nt a g er s A H

Fj er n a c c e p t f ra
                      r a ( s u s p e n d er
                                          er)) si k k er h e d sr et s af t al e
B S ( T D 2 0 0 8 7 v)
I nf o- m e d d el el s er:                                                                                                                         M o dt a g er ( k o m m e nt ar):




5)
     S e n d e s k u n til l å n gi v er s A H v e d fj er n el s e af si d st e V P- k o nt o til e n si k k er h e d sr et s aft al e, s v ar e n d e til o p h æ v el s e af
si k k er h e d sr et s aft al e n .
6 ) S e n d e s k u n v e d til k n yt ni n g/fj er n el s e af   V P - k o nti til a c c e pt er e d e si k k er h e d sr et saft al er, h v or si k k er h e d s v ær di e n æ n dr e s.

                                                                                                                                                                          Si d e 4 5 af 4 5 0
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      Æ n dr et si k k er h e d sr et s aft al e ( l å n gi v er o pl y s ni n g er) ( TI 2 0 1 9 0 v)               B S,
                                                                                                                     L å n gi v er s A H,
                                                                                                                     L å nt a g er s A H
                                                                                                                                             p å aft al e n

N e d s k ri v si k k er h e d st r æ k
B S ( T U 2 0 0 8 4 v)
I nf o- m e d d el el s er:                                                                                          M o dt a g er ( k o m m e nt ar):
      N e d s kr e v et si k k er h e d str æ k ( TI 2 0 1 8 4 v)                                                    B S,
                                                                                                                     L å n gi v er s A H,
                                                                                                                     L å nt a g er s A H

Si k k er h e d s aft al er - b at c h - tr a n s a kti o n, i nf o er o g m o dt a g er

I nf o- m e d d el el s er:                                                                                          M o dt a g er ( k o m m e nt ar):
      Si k k er h e d s v ær di v e d st art af n yt af vi kli n g s d ø g n ( TI 2 0 1 8 5 v)                       L å nt a g er s A H
      Æ n dr et si k k er h e d s v ær di i e n af vi kli n g s k ør s el ( TI 2 0 2 1 6 v)                          L å nt a g er s A H
      Si k k er h e d str æ k fr a e n af vi kli n g s k ør s el i n dir e kt e cl e ari n g d elt a g er            L å n gi v er s A H,
      ( TI 2 0 1 8 9 v)                                                                                              L å nt a g er s A H


F a st h ol d el s e af si k k er h e d sr et - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

Et a bl eri n g a f f a st h ol d el ssee a f si k k er h e d sr e t
B S ( T C 2 0 3 2 0 vv))
VP
I nf o- m e d d el el s er:                                                                                          M o dt a g er ( k o m m e nt ar):
      O pl y s ni n g er o m f a st h ol d el s e af s i k k er h e d sr et til a n m el d er ( TI 2 0 2 1 8 v)      L å n gi v er s B S

      N e d s kr e v et si k k er h e d str æ k ( TI 2 0 1 8 4 v) 1)                                                 L å n gi v er s A H,
                                                                                                                     L å nt a g er s A H
      Æ n dr et si k k er h e d s v ær di ( TI 2 0 2 1 9 v) 2)                                                       L å nt a g er s A H
      O pl y s ni n g o m r etti g h e d ( TI 2 0 2 2 0 v) 2) 3)                                                     L å n gi v er s A H,
                                                                                                                     M o dt a g e n d e KI
      St at u s p å b e h ol d ni n g ( TI 2 0 0 4 7 v) 2)                                                           L å n gi v er s A H,
                                                                                                                     L å nt a g er s A H
                                                                                                                     B er ørt e KI' er e
N å r f a st h ol d el s en
                         e n e r g e n n e mf ør t f ul dt dt u d                                                    L å n gi v er s B S
     Af vi kl et f a st h ol d el s e af si k k er h e d sr et til a n m el d er ( TI 2 0 2 1 7 v)

1)             H vi s d er p å i n dr a p p ort eri n g sti d s p u n kt et er e n ell er fl er e I SI N- u d el u k k el s er, d a n n e s i nf o e n p å
              i n dr a p p ort eri n g sti d s p u nkt et, o g v e d h v ert o p h ør af e n I SI N- u d el u k k el s e i n dtil si k k er h e d str æ k k et er
              d æ k k et.

2)            S e n d e s k u n til l å n gi v er s A H v e d til k n yt ni n g af f ør s t e V P- k o nt o til e n si k k er h e d sr et s aft al e, s v ar e n d e
              til o pr ett el s e n af s el v e si k k er h e d sr et s aft al e n.

3)            I nf o e n d a n n e s k u n, h vi s d er er a n m el dt e n r etti g h e d p å af gi v e n d e V P- k o nt o.




                                                                                                                                       Si d e 4 6 af 4 5 0
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                                                                S Y S T E M V E J L E D NI N G




S y st e m o v er bli k f or cl e ari n g o g s et tl e m e nt

S a m m e n h æ n g e m ell e m tr a n s a kti o n er o g i nf o- m e d d el el s er
D e n n e s a m m e n h æ n g er s kit s er et v e d n o gl e t e g ni n g er i s e p er at d o k u m e nt k al d et A p p e n di k s A


Æ n dri n g er afl e dt af e ur o e n s i n df ør el s e.

H a n d el s af vi kli n g
I nf o- m e d d el el s er:                                                                                       M o dt a g er ( k o m m e nt ar):
      S p e cifi k ati o n af b el ø b, b o gf ørt i a n d e n v al ut a e n d af vi kli n g s v al ut a e n      BS
      ( TI 2 0 0 9 3 v) a)

T e g ni n g s bl o k 1 4
I nf o- m e d d el el s er:                                                                                       M o dt a g er ( k o m m e nt ar):
      S p e cifi k ati o n af b el ø b, b o gf ørt i a n d e n v al ut a e n d af vi kli n g s v al ut a e n      BS
      ( TI 2 0 0 9 3 v) e)

P V P -af vi kli n g
I nf o- m e d d el el s er:                                                                                       M o dt a g er ( k o m m e nt ar):
      St art p å e n P V P- af vi kli n g s k ør s el ( TI 2 0 0 9 8 v)                                           D C
      M a n gl e n d e d æ k ni n g i e n P V P- af vi kli n g s k ør s el ( TI 2 0 0 9 7 v) b)                   NB
      M a n gl e n d e d æ k ni n g i e n P V P- af vi kli n g s k ør s el ( TI 2 0 0 9 4 v) b)                   BS
      St at u s p å e n P V P- af vi kli n g s k ør s el ( TI 2 0 0 9 6 v) b)                                     D C
      M a n gl e n d e d æ k ni n g i e n P V P- af vi kli n g s k ør s el ( TI 2 0 0 9 5 v) c)                   GS
      S p e cifi k ati o n af b el ø b, d er s k al o v erf ør e s til li k v i dit et s still er                 GS
      ( TI 2 0 0 8 5 v) c) d)
      B o gf øri n g s p o st er fr a e n af vi kli n g s k ør s el - k o pi ( TI 2 0 0 3 4 v)                    BS
      Af sl ut ni n g p å e n P V P- af v i kli n g s k ør s el ( TI 2 0 0 9 9 v)                                 D C

Fl y t P V P e n g a g e m e nt er til li k vi dit et s still er
I nf o- m e d d el el s er:                                                                                       M o dt a g er ( k o m m e nt ar):
      S p e cifi k ati o n af b el ø b, o v erf ørt ti l li k vi dit et s still er ( TI 2 0 0 8 3 v)              BS
      S p e cifi k ati o n af b el ø b, o v erf ørt til li k vi dit et s still er ( TI 2 0 0 8 1 v) d)            GS

Et a bl eri n g af e n P V P -af vi kli n g s k ør s el
I nf o- m e d d el el s er:                                                                                       M o dt a g er ( k o m m e nt ar):
      N y o pr ett et P V P- af vi kli n g s k ør s el ( TI 2 0 0 2 5 v)                                          D C

V e d sl et ni n g af e n P V P -a f vi kli n g s k ør s el
I nf o- m e d d el el s er:                                                                                       M o dt a g er ( k o m m e nt ar):
      Sl ett et P V P- af vi kli n g s k ør s el ( TI 2 0 0 2 6 v)                                                D C

a)            S e n d e s, h vi s h a n d el e n er i e ur o o g h a n d el e n er m e dt a g et i e n af f øl g e n d e h a n d el s af vi kli n g er: bl o k
              1 0, bl o k 2 0 ell er bl o k 3 0.

b)            S e n d e s n år P V P- af vi kli n g e n er n ø dli d e n d e ( 1., 2., 3. o g v e d 4. p e n g e k o ntr ol).

c)            S e n d e s n år p e n g e k o ntr oll e n er g e nt a g et ( 2., 3. o g v e d 4. p e n g e k o ntr ol)


                                                                                                                                    Si d e 4 7 af 4 5 0
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d)            I nf o e n i n d e h ol d er n ett o b el ø b et pr. af vi kli n g, pr. d elt a g er, d er er n ø dli d e n d e.

e)            S e n d e s h vi s pr o v e n u et er i e ur o.


S y st e m o v er bli k f or p a pirfilt er f or u d e nl a n d s k e v ær di p a pir er

P a pirfilt er f or u d e nl a n d s k e v ær di p a pir er - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

VP
I nf o- m e d d el el s er:                                                                                     M o dt a g er ( k o m m e nt ar):
      O pr ett el s e af n y I SI N i d elt a g er e n s p a pirfilt er ( TI 2 0 1 7 6 v)                       A H

F or e s p ør g s el p å V P' s b a si sr e gi st er o v er u d e nl a n d s k e v ær di p a pir er
A H, KI, F H, P K, S T ( T R 2 0 3 6 8 v)
I nf o- m e d d el el s er:                                                                                     M o dt a g er ( k o m m e nt ar):
      U d e nl a n d s k e v ær di p a pir er i V P' s b a si sr e gi st er ( TI 2 0 1 7 4 v)                   A n m el d er

F or e s p ør g s el p å d elt a g er e n s p a pirfilt er A H, KI, F H, P K ( T R 2 0 3 6 9 v)
I nf o- m e d d el el s er:                                                                                     M o dt a g er ( k o m m e nt ar):
      U d e nl a n d s k e v ær di p a pir er i d elt a g er e n s p a pirfilt er ( TI 2 0 1 7 5 v)             A n m el d er

Sl et ni n g af u d e nl a n d s k e v ær di p a pir er i e g et p a pirfilt er A H ( T D 2 0 3 6 9 v)
I nf o- m e d d el el s er:                                                                                     M o dt a g er ( k o m m e nt ar):
      Sl et ni n g af u d e nl a n d s k e v ær di p a pir er i d elt a g er e n s p a pirfilt er               A H
      ( TI 2 0 2 2 6 v)

Et a bl eri n g af u d e nl a n d s k e v ær di p a pir er i e g et p a pirfilt er A H ( T C 2 0 3 8 0 v)
I nf o- m e d d el el s er:                                                                               M o dt a g er ( k o m m e nt ar):




S y st e m o v er bli k f or i n v e st eri n g sf or e ni n g s kl a s sifi k ati o n er

I n v e st eri n g s kl a s sifi k ati o n - tr a n s akti o n, i n d s e n d er, i nf o er o g m o dt a g er

 VP
I nf o- m e d d el el s er:                                                                                     M o dt a g er ( k o m m e nt ar):
      E k str a kt af i n v e st eri n g sf or e n i n g s kl a s sifi k ati o n ( TI 2 0 2 3 0 v)              D C

Et a bl eri n g af i n v e st eri n g sf or e ni n g s kl a s sifi k ati o n U D ( T C 2 0 3 8 1 v)
I nf o- m e d d el el s er:                                                                                     M o dt a g er ( k o m m e nt ar):
      Et a bl eri n g af i n v e st eri n g sf or e ni n g s kl a s sifi k ati o n ( TI 2 0 2 2 7 v)            D C

Æ n dri n g af i n v e st eri n g sf or e ni n g s kl a s sifi k ati o n U D ( T U 2 0 3 8 1 v)
I nf o- m e d d el el s er:                                                                                     M o dt a g er ( k o m m e nt ar):
      Æ n dri n g af i n v e st eri n g sf or e n i n g s kl a s sifi k ati o n ( TI 2 0 2 2 8 v)               D C

Sl et ni n g af i n v e st eri n g sf or e ni n g s kl a s sifi k ati o n U D ( T D 2 0 3 8 1 v)
I nf o- m e d d el el s er:                                                                                     M o dt a g er ( k o m m e nt ar):
      Sl et ni n g af i n v e st eri n g sf or e ni n g s kl a s sifi k ati o n ( TI 2 0 2 2 9 v)               D C



                                                                                                                                  Si d e 4 8 af 4 5 0
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0 3 F u n k ti o n s b e s k ri v el s er
All e r ef er er e d e i nf o n u mr e o g tr a n s a kti o n s n u mr e er b e s kr e v et m e d v er si o n s n u m m er = v. (f. e k s. T C 2 0 1 8 2 v)




Cl e ari n g o g S et tl e m e nt

G e n n e mf ør el s e af e n af vi kli n g s k ør s el
F or m ål:
At k o ntr oll er e, o m h a n dl er k a n g e n n e mf ør e s, o g af vi kl e o g b et ali n g sf or mi dl e d e g o d k e n dt e h a n dl er.

B e h a n dli n g i V P:
S o m st art o g af sl ut ni n g p å e n af vi kli n g s k ør s el d a n n e s m e d d el el s e til d at a c e ntr e n e o m, at
af vi kli n g s k ør s el e n er p å b e g y n dt/ af sl utt et.

V ær di af si k k er h e d sr et s af t al er:
V e d st art e n af d a g e n s f ør st e af vi kli n g s k ør s el (i n d e n g e n n e mf ør el s e af af vi kli n g e n) b er e g n e s v ær di e n af
si k k er h e d sr et s aft al er. D e n b er e g n e d e v ær di af aft al er n e d o k u m e nt er e s i e n s ær s kilt i nf o- m e d d el el s e.

S e i ø vri gt Si k k er h e d sr ett e n o m si k k er h e d sr et s aft al er s a n v e n d el s e i h a n d el s af vi kli n g e n.

H a n dl er, d er k a n af vi kl e s:
D e n e n k elt e v ær di p a pir k o nt o o p d at er e s m e d d e n f or af vi kli n g s k ør s el e n t ot al e til- o g/ ell er fr a g a n g i:
      m ængde
      n a v n e n ot er et m æ n g d e
      u dtr u k k et m æ n g d e

F or h v er pri m ær b et ali n g s still er ( cl e a ri n g d elt a g er e, d er f ør er p e n g e k o nti i D a n m ar k s N ati o n al b a n k)
o pt æll e s pr. v al ut a d e n t ot al e til- o g/ ell er fr a g a n g i h a n d el s b el ø b, d er s k al b o gf ør e s i D a n m ar k s
N ati o n al b a n k ell er D e n E ur o p æi s k e C e ntr al b a n k. B el ø b e n e er s u m m e n af h e n h ol d s vi s til- o g/ ell er fr a g a n g
i d e n a kt u ell e af vi kli n g s k ør s el af:
      e g n e h a n dl er
      h a n dl er f or et a g et af d elt a g er e, s o m d e n pri m ær e b et ali n g s still er h ar til d elt et tr æ k ni n g s m a k si m u m
      i k k e- d elt a g er e s h a n dl er, s o m d e n pri m ær e b et ali n g s still er h ar i n dr a p p ort er et p å i k k e- d elt a g er e s
      vegne

D e g e n n e mf ørt e h a n dl er m ar k er e s, s å d et fr e m g år, at af vi kli n g er f or et a g et.

H a n dl er, d er i k k e k a n af vi kl e s:
H a n dl er af vi s e s, h vi s d e n ø n s k e d e af vi kli n g s d a g er o v er s kr e d et m e d 2 0 d a g e, o g d e n a kt u ell e
af vi kli n g s k ør s el er af vi kli n g s d a g e n s si d st e ell er d e n si d st e, h v or i d e n a n gi v n e v al ut a i n d g år.

D e af vi st e h a n dl er m ar k er e s, s å d et fr e m g år, at af vi kli n g i k k e k a n f or et a g e s.

H a n dl er, d er u d s k y d e s til s e n er e af vi kli n g:
H a n dl er, d er h ar f u n d et m a k k er, m e n s o m i k k e er kl ar til af vi kli n g, u d s k y d e s til f ør st k o m m e n d e
af vi kli n g s k ør s el af s a m m e t y p e, h v or d e i g e n vil bli v e f or s ø gt g e n n e mf ørt.

D er k a n v ær e f øl g e n d e år s a g er til, at e n h a n d el u d s k y d e s:
     d e n a n gi v n e I SI N er u d el u k k et fr a af vi kli n g
     pr e a d vi c e m a n gl er i n str u ct
     m o d p art h ar i k k e i n d s e n dt i n str u ct

                                                                                                                                         Si d e 4 9 af 4 5 0
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      m a n gl e n d e d æ k ni n g i b e h ol d ni n g
      m a n gl e n d e d æ k ni n g i p e n g e (i f or h ol d ti l si k k er h e d s v ær di o g/ ell er tr æ k ni n g s m a k si m u m)

A n n ull eri n g af u dl ø b n e i n st r u k ti o n er:
I k k e g e n n e mf ørt e h a n dl er i d e n a kt u ell e af vi kli n g s k ør sel k o ntr oll er e s f or, o m i n str u kti o n e n st a di g er
g æl d e n d e. H vi s d et i k k e er ti lf æl d et, a n n ull er e s i n str u kti o n e n.

D e p å g æl d e n d e pr e a d vi c e s m ar k er e s m e d, at i n str u kti o n er u dl ø b et.

Till a dt t r æ k ni n g s m a k si m u m:
F or cl e ari n g d elt a g er e m e d af vi kli n g s k o nt o i D a n m ar k s N ati o n al b a n k ( pri m ær e b et ali n g s still er e) m o dt a g e s
d er et n yt till a dt tr æ k ni n g s m a k si m u m fr a D a n m ar k s N ati o n al b a n k ell er fr a D e n E ur o p æi s k e C e ntr al b a n k
f ør h v er af vi kli n g s k ør s el. F or ø vri g e cl e ari n g delt a g er e f ør e s n ett o vir k ni n g e n af d et g æl d e n d e
tr æ k ni n g s m a k si m u m vi d er e fr a d e n e n e af vi kli n g s k ør s el til d e n n æ st e. D et f or br u gt e tr æ k vil d o g bli v e
n ul still et v e d af sl ut ni n g e n af h v er af vi kli n g s d a g. D et s a m m e vil s k e, h vi s et n yt till a dt tr æ k ni n g s m a k si m u m
i n d s e n d e s.

Er d er a n gi v et e n u dl ø b s d at o ( af vi kli n g s d at o) i d et till a dt e tr æ k ni n g s m a k si m u m, n ul still e s o g l u k k e s d ett e
a ut o m ati s k eft er d e n p å g æl d e n d e af v i kli n g s d a g s si d st e af vi kli n g s k ør s el.

B e h a n dli n g h o s c e nt r al d elt a g er:
H vi s et pr e a d vi c e er bl e v et u d s k u dt fr a e n af vi kli n g s k ør s el, s k al d et u n d er s ø g e s, o m år s a g e n til
u d s k y d el s e n k a n af hj æl p e s.

H vi s et pr e a d vi c e h ar f å et a n n ull er et si n i n str u kti o n, s k al d et af g ør e s, o m e n n y s k al i n d s e n d e s.

V e d af vi s ni n g af et pr e a d vi c e s k al et n yt pr e a d v i c e m e d til h ør e n d e i n str u kti o n i n d s e n d e s, h vi s h a n dl e n
ø n s k e s g e n n e mf ørt.

U d d at a:
D er d a n n e s b o gf øri n g s p o st er til D a n m ar k s N ati o n al b a n k ell er D e n E ur o p æi s k e C e ntr al b a n k o g i nf o-
m e d d el el s er fr a af vi kli n g s k ør s el e n.


U d el u k k el s e af I SI N' s fr a af vi kli n g
F or m ål:
At si kr e, at d er i k k e k a n fl ytt e s b e h ol d ni n g er i e n ell er fl er e I SI N' s i f or bi n d el s e m e d g e n n e mf ør el s e af d e n
t y p e p eri o di s k e k ør s el er, d er p å vir k er b e h ol d ni n g e n s st ørr el s e.

B e h a n dli n g i V P:
N år e n p eri o di s k k ør s el, d er p å vir k er b e h ol d ni n g e n s st ørr el s e, f x u dtr æ k ni n g, bli v er r e gi str er et i
f o n d sr e gi str et, gi v e s d er s a mti di g i nf or mati o n til d at a c e ntr e n e o m, h vil k e I SI N' s d er vil bli v e u d el u k k et o g
fr a h vil k et ti d s p u n kt u d el u k k el s e n er g æl d e n d e.

F or a n m el d el s er i d e u d el u k k e d e I SI N' s er d er f øl g e n d e k o n s e k v e n s er:
     h a n dl er u d s k y d e s til d e n f ør st k o m m e n d e af vi kli n g s k ør s el af s a m m e t y p e
     o v erf ør sl er o g h o v e d b o g s b e v æ g el s er l æ g g e s i v e nt e p o siti o n ( " p o st k a s s e ") i n dtil u d el u k k el s e n i k k e
     l æ n g er e er g æl d e n d e
     str a k s pr e a d vi c e s o g m ulti o v erf ør sl er af v i s e s, s å l æ n g e u d el u k k el s e n er g æl d e n d e

V e d af sl ut ni n g af h v er p eri o di s k k ør s el, o p h æ v e s u d el u k k e l s e n af d e i n v ol v er e d e I SI N' s, h v or eft er h a n dl er
i di s s e i g e n m e dt a g e s i af vi kli n g s k ør s eler o g o v erf ør sl er, h o v e d b o g s b e v æ g el s er o g str a k s pr e a d vi c e s k a n
af vi kl e s.


                                                                                                                                         Si d e 5 0 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



D er gi v e s i nf or m ati o n o m o p h æ v el s e n til d at a c e ntr e n e.

B e h a n dli n g h o s c e nt r al d elt a g er:
U d fr a d e a d vi s er e d e u d el u k k el s er s k al d elt a g er n e v ær e o p m ær k s o m m e p å, i h vil k e ti d sr u m af vi kli n g e n
k a n bli v e p å vir k et af u d el u k k e d e I SI N' s.

U d d at a:
D er d a n n e s i nf o- m e d d el el s er o m h e n h ol d s vi s u d el u k k el s e o g o p h æ v el s e af I SI N' s til d e i n v ol v er e d e
p art er.

F or u d d efi n er e d e af vi kli n g s k ør sl er
F or m ål:
At gi v e d elt a g er n e i nf or m ati o n o m, h vil k e fr e mti di g e af vi kli n g s d a g e/- k ør sl er d et er m uli gt, at f or et a g e
a n m el d el s er til.

B e h a n dli n g i V P:
D er vil s o m mi ni m u m v ær e af vi kli n g s d a g e/ - k ør sl er f or e n p eri o d e af 1 2 m å n e d er til g æ n g eli gt. S o m
st a n d ar d er d er o pr ett et 6 h a n d el s af vi kli n g s k ør sl er pr. d a g. Ti d s p u n kt et f or d e e n k elt e k ør sl er fr e m g år af
d e u d s e n dt e i nf o- m e d d el el s er.

B e h a n dli n g h o s c e nt r al d elt a g er:
D er k a n a n m el d e s h a n dl er til f øl g e n d e h a n d el s af vi kli n g s bl o k k e:

10             D K K, E U R
20             D K K, E U R
30             D K K, E U R
40             DKK
60             DKK
50             E UR

D er u d o v er bli v er f øl g e n d e bl o k k e a n v e n dt i f or bi n d el s e m e d b et ali n g sf or mi dli n g:

Bl o k nr.     V al ut a
05             U dtr u k n e b el ø b fr a st at s p a pir er i D K K
14             T e g ni n g o g k o n v ert eri n g af k o n v erti b l e o bli g ati o n er i D K K o g E U R
33             P V P - L e v eri n g af E U R m o d D K K i f or bi n d el s e m e d E U R- h a n dl er af vi kl et i bl o k 1 0, 2 0 o g 3 0.
35             Ø vri g e p eri o di s k e b et ali n g er i D K K
45             P eri o di s k e b et ali n g er i E U R
65             P eri o di s k e b et ali n g er i I S K
55             P eri o di s k e b et ali n g er i S E K

U d d at a:
D er d a n n e s i nf o- m e d d el el s er o m o pr ett e d e/ sl ett e d e af vi kli n g s k ør sl er.


F or c eri n g af tr a n s a kti o n er
N y a n m el dt r et ti g h e d s h a v er:
D er kr æ v e s f or c eri n g (f or c eri n g s m ar k eri n g s k o d e = 3), n år d er p å v ær di p a pir k o nt o e n er a n m el dt e n
r etti g h e d s h a v er s a m m e d a g. F or c eri n g skr a v et g æl d er fr a r etti g h e d e n er r e gi str er et i " d a gli g j o ur n al " o g
r e st e n af d et p å g æl d e n d e af vi kli n g s d ø g n s a mt d e n eft erf øl g e n d e aft e n/ n at i n yt af vi kli n g s d ø g n til o g m e d
n att e n s si d st e af vi kli n g s k ør s el, p.t. bl o k 3 0 m e d r et s vir k ni n g sti d s p u n kt kl. 0 6. 0 0.




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                                                              S Y S T E M V E J L E D NI N G



K o nt o st at u s :
D er kr æ v e s f or c eri n g (f or c eri n g s m ar k eri n g s k o d e = 2), n år v ær di p a pir k o nt o e n er f or s y n et m e d
k o nt o st at u s. D er s k al f or c er e s fr a d et ti d s p u n kt k o nt o st at u s er r e gi str er et i V P o g i n dtil k o nt o st at u s
sl ett e s ( o n-li n e r e gi str eri n g).



M e d d el el s e o m m a n gl e n d e d æ k ni n g            p å gr u n d af u dtr æ k ni n g
F or m ål :
At i nf or m er e o m h a n dl er til f ør st k o m m e n d e bl o k 1 0, s o m i k k e vil k u n n e g e n n e mf ø r e s p å gr u n d af
m a n gl e n d e d æ k ni n g i b e h ol d ni n g, f or år s a g et af e n u dtr æ k ni n g s k ør s el ( u dtr æ k- 1).

B e h a n dli n g i V P :
U mi d d el b art eft er at u dtr æ k ni n g s k ø r sl e n er af vi kl et, g e n n e mf ør er V P e n f or el ø bi g b e h ol d ni n g s k o ntr ol,
d er k o ntr oll er er all e fr a g a n g e i d e b e h o l d ni n g er, s o m h ar d elt a g et i u dtr æ k ni n g e n.

P å V P- k o nti, h v or d er k o n st at er e s o v ertr æ k, u d s e n d e s alti d e n m e d d el el s e o m d e n m a n gl e n d e m æ n g d e til
d et k o nt of ør e n d e i n stit ut.

I d e tilf æl d e, h v or e n af vi kli n g s a n s v arli g ( F H/ S T) er m o d p art i e n pri v at h a n d el i o v ertr æ k, f år d e n
af vi kli n g s a n v arli g e o g s å e n m e d d el el s e.

I d e tilf æl d e, h v or et fj er n m e dl e m ( S T) er m o d p art i e n pri v at h a n d el i o v ertr æ k, f år fj er n m e dl e m m et o g s å
e n m e d d el el s e.

                                                               -                                                       e n m e d d el el s e.

B e h a n dli n g h o s c e nt r al d elt a g er :
D e h a n dl er, h v or p å d er er gi v et m e d d el el s e o m o v ert r æ k, vil k u n k u n n e g e n n e mf ør e s, h vi s h a n dl er n e
k orri g er e s, i n d e n bl o k 1 0 p å b e g y n d e s. D et k a n g ør e s p å t o m å d er. E nt e n v e d at n e d s kri v e h a n dl e n m e d
d e n u dtr u k n e m æ n g d e ell er v e d at tilf ør e V P- k o nt o e n e n m æ n g d e s v ar e n d e til d e n u dtr u k n e.

U d d at a :
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 2 2 2 v             M a n gl e n d e d æ k ni n g i f or el ø bi g b e h ol d ni n g s k o ntr ol eft er u dtr æ k ni n g
TI 2 0 2 2 3 v             M a n gl e n d e d æ k ni n g h o s m o d p art i f or el ø bi g b e h ol d ni n g s k o ntr ol eft er u dtr æ k ni n g



A n n ull eri n g af h a n d el s af vi kli n g i e n af vi kli n g s k ør s el
A n n ull eri n g af h a n d el s af vi kli n g i e n af vi kli n g s k ør s el k a n f or e k o m m e i d e sit u ati o n er, h v or V P p å gr u n d af
pr o bl e m er er k o m m et b a g u d m e d af vi kli n g.

I f or bi n d el s e m e d a n n ull eri n g af e n af vi kli n g s k ør s el u d s e n d e s i nf or m ati o n vi a A b o n n e m e nt S er vi c e, ' st at u s
p å V P- s y st e m et', m e d b e s kri v el s e af, h v orl e d e s si t u ati o n e n s k al h å n dt er e s. V ær s p e ci elt o p m ær k s o m p å
f øl g e n d e f or h ol d:

I n st r u cts
           cts
U a n s et at d er i k k e fi n d er h a n d el s af vi kli n g st e d, vil g e n n e mf ør el s e n af af vi kli n g s k ør sl e n u d e n
h a n d el s af vi kli n g t æll e m e d i d et a nt al g a n g e, i n str u ct e n h ar v ær et br u gt. D et b et y d er, at h a n dl er, d er er
i n str u ct et m e d e n g yl di g h e d p å e n k ør s el, s k al r ei n stru ct e s f or at v ær e m e d i d e n eft erf øl g e n d e or di n ær e
k ør s el.


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                                                              S Y S T E M V E J L E D NI N G



P r e a d vi c e
Et pr e a d vi c e' s l e v eti d - af v i kli n g s d a g e n pl u s d e 2 0 eft erf øl g e n d e afvi kli n g s d a g e - p å vir k e s i k k e af, at e n
ell er fl er e af vi kli n g s k ør sl er i p eri o d e n h ar v ær et u d e n h a n d el s af vi kli n g.


Et a bl eri n g af o v erf ør s el ( T C 2 0 0 0 1 v)
F or m ål:
At o v erf ør e e n s p e cifi k b e h ol d ni n g fr a e n v ær di p a pir k o nt o til e n a n d e n.

B e h a n dli n g h o s c e nt r al d elt a g er:
Tr a n s a kti o n e n i n dr a p p ort er e s af d et af gi v e n d e k o nt o f ør e n d e i n stit ut ( KI) ell er af et o p d at eri n g sr el at er et
af gi v e n d e KI.

B e m ær k
S åfr e mt o v erf ør sl e n bli v er g e n n e mf ørt vil d e n f å r et s vir k ni n g fr a d et ti d s p u n kt ( a c c e ptti d s p u n kt), d er er
a n gi v et i O K- s v ar et p å tr a n s a kti o n e n.

E v e nt u el i n d b er et ni n g til D a n m ar k s N ati o n al b a n k af e n o v erf ør s el m ell e m e n v al ut ai n dl æ n di n g o g e n
v al ut a u dl æ n di n g s k al f or et a g e s af d et k o nt of ør e n d e i n stit ut, d er f ør er v ær di p a pir k o nt o e n f or
v al ut ai n dl æ n di n g e n.

U dtr u k n e o bli g ati o n s b e h ol d ni n g er i n dr a p p ort er e s s e p ar at m e d a n gi v el s e af, at d e n a n gi v n e m æ n g d e er
u dtr u k k et.

Tr a n s a kti o n e n af vi s e s li g el e d e s h vi s d et er e n o v erf ør s el til e n Li n k U p C S D, s e
F orr et ni n g s m æ s si g v ejl e d ni n g, Cl e ari n g v ejl e d ni n g Li n k U p- M ar k et s.

F or c eri n g:
S e b e s kri v el s e i af s nit F or c eri n g af tr a n s a kti o n er
F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.

B e h a n dli n g i V P:
G o d k e n dt e tr a n s a kti o n er o p d at er e s p å d e i n v ol v er e d e v ær di p a pir k o nti u mi d d el b art eft er
i n dr a p p ort eri n g e n.

Tr a n s a kti o n e n af vi s e s, h vi s I SI N er u d el u k k et p å i n dr a p p o rt eri n g sti d s p u n kt et o g f øl g e n d e b eti n g el s er er
o pf yl dt:
      "fr a " v ær di p a pir k o nt o e n i n d g år i e n si k k er h e d sr et s aft al e o g
      I SI N i n d g år p å p o siti vli st e n o g
      d er er et g æl d e n d e si k k er h e d str æ k

U d d at a:
S o m u d g a n g s p u n kt s e n d e s d er alti d i nf o- m e d d el el s er t il d e i n v ol v er e d e p art er s o m vi st i af s nit 3. V e d
s a m m e nf al d i m ell e m p art er n e u d s e n d e s u d fr a f øl g e n d e pri n ci p:

TI 2 0 0 1 1 v                     O v erf ør s el s o pl y s ni n g er s e n d e s til a n m el d er
TI 2 0 0 5 0 v                     Af vi kl et o v erf ør s el s e n d e s til a n m el d er
TI 2 0 0 1 6 v                     Af vi kl et o v erf ør s el s e n d e s k u n til KI, n år KI er f or s k elli g fr a a n m el d er
TI 2 0 0 4 7 v                     St at u s p å b e h ol d ni n g s e n d e s alti d til KI
TI 2 0 2 1 9 v                     Æ n dr et si k k er h e d s v ær di

V e d af vi s ni n g af e n o v erf ør s el s e n d e s i nf o:

TI 2 0 0 5 3 v                     Af vi s ni n g af o v erf ør s el til a n m el d er

                                                                                                                                      Si d e 5 3 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G




D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                        O
0 2 A F GI V E R- KI. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                  O
0 2 A F GI V E R- K O N T O. ( V A E R DI P A PI R K O N T O)
    03 N U M MER                                                                                                  O
0 2 M O D T A G E R- KI. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                  O
0 2 M O D T A G E R- K O N T O. ( V A E R DI P A PI R K O N T O)
    03 N U M MER                                                                                                  O
0 2 H A N D E L S P R O D U K T.
    0 3 I SI N                                                                                                    O
02 O V E RF O E RS EL
    03 M AE N G DE                                                                                                O
    0 3 A F GI V E R- S U B-I D E N T- N U M M E R                                                                F
    0 3 M O D T A G E R- S U B-I D E N T- N U M M E R                                                             F *
    0 3 I N T E R N- P O S T E RI N G S T E K S T                                                                 F
    0 3 E K S T E R N- P O S T E RI N G S T E K S T                                                               F
    0 3 N A V N E N O T E RI N G S K O D E                                                                        F
    0 3 U D T R U K K E T- K O D E                                                                                F
    0 3 R E F E R E N C E N U M M E R S KI F T- K O D E                                                           F
    0 3 F O R C E RI N G S M A R K E RI N G S K O D E                                                             F

O = o bli g at ori s k, F = f ri villi g, *) = s k al u df yl d e s v e d o v erf ør s el til e n C S D.
O B S: D et er i k k e m uli gt at et a bl er e o v erf ør sl er til Li n k U p C S D' er.

N B . V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e
bli v e i s at v e d m o dt a g el s e n i V P.


Et a bl eri n g af pr e a d vi c e ( T C 2 0 0 0 2 v)
F or m ål:
At i n dr a p p ort er e e n h a n d el af e n s p e cif i k v ær di p a pir b e h ol d ni n g til s e n er e af vi kli n g.

B e h a n dli n g h o s c e nt r al d elt a g er:
D er er m uli g h e d f or at i n dr a p p o rt er e 4 t y p er af pr e a d vi c e s:

p ar t:                                                m o d p ar t:
1. af vi kli n g s a n s v arli g               -      Af vi kli n g s a n s v arli g
2. af vi kli n g s a n s v arli g               -      i k k e af vi kli n g s a n s v arli g
3. i k k e af vi kli n g s a n s v arli g       -      Af vi kli n g s a n s v arli g
4. i k k e af vi kli n g s a n s v arli g       -      i k k e af vi kli n g s a n s v arli g

H vi s h a n dl et-f or d elt a g er-I D ell er BI C er u df yl dt, s k al p art v ær e e n af vi kli n g s a n s v arli g ( F H, S T), o g
v ær di p a pir k o nt o e n f or p art s k al h a v e af vi kli n g s gr u p p e " F H " ell er " S T ". Ell er s s k al v ær di p a pir k o nt o e n
h a v e af vi kli n g s gr u p p e " AI ", " UI " ell er " P R "(i k k e af vi kli n g s a n s v arli g).

H vi s h a n dl et- m e d d elt a g er-I D ell er BI C er u df yl dt, s k al m o d p art v ær e e n af vi kli n g s a n s v arli g ( F H, S T). Ell er s
s k al d e n a n gi v n e v ær di p a pir k o nt o f or m o d p art h a v e af vi kli n g s gr u p p e " AI ", " UI " ell er P R "(i k k e
af vi kli n g s a n s v arli g).

                                                                                                                                   Si d e 5 4 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G




A n m el d er af pr e a d vi c e s af t y p er n e 1 + 2 k a n v ær e e n af f øl g e n d e:
     e n af vi kli n g s a n s v arli g, s o m h a r a d g a n g til v ær di p a pir
     k o nt o e n e nt e n s o m k o nt of ør e n d e i n stit ut ( KI) ell er s o m
     o p d at eri n g sr el at er et k o nt of ør e n d e i n stit ut
     e n af vi kli n g s a n s v arli g m e d h a n d el sf ul d m a gt.

A n m el d er af pr e a d vi c e s af t y p er n e 3 + 4 k a n v ær e e n af f øl g e n d e:
V e d s al g:
      k o nt of ør e n d e i n stit ut f or v ær di p a pir k o nt o e n
      et o p d at eri n g sr el at er et k o nt of ør e n d e i n stit ut
      e n af vi kli n g s a n s v arli g m e d h a n d el sf ul d m a gt.

V e d k ø b, o g h v or h a n d el s b el ø b er st ørr e e n d 0: +
      p e n g e k o nt of ør e n d e i n stit ut ( P K)
      et o p d at eri n g sr el at er et p e n g e k o nt of ør e n d e i n stit ut

U dtr u k n e o bli g ati o n s b e h ol d ni n g er i n dr a p p ort er e s s e p ar at m e d a n gi v el s e af, at d e n a n gi v n e m æ n g d e er
u dtr u k k et.

F or O = o bli g at ori s k h e n h ol d s vi s F = fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er, s e d at af elt er.

D a n m o d p ar t
N år m o d p art e n s pr e a d vi c e s k al d a n n e s a ut o m ati s k ( D A N- M O D P A R T- K O D E = 1), g æl d er f øl g e n d e:

H a n dl er m e d b el ø b:
N år d er s e s b ort fr a k ø b fr a e n i k k e af vi kli n g s a n s v arl i g, h v or af vi kli n g s a n s v arli g h ar h a n d el sf ul d m a gt til
v ær di p a pir k o nt o e n, k a n k o d e n k u n a n v e n d e s i n d e n f or s a m m e aft al e h a v er o g k u n f or pr e a d vi c e s af t y p e n
2 o g 4.
V e d s al g til e n i k k e af vi kli n g s a n s v arli g s k al fr a g a n g s- p e n g e k o nt o e n li g el e d e s f ør e s u n d er d e n s a m m e
aft al e h a v er.

H a n dl er u d e n b el ø b:
K o d e n k a n a n v e n d e s p å t v ær s af aft al e h a v er e, f or pr e a d vi c e s af t y p e n 2 o g 4, i f øl g e n d e sit u ati o n er:
       s al g til e n i k k e af vi kli n g s a n s v arli g
       e n af vi kli n g s a n s v arli g s k ø b fr a e n i k k e af v i kli n g s a n s v arli g, h vi s af vi kli n g s a n s v arli g h ar e n
      h a n d el sf ul d m a gt til v ær di p a pir k o nt o e n.

F or c eri n g:
H vi s pr e a d vi c e er m e d i n str u ct, s e b e s kri v el s e i af s nit 3. 1 F or c eri n g

B e h a n dli n g i V P:
V e d m o dt a g el s e n i V P f or s ø g e s et pr e a d vi c e alti d m a k k er s ø gt m e d et pr e a d vi c e i n dr a p p ort er et af d e n
a n d e n p art i h a n dl e n.

M a k k er s ø g ni n g:
All e t y p er pr e a d vi c e s m a k k er s ø g e s eft er f øl g e n d e krit eri er:
       af vi kli n g s d a g s k al v ær e e n s
       h a n d el s d a g s k al v ær e e n s
       ø n s k et af vi kli n g s k ør s el:




                                                                                                                                    Si d e 5 5 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G



            1) h vi s i n g e n af p art er n e h ar u df yl dt f elt et, k n ytt e s h a n dl e n til d e n f ør st e m uli g e af vi kli n g s k ør s el
            p å af vi kli n g s d a g e n
            2) h vi s b e g g e p art er h ar u df yl d t f elt et, s k al ø n s k et af vi kli n g s k ør s el v ær e e n s. H a n dl e n k n ytt e s til
            d e n a n gi v n e af vi kli n g s k ør s el.
      I SI N s k al v ær e e n s
      m æ n g d e-til g a n g-fr a g a n g- k o d e s k al v ær e " m o d s at "
      m æ n g d e s k al v ær e e n s
      u dtr u k k et- k o d e s k al v ær e e n s:
            e n e vt. diff er e n c e i h a n d el s b el ø b s k al li g g e i n d e n f or d e n till a dt e t ol er a n c e p å D K K 1 0 0, 0 0 ell er
            m o d v ær di e n h er af i e n a n d e n v al ut a ( N B. v e d af vi kli n g af h a n dl e n er d et alti d s æl g er s b el ø b, d er
            a n v e n d e s s o m afr e g ni n g s b el ø b)
      v al ut a s k al v ær e e n s

H vi s p art- s u b-i d e nt- n u m m er er u df y l dt, s k al d et v ær e li g m e d m o d p arte n s m o d p art- s u b-i d e nt- n u m m er o g
o m v e n dt.

H vi s h a n dl et f or/ h a n dl et m e d d elt a g er-I D BI C er u df yl dt, fr e mfi n d e s C D-i d e nt e n o g d et er d e n n e d er
m at c h e s p å.

H vi s p art KI BI C er u df yl dt , fr e mfi n d e s KI-i d e nt e n o g d et er d e n n e d er m at c h e s p å.

D er u d o v er g æl d er f øl g e n d e s p e cifi k k e krit eri er:

1.             af vi kli n g s a n s v arli g - a f vi kli n g s a n s v arli g:
        -      h a n dl et-f or s k al v ær e li g m e d m o d p art e n s h a n dl et- m e d

2.             af vi kli n g s a n s v arli g - ik k e af vi kli n g s a n s v arli g
        -      h a n dl et-f or s k al v ær e li g m e d m o d p art e n s h a n dl et- m e d
        -      m o d p art- ki s k al v ær e li g m e d m o d p art e n s p art- ki
        -        m o d p art- k o nt o s k al v ær e li g m e d m o d part e n s p art- k o nt o ell er BI C- m o d p art- v p- k o nt o s k al v ær e li g
               m e d m o d p art e n s BI C- p art- v p- k o nt o

        H vi s f øl g e n d e er u df yl dt, o g af vi kli n g s a n s v arli g k ø b er ( d v s. d et er e n til g a n g i m æ n g d e), s k al:
 -       m o d p art-i k k e- d elt a g er ( b et ali n g s st e d) v        ær e li g m e d m o d p art e n s p art-i k k e- d elt a g er ( b et ali n g s st e d)
                o g m o d p art-i k k e- d elt a g er s- p e n g e- kt o v ær e li g m e d m o d p art e n s p art-i k k e- d elt a g er s- p e n g e- kt o.
          N B. H vi s af vi kli n g s a n s v arli g s æl g er ( d v s. d et er e n fr a g a n g i m æ ng d e), bli v er d er i k k e m a k k er s ø gt p å
        f elt er n e. D et vil i s å f al d vær e m o d p art e n s p e n g e k o nt o, d er er g æ l d e n d e, d v s. d e n k o nt o, h v orfr a
        p e n g e n e s k al d e bit er e s.

3.             i k k e af vi kli n g s a n s v arli g - a f vi kli n g s a n s v arli g:
        -      h a n dl et- m e d s k al v ær e li g m e d m o d p art e n s h a n dl et-f or
        -      p art- ki s k al v ær e li g m e d m o d p art e n s m o d p art- ki
        -      p art- k o nt o s k al v ær e li g m e d m o d p art e n s m o d p art- k o nt o

        H vi s f øl g e n d e er u df yl dt, o g i k k e af vi kli n g s a n s v arli g s æl g er ( d v s. d et er e n til g a n g i m æ n g d e), s k al:
        -        p art-i k k e- d elt a g er ( b et ali n g s st e d) s k al v ær e li g m e d m o d p art e n s m o d p art-i k k e- d elt a g er
                ( b et ali n g s st e d-), h vi s m o d p art e n s m od p art-i k k e- d elt a g er er u df yl dt
 -              p art-i k k e- d elt a g er s- p e n g e- kt o s k al v ær e li g m e d m o d p art e n s m o d p art-i k k e- d elt a g er s- p e n g e- kt o,
                h vi s m o d p art e n s m o d p art-i k k e- d elt a g er s- p e n g e- kt o er u df yl dt

4.             i k k e af vi kli n g s a n s v arli g - ik k e af vi kli n g s a n s v arli g:
        -      p art- ki s k al v ær e li g m e d m o d p art e n s m o d p art- ki
        -      p art- k o nt o s k al v ær e li g m e d m o d p art e n s m o d p art- k o nt o ell er BI C- p art- v p- k o nt o s k al v ær e li g e

                                                                                                                                    Si d e 5 6 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



                m e d m o d p art e n s BI C- m o d p art- v p- k o nt o

         H vi s f øl g e n d e er u df yl dt, o g d et er e n til g a n g i m æ n g d e, s k al:
 -        m o d p art-i k k e- d elt a g er ( b et ali n g s st e d) v      ær e li g m e d m o d p art e n s p art-i k k e- d elt a g er ( b et ali n g s st e d)
                 o g m o d p art-i k k e- d elt a g er s- p e n g e- kt o v ær e li g m e d m o d p art e n s p art-i k k e- d elt a g er s- p e n g e- kt o.
           N B. H vi s d et er e n fr a g a n g i m æ n g de, bli v er d er i k k e m a k k er s ø gt p å f elt er n e. D et vil i s å f al d v ær e
         m o d p art e n s p e n g e k o nt o, d er er g æl d e n d e, d v s. d e n k o nt o, h v orfr a p e n g e n e s k al d e bit er e s.

         G o d k e n dt e tr a n s a kti o n er af vi kl e s i d e n f ør st k o m m e n d e h e n h ol d s vi s d e n a n gi v n e af vi kli n g s k ør s el.

U d d at a:
S o m u d g a n g s p u n kt s e n d e s d er alti d i nf o- m e d d el el s er til d e i n v ol v er e d e p art er. V e d s a m m e nf al d m ell e m
di s s e u d s e n d e s u d fr a f øl g e n d e pri n ci p p er:

B e h ol d ni n g s si d e n
V e d m o dt a g el s e:
D er s e n d e s alti d e n i nf o til a n m el d er ( TI 2 0 0 2 2 v) o g d er s e n d e s i nf o til h a n dl et- m e d ( TI 2 0 0 1 0 v), h vi s
h a n dl et- m e d er u df yl dt, ell er s s e n d e s d er til m o d p art- KI ( TI 2 0 0 0 9 v).

N år p art er e n af vi kli n g s a n s v arli g, s e n d e s i nf o til h a n dl et-f or ( TI 2 0 0 2 1 v), h vi s h a n dl et-f or er f or s k elli g fr a
a n m el d er.

N år p art er e n i k k e af vi kli n g s a n s v arli g , s e n d e s i nf o til p art- KI ( TI 2 0 0 0 9 v), h vi s p art- KI er f or s k elli g fr a
a n m el d er.

V e d m a k k er s ø g ni n g:
D er s e n d e s i nf o ( TI 2 0 0 3 1 v) til d e s a m m e p art er s o m b e s kr e v et v e d m o dt a g el s e af pr e a d vi c e.

P e n g e si d e n
V e d m o dt a g el s e:
H vi s d et er et s al g til e n i k k e af vi kli n g s a n s v arli g, o g s æl g er s a mti di g a n gi v er k ø b er s p e n g e k o nt o, s å
s e n d e s i nf o ( TI 2 0 0 2 7 v) til k ø b er s p e n g e k o nt of ør er, s o m er d e n, d er s k al g o d k e n d e b et ali n g e n.

V e d m a k k er s ø g ni n g:
V e d h a n d el f or e n i k k e af vi kli n g s a n s v arli g s e n d e s i nf o ( TI 2 0 0 6 0 v) til p e n g e k o nt of ør e n d e i n stit ut s a mt, h vi s
p e n g e k o nt of ør er e n i k k e er pri m ær b et ali n g s still er( B S), i nf o ( TI 2 0 0 5 8 v) til pri m ær b et ali n g s still er( B S).

V e d h a n d el f or af vi kli n g s a n s v arli g, s o m i k k e er ti l sl utt et N ati o n al b a n k e n s b et ali n g s s y st e m i B E C s o m
pri m ær b et ali n g s still er, s e n d e s i nf o ( TI 2 0 0 5 8 v) til af vi kli n g s a n s v arli g s pri m ær e b et ali n g s still er( B S).

D e s a m m e i nf o er s o m n æ v nt v e d m a k k er s ø g ni n g s e n d e s v e d:
      a n n ull eri n g af pr e a d vi c e
      u d s k y d el s e af h a n d el
      n år h a n dl e n er kl ar til af vi kli n g ( b e g g e si d er er i n str u er et)
      u dl ø b af et i n str u ct

D A T A F ELT E R

                                                                                                 Ty p e 1           Ty p e 2           Ty p e 3           Ty p e 4
0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                       O                  O                  O                  O
0 2 H A N D L E T- F O R. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                 O 1 2)             O 1 2)             /                  /


                                                                                                                                           Si d e 5 7 af 4 5 0
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                                                        S Y S T E M V E J L E D NI N G



0 2 P A R T- KI. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                 O 1 4)      O 1 4)   O 1 4)             O 1 4)
0 2 P A R T- K O N T O. ( V A E R DI P A PI R K O N T O)
     03 N U M MER                                                                 O           O        O                  O
0 2 H A N D L E T- M E D. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                  O 1 3)      /        O 1 3)             /
0 2 M O D P A R T- KI. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                  /           O 1 5)   /                  O 1 5)
0 2 M O D P A R T- K O N T O. ( V A E R DI P A PI R K O N T O)
    0 3 N U M M E R.                                                              /           F 1 1)   /                  F 1 1)
0 2 A F VI K LI N G S D A G.
    0 3 A F VI K LI N G S- D A T O                                                O           O        O                  O
0 2 O E N S K E T- A F VI K LI N G S K O E R S E L.
    03 K O E RS ELS BL O K                                                        F           F        F                  F
0 2 H A N D E L S P R O D U K T.
    0 3 I SI N                                                                    O           O        O                  O
0 2 P A R T-I K K E- D E L T A G E R. ( B E T A LI N G S S T E D)
    0 3 R E GI S T R E RI N G S N U M M E R                                       /           /        O 1)               O 1)
0 2 M O D P A R T-I K K E- D E L T A G E R. ( B E T A L. S T E D)
     0 3 R E GI S T R E RI N G S N U M M E R                                      /           F 3)     /                  F 3)
0 2 M O D P A R T- A N M E L D E L S E. ( A N M E L D E L S E)
     0 3 A F S E N D E R- R E F E R E N C E                                       /           F 6)     /                  F 6)




                                                                                                           Si d e 5 8 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G




0 2 P R E A D VI C E
     0 3 M A E N G D E- TI L G A N G- F R A G A N G- K O D E                                O                 O                  O                  O
     03 M AE N G DE                                                                         O                 O                  O                  O
     03 B EL O E B                                                                          F                 F                  F                  F
     0 3 P A R T- S U B-I D E N T- N U M M E R                                              F                 F                  F                  F
     0 3 M O D P A R T- S U B-I D E N T- N U M M E R                                        F 2)              F                  F 2)               F
     0 3 P A R T-I K K E- D E L T A G E R S- P E N G E- K T O                               /                 /                  O 1)               O 1)
     0 3 M O D P A R T-I K K E- D E L T A G E R S- P E N G E- K T O                         /                 F 3)               /                  F 3)
     0 3 I N T E R N- P O S T E RI N G S T E K S T                                          F                 F                  F                  F
     0 3 E K S T E R N- P O S T E RI N G S T E K S T                                        F                 F                  F                  F
     0 3 N A V N E N O T E RI N G S K O D E                                                 F                 F 8)               F                  F 8)
     0 3 U D T R U K K E T- K O D E                                                         F                 F                  F                  F
     03 K O NT A NTF O R B E H OL DS K O D E                                                /                 F 4)               /                  /
     0 3 I N S T R U C T- K O D E                                                           F                 F                  F                  F
     0 3 G Y L DI G H E D S P E RI O D E K O D E                                            F 5)              F 5)               F 5)               F 5)
     0 3 D A N- M O D P A R T- K O D E                                                      /                 F 7)               /                  F 7)
     0 3 F O R C E RI N G S M A R K E RI N G S K O D E                                      F                 F                  F                  F
     0 3 P A N T E R E T- O E N S K E- K O D E                                              /                 F 1 0)             F 9)               F 9)
     0 3 BI C- P A R T- V P- K O N T O                                                      /                 /                  F                  F
     0 3 BI C- M O D P A R T- V P- K O N T O                                                /                 F                  /                  F
     03 H A N D ELS D AT O                                                                  O                 O                  O                  O
     0 3 BI C- H A N D L E T- F O R                                                         O 1 2)            O 1 2)             /                  /
     0 3 BI C- P A R T- KI                                                                  O 1 4)            O 1 4)             O 1 4)             O 1 4)
     0 3 BI C- H A N D L E T- M E D                                                         O 1 3)            /                  O 1 3)             /
     0 3 BI C- M O D P A R T- KI                                                            /                 O 1 5)             /                  O 1 5)
02 V AL UT A
     0 3 I S O- K O D E                                                                     F                 F                  F                  F
0 2 P A R T- D E L T A G E R. ( B E T A LI N G S S T E D)
     0 3 R E GI S T R E RI N G S N U M M E R                                                F                 F                  /                  /
0 2 P A R T- D E L T A G E R- P E N G E K O N T O ( K O N T O-
R E F E R E N C E)
     03 N U M MER                                                                           F                 F                  /                  /

O = o bli g at ori s k,                  F = f ri villi g,     / = m å i k k e u df yl d e s

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.

1)        =      m å k u n u df yl d e s n år b el ø b > 0
2)        =      s k al u df yl d e s v e d h a n d el m e d e n C S D
3)        =      s k al u df yl d e s v e d d a n- m o d p art- k o d e = 1 o g b el ø b > 0
4)        =      m å k u n a n v e n d e s af af vi kli n g s a n s v arl i g af t y p e n ( F H) o g k u n n år pr e a d vi c et er e n fr a g a n g u d e n
                 b el ø b
5)        =      m å k u n u df yl d e s v e d i n str u ct- k o d e = 1
6)        =      s k al u df yl d e s v e d d a n- m o d p art- k o d e = 1
7)        =      h vi s i n str u ct- k o d e i k k e u df yl d e s m e d k o d e = 1 (i n str u ct s k al g e n er er e s), bli v er m o d p art e n h ell er
                 i k k e i n str u ct e d. D v s. b e g g e si d er s k al eft erf øl g e n d e i n str u ct e s af a n m el d e r, f or at h a n dl e n k a n
                 g e n n e mf ør e s
8)         =     h vi s d et er e n fr a g a n g o g d a n- m o d p art- k o d e = 1 o g n a v n e n ot eri n g s k o d e = 1, s å vil til g a n g e n
                 bli v e n a v n e n ot er et.
9)         =     m å k u n a n v e n d e s n år pr e a d vi c et er e n til g a n g til e n V P- k o nt o af t y p e n i k k e- af vi kli n g s a n s v arli g
                 ( AI, UI, P R) o g h a n d el s b el ø b > 0 ( h a n dl e n er m e d p e n g e cl e ari n g).

                                                                                                                                     Si d e 5 9 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



                  K a n d e s u d e n i e n fr a g a n g a n gi v e s m e d 1 h vi s h a n d el s b el ø b > 0
1 0)        =     k a n k u n a n v e n d e s i f or bi n d el s e m e d d a n m o d p art, h v or m o d p art e n er e n i k k e- af vi kli n g s a n s v arli g.
                  M o d p art e n s k al o pf yl d e s a m m e r e g el s o m f or t y p e 3
1 1)       =      h vi s m o d p art- V P- k o nt o i k k e u df yl d e s, S K A L BI C- m o d p art- v p- k o nt o v ær e u df yl dt.
1 2)       =      E nt e n H A N D L E T- F O R ( D elt a g er-I D) ell er BI C- H A N D L E T- F O R s k al v ær e u df yl dt
1 3)       =      E nt e n H A N D L E T- M E D ( D elt a g er-I D) ell er BI C- H A N D L E T- M E D s k al v ær e u df yl dt
1 4)       =      E nt e n P A R T- KI ell er BI C- P A R T- KI s k al v ær e u df yl dt
1 5)       =      E nt e n M O D P A R T- KI ell er BI C- M O D P A R T- KI s k al v ær e u df yl dt



Et a bl eri n g af h o v e d b o g s b e v æ g el s e ( T C 2 0 0 0 3 v)
F or m ål:
At o p s kri v e ell er n e d s kri v e d e n cir k ul er e n d e m æ n g d e af et h a n d el s pr o d u kt.

B e h a n dli n g h o s c e nt r al d elt a g er:
Tr a n s a kti o n e n i n dr a p p ort er e s af d et u d st e d e n d e i n stit ut ( U D) ell er et o p d at eri n g sr el at er et u d st e d e n d e
i n stit ut.

V e d i n dfri el s er kr æ v e s y d erli g er e, at i n d s e n d er e n o g s å er k o nt of ør e n d e i n stit ut / o p d at eri n g sr el at er et
k o nt of ør e n d e i n stit ut f or v ær di p a pir k o nt o e n.

D et a n gi v e s i a n m el d el s e st y p e, o m tr a n s a kti o n e n er e n e mi s si o n ell er e n i n dfri el s e.

B e m ær k
     f or h a n d el s pr o d u kt er m e d m at e m ati s k u dtr æ k ni n g k a n h o v e d b o g s b e v æ g el s e i n dr a p p ort er e s i n dtil kl.
     1 0. 3 0 p å tr æ k ni n g s d a g e n.
     h vi s e n h o v e d b o g s b e v æ g el s e b li v er g e n n e mf ørt, vil d e n f å r et s vir k ni n g fr a d et ti d s p u n kt
     ( a c c e ptti d s p u n kt), d er er a n gi v et i O K- s v ar et p å tr a n s a kti o n e n.

F or c eri n g:
S e F or c eri n g af tr a n s a kti o n er
F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.

B e h a n dli n g i V P:
G o d k e n dt e tr a n s a kti o n er o p d at er e s p å h a n d el s pr o d u kt et s    h o v e d b o g o g d e n a n gi v n e v ær di p a pir k o nt o
u mi d d el b art eft er i n dr a p p ort eri n g e n.

Tr a n s a kti o n e n af vi s e s, h vi s I SI N er u d el u k k et p å i n dr a p p ort eri n g sti d s p u n kt et o g f øl g e n d e b eti n g el s er er
o pf yl dt:
      d et er e n i n dfri el s e o g
      "fr a " v ær di p a pir k o nt o e n i n d g år i e n si k k er h e d sr et s aft al e o g
      I SI N i n d g år p å p o siti vli st e n o g
      d er er et g æl d e n d e si k k er h e dtr æ k

U d d at a:
S o m u d g a n g s p u n kt s e n d e s d er alti d i nf o- m e d d el el s er til d e i n v ol v er e d e p art er. V e d s a m m e nf al d i m ell e m
di s s e u d s e n d e s u d fr a f øl g e n d e pri n ci p:

TI 2 0 0 2 3 v         H o v e d b o g s b e v æ g el s e s o pl y s ni n g er s e n d e s til a n m el d er
TI 2 0 0 4 9 v         Af vi kl et h o v e d b o g s b e v æ g el s e s e n d e s til a n m el d er
TI 2 0 0 1 7 v         Af vi kl et h o v e d b o g s b e v æ g el s e s e n d e s k u n til U D, n år U D er f or s k elli g fr a a n m el d er
TI 2 0 0 0 4 v         St at u s p å h o v e d b o g s e n d e s alti d til U D


                                                                                                                                     Si d e 6 0 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



TI 2 0 0 1 2 v         Af vi kl et h o v e d b o g s b e v æ g el s e s e n d e s k u n til KI, n år KI er f or s k elli g fr a a n m el d er ell er KI er
                       f or s k elli g fr a U D
TI 2 0 0 4 7 v         St at u s p å b e h ol d ni n g s e n d e s alti d til KI
TI 2 0 2 1 9 v         Æ n dr et si k k er h e d s v ær di

V e d af vi s ni n g af e n h o v e d b o g s b e v æ g el s e s e n d e s i nf o:

TI 2 0 0 5 5 v         Af vi s ni n g af h o v e d b o g s b e v æ g el s e til a n m el d er


D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                             O
0 2 KI. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                       O
0 2 V A E R DI P A PI R K O N T O.
    03 N U M MER                                                                                                       O
02 H A N D ELS P R O D U KT
    0 3 I SI N                                                                                                         O
02 A N M EL D ELS EST Y P E
    03 K O DE                                                                                                          O
02 H O V E D B O GS B E V A E G ELS E
    03 M AE N G DE                                                                                                     O
    0 3 I N T E R N- P O S T E RI N G S T E K S T                                                                      F
    0 3 E K S T E R N- P O S T E RI N G S T E K S T                                                                    F
    0 3 N A V N E N O T E RI N G S K O D E                                                                             F
    0 3 F O R C E RI N G S M A R K E RI N G S K O D E                                                                  F

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Et a bl eri n g af str a k s pr e a d vi c e ( T C 2 0 0 0 4 v)
F or m ål:
At g e n n e mf ør e e n str a k s h a n d el af e n s p e cifi k v ær di p a pir b e h ol d ni n g.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e f o n d s h a n dl er ( F H) ell er st or k u n d e ( S T), d er f ør er p e n g e k o nt o til br u g
f or af vi kli n g af h a n dl er i D a n m ar k s N ati o n al b a n k. F or b et ali n g i E U R s k al a n m el d er f ør e e n R T G S k o nt o i
D e n E ur o p æi s k e C e ntr al b a n k. F or b et ali n g sfri h a n dl er er d er i n g e n kr a v til p e n g e k o nt o. E n d vi d er e s k al
v ær di p a pir k o nt o e n h a v e af vi kli n g s gr u p p e " F H " ell er " S T ". D er s k al alti d i n dr a p p ort er e s af b å d e d e n
af gi v e n d e o g d e n m o dt a g e n d e p art i h a n dl e n.

H a n dl e n k a n v ær e m o d b et ali n g ell er b et ali n g sfri.

F or c eri n g:
S e b e s kri v el s e i af s nit " F or c eri n g af tr a n s a kti o n er "
F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.




                                                                                                                                    Si d e 6 1 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



B e h a n dli n g i V P:
Et str a k s pr e a d vi c e f or s ø g e s alti d m a k k er s ø gt m e d et str a k s pr e a d vi c e i n dr a p p ort er et af d e n a n d e n p art u d
fr a f øl g e n d e krit eri er:
      a n m el d er s k al v ær e li g m e d m o d p art e n s h a n dl et- m e d
      h a n d el s d a g s k al v ær e e n s
      I SI N ( s k al v ær e e n s)
      m æ n g d e-til g a n g-fr a g a n g- k o d e ( s k al v ær e " m o d s at ")
      m æ n g d e ( s k al v ær e e n s)
      b el ø b s k al li g g e i n d e n f or d e n till a dt e t ol er a n c e p å D K K 1 0 0, 0 0 ell er m o d v ær di e n h er af i e n a n d e n
      v al ut a ( N B. v e d af vi kli n g af h a n dl e n er d et alti d s æl g er s b el ø b, d er a n v e n d e s s o m afr e g ni n g s b el ø b).
      B el ø b k a n v ær e 0, 0 0.
      v al ut a ( s k al v ær e e n s)

H vi s p art- s u b-i d e nt- n u m m er er u df y l dt, s k al d et v ær e li g m e d m o d p arte n s m o d p art- s u b-i d e nt- n u m m er o g
o m v e n dt.

B e m ær k
Str a k s h a n dl er, h v or b et ali n g e n i k k e er bl e v et g e n n e mf ørt i n d e n l u k k eti d e n f or str a k s h a n dl er, vil bli v e
af vi st. Af vi kli n g af e n str a k s h a n d el s k er u mi d d el b art eft er g o d k e n d el s e af b et ali n g e n i D a n m ar k s
N ati o n al b a n k ell er D e n E ur o p æi s k e C e ntr al b a n k f or af v i kli n g i h e n h ol d s vi s D K K o g E U R. Af vi kli n g af
b et ali n g sfri str a k s h a n dl er s k er u mi d d el b art eft er b e h ol d ni n g s k o ntr ol.

U d d at a:
D er d a n n e s i nf o- m e d d el el s er til d e i n v ol v er e d e p art er.

D A T A F ELT E R

0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                         F
0 2 P A R T- KI. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                   F 1)
0 2 P A R T- K O N T O. ( V A E R DI P A PI R K O N T O)
     03 N U M MER                                                                                                   O
0 2 H A N D L E T- M E D. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                   F 2)
0 2 A F VI K LI N G S D A G.
       0 3 A F VI K LI N G S D A T O                                                                                F 3)
0 2 H A N D E L S P R O D U K T.
     0 3 I SI N                                                                                                     O
0 2 S T R A K S P R E A D VI C E.
     0 3 M A E N G D E- TI L G A N G- F R A G A N G- K O D E                                                        O
     03 M AE N G DE                                                                                                 O
     03 B EL O E B                                                                                                  F 5)
     0 3 P A R T- S U B-I D E N T- N U M M E R                                                                      F
     0 3 M O D P A R T- S U B-I D E N T- N U M M E R                                                                F 4)
     0 3 I N T E R N- P O S T E RI N G S T E K S T                                                                  F
     0 3 E K S T E R N- P O S T E RI N G S T E K S T                                                                F
     0 3 N A V N E N O T E RI N G S K O D E                                                                         F
     0 3 F O R C E RI N G S M A R K E RI N G S K O D E                                                              F
     03 H A N D ELS D AT O                                                                                          O
     0 3 BI C- P A R T- KI                                                                                          F 1)
     0 3 BI C- H A N D L E T- M E D                                                                                 F 2)
0 2 V A L U T A.

                                                                                                                                      Si d e 6 2 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



      0 3 I S O- K O D E                                                                                               F 5)

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.

1)     =    E nt e n P A R T- KI ell er BI C- P A R T- KI s k al v ær e u df yl dt
2)     =    E nt e n H A N D L E T- M E D ( D elt a g er-I D) ell er BI C- H A N D L E T- M E D s k al v ær e u df yl dt
3)     =    A F VI K LI N G S D A T O k a n k u n v ær e d a g s d at o. H v i s f elt et i k k e u df yl de s i n d s ætt e s d a g s d at o
            a ut o m ati s k.
4)     =    S k al u df yl d e s v e d h a n d el m e d e n C S D
5)     =    K a n v ær e m e d ell er u d e n p e n g e b el ø b. I S O- k o d e er o bli g at ori s k, h vi s p e n g e b el ø b > 0



A n n ull eri n g af pr e a d vi c e ( T U 2 0 0 0 5 v)
F or m ål:
At a n n ull er e et ti dli g er e i n dr a p p ort er et pr e a d vi c e.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e:
      d e n o pri n d eli g e a n m el d er af pr e a d vi c et
      d et k o nt of ør e n d e i n stit ut f or d e n af gi v e n d e v ær di p a pir k o nt o ( KI)

B e m ær k
     af s e n d er-r ef er e n c e i a n n ull eri n g str a n s a kti o n e n s k al v ær e li g m e d af s e n d er-r ef er e n c e n p å d et
     pr e a d vi c e, d er ø n s k e s a n n ull er et.

H vi s pr e a d vi c et er k n ytt et til e n h a n d el ( b e g g e p art er h a r i n dr a p p ort er e t o g i n str u er et), s k al b e g g e p art er
i n dr a p p ort er e e n a n n ull eri n g str a n s a kti o n.

F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.

B e h a n dli n g i V P:
H vi s pr e a d vi c et i k k e er k n ytt et til e n h a n d el, a n n ull er e s pr e a d vi c et u mi d d el b art eft er m o dt a g el s e n af
a n n ull eri n g str a n s a kti o n e n, ell er s a n n ull er e s d e t o pr e a d vi c e s f ør st, n år d e n si d st e af p art er n e h ar
i n dr a p p ort er et si n a n n ull eri n g str a n s a kti o n.

U d d at a:
D er d a n n e s i nf o- m e d d el el s er til d e i n v ol v er e d e p art er.

D A T A F ELT E R

0 2 O P RI N D E LI G- A N M E L D E R. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                       O
0 2 O P RI N D E LI G- A N M E L D E L S E. ( A N M E L D E L S E)
    0 3 A F S E N D E R- R E F E R E N C E                                                                             O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


                                                                                                                                    Si d e 6 3 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G




A n n ull eri n g af i n str u ct til pr e a d vi c e ( T U 2 0 0 0 6 v)
F or m ål:
At a n n ull er e i n str u kti o n e n til et pr e a d vi c e.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e:
      d e n o pri n d eli g e a n m el d er af pr e a d vi c et
      d et k o nt of ør e n d e i n stit ut f or d e n af gi v e n d e v ær di p a pir k o nt o ( KI)

B e m ær k
     af s e n d er-r ef er e n c e i a n n ull eri n g str a n s a kti o n e n s k al v ær e li g m e d af s e n d er-r ef er e n c e n p å d et
     pr e a d vi c e, h v ortil i n str u kti o n e n ø n s k e s a n n ull er et.

A n n ull eri n g k a n I K K E f or et a g e s, h vi s pr e a d vi c et h ar f u n d et m a k k er, o g b e g g e p art er h ar i n dr a p p ort er et
i n str u kti o n ( s e e vt. u n d er " A n n ull eri n g af pr e a d vi c e ").

F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.

B e h a n dli n g i V P:
G o d k e n d e s a n n ull eri n g str a n s a kti o n e n, a n n ull er e s i n str u kti o n e n u mi d d el b art eft er m o dt a g el s e n. S a mti di g
bl a n k still e s i nf or m ati o n er n e v e dr ør e n d e g yl di g h e d s p eri o d e k o d e o g f or c eri n g s m ar k eri n g s k o d e p å
pr e a d vi c et.

U d d at a:
D er d a n n e s i nf o- m e d d el el s er til d e i n v ol v er e d e p art er.

D A T A F ELT E R

0 2 O P RI N D E LI G- A N M E L D E R. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                       O
0 2 O P RI N D E LI G- A N M E L D E L S E. ( A N M E L D E L S E)
    0 3 A F S E N D E R- R E F E R E N C E                                                                             O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


O p h æ v el s e af k o nt a ntf or b e h ol d ( T U 2 0 0 0 7 v)
F or m ål:
At o p h æ v e et k o nt a ntf or b e h ol d i e n h a n d el.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e d e n o pri n d eli g e a n m el d er af pr e a d vi c et p å b e h ol d ni n g sf r a g a n g e n.

B e m ær k
     af s e n d er-r ef er e n c e i o p h æ v el s e s str a n s a kti o n e n s k al v ær e li g m e d af s e n d er-r ef er e n c e n p å d et
     pr e a d vi c e, h v or p å o p h æ v el s e af k o nt a ntf or b e h ol d ø n s k e s f or et a g et.

F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.

                                                                                                                                     Si d e 6 4 af 4 5 0
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                                                               S Y S T E M V E J L E D NI N G




B e h a n dli n g i V P:
G o d k e n d e s tr a n s a kti o n e n, o p h æ v e s k o nt a ntf o r b e h ol d et u mi d d el b art eft er m o dt a g el s e n.

U d d at a:
D er d a n n e s i nf o- m e d d el el s er til d e i n v ol v er e d e p art er.

D A T A F ELT E R

0 2 O P RI N D E LI G- A N M E L D E R. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                       O
0 2 O P RI N D E LI G- A N M E L D E L S E. ( A N M E L D E L S E)
    0 3 A F S E N D E R- R E F E R E N C E                                                                             O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Et a bl eri n g af i n str u ct til pr e a d vi c e ( T U 2 0 0 0 8 v)
F or m ål:
At æ n dr e et pr e a d vi c e til e n e n d eli g af vi kli n g si n str u kti o n.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e d e n o pri n d eli g e a n m el d er af pr e a d vi c et.

B e m ær k
     af s e n d er-r ef er e n c e i tr a n s a kti o n e n s k al v ær e li g m e d af s e n d er-r ef er e n c e n p å d et pr e a d vi c e, d er s k al
     i n str u er e s.
     h vi s g yl di g h e d s p eri o d e k o d e i k k e u df yl d e s, a n v e n d e s d e n f or d elt a g er e n g æl d e n d e d ef a ult v ær di.
     tr a n s a kti o n e n vil bli v e af vi st, h vi s d et pr e a d vi c e, d er s k al i n str u er e s, er k n ytt et til e n h a n d el (f u n d et
     m a k k er) o g h a n d el e n er k n ytt et til e n i g a n g v ær e n d e af vi kli n g s k ør s el.

F or c eri n g:
S e b e s kri v el s e i af s nit F or c eri n g af tr a n s a kti o n er

F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt e r s e n e d e nf or.

B e h a n dli n g i V P:
G o d k e n d e s tr a n s a kti o n e n, æ n dr e s pr e a d vi c et til e n e n d eli g af vi kli n g si n str u kti o n u mi d d el b art eft er
m o dt a g el s e n af i n str u kti o n e n.

U d d at a:
S o m u d g a n g s p u n kt s e n d e s d er alti d i nf o- m e d d el el s er til d e i n v ol v er e d e p art er. V e d s a m m e nf al d i m ell e m
p art er n e u d s e n d e s u d fr a f øl g e n d e pri n ci p:

TI 2 0 0 2 4 v         'I n str u ct o pl y s ni n g er til pr e a d vi c e- a n m el d er' s e n d e s til a n m el d er
TI 2 0 0 5 1 v         ' St at u s æ n dri n g p å pr e a d vi c e' s e n d e s k u n til KI, n år KI er f or s k elli g fr a a n m el d er

B e m ær k
I tilf æl d e af, at b e g g e pr e ad vi c e s o pri n d eli gt er i n dr a p p ort er et u d e n i n str u ct, vil i nf o er n e

TI 2 0 0 5 8 v         ' F or v e nt et b o gf øri n g s gr u n dl a g - st ork u n d e/i n dir e kt e cl e ari n g d elt a g er' o g

                                                                                                                                        Si d e 6 5 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



TI 2 0 0 6 0 v         ' F or v e nt et b o gf øri n g s gr u n dl a g - i k k e- d elt a g er'

f ør st bli v e u d s e n dt, n år d et si d st e af d e t o pr e a d vi c e s er bl e v et i n str u er et.

D A T A F ELT E R

0 2 O P RI N D E LI G- A N M E L D E R. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                      O
0 2 O P RI N D E LI G- A N M E L D E L S E. ( A N M E L D E L S E)
    0 3 A F S E N D E R- R E F E R E N C E                                                                            O
0 2 P R E A D VI C E.
    0 3 G Y L DI G H E D S P E RI O D E K O D E                                                                       F
    0 3 F O R C E RI N G S M A R K E RI N G S K O D E                                                                 F

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P


Et a bl eri n g af pr e a d vi c e m e d br u g af m o d p art s o pl y s ni n g er ( T C 2 0 0 0 9 v)
F or m ål:
At d a n n e et pr e a d vi c e m e d ell er u d e n i n str u kti o n        u d fr a d e o pl y s ni n g er, d er er a n gi v et i m o d p art e n s
o pl y s ni n g er.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e:

V e d s al g
      k o nt of ør e n d e i n stit ut f or v ær di p a pir k o nt o e n
      et o p d at eri n g sr el at er et k o nt of ør e n d e i n stit ut
      e n f o n d s h a n dl er ell er e n st or k u n d e m e d h a n d el sf ul d m a gt.

V e d k ø b o g h v or h a n d el s b el ø b er st ørr e e n d 0
      p e n g e k o nt of ør e n d e i n stit ut ( P K)
      et o p d at eri n g sr el at er et p e n g e k o nt of ør e n d e i n stit ut

Tr a n s a kti o n e n k a n k u n a n v e n d e s, n år pr e a d vi c e er af t y p e n "i k k e h a n d el s d elt a g er - h a n d el s d elt a g er " (t y p e
3) o g "i k k e h a n d el s d elt a g er - i k k e h a n d el s d elt a g er " (t y p e 4).

F or c eri n g:
S e b e s kri v el s e i af s nit F or c eri n g af tr a n s a kti o n er
F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.

B e h a n dli n g i V P:
G o d k e n d e s tr a n s a kti o n e n, d a n n e s d et ø n s k e d e pr e a d vi c e u mi d d el b art eft er i n dr a p p ort eri n g e n.

U d d at a:
S o m u d g a n g s p u n kt s e n d e s d er alti d i nf o- m e d d el el s er til d e i n v ol v er e d e p art er. V e d s a m m e nf al d i m ell e m
di s s e u d s e n d e s u d fr a f øl g e n d e pri n ci p p er:




                                                                                                                                      Si d e 6 6 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



B e h ol d ni n g s si d e n
V e d m o dt a g el s e:
D er s e n d e s alti d e n i nf o til a n m el d er ( TI 2 0 0 2 2 v) o g d er s e n d e s i nf o til h a n dl et- m e d ( Ti 2 0 0 1 0 v), h vi s
h a n dl et- m e d er u df yl dt, ell er s s e n d e s d er til m o d p art- ki( TI 2 0 0 0 9 v).

N år p art er e n h a n d el s d elt a g er s e n d e s i nf o til h a n dl et-f or ( TI 2 0 0 2 1 v), h vi s h a n dl et-f or er f or s k elli g fr a
a n m el d er.

N år p art er e n i k k e h a n d el s d elt a g er s e n d e s i nf o til p art- KI ( TI 2 0 0 0 9 v), h vi s p art- KI er f or s k elli g fr a
a n m el d er.

V e d m a k k er s ø g ni n g:
D er s e n d e s i nf o ( TI 2 0 0 3 1 v) til d e s a m m e p art er s o m b e s kr e v et v e d m o dt a g el s e af pr e a d vi c e.


P e n g e si d e n
V e d m o dt a g el s e:
D et er k u n v e d s al g til e n i k k e h a n d el s d elt a g er, at d er s e n d e s i nf o ( TI 2 0 0 2 7 v) til k ø b er s p e n g e k o nt of ør er,
s o m er d e n, d er s k al g o d k e n d e b et ali n g e n.

V e d m a k k er s ø g ni n g:
H vi s p e n g e k o nt of ør er er f or s k elli g fr a D a n m ar k s N ati o n al b a n k s e n d e s d er alt i d 1 i nf o til p art si d e n s
p e n g e k o nt of ør er.

V e d h a n d el f or e n i k k e h a n d el s d elt a g er s e n d e s i nf o ( TI 2 0 0 6 0 v) o g v e d h a n d el f or e n st or k u n d e/-i n dir e kt e
cl e ari n g d elt a g er s e n d e s i nf o ( TI 2 0 0 5 8 v).

D e s a m m e i nf o er s o m n æ v nt v e d m a k k er s ø g ni n g s e n d e s v e d:
      a n n ull eri n g af pr e a d vi c e
      u d s k y d el s e af h a n d el
      n år h a n d el e n er kl ar til af vi kli n g ( b e g g e si d er er i n str u er et)
      u dl ø b af et i n str u ct

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                          O
0 2 P A R T-I K K E- D E L T A G E R. ( B E T A LI N G S S T E D)
    0 3 R E GI S T R E RI N G S N U M M E R                                                                         F 1)
0 2 P R E A D VI C E.
    0 3 P A R T-I K K E- D E L T A G E R S- P E N G E- K T O                                                        F 1)
    0 3 I N T E R N- P O S T E RI N G S T E K S T                                                                   F
    0 3 E K S T E R N- P O S T E RI N G S T E K S T                                                                 F
    0 3 N A V N E N O T E RI N G S K O D E                                                                          F
    0 3 I N S T R U C T- K O D E                                                                                    F
    0 3 G Y L DI G H E D S P E RI O D E K O D E                                                                     F
    0 3 F O R C E RI N G S M A R K E RI N G S K O D E                                                               F
    0 3 P A N T E R E T- O E N S K E- K O D E                                                                       F 2)
0 2 R E L A T E R E T- A N M E L D E R. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                    O
0 2 R E L A T E R E T- A N M E L D E L S E. ( A N M E L D E L S E)
    0 3 A F S E N D E R- R E F E R E N C E                                                                          O


                                                                                                                                      Si d e 6 7 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



O = o bli g at ori s k, F = f ri villi g
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.

1)          =     s k al u df yl d e s v. h a n d el s b el ø b > 0 h vi s r e gi str eri n g s n u m m er o g m o d p art-i k k e- d elt a g er s-
                  p e n g e k o nt o i k k e er u df yl dt p å d et o pri n d eli g e pr e a d vi c e
2)          =     m å k u n a n v e n d e s n år pr e a d vi c et er e n til g a n g til e n V P- k o nt o af t y p e n i k k e- af vi kli n g s a n s v arli g
                  ( AI, UI, P R) o g h a n d el s b el ø b > 0 ( h a n d el e n er m e d p e n g e cl e ari n g)


N a v n e n ot eri n g/ af n ot eri n g af b e h ol d ni n g ( T U 2 0 0 1 1 v)
F or m ål:
At n a v n e n ot er e ell er af n ot er e e n v ær di p a pir b e h ol d ni n g.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e k o nt of ør e n d e i n stit ut ( KI) f or v ær di p a pir k o nt o e n ell er et
o p d at eri n g sr el at er et k o nt of ør e n d e i n stit ut.

B e m ær k
     n a v n e n ot eri n g k a n k u n f or et a g e s, h vi s d et p å h a n d el s pr o d u kt et er a n gi v et, at n a v n e n ot eri n g m å
     f or et a g e s.

D et a n gi v e s i a n m el d el s e st y p e o m tr a n s a kti o n e n er e n n a v n e n ot eri n g ell er e n af n ot eri n g.

V e d n a v n e n ot eri n g s k al d e n b e h ol d ni n g, d er ø n s k e s n a v n e n o t er et, v ær e mi n dr e e n d ell e r li g m e d d e n i k k e
n a v n e n ot er e d e b e h ol d ni n g.

V e d af n ot eri n g s k al d e n b e h ol d ni n g, d er ø n s k e s af n ot er et, v ær e mi n dr e e n d ell er li g m e d d e n
n a v n e n ot er e d e b e h ol d ni n g.

F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.

B e h a n dli n g i V P:
G o d k e n dt e tr a n s a kti o n er b e h a n dl e s u mi d d el b art eft er i n dr a p p ort eri n g e n.

Tr a n s a kti o n e n af vi s e s, h vi s I SI N er u d el u k k et p å i n dr a p p ort eri n g sti d s p u n kt et ell er
      h vi s m a n gl e n d e d æ k ni n g i b e h ol d ni n g ell er
      m a n gl e n d e d æ k ni n g i n ot er et b e h ol d ni n g.
      d er f or s ø g e s af n ot eri n g p å e n I SI N d er er m ar k er et f or pli gti g n a v n e n ot eri n g i f o n d sr e gi st er et.

U d d at a:
S o m u d g a n g s p u n kt s e n d e s d er alti d i nf o- m e d d el el s er til d e i n v ol v er e d e p art er. V e d s a m m e nf al d i m ell e m
p art er n e u d s e n d e s u d fr a f øl g e n d e pri n ci p:

TI 2 0 0 3 2 v         n a v n e n ot eri n g/ af n ot eri n g f or et a g et s e n d e s a lti d til KI o g d e s u d e n til a n m el d er, h vi s
                       d e n n e er f or s k elli g fr a KI
TI 2 0 0 4 7 v         st at u s p å b e h ol d ni n g s e n d e s a lti d til KI
TI 2 0 2 4 0 v         st at u s p å n a v n e n ot eri n g s e n d e s til a n m el d er.

D A T A F ELT E R

0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                                             O
0 2 A N M E L D E L S E S T Y P E.

                                                                                                                                      Si d e 6 8 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



    03 K O DE                                                                                                         O
0 2 KI. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                      O
0 2 V A E R DI P A PI R K O N T O.
    03 N U M MER                                                                                                      O
0 2 H A N D E L S P R O D U K T.
    0 3 I SI N                                                                                                        O
0 2 N A V N E N O T E RI N G S A N M O D NI N G.
    03 M AE N G DE                                                                                                    O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.




F or kl ari n g:

1.        Tr a n s a kti o n e n i n d s e n d e s o g l æ g g e s i p o st k a s s e n.
2.        I nf o TI 2 0 2 4 0( V) St at u s p å n a v n e n ot eri n g s e n d e s til a n m el d er m e d:
          St at u s                 =       1 5 A n m el d el s e kl ar til af vi kli n g o g
          År s a g s k o d e        =       4      V ali d eri n g f or et a g et ell er
                                    =       9      A n gi v n e I SI N er u d el u k k et fr a af vi kli n g ell er

                                                                                                                                   Si d e 6 9 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



                                   =      2 3 Af vi kli n g s k ør s el er p å b e g y n dt.
3.        H vi s eft erf øl g e n d e b e h a n dli n g i k k e er O K, s e n d e s TI 2 0 2 4 0( V) St at u s p å n a v n e n ot eri n g m e d:
          St at u s                =      1 0 A n m el d el s e af vi st o g
          År s a g s k o d e       =      2 9 M a n gl e n d e d æ k ni n g i n ot er et b e h ol d ni n g ell er
                                   =      1      M a n gl e n d e d æ k ni n g i b e h ol d ni n g ell er
                                   =      9      A n gi v n e I SI N er u d el u k k et fr a af vi kli n g.
4.        H vi s b e h a n dli n g er O K, s e n d e s TI 2 0 0 3 2( V) N a v n e n ot eri n g/ af n ot eri n g f or et a g et til a n m el d er o g
          k o nt of ør e n d e i n stit ut s o m k vitt eri n g p å d e n f o r et a g n e b e h a n dli n g, o g TI 2 0 0 4 7( V) St at u s p å
          b e h ol d ni n g s e n d e s til k o nt of ør e n d e i n stit ut f or at i nf or m er e o m st at u s p å b e h ol d ni n g eft er æ n dri n g e n.
          S a mti di g æ n dr e s st at u s o g år s a g s k o d e til:
          St at u s                =      9      A n m el d el s e af vi kl et o g
          År s a g s k o d e       =      5      Tr a n s a kti o n g e n n e mf ørt.


O p d at eri n g af tr æ k ni n g s m a k si m u m - i n d ir e kt e p e n g e cl e ari n g d elt a g er ( T U 2 0 0 1 2 v)
F or m ål:
At o p d at er e b el ø b p å et b a si s-tr æ k ni n g s m a k si m u m ell er at o p d at er e b el ø b s a mt a n dr e o pl y s ni n g er p å et
s p e cifi kt tr æ k ni n g s m a k si m u m.

B a si s-t r æ k ni n g s m a k si m u m:
Et b a si s-tr æ k ni n g s m a k si m u m er af gi v et af e n pri m ær b et ali n g s still er o g b e n ytt e s t il af vi kli n g af h a n dl er i
d e n v al ut a, s o m d et er af gi v et i, s a mt til af vi kli n g af h a n dl er i a n dr e v al ut a er, h v ori d er i k k e er af gi v et et
s p e cifi kt tr æ k ni n g s m a k si m u m.

Et b a si s-tr æ k ni n g s m a k si m u m b e n ytt e s k u n til h a n d el s af vi kli n g.

D er s k al alti d fi n d e s et b a si s-tr æ k ni n g s m a k si m u m til br u g f or h a n d el s af vi kli n g.

Æ n dri n g af v al ut a p å b a si s-t r æ k ni n g s m a k si m u m:
Æ n dri n g af v al ut a p å b a si s-tr æ k ni n g s m a k si m u m m et m e d d el e s V P p å bl a n k et 2. 2. G Er kl æri n g o m
b et ali n g s still el s e f or p e n g e k o nti s o m fi n d e s i " Bl a n k e tt er til v ejl e d ni n g er ". N år V P g e n n e mf ør er
æ n dri n g e n, vil b a si s-tr æ k ni n g s m a k si m u m m et i d e n ti d li g er e v al ut a bli v e æ n dr et til et s p e cifi kt
tr æ k ni n g s m a k si m u m. D er u d o v er vil d et bli v e l u k k et, o g b el ø b ( m a k si m u m) s a mt p å vir k ni n g vil bli v e
n ul still et.

Eft er æ n dri n g e n k a n d e n pri m ær e b et ali n g s still er i n dt a st e b el ø b ( m a k si m u m) p å d et n y e b a si s-
tr æ k ni n g s m a k si m u m i d e n n y e v al ut a.

H vi s d er all er e d e fi n d e s et s p e cifi kt tr æ k ni n g s m a k si m u m i d e n v al ut a, s o m fr e m o v er s k al v ær e b a si s-
tr æ k ni n g s m a k si m u m m et s v al ut a, vil b el ø b ( m a k si m u m) o g p å vir k ni n g p å d ett e bli v e n ul still et i f or bi n d el s e
m e d æ n dri n g e n.

S p e cifi k t t r æ k ni n g s m a k si m u m:
Et s p e cifi kt tr æ k ni n g s m a k si m u m er af gi v et af e n pri m ær b et ali n g s still er o g b e n ytt e s k u n i f or u d b e st e mt e
af vi kli n g s bl o k k e o g i d e n v al ut a, s o m d et er af gi v et i.

S p e cifi k k e tr æ k ni n g s m a k si m a s k al alti d b e n ytt e s til p eri o di s k af vi kli n g.

S p e cifi k k e tr æ k ni n g s m a k si m a k a n b e n ytt e s til h a n d el s af vi kli n g, h vi s d e n pri m ær e b et ali n g s still er ø n s k er at
b e gr æ n s e tr æ k k et i e n b e st e mt v al ut a.

S p e cifi k k e tr æ k ni n g s m a k si m a o pr ett e s eft er b e h o v.



                                                                                                                                     Si d e 7 0 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



B e h a n dli n g h o s c e nt r al d elt a g er :
A n m el d er af tr a n s a kti o n e n s k al v ær e af gi v er af tr æ k ni n g s m a k si m u m m et o g vær e o pr ett et s o m pri m ær
b et ali n g s still er ( B S).

K u n pri m ær e b et ali n g s still er e k a n still e et tr æ k ni n g s m a k si m u m til r å di g h e d f or e n i n dir e kt e
p e n g e cl e ari n g d elt a g er.

D et s k al a n gi v e s, o m o p d at eri n g e n v e dr ør er et b a si s-tr æ k ni n g s m a k si m u m ell er et s p e cifi kt
tr æ k ni n g s m a k si m u m.

B el ø b et a n gi v e s i d e n a kt u ell e v al ut a.

G æl d e r k u n s p e cifi k k e t r æ k ni n g s m a k si m a :
     U dl ø b s d at o k a n a n gi v e s. Tr æ k ni n g s m a k si m u m m et er g æl d e n d e til o g m e d d e n a n gi v n e u dl ø b s d at o,
     h v or eft er d et l u k k e s. I n dr a p p ort er e s et n yt tr æ k ni n g s m a k si m u m ( b el ø b), i n d e n d et f orri g e u dl ø b er, vil
     d et n y e b el ø b v ær e g æl d e n d e.
     St at u s k a n a n gi v e s ( 2 = a kti v ell er 5 =l u k k et). H vi s et s p e cifi kt tr æ k ni n g s m a k si m u m l u k k e s, vil h a n dl er i
     m a k si m u m m et s v al ut a bli v e p e n g e k o ntr o ll er et u n d er b a si s-tr æ k ni n g s m a k si m u m m et.
     D e bl o k n u mr e, d et s p e cifi k k e tr æ k ni n g s m a k si m u m m å b e n ytt e s i, s k al a n gi v e s. D er s k al alti d a n gi v e s
     mi n d st ét bl o k n u m m er.

I n d h ol d et i tr a n s a kti o n e n s k al b etr a gt e s s o m d e fr e mti di gt g æl d e n d e o pl y s ni n g er. H vi s et s p e cifi kt
tr æ k ni n g s m a k si m u m f. e k s. i k k e l æ n g er e m å b e n ytt e s i bl o k n u m m er 4 0, s k al tr a n s a kti o n e n i n d e h ol d e all e
d e a n dr e o pl y s ni n g er, d er st a di g v æ k s k al v ær e g æ l d e n d e (f. e k s. b el ø b o g u dl ø b s d at o), s a mt d e
bl o k n u mr e, s o m d et s p e cifi k k e tr æ k ni n g s m a k si m u m fr e m o v er g er n e m å b e n ytt e s i.

V P- st a n d ar d s y st e m :
D 1 4 0 k a n a n v e n d e s.

B e m ær k
Et tr æ k ni n g s m a k si m u m k a n i k k e o p d at er e s u n d er e n af vi kli n g s k ør s el m e d s a m m e p e n g e cl e ari n g st y p e
s o m tr æ k ni n g s m a k si m u m m et.
F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er.

B e h a n dli n g i V P :
G o d k e n dt e tr a n s a kti o n er o p d at er e s i d elt a g err e gi str et u mi d d el b art eft er m o dt a g el s e n.

U d d at a :
D er d a n n e s f øl g e n d e i nf o- m e d d el el s e:

TI 2 0 0 3 9 v          O p d at er et tr æ k ni n g s m a k si m u m i n dir e kt e p e n g e cl e ari n g d elt a g er (til s å v el af gi v er
                       s o m m o dt a g er af tr æ k ni n g s m a k si m u m).

D A T A F ELT E R

0 2 P E N G E T R A E K- A F GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 P E N G E T R A E K- M O D T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 P E N G E- C L E A RI N G S- T Y P E.
     03 K O DE                                                                                                      O
0 2 V A L U T A.
     0 3 I S O- K O D E                                                                                             O
0 2 T R A E K- M A K S-I N DI R E K T- C L E A RI N G D E L T

                                                                                                                                     Si d e 7 1 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



     0 3 T R A E K NI N G S M A K SI M U M S- B E L O E B                                                           O
     03 ST AT US                                                                                                    F
     03 TYPE                                                                                                        O
     03 U DL O E BS D AT O                                                                                          F
0 2 T R A E K- M A K S-I N D- C L E A R D E L T- B L K- A N V
     0 3 K O E R S E L S- B L O K- N U M M E R                                                                      O
     0 3 K O E R S E L S- B L O K- N U M M E R                                                                      F
     0 3 K O E R S E L S- B L O K- N U M M E R                                                                      F
     0 3 K O E R S E L S- B L O K- N U M M E R                                                                      F
     0 3 K O E R S E L S- B L O K- N U M M E R                                                                      F
     0 3 K O E R S E L S- B L O K- N U M M E R                                                                      F
     0 3 K O E R S E L S- B L O K- N U M M E R                                                                      F
     0 3 K O E R S E L S- B L O K- N U M M E R                                                                      F
     0 3 K O E R S E L S- B L O K- N U M M E R                                                                      F
     0 3 K O E R S E L S- B L O K- N U M M E R                                                                      F

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e skri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


O pr ett el s e af s p e cifi kt tr æ k ni n g s m a k si m u m - i n dir e kt e p e n g e cl e ari n gd elt a g er ( T C 2 0 0 1 2 v)
F or m ål:
At o pr ett e et s p e cifi kt tr æ k ni n g s m a k si m u m til e n i n dir e kt e p e n g e cl e ari n g d elt a g er.

S p e cifi k t t r æ k ni n g s m a k si m u m:
Et s p e cifi kt tr æ k ni n g s m a k si m u m er af gi v et af e n pri m ær b et ali n g s still er o g b e n ytt e s k u n i f or u d b e st e mt e
af vi kli n g s bl o k k e o g i d e n v al ut a, s o m d et er af gi v et i.

S p e cifi k k e tr æ k ni n g s m a k si m a ss k al alti d b e n ytt e s til p eri o di s k af vi kli n g.

S p e cifi k k e tr æ k ni n g s m a k si m a k a n b e n ytt e s til h a n d el s af v i kli n g, h vi s d e n pri m ær e b et ali n g s still er ø n s k er at
b e gr æ n s e tr æ k k et i e n b e st e mt v al ut a.

S p e cifi k k e tr æ k ni n g s m a k si m a o pr ett e s eft er b e h o v.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e af gi v er af tr æ k ni n g s m a k si m u m met o g v ær e o pr ett et s o m pri m ær
b et ali n g s still er ( B S).

K u n pri m ær e b et ali n g s still er e k a n still e et tr æ k ni n g s m a k si m u m til r å di g h e d f or e n i n dir e kt e
p e n g e cl e ari n g d elt a g er.

D et s k al a n gi v e s, at o p d at eri n g e n v e dr ør er et s p e cifi kt tr æ k ni n g s m a k si m u m.

B el ø b et a n gi v e s i d e n a kt u ell e v al ut a.

U dl ø b s d at o k a n a n gi v e s. Tr æ k ni n g s m a k si m u m m et er g æl d e n d e til o g m e d d e n a n gi v n e u dl ø b s d at o,
h v or eft er d et l u k k e s.

St at u s k a n a n gi v e s ( 2 = a kti v ell er 5 =l u k k et). H vi s et s p e cifi kt tr æ k ni n g s m a k si m u m l u k k e s, vil h a n dl er i
m a k si m u m m et s v al ut a bli v e p e n g e k o ntr oll er et u n d er b a si str æ k ni n g s m a k si m u m m et.


                                                                                                                                      Si d e 7 2 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G




D e bl o k n u mr e, d et s p e cifi k k e tr æ k ni n g s m a k si m u m m å b e n ytt e s i, s k al a n gi v e s. D er s k al alti d a n gi v e s
mi n d st ét bl o k n u m m er.

V P- st a n d ar d s y st e m :
D 1 4 0 k a n a n v e n d e s.

B e m ær k
Et tr æ k ni n g s m a k si m u m k a n i k k e o p d at er e s u n d er e n af vi kli n g s k ør s el m e d s a m m e p e n g e cl e ari n g st y p e
s o m tr æ k ni n g s m a k si m u m m et.

F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e d at af elt er.

B e h a n dli n g i V P :
G o d k e n dt e tr a n s a kti o n er o p d at er e s i d elt a g err e gi str et u mi d d el b art eft er m o dt a g el s e n.

U d d at a :
D er d a n n e s f øl g e n d e i nf o- m e d d el el s e:

TI 2 0 0 3 9 v                      O p d at er et tr æ k ni n g s m a k si m u m i n dir e kt e p e n g e cl e ari n g d elt a g er
                                   (til s å v el af gi v er s o m m o dt a g er af tr æ k ni n g s m a k si m u m).

D A T A F ELT E R

0 2 P E N G E T R A E K- A F GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                      O
0 2 P E N G E T R A E K- M O D T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                      O
0 2 P E N G E- C L E A RI N G S- T Y P E.
     03 K O DE                                                                                                         O
0 2 V A L U T A.
     0 3 I S O- K O D E                                                                                                O
0 2 T R A E K- M A K S-I N DI R E K T- C L E A RI N G D E L T
     0 3 T R A E K NI N G S M A K SI M U M S- B E L O E B                                                              O
     03 ST AT US                                                                                                       F
     03 TYPE                                                                                                           O
     03 U DL O E BS D AT O                                                                                             F
0 2 T R A E K- M A K S-I N D- C L E A R D E L T- B L K- A N V
     0 3 K O E R S E L S- B L O K- N U M M E R                                                                         O
     0 3 K O E R S E L S- B L O K- N U M M E R                                                                         F
     0 3 K O E R S E L S- B L O K- N U M M E R                                                                         F
     0 3 K O E R S E L S- B L O K- N U M M E R                                                                         F
     0 3 K O E R S E L S- B L O K- N U M M E R                                                                         F
     0 3 K O E R S E L S- B L O K- N U M M E R                                                                         F
     0 3 K O E R S E L S- B L O K- N U M M E R                                                                         F
     0 3 K O E R S E L S- B L O K- N U M M E R                                                                         F
     0 3 K O E R S E L S- B L O K- N U M M E R                                                                         F
     0 3 K O E R S E L S- B L O K- N U M M E R                                                                         F

O = o bli g at ori s k , F = f ri villig
                                  villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


                                                                                                                                     Si d e 7 3 af 4 5 0
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                                                               S Y S T E M V E J L E D NI N G




Et a bl eri n g af m ulti o v erf ør s el ( T C 2 0 0 1 3 v)
F or m ål:
At o v erf ør e all e b e h ol d ni n g er fr a e n v ær di p a pir k o nt o til e n a n d e n.

B e h a n dli n g h o s c e nt r al d elt a g er:
Tr a n s a kti o n e n i n dr a p p ort er e s af d et af gi v e n d e k o nt o f ør e n d e i n stit ut ( KI) ell er af et o p d at eri n g sr el at er et
af gi v e n d e KI.

B e m ær k
S åfr e mt o v erf ør sl e n bli v er g e n n e mf ørt vil d e n f å r et s vir k ni n g fr a d et ti d s p u n kt ( a c c e ptti d s p u n kt), d er er
a n gi v et i O K- s v ar et p å tr a n s a kti o n e n.

E v e nt u el i n d b er et ni n g til D a n m ar k s N ati o n al b a n k af e n o v erf ør s el m ell e m e n v al ut ai n dl æ n di n g o g e n
v al ut a u dl æ n di n g s k al f or et a g e s af d et k o nt of ør e n d e i n stit ut, d er f ør er v ær di p a pir k o nt o e n f or
v al ut ai n dl æ n di n g e n.

Tr a n s a kti o n e n af vi s e s h vi s d et er e n m ulti o v erf ør s el til e n Li n k U p C S D, s e F orr et ni n g s m æ s si g v ejl e d ni n g,
Cl e ari n g v ejl e d ni n g Li n k U p- M ar k et s.

F or c eri n g:
S e b e s kri v el s e i af s nit F or c eri n g af tr a n s a kti o n er

F or o bli g at ori s k h e n h ol d s vi s fri v illi g u df yl d el s e af tr a n s a kti o n e n s f elt er.

B e h a n dli n g i V P:
G o d k e n dt e tr a n s a kti o n er o p d at er e s p å d e i n v ol v er e d e v ær di p a pir k o nti u mi d d el b art eft er m o dt a g el s e n.

Tr a n s a kti o n e n af vi s e s, h vi s d er p å "fr a " v ær di p a pir k o nt o fi n d e s bl ot é n af f øl g e n d e:
        r e s er v er e d e b e h ol d ni n g er
      b e h ol d ni n g er h v or p å d er er r e gi str er et p a nt er et
      b e h ol d ni n g er, h v or p å d er er t a g et k o nt a ntf or b e h ol d
      ell er I SI N' s, s o m er o mf att et af e n u d el u k k el s e

Tr a n s a kti o n e n af vi s e s, h vi s e nt e n "fr a " ell er "til " v ær di p a pir k o nt o e n i n d g år i e n si k k er h e d sr et s aft al e.

U d d at a:
S o m u d g a n g s p u n kt s e n d e s d er alti d i nf o- m e d d el el s er til d e i n v ol v er e d e p art er. V e d s a m m e nf al d i m ell e m
di s s e u d s e n d e s u d fr a f øl g e n d e pri n ci p:

TI 2 0 0 1 1 v      o v erf ør s el s o pl y s ni n g er s e n d e s til a n m el d er ( u d e n I SI N- o pl y s ni n g er)
TI 2 0 0 5 0 v      af vi kl et o v erf ør s el s e n d e s til a n m el d er
TI 2 0 0 1 6 v      af vi kl et o v erf ør s el s e n d e s alti d til KI pr. b e h ol d ni n g *) ( o g s å n år KI er li g m e d a n m el d er)
TI 2 0 0 4 7 v      st at u s p å b e h ol d ni n g s e n d e s alti d til KI pr. b e h ol d ni n g *)

*) h vi s e n d el m æ n g d e af b e h ol d ni n g e n er u dtr u k k et/ n a v n e n ot er et, s e n d e s e n i nf o f or d e n
u dtr u k n e/ n a v n e n ot er e d e d el o g e n i nf o f or d e n i k k e u dtr u k n e/ n a v n e n ot er e d e d el

V e d af vi s ni n g af e n o v erf ør s el s e n d e s i nf o:

TI 2 0 0 5 3 v         af vi s ni n g af o v erf ør s el til a n m el d er



                                                                                                                                        Si d e 7 4 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



D A T A F E L T E R ( T C 2 0 0 1 3 1)

0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                                             O
0 2 A F GI V E R- KI. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                       O
0 2 A F GI V E R- K O N T O. ( V A E R DI P A PI R K O N T O)
    03 N U M MER                                                                                                       O
0 2 M O D T A G E R- KI. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                       O
0 2 M O D T A G E R- K O N T O. ( V A E R DI P A PI R K O N T O)
    03 N U M MER                                                                                                       O
0 2 M U L TI- O V E R F O E R S E L. ( O V E R F O E R S E L)
    0 3 M O D T A G E R- S U B-I D E N T- N U M M E R                                                                  F *)
    0 3 I N T E R N- P O S T E RI N G S T E K S T                                                                      F
    0 3 E K S T E R N- P O S T E RI N G S T E K S T                                                                    F
    0 3 R E F E R E N C E N U M M E R S KI F T- K O D E                                                                F
    0 3 F O R C E RI N G S M A R K E RI N G S K O D E                                                                  F

O = o bli g at ori s k, F = f ri villi g, *) = s k al u df yl d e s v e d o v erf ør s el til e n C S D
O B S: D et er i k k e m uli gt at et a bl er e o v erf ør sl er til Li n k U p C S D' er.

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Et a bl eri n g af s u p pl er e n d e o pl y s ni n g er til e n ti dli g er e i n d s e n dt a n m el d el s e ( T C 2 0 0 1 4 v)
F or m ål:
At o pl y s e o m d e n o pri n d eli g e af gi v er o g/ ell er d e n e n d eli g e m o dt a g er af e n o v erf ørt ell er h a n dl et
v ær di p a pir b e h ol d ni n g.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e d e n o pr i n d eli g e a n m el d er af d e n a n m el d el s e, s o m d e s u p pl er e n d e
o pl y s ni n g er v e dr ør er.

B e m ær k
     af s e n d er-r ef er e n c e i tr a n s a kti o n e n s k al v ær e li g m e d af s e n d er-r ef er e n c e n p å d e n ti dli g er e i n d s e n dt e
     a n m el d el s e.
     eft er o p d at eri n g i V P k a n e n s u p p l er e n d e o pl y s ni n g i k k e æ n dr e s

Tr a n s a kti o n e n k a n a n v e n d e s, h vi s d e n e n d eli g e m o dt a g er ell er d e n o pri n d eli g e af gi v er er e n a n d e n e n d
d e n, d er fr e m g år af d e n o pri n d eli g e a n m el d el s e.

F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.

B e h a n dli n g i V P:
G o d k e n dt e tr a n s a kti o n er o p d at er e s u mi d d el b art eft er m o dt a g el s e n.

U d d at a:
D er d a n n e s i nf o- m e d d el el s er til d e i n v ol v er e d e p art er.

D A T A F ELT E R



                                                                                                                                     Si d e 7 5 af 4 5 0
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                                                               S Y S T E M V E J L E D NI N G



0 2 O P RI N D E LI G- A N M E L D E L S E. ( A N M E L D E L S E)
     0 3 A F S E N D E R- R E F E R E N C E                                                                            O
0 2 S U P P L E R E N D E- O P L Y S NI N G E R.
     0 3 M O D T A G E R- K O N T O N U M M E R                                                                        F
     0 3 M O D T A G E R-I D- 1                                                                                        F
     0 3 M O D T A G E R-I D- 2                                                                                        F
     0 3 M O D T A G E R-I D- 3                                                                                        F
     0 3 M O D T A G E R-I D- 4                                                                                        F
     0 3 A F GI V E R- K O N T O N U M M E R                                                                           F
     0 3 A F GI V E R-I D- 1                                                                                           F
     0 3 A F GI V E R-I D- 2                                                                                           F
     0 3 A F GI V E R-I D- 3                                                                                           F
     0 3 A F GI V E R-I D- 4                                                                                           F

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Et a bl eri n g af i n str u ct til str a k s pr e a d vi c e ( T U 2 0 0 1 5 v)
F or m ål:
At r ei n str u er e et str a k s pr e a d vi c e. D er k a n k u n v ær e t al e o m e n r ei n str u kti o n, d a et str a k s pr e a di c e er f ø dt
i n str u er et. D e n m e df ø dt e i n str u kti o n k a n d o g af vi s e s i f or bi n d el s e m e d e n d æ k ni n g s k o ntr ol, h v orf or d et
k a n v ær e n ø d v e n di gt at r ei n str u er e.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e o pri n d eli g a n m el d er af str a k s pr e a d vi c et.

B e m ær k
     af s e n d er-r ef er e n c e i tr a n s a kti o n e n s k al v ær e li g m e d af s e n d er-r ef er e n c e n p å d et str a k s pr e a d vi c e, d er
     s k al r ei n str u er e s.

F or c eri n g:
S e b e s kri v el s e i af s nit F or c eri n g af tr a n s a kti o n er
F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f el t er s e n e d e nf or.

B e h a n dli n g i V P:
G o d k e n d e s tr a n s a kti o n e n, æ n dr e s str a k s pr e a d vi c et til e n e n d eli g af vi kli n g si n str u kti o n u mi d d el b art eft er
m o dt a g el s e n af i n str u kti o n e n.

U d d at a:
D er d a n n e s i nf o- m e d d el el s er til d e i n v ol v er e d e p art er.

D A T A F ELT E R

0 2 O P RI N D E LI G- A N M E L D E L S E. ( A N M E L D E L S E).
    0 3 A F S E N D E R- R E F E R E N C E                                                                             O
0 2 P R E A D VI C E.
    0 3 F O R C E RI N G S M A R K E RI N G S K O D E                                                                  F

O = o bli g at ori s k, F = f ri villi g



                                                                                                                                      Si d e 7 6 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


A n m o d ni n g o m b e h ol d ni n g s u dtr æ k - b at c h ( T C 2 0 0 1 6 v)
N B . Tr a n s a kti o n e n er p.t. i n a kti v h v orf or b e h ol d ni n g su dtr æ k i n dtil vi d er e s k al r e k vir er e s v e d s kriftli g
h e n v e n d el s e til Cl e ari n g & C u st o d y S er vi c e s.

F or m ål:
At a n m o d e o m o pl y s ni n g o m a kt u el b e h ol d ni n g p å et i nt er v al af v ær di p a pir k o nti /I SI N' s eft er e n
af vi kli n g s k ør s el.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e aft al e h a v er e n s d at a c e nt er ( D C).

B e m ær k
     ø n s k et af vi kli n g s d at o s k al v ær e st ørr e e n d ell er li g m e d a kt u el af vi kli n g s d at o
     ø n s k et af vi kli n g s k ør s el s k al v ær e fr e mti di g

U dtr æ k k et k a n r e k vir er e s p å f øl g e n d e ni v e a u er:
     pr. d at a c e nt er ( D C)
     pr. aft al e h a v er( A H)
     pr. k o nt of ør e n d e i n stit ut ( KI)

F or h v ert ni v e a u k a n v æl g e s, o m d et s k al v ær e:
     s a mtli g e k o nti ell er et i nt er v al af k o nti
     s a mtli g e I SI N' s ell er et i nt er v al af I SI N' s

D et er m uli gt at a n gi v e i tr a n s a kti o n e n ( o p d at eri n g s- ti d s p u n kt-f or- m a e n g d e), at d er k u n ø n s k e s
b e h ol d ni n g s o v er si gt er p å k o nti, h v or p å d er er s k et b e h ol d ni n g s æ n dri n g er eft er et a n gi v et ti d s p u n kt.

E k s e m p el:
H vi s d er i f elt et a n gi v e s 1 9 9 5 1 1 1 5 1 2 0 0 0 0 0 0 0 0 0 0, s å er d et k u n v ær di p a pir k o nti, h v or p å d er er f or et a g et
æ n dri n g er eft er d e n 1 5/ 1 1 1 9 9 5 kl. 1 1. 5 9 9 9 9 9 9 9 9 9, d er m e dt a g e s i u dtr æ k k et.

F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.

B e h a n dli n g i V P:
G o d k e n d e s tr a n s a kti o n e n, s e n d e s d e n ø n s k e d e i nf or m ati o n eft er d e n a n gi v n e af vi kli n g s k ør s el. D er s e n d e s
k u n o pl y s ni n g er o m b e h ol d ni n g, h vi s b e h ol d ni n g e n er st ørr e e n d 0.

U d d at a:
D er d a n n e s i nf o- m e d d el el s er til d e i n v ol v er e d e p art er.

D A T A F ELT E R

0 2 R E K VI SI TI O N.
    0 3 A F S E N D E R- R E F E R E N C E                                                                            O
0 2 A F T A L E H A V E R. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                      F
0 2 KI. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                      F 1)
0 2 R E K VI SI TI O N S O P L Y S NI N G E R.


                                                                                                                                     Si d e 7 7 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



    0 3 S O E G- F R A- K O N T O N U M M E R                                                                          F 2)
    0 3 S O E G- TI L- K O N T O N U M M E R                                                                           F 2)
    0 3 S O E G- F R A-I SI N                                                                                          F
    0 3 S O E G- TI L-I SI N                                                                                           F
0 2 B E H O L D NI N G- SI D S T- O P D A T E R E T.
    0 3 O P D A T E RI N G S TI D S P U N K T- F O R- M A E N G D E                                                    F
0 2 O E N S K E T- A F VI K LI N G S D A G. ( A F VI K LI N G S D A G)
    0 3 A F VI K LI N G S- D A T O                                                                                     O
0 2 O E N S K E T- A F VI K LI N G S B L O K.
    03 K O E RS ELS BL O K                                                                                             O

     O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.

1)          =      s k al u df yl d e s, h vi s S O E G- F R A- K O N T O N U M M E R ell er S O E G- TI L- K O N T O N U M M E R a n v e n d e s
2)          =      k a n k u n a n v e n d e s, h vi s KI-i d e ntifi k ati o n er u df yl dt


A n m o d ni n g o m b e h o l d ni n g s u dtr æ k - o nli n e ( T R 2 0 0 1 7 v)
F or m ål:
At a n m o d e o m o pl y s ni n g o m b e h ol d ni n g e n i et i nt er v al af I SI N' s p å e n gi v e n v ær di p a pir k o nt o.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e:
      k o nt of ør e n d e i n stit ut f or v ær di p a pir k o nt o e n
      et s p ør g e-/ o p d at eri n g sr el at er et k o nt of ør e n d e i n stit ut
      st or k u n d e f or e g n e v ær di p a pir k o nti
      r e gi str er et m e d e n s p ør g e-/ h a n d el sf ul d m a gt

D er k a n v æl g e s m ell e m s a mtli g e I SI N' s p å v ær di p a pir k o nt o e n ell er et i nt er v al af I SI N' s.

F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.

B e h a n dli n g i V P:
G o d k e n d e s tr a n s a kti o n e n, s e n d e s d e n ø n s k e d e i nf or m ati o n u mi d d el b art eft er m o dt a g el s e n. D er s e n d e s
k u n o pl y s ni n g er o m b e h ol d ni n g, h vi s b e h ol d ni n g e n er st ørr e e n d 0.

U d d at a:
N B . D et er k u n h vi s a n m o d ni n g e n i n d s e n d e s s o m e n s y st e m- s y st e m tr a n s a kti o n at d er d a n n e s i nf o-
m e d d el el s er.

D A T A F ELT E R

0 2 KI. ( D E L T A G E R)
      0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 V A E R DI P A PI R K O N T O.
      03 N U M MER                                                                                                     O
0 2 I SI N-I N T E R V A L- S T A R T. ( H A N D E L S P R O D U K T)
      0 3 I SI N                                                                                                       F
0 2 I SI N-I N T E R V A L- S L U T. ( H A N D E L S P R O D U K T)
      0 3 I SI N                                                                                                       F

                                                                                                                                    Si d e 7 8 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G




O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


A n m o d ni n g o m i k k e af vi kl e d e pr e a d vi c e s - b at c h ( T C 2 0 0 1 8 v)
F or m ål:
At a n m o d e o m o pl y s ni n g o m i k k e af vi kl e d e pr e a d vi c e s eft er e n af vi kli n g s k ør s el.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e aft al e h a v er e n s d at a c e nt er ( D C).

B e m ær k
     ø n s k et af vi kli n g s d at o s k al v ær e st ørr e e n d ell er li g m e d a kt u el af vi kli n g s d at o
     ø n s k et af vi kli n g s k ør s el s k al v ær e fr e mti di g

U dtr æ k k et k a n r e k vir er e s p å f øl g e n d e ni v e a u er:
     pr. d at a c e nt er ( D C)
     pr. aft al e h a v er( A H)
     pr. k o nt of ør e n d e i n stit ut ( KI)

F or h v ert ni v e a u k a n v æl g e s, o m d et s k al v ær e:
     s a mtli g e k o nti ell er et i nt er v al af k o nti
     s a mtli g e I SI N' s ell er et i nt er v al af I SI N' s

F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.

B e h a n dli n g i V P:
G o d k e n d e s tr a n s a kti o n e n, s e n d e s d e n ø n s k e d e i nf o r m ati o n eft er d e n a n gi v n e af vi kli n g s k ør s el.

U d d at a:
D er d a n n e s i nf o- m e d d el el s er til d e i n v ol v er e d e p art er.

D A T A F ELT E R

0 2 R E K VI SI TI O N.
    0 3 A F S E N D E R- R E F E R E N C E                                                                             O
0 2 A F T A L E H A V E R. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                       F
0 2 KI. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                       F
0 2 R E K VI SI TI O N S O P L Y S NI N G E R.
    0 3 S O E G- F R A- K O N T O N U M M E R                                                                          F
    0 3 S O E G- TI L- K O N T O N U M M E R                                                                           F
    0 3 S O E G- F R A-I SI N                                                                                          F
    0 3 S O E G- TI L-I SI N                                                                                           F
0 2 O E N S K E T- A F VI K LI N G S D A G. ( A F VI K LI N G S D A G)
    0 3 A F VI K LI N G S D A T O                                                                                      O
0 2 O E N S K E T- A F VI K LI N G S B L O K. ( A F VI K LI N G S K O E R S E L)
    03 K O E RS ELS BL O K                                                                                             O


                                                                                                                                       Si d e 7 9 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


A n m o d ni n g o m i k k e af vi kl e d e pr e a d vi c e s - o nli n e ( T R 2 0 0 1 9 v)
F or m ål:
At a n m o d e o m o pl y s ni n g o m i k k e af vi kl e d e pr e a d vi c e s i et i nt er v al af I SI N' s p å e n gi v e n v ær di p a pir k o nt o.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e:
      a n m el d er af d et/ d e i k k e af vi kl e d e pr e a d vi c e( s)
      k o nt of ør e n d e i n stit ut ( KI) f or v ær di p a pir k o nt o e n
      et o p d at eri n g sr el at er et k o nt of ør e n d e i n stit ut
      r e gi str er et m e d e n s p ør g e-/ h a n d el sf ul d m a gt

B e m ær k
H vi s a n m el d er er k o nt of ør e n d e i n st it ut ell er o p d at eri n g sr el at er et k o nt ofør e n d e i n stit ut, vi s e s s a mtli g e
i k k e af vi kl e d e pr e a d vi c e s til vær di p a pir k o nt o e n. I m o d s at f al d vi s e s k u n d e i k k e af vi kl e d e pr e a d vi c e s, s o m
a n m el d er e n s el v h ar i n dr a p p ort er et.

D er k a n v æl g e s m ell e m s a mtli g e I SI N' s p å v ær di p a pir k o nt o e n ell er et i nt er v al af I SI N' s.

F or o bli g at ori s k h e n h ol d s vi s fri villi g u d f yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.

B e h a n dli n g i V P:
G o d k e n d e s tr a n s a kti o n e n, s e n d e s d e n ø n s k e d e i nf or m ati o n u mi d d el b art eft er m o dt a g el s e n.

U d d at a
N B . D et er k u n h vi s a n m o d ni n g e n i n d s e n d e s s o m e n s y st e m- s y st e m tr a n s a kti o n, at d er d a n n e s i nf o-
m e d d el el s er.

D A T A F ELT E R

0 2 KI. ( D E L T A G E R)
      0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 V A E R DI P A PI R K O N T O.
      03 N U M MER                                                                                                     O
0 2 I SI N-I N T E R V A L- S T A R T. ( H A N D E L S P R O D U K T)
      0 3 I SI N                                                                                                       F
0 2 I SI N-I N T E R V A L- S L U T. ( H A N D E L S P R O D U K T)
      0 3 I SI N                                                                                                       F

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


A n n ull eri n g af str a k s pr e a d vi c e ( T U 2 0 0 2 0 v)
F or m ål:
At a n n ull er e et ti dli g er e i n dr a p p ort er et str a k s pr e a d vi c e.

                                                                                                                                      Si d e 8 0 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G




B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e:
      d e n o pri n d eli g e a n m el d er af str a k s pr e a d vi c et
      d et k o nt of ør e n d e i n stit ut ( P A R T- KI).

B e m ær k
     af s e n d er-r ef er e n c e i a n n ull eri n g str a n s a kti o n e n s k al v ær e li g m e d af s e n d er-r ef er e n c e n p å d et
     str a k s pr e a d vi c e, d er ø n s k e s a n n ull er et.

Str a k s pr e a d vi c et k a n I K K E a n n ull er e s, h vi s d et h ar f u n d et m a k k er, o g b e g g e si d er er kl ar til af vi kli n g.

F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.

B e h a n dli n g i V P:
G o d k e n d e s tr a n s a kti o n e n, a n n ull er e s str a k s pr e a d vi c et u mi d d el b art eft er m o dt a g el s e n.

U d d at a:
D er d a n n e s i nf o- m e d d el el s er til d e i n v ol v er e d e p art er.

D A T A F ELT E R

0 2 O P RI N D E LI G- A N M E L D E R. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                       O
0 2 O P RI N D E LI G- A N M E L D E L S E. ( A N M E L D E L S E)
    0 3 A F S E N D E R- R E F E R E N C E                                                                             O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Sl et ni n g af r e k vi siti o n ( T D 2 0 0 2 5 v)
  F or m ål:
At sl ett e e n ti dli g er e i n dr a p p ort er et r e k vi siti o n af t y p er n e:
" A n m o d ni n g o m b e h ol d ni n g s u dtr æ k - b at c h ( T C 2 0 0 1 6 v) ",
" A n m o d ni n g o m b e h ol d ni n g s u dtr æ k pr . d ø g n s kift - b at c h ( T C 2 0 3 0 1 v) " ell er
" A n m o d ni n g o m i k k e af vi kl e d e pr e a d vi c e s - b at c h ( T C 2 0 0 1 8 v) "

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e d e n      o pri n d eli g e a n m el d er af r e k vi siti o n e n.

B e m ær k
     af s e n d er-r ef er e n c e i sl ett etr a n s a kti o n e n s k al v ær e li g m e d af s e n d er-r ef er e n c e n p å d e n r e k vi siti o n, d er
     ø n s k e s sl ett et.

F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.

B e h a n dli n g i V P:
G o d k e n d e s tr a n s a kti o n e n, a n n ull er e s r e k vi si ti o n e n u mi d d el b art eft er m o dt a g el s e n.

U d d at a:
D er d a n n e s i nf o- m e d d el el s er til d e i n v ol v er e d e p art er.

                                                                                                                                      Si d e 8 1 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G




D A T A F ELT E R

0 2 R E K VI SI TI O N.
    0 3 A F S E N D E R- R E F E R E N C E                                                                             O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


A n m o d ni n g o m o v er si gt o v er f ul d m a gt er - ( T R 2 0 0 9 4 v)
F or m ål:
At f å o pl y s ni n g o m p å h vil k e k o nti d er er r e gi str er et f ul d m a gt er til a n m el d er e n.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e e n d elt a g er, d e r h ar f å et r e gi str er et f ul d m a gt er h o s a n dr e
k o nt of ør e n d e i n stit utt er.

U dtr æ k k et k a n r e k vir er e s p å f øl g e n d e ni v e a u er:

      all e f ul d m a gt er (i n g e n f elt er u df yl d e s)
      all e f ul d m a gt er pr. KI ( KI-I N T E R V A L- S T A R T o g KI-I N T E R V A L- S L U T u df yl d e s)
      et i nt er v al af f ul d m a gt er ( a ll e f elt er u df yl d e s)

F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.

B e h a n dli n g i V P:
G o d k e n d e s tr a n s a kti o n e n, s e n d e s d e n ø n s k e d e i nf or m ati o n.

U d d at a:
N B . D et er k u n h vi s a n m o d ni n g e n i n d s e n d e s s o m e n s y st e m- s y st e m tr a n s a kti o n at d er d a n n e s i nf o-
m e d d el el s er til a n m el d er ( TI 2 0 0 7 9 v).

D A T A F ELT E R

0 2 KI-I N T E R V A L- S T A R T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                       F
0 2 K O N T O N U M M E R-I N T E R V A L- S T A R T
    03 N U M MER                                                                                                       F
0 2 KI-I N T E R V A L- S L U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                       F
0 2 K O N T O N U M M E R-I N T E R V A L- S L U T.
    03 N U M MER                                                                                                       F

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.




                                                                                                                                    Si d e 8 2 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



A n m o d ni n g o m b e h ol d n i n g s u dtr æ k pr. d ø g n s kift - b at c h ( T C 2 0 3 0 1 v)
N B . Tr a n s a kti o n e n er p.t. i n a kti v h v orf or b e h ol d ni n g su dtr æ k i n dtil vi d er e s k al r e k vir er e s v e d s krif tli g
h e n v e n d el s e til Cl e ari n g & C u st o d y S er vi c e s

F or m ål:
At a n m o d e o m o pl y s ni n g o m a kt u el b e h ol d ni n g p å et i nt er v al af v ær di p a pir k o nti /I SI N' s pr. d ø g n s kift.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e aft al e h a v er e n s d at a c e nt er ( D C).

B e m ær k
       h vi s d er i n d s e n d e s e n r e k vi siti o n, d er i i n d h ol d er i d e nti s k m e d e n, d er all er e d e er m o dt a g et, s å vil
     d e n bli v e af vi st, u a n s et o m d e 2 r e k vi siti o n er h ar f or s k elli g af s e n d er-r ef er e n c e ell er ej.

U dtr æ k k et k a n r e k vir er e s p å f øl g e n d e ni v e a u er:
     pr. d at a c e nt er ( D C)
     pr. aft al e h a v er( A H)
     pr. k o nt of ør e n d e i n stit ut ( KI)

F or h v ert ni v e a u k a n v æl g e s, o m d et s k al v ær e:
     s a mtli g e k o nti ell er et i nt er v al af k o nti
     s a mtli g e I SI N' s ell er et i nt er v al af I SI N' s

I tr a n s a kti o n e n a n gi v e s pr. h vil k e n af vi kli n g s d a g u dtr æ k k et ø n s k e s ( u dtr æ k- pr- af vi kli n g s d a g). I nf o e n vil
vi s e af vi kli n g s d ø g n et s sl ut b e h ol d ni n g.

F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.

B e h a n dli n g i V P:
G o d k e n d e s tr a n s a kti o n e n, s e n d e s d e n ø n s k e d e i nf or m ati o n i f or bi n d el s e m e d s kift til n yt af vi kli n g s d ø g n
D er s e n d e s k u n o pl y s ni n g er o m b e h ol d ni n g, h vi s b e h ol d ni n g e n er st ørr e e n d 0.

U d d at a:
D er d a n n e s i nf o- m e d d el el s er til d e i n v ol v er e d e p art er.

D A T A F ELT E R

0 2 R E K VI SI TI O N.
    0 3 A F S E N D E R- R E F E R E N C E                                                                             O
0 2 U D T R A E K- P R- A F VI K LI N G S D A G. ( A F VI K L. D A G)
    0 3 A F VI K LI N G S- D A T O                                                                                     O
0 2 A F T A L E H A V E R. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                       F
0 2 KI. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                       F
0 2 R E K VI SI TI O N S O P L Y S NI N G E R.
    0 3 S O E G- F R A- K O N T O N U M M E R                                                                          F
    0 3 S O E G- TI L- K O N T O N U M M E R                                                                           F
    0 3 S O E G- F R A-I SI N                                                                                          F
    0 3 S O E G- TI L-I SI N                                                                                           F

O = o bli g at ori s k, F = f ri villi g


                                                                                                                                        Si d e 8 3 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Fl yt P V P- e n g a g e m e nt er til li k vi dit et s still er ( T C 2 0 3 3 4 v)
F or m ål:
At fl ytt e e n n ø dli d e n d e d elt a g er s e n g a g e m e nt i e n P V P- af vi kli n g til d e n a kti v e li k vi dit et s still er.

B e h a n dli n g h o s g ar a nti a g e nt:
Tr a n s a kti o n e n i n dr a p p ort er e s af li k v i dit et s still er e n, d er h er v e d til k e n d e gi v er o v ert a g el s e af n ø dli d e n d e
d elt a g er s f or pli gt el s er i P V P- af v i kli n g e n. Li k vi dit et s still er e n o v ert a g er h el e d e n n ø dli d e n d e d elt a g er s
f or pli gt el s er, i k k e k u n d et m a n gl e n d e b el ø b. Til g e n g æl d o v ert a g er li k vi dit et s still er e n d e n n ø dli d e n d e
d elt a g er s r etti g h e d er i P V P- af vi kli n g e n.

V P- st a n d ar d s y st e m:
D 3 2 4 k a n a n v e n d e s.

B e h a n dli n g i V P:
N ø dli d e n d e d elt a g er s f or pli gt el s er o v erf ørt til li k vi dit et s still er.

K u n d e n a kti v e li k vi dit et s still er k a n a n v e n d e tr a n s a kti o n e n o g k u n n år d er er k o n st at er et m a n gl e n d e
d æ k ni n g eft er 2. p e n g e k o ntr ol.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 0 8 3 v                     S p e cifi k ati o n af b el ø b o v erf ørt til li k vi dit et s still er (til b et ali n g s still er e n)
TI 2 0 0 8 1 v                     S p e cifi k ati o n af b el ø b o v erf ørt til li k v i dit et s still er (til li k vi dit et s still er)

D A T A F E L T E R ( T C 2 0 0 1 3 1)

0 2 LI K VI DI T E T S S TI L L E R ( DI S S- D A T A)
     0 3 A C C E P T E R- F L Y T NI N G- TI L- G S                                                                   O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


F or e s p ør g s el p å V P' s b a si sr e gi st er o v er u d e nl a n d s k e v ær di p a pir er ( T R 2 0 3 6 8 v)
F or m ål:
At vi s e d e u d e nl a n d s k e I SI N s, d er er o v erf ørt til V P vi a et li n k, o g s o m er r e gi str er et i V P' s b a si sr e gi st er.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or all e a kti v e V P- d elt a g er e.

V P- st a n d ar d s y st e m:
D 1 5 2 k a n a n v e n d e s.

B e h a n dli n g i V P:
I n g e n.



                                                                                                                                        Si d e 8 4 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s e:
TI 2 0 1 7 4 v U d e nl a n d s k e v ær di p a pir er i V P' s b a si sr e gi st er.

D A T A F ELT E R

02 A N M EL D ELS E
   0 3 A F S E N D E R- R E F E R E N C E                                                                         O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri v illi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


F or e s p ør g s el p å d elt a g er e n s p a pirfilt er o v er u d e nl a n d s k e v ær di p a pir er ( T R 2 0 3 6 9 v)
F or m ål:
At vi s e d e u d e nl a n d s k e I SI N s, d er er o v erf ørt vi a et li n k til V P, m e d s a mti di g a u t o m ati s k r e gi str eri n g i d e n
e n k elt e d elt a g er s p a pirfilt er.

B e h a n dli n g h o s d elt a g er e n:
A n m el d er e n af tr a n s a kti o n e n s k al v ær e A H, KI, P K, F H ell er S T. D er k a n s p ør g e s p å e g et p a pirfilt er o g p å
a n dr e d elt a g er e s p a pirfiltr e.

V P- st a n d ar d s y st e m:
D 1 5 3 k a n a n v e n d e s. D er k a n vi s e s 6 0 I SI N s a d g a n g e n. H vi s d er er m er e e n d 6 0 I SI N s u df yl d e s S T A R T-
F R A-I SI N m e d I SI N f or d e n si d st vi st e. I S O- L A N D E K O D E a n gi v e s, h vi s I SI N s m e d et b e st e mt hj e ml a n d
ø n s k e s vi st.

B e h a n dli n g i V P:
I n g e n.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s e:

TI 2 0 1 7 5 v                     U d e nl a n d s k e v ær di p a pir er i d elt a g er e n s p a pirfilt er

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                       O
02 D ELT A G E R
     0 3 I D E N TI FI K A TI O N                                                                                 O
02 H A N D ELS P R O D U KT
     0 3 I SI N                                                                                                   /
0 2 S T A R T F R A I SI N .( H A N D E L S P R O D U K T)
     0 3 I SI N                                                                                                   F
02 L A N D
     0 3 I S O- K O D E                                                                                           F

O = o bli g at ori s k, F = f ri villi g / = M å i k k e u df yl d e s




                                                                                                                                   Si d e 8 5 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Sl et ni n g af u d e nl a n d s k e v ær di p a pir er i e g et p a pirfilt er ( T D 2 0 3 6 9 v)
F or m ål:
At fj er n e d e u d e nl a n d s k e v ær di p a pir er fr a e g et p a pirfilt er, s o m d elt a g er e n ø n s k er at v ær e k o nt of ør e n d e
f or.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er al e n e til g æ n g eli g f or aft al e h a v er e. V e d s y st e m til s y st e m tr a n s a kti o n u df yl d e s tilli g e
I SI N, m e d e n s S T A R T- F R A-I SI N o g L A N D i k k e u df yl d e s.

V P- st a n d ar d s y st e m:
D 1 5 3 k a n a n v e n d e s. Sl et ni n g f or et a g e s v e d at af kr y d s e d e I SI N s, s o m ø n s k e s sl ett et fr a e g et p a pirfilt er.

B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er af tr a n s a kti o n e n er aft al e h a v er f or d elt a g er e n.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s e:

TI 2 0 2 2 6 v                     Sl et ni n g af u d e nl a n d s k e v ær di p a pir er i d elt a g er e n s p a pirfilt er

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                         O
02 D ELT A G E R
     0 3 I D E N TI FI K A TI O N                                                                                   O
02 H A N D ELS P R O D U KT
     0 3 I SI N                                                                                                     O
0 2 S T A R T F R A I SI N .( H A N D E L S P R O D U K T)
     0 3 I SI N                                                                                                     /
02 L A N D
     0 3 I S O- K O D E                                                                                             /

O = o bli g at ori s k, F = f ri villi g / = M å i k k e u df yl d e s

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v æ r di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Et a bl eri n g af u d e nl a n d s k e v ær di p a pir er i e g et p a pirfilt er ( T C 2 0 3 8 0 v)
F or m ål:
At o pr ett e u d e nl a n d s k e v ær di p a pir er i d elt a g er e n s e g et p a pirfilt er, s o m d elt a g er e n i k k e l æ n g er e ø n s k er
at v ær e k o nt of ør e n d e f or.

B e h a n dli n g h o s d elt a g er e n:
A n m el d er af tr a n s a kti o n e n s k al v ær e aft al e h a v er.

V P- st a n d ar d s y st e m:
D 1 5 4 k a n a n v e n d e s.


                                                                                                                                      Si d e 8 6 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G




B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er af tr a n s a kti o n e n er aft al e h a v er f or d elt a g er e n.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s e:

TI 2 0 1 7 0 v                     N yt u d e nl a n d s k v ær di p a pir i d elt a g er e n s p a pirfilt er

D A T A F ELT E R

02 A N M EL D ELS E
   0 3 A F S E N D E R- R E F E R E N C E                                                                             O
02 D ELT A G E R
   0 3 I D E N TI FI K A TI O N                                                                                       O
02 H A N D ELS P R O D U KT
   0 3 I SI N                                                                                                         O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


A n m o d ni n g o m b e h ol d ni n g s u dtr æ k til st or k u n d er pr. d ø g n s kift - b at c h ( T C 2 0 2 3 4 v)
F or m ål:
At a n m o d e o m o pl y s ni n g o m a kt u el b e h ol d ni n g p å e n ell er fl er e v ær di p a pir k o nti ti l h ør e n d e e n st or k u n d e.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e aft al e h a v er e n s d at a c e nt er ( D C).

B e m ær k
     h vi s d er i n d s e n d e s e n r e k vi siti o n, d er i i n d h ol d er i d e nti s k m e d e n, d er all er e d e e r m o dt a g et, s å vil
     d e n bli v e af vi st, u a n s et o m d e 2 r e k vi siti o n er h ar f or s k elli g af s e n d er-r ef er e n c e ell er ej.

U dtr æ k k et k a n r e k vir er e s p å f øl g e n d e ni v e a u er:
     pr. d at a c e nt er ( D C)
     pr. aft al e h a v er( A H)
     pr. k o nt of ør e n d e i n stit ut ( KI)

F or h v ert ni v e a u k a n v æl g e s, o m d et s k al v ær e:
     s a mtli g e k o nti ell er e n s p e cifi k k o nt o
     s a mtli g e I SI N s ell er et i nt er v al af I SI N s

I tr a n s a kti o n e n a n gi v e s, pr. h vil k e n af vi kli n g s d a g u dtr æ k k et ø n s k e s ( u dtr æ k- pr- af vi kli n g s d a g). I nf o e n vil
vi s e af vi kli n g s d ø g n et s sl ut b e h ol d ni n g.

F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.

B e h a n dli n g i V P:
G o d k e n d e s tr a n s a kti o n e n, s e n d e s d e n ø n s k e d e i nf or m ati o n i f or bi n d el s e m e d s kift til n yt af vi kli n g s d ø g n.
D er s e n d e s k u n o pl y s ni n g er o m b e h ol d ni n g, h vi s b e h ol d ni n g e n er st ørr e e n d 0.



                                                                                                                                        Si d e 8 7 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



U d d at a :
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 0 6 5 v                     O v er si gt o v er b e h ol d ni n g p å e n      v ær di p a pir k o nt o pr. d ø g n s kift    ( S T) ( D C)

D A T A F ELT E R

0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                                             O
0 2 U D T R A E K- P R- A F VI K LI N G S D A G. ( A F VI K L. D A G)
    0 3 A F VI K LI N G S- D A T O                                                                                     O
0 2 A F T A L E H A V E R. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                       F
0 2 KI. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                       F
0 2 R E K VI SI TI O N S O P L Y S NI N G E R.
    0 3 S O E G- F R A- K O N T O N U M M E R                                                                          F
    0 3 S O E G- F R A-I SI N                                                                                          F
    0 3 S O E G- TI L-I SI N                                                                                           F

O = o bli g at ori s k , F = f ri villi
                                  villigg

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


A n n ull eri n g af i n str u ct til       pr e a d vi c e i f or bi n d el se m e d b u y-i n ( T U 2 0 1 9 1 v)
F or m ål :
At a n n ull er e i n str u kti o n e n til et pr e a d vi c e i h e n h ol d til d e g æl d e n d e b u y-i n r e gl er fr a O M X.

B e h a n dli n g h o s c e nt r al d elt a g er :
A n m el d er af tr a n s a kti o n e n s k al v ær e:
      d e n o pri n d eli g e a n m el d er af pr e a d vi c et
      d et k o nt of ør e n d e i n stit ut f or d e n af gi v n e v ær di p a pir k o nt o ( KI)

B e m ær k
     af s e n d er-r ef er e n c e i a n n ull eri n g str a n s a kti o n e n s k al v ær e li g m e d af s e n d er-r ef er e n c e n p å d et
     pr e a d vi c e, h v ortil i n str u kti o n e n ø n s k e s a n n ull er et.

Tr a n s a kti o n e n m å k u n a n v e n d e s n år e n k ø b er af a kti er i h e n h ol d til d e g æl d e n d e b u y-i n r e gl er fr a O M X
ø n s k er at tr æ k k e si g u d af e n h a n d el.

F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.

B e h a n dli n g i V P :
G o d k e n d e s a n n ull eri n g str a n s a kti o n e n, a n n ull er e s i n str u kti o n e n u mi d d el b art eft er m o dt a g el s e n. S a mti di g
bl a n k still e s i nf or m ati o n er n e v e dr ør e n d e g yl di g h e d s p eri o d e k o d e o g f or c eri n g s m ar k eri n g s k o d e p å
pr e a d vi c et.

U d d at a :
D er d a n n e s i nf o- m e d d el el s er til d e i n v ol v er e d e p art er.




                                                                                                                                     Si d e 8 8 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



D A T A F ELT E R

0 2 O P RI N D E LI G- A N M E L D E R. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                       O
0 2 O P RI N D E LI G- A N M E L D E L S E. ( A N M E L D E L S E)
    0 3 A F S E N D E R- R E F E R E N C E                                                                             O

O = o bli g at ori s k, F = f ri villi g



O pr ett el s e af e g e n b e h o l d ni n g s d e p ot ( T C 2 0 4 5 1 v)
F or m ål:
At r e gi str er e et d e p ot s o m e g e n b e h ol d ni n g s d e p ot i r el ati o n til b e h ol d ni n g s s a n kti o n eri n g.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e:
      d et k o nt of ør e n d e i n stit ut f or d e n af gi v n e v ær di p a pir k o nt o ( KI)

F o n d s h a n dl er e s o g st or k u n d er s e g e n b e h ol d ni n g s d e p ot er k a n r e gi str er e s m e d vir k ni n g f or
b e h ol d ni n g s s a n kti o n eri n g. F or s e nt i n dr a p p ort er e d e s al g frit a g e s f or b e h ol d ni n g s s a n kti o n eri n g, n år
h a n dl e n f or e g år m ell e m t o af d elt a g er e n s e g n e e g e n b e h ol d ni n g s d e p ot er, d er er r e gi str er et s o m
til h ør e n d e d elt a g er e n. B e m ær k, at d er k a n r e gi str er e s s u b-i d e nt- n u m m er s ål e d e s at h a n dl er m o d e g et
s u b-i d e nt- n u m m er i f. e k s. E ur o cl e ar B a n k k a n b e h a n dl e s s o m h a n dl er m ell e m e g n e
e g e n b e h ol d ni n g s d e p ot er. D et er f o n d s h a n dl er e n s ell er st or k u n d e n s a n s v ar at si kr e si g, at r e gi str eri n g e n
fi n d er st e d vi a d et k o nt of ør e n d e i n stit ut.

F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.

V P- st a n d ar d s y st e m:
D 3 1 2 a n v e n d e s.

B e h a n dli n g i V P:
G o d k e n dt e i n dr a p p ort eri n g er af v ær di p a pir k o nt o n u mr e o p d at er e s i r e gi st er o v er
e g e n b e h ol d ni n g s d e p ot er til br u g f or b e h ol d ni n g s s a n kti o n eri n g.

U d d at a:
I n g e n.

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                             O
0 2 E G E N B E H O L D NI N G S D E P O T
    0 3 KI-I D E N TI FI K A TI O N                                                                                    O
    0 3 V A E R DI P A PI R K O N T O N U M M E R                                                                      O
    0 3 S U B-I D E N T- N U M M E R                                                                                   F
    0 3 A H- E J E R-I D E N TI FI K A TI O N                                                                          O

O = o bli g at ori s k, F = f ri villi g




                                                                                                                                      Si d e 8 9 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



F or e s p ør g s el p å e g e n b e h ol d ni n g s d e p ot ( T R 2 0 4 5 1 v)
F or m ål :
At vi s e d e p ot er d er er r e gi str er et s o m e g e n b e h ol d ni n g s d e p ot er i r el ati o n til b e h ol d ni n g s s a n kti o n eri n g.

B e h a n dli n g h o s c e nt r al d elt a g er :
A n m el d er af tr a n s a kti o n e n s k al v ær e:
      d et k o nt of ør e n d e i n stit ut f or d e n af gi v n e v ær di p a pir k o nt o ( KI).
      f o n d s h a n dl er/ st or k u n d e d er er r e gi strer et s o m ej er af et e g e n b e h ol d ni n g s d e p ot.

Vi s ( F 0 2)
            2)
D et k o nt of ør e n d e i n stit ut ell er d e n r e gi str e d e ej er k a n f å vi st d e p ot er r e gi str er et s o m
e g e n b e h ol d ni n g s d e p ot er. A H- ej er-i d e ntifi k ati o n, KI-i d e nt ifi k ati o n, v ær di p a pir k o nt o n u m m er o g e vt. s u b-
i d e nt- n u m m er s k al a n gi v e s.
M a n k a n s ål e d e s f å at vi d e o m et d e p ot er r e gi str er et s o m e g e n b e h ol d ni n g s d e p ot.

Li s t ( F 0 4)
             4)
D et k o nt of ør e n d e i n stit ut ell er d e n r e gi str e d e ej er k a n f å li st et d e p ot er r e gi str er et s o m
e g e n b e h ol d ni n g s d e p ot er. A H- ej er-i d e ntifi k ati o n, KI-i d e nt ifi k ati o n, v ær di p a pir k o nt o n u m m er o g e vt. s u b-
i d e nt- n u m m er k a n a n gi v e s s o m u d v æl g el s e s krit eri e ( s e n e d e nf or). D er er m uli g h e d f or at bl a d e i li st e n
( s v ar et p å e n li st h e d d er D 3 1 3) h vi s d er er m a n g e f or e k o m st er i s v ar et.
H vi s et d e p ot s k al sl ett e s s o m e g e n b e h ol d ni n g s d e p ot k a n li st-f u n kti o n e n a n v e n d e s til at fi n d e d e
r e gi str er e d e e g e n b e h ol d ni n g s d e p ot er. D er er s å m uli g h e d f or at af kr y d s e d et d e p ot, d er s k al sl ett e s, o g
tr y k k e F 3 ( af sl ut). S å r et ur n er e s til d et o pri n d eli g e s k ær m bill e d e D 3 1 2, s o m er u df yl dt m e d o pl y s ni n g er n e
o m d et v al gt e e g e n b e h ol d ni n g s d e p ot. H erfr a k a n r e gi str eri n g e n s o m e g e n b e h ol d ni n g s d e p ot sl ett e s s o m
a n vi st p å s k ær m bill e d et.

H vi s f or e s p ør g sl e n f or et a g e s af d et k o nt of ør e n d e i n s tit ut s k al e nt e n KI-i d e ntifi k ati o n e n ell er ej er s
aft al e h a v er a n gi v e s. S å vi s e s e n li st e ( D 3 1 3) m e d all e r e gi str er e d e e g e n b e h ol d ni n g s d e p ot er u n d er d e n
a n gi v n e KI-i d e ntifi k ati o n ell er d e n a n gi v n e ej er s aft al e h a v er.
F or e s p ør g sl e n k a n b e gr æ n s e s v e d at u df yl d e fl er e f elt er i f or e s p ør g sl e n.
D et k o nt of ør e n d e i n stit ut k a n k u n f å v i st e g n e e g e n b e h ol d ni n g s d e p ot er o g a n dr e s
e g e n b e h ol d ni n g s d e p ot er, n år d e p ot er n e f ør e s i et k o nt of ør e n d e i n stit ut u n d er d e n s a m m e aft al e h a v er
s o m d et f or e s p ør g e n d e k o nt of ør e n d e i n stit ut. D erf or s k al e n f or e s p ør g s el m e d a n gi v el s e af e n fr e m m e d
d elt a g er s aft al e h a v eri d e nt b e gr æ n s e s v e d s o m mi ni m u m at a n gi v e KI-i d e ntifi k ati o n e n.

H vi s f or e s p ør g sl e n f or et a g e s af ej er e n af e g e n b e h ol d ni n g s d e p ot et ( F o n d s h a n dl er e o g st or k u n d er) k a n
k u n e g n e e g e n b e h ol d ni n g s d e p ot er vi s e s. Ej er e n s aft al e h a v eri d e ntifi k ati o n s k al alti d a n gi v e s. S å vi s e s e n
li st e ( D 3 1 3) m e d all e e g e n b e h ol d ni n g s d e p ot er r e gi str er et m e d d e n a n gi v n e aft al e h a v er s o m ej er.
F or e s p ør g sl e n k a n b e gr æ n s e s v e d at u df yl d e fl er e f elt er i f or e s p ør g sl e n.
H vi s f or e s p ør g sl e n i n d s e n d e s fr a d at a c e nt er l e v er e s s v ar et s o m i nf o er.

V P- st a n d ar d s y st e m :


B e h a n dli n g i V P :
O pl y s ni n g er o m r e gi str er e d e e g e n b e h ol d ni n g s d e p ot er til br u g f or b e h ol d ni n g s s a n kti o n eri n g fr e mfi n d e s i
h e n h ol d til d e i n dt a st e d e u d v æl g el s e s krit eri er.

U d d at a :
F øl g e n d e i nf o- m e d d el el s e d a n n e s v e d i n d s e n d el s e af f or e s p ør g sl e n vi a d at a c e nt er:
TI 2 0 3 6 0 v Vi s e g e n b e h ol d ni n g s d e p ot er

D A T A F ELT E R


                                                                                                                                       Si d e 9 0 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                             O
0 2 E G E N B E H O L D NI N G S D E P O T
    0 3 KI-I D E N TI FI K A TI O N                                                                                    F
    0 3 V A E R DI P A PI R K O N T O N U M M E R                                                                      F
    0 3 S U B-I D E N T- N U M M E R                                                                                   F
    0 3 A H- E J E R-I D E N TI FI K A TI O N                                                                          F

O = o bli g at ori s k, F = f ri villi g


Sl et e g e n b e h ol d ni n g s d e p ot ( T D 2 0 4 5 1 v)
F or m ål:
At sl ett e r e gi str eri n g e n af et d e p ot s o m e g e n b e h ol d ni n g s d e p ot i r el ati o n til b e h ol d ni n g s s a n kti o n eri n g.

B e h a n dli n g h o s c e ntr al d elt a g er:
A n m el d er af tr a n s a kti o n e n s k al v ær e:
       d et k o nt of ør e n d e i n stit ut f or v ær di p a pir k o nt o e n ( KI)

F o n d s h a n dl er e s o g st or k u n d er s e g e n b e h ol d ni n g s d e p ot er k a n r e gi str er e s m e d vir k ni n g f or
b e h ol d ni n g s s a n kti o n eri n g. Sl et ni n g af d e n n e r e gi str eri n g k a n f or et a g e s m e d tr a n s a kti o n e n.

F or o bli g at ori s k h e n h ol d s vi s fri villi g u df yl d el s e af tr a n s a kti o n e n s f elt er s e n e d e nf or.

V P- st a n d ar d s y st e m:
D 3 1 2 a n v e n d e s.

B e h a n dli n g i V P:
G o d k e n dt e i n dr a p p ort eri n g er m e df ør er at d e a n gi v n e v ær di p a pir k o nt o n u mr e sl ett e s fr a r e gi st er o v er
e g e n b e h ol d ni n g s d e p ot er til br u g f or b e h ol d ni n g s s a n kti o n eri n g.

U d d at a:
I n g e n.

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                             O
0 2 E G E N B E H O L D NI N G S D E P O T
    0 3 KI-I D E N TI FI K A TI O N                                                                                    O
    0 3 V A E R DI P A PI R K O N T O N U M M E R                                                                      O
    0 3 S U B-I D E N T- N U M M E R                                                                                   F
    0 3 A H- E J E R-I D E N TI FI K A TI O N                                                                          O

O = o bli g at ori s k, F = f ri villi g'


D ell e v eri n g af C C P- h a n dl er i e n af vi kli n g s k ør s el
V e d h a n d el til ell er fr a e n C e ntr al M o d p art ( C C P ) l a v er V P - v e d m a n gl e n d e d æ k ni n g i b e h ol d ni n g - e n
a ut o m ati s er et d ell e v eri n g. D ell e v eri n g s or d ni n g e n er o bli g at ori s k.
D er f or et a g e s p.t. k u n d ell e v eri n g i bl o k 4 0, m e n s y st e m et er f or b er e dt til e v e nt u el fr e mti di g d ell e v eri n g i
a n dr e bl o k k e.


                                                                                                                                       Si d e 9 1 af 4 5 0
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                                                                S Y S T E M V E J L E D NI N G



D ell e v eri n g / s pli t

b e h ol d ni n g f or et a g e s d er e n d ell e v eri n g.

D ell e v eri n g e n f or e g år a ut o m ati s k eft er b e h ol d ni n g s k o ntr oll e n v e d at s plitt e h a n dl e n, d er i k k e er d æ k ni n g
f or, i é n h a n d el, d er k a n g e n n e mf ør e s, o g é n h a n d el d er u d s k y d e s til d e n n æ st e m uli g e bl o k. D e n
o pri n d eli g e h a n d el a n n ull er e s, d a d e n v e d o p s plit ni n g e n er bl e v et er st att et af d e t o n y e.

D e n y e pr e a d vi c e s g e n er er e s u d fr a o p l y s ni n g er n e i d et o pri n d eli g e pr e a d vi c e.

H a n dl e n til g e n n e mf ør el s e d a n n e s m e d d e n m æ n g d e, d er er d æ k ni n g f or, o g h a n d el s b el ø b et b er e g n e s
f or h ol d s m æ s si gt i f or h ol d til d e n g e n n e mf ørt e m æ n g d e o g m e d u d g a n g s pu n kt i s al g et s h a n d el s b el ø b.
St at u s/ år s a g s ætt e s til 1 5/ 3 ( kl ar til af vi kli n g /i n str u ct m o dt a g et).

H a n dl e n, d er i k k e k a n g e n n e mf ør e s ( u d s k y d e s), d a n n e s m e d d e n r e st er e n d e m æ n g d e o g d et r e s t er e n d e
h a n d el s b el ø b m e d u d g a n g s p u n kt i s al g et s h a n d el s b el ø b. St at u s / år s a g s ætt e s p å fr a g a n g s si d e n til 1 5/ 1
( kl ar til af vi kli n g/ m a n gl e n d e d æ k ni n g i b e h ol d ni n g) o g p å til g a n g s si d e n 1 5/ 1 0 ( kl ar til af vi kli n g/i k k e
g e n n e mf ørt p å gr u n d af m o d p o st). C C P- h a n dl er, d er i k k e g e n n e mf ør e s s e n e st i b l o k 4 0, u d s k y d e s dir e kt e
til bl o k 1 0 p å d e n efterf øl g e n d e af vi kli n g s d a g.

D e t o n y e h a n dl er til d el e s n y e af s e n d er-
                                                                               C P eft erf ul gt af d e n o pr i n d eli g e a n m el d er o g d et
o pri n d eli g e r ef er e n c e nr. ( C C P 0 1 1 1 1- R E F E R E N C E N U M M E R).

D et o pri n d eli g e pr e a d vi c e, d er a n n ull er e s, bli v er p åf ørt st at u s/ år s a g 1 1/ 6 3 ( h a n d el a n n ull er et / C C P
d ell e v eri n g).

All e a n dr e o pl y s ni n g er e n d o v e n n æ v nt e vil i d e t o    n y e pr e a d vi c e s bli v e k o pi er et fr a d et o pri n d eli g e
pr e a d vi c e.

D ell e v eri n g s pr o c e s s e n k a n o g s å m e df ør e at e n C C P- h a n d el, d er bl e v u d s k u dt v e d d e n al mi n d eli g e
b e h ol d ni n g s k o ntr ol, bli v er g e n o pli v et i si n h el h e d. D et b etr a gt e s i k k e s o m e n d ell e v eri n g i f or h ol d til
o v e n n æ v nt e st at u s-
n at urli g vi s i k k e d a n n e s. D et er alt s å i k k e s y nli gt f or d elt a g er e n, at h a n dl e n i f ør st e o m g a n g bl e v u d s k u dt
v e d b e h ol d ni n g s k o ntr oll e n.

Ori e nt eri n g o m o p s plit ni n g m e d h e n bli k p å d ell e v eri n g
D e i n v ol v er e d e p art er ori e nt er e s m e d n y e i n f o er o m o p s plit ni n g e n af d e n o pri n d eli g e h a n d el.
D et er vi gti gt at di s s e i nf o er i d at a c e ntr e n e b e h a n dl e s i n d e n d e ø vri g e i nf o er fr a af vi kli n g s k ør sl e n, d a d e
j o i nf or m er er o m n y e r ef er e n c e n u mr e, d er vil f or e k o m m e i d e ø vri g e i nf o er o m h a n dl er n e.
       TI 2 0 1 1 4 1 v e dr ør e n d e o p s plit ni n g e n s e n d e s til d e i n v ol v er e d e p art er.
       I nf o e n i n d e h ol d er o pl y s ni n g o m d e n o pri n d eli g e af s en d err ef er e n c e o g d e n ytil d elt e r ef er e n c er til
       h e n h ol d s vi s pr e a d vi c e til g e n n e m f ør el s e o g pr e a d vi c e til u d s k y d el s e.
       S e d at ai n d h ol d et i i nf o- str u kt ur e n.
       TI 2 0 1 1 5 1 v e dr ør e n d e d e n æ n dr e d e li k vi dit et s e n d e s til d e i n v ol v er e d e b et ali n g s still er e.
       I nf o e n i n d e h ol d er o pl y s ni n g er o m d e n æ n dr e d e li k vi dit et afl e dt af o p s plit ni n g e n.
       S e d at ai n d h ol d et i i nf o- str u kt ur e n.

D a bl o k 4 0 er d e n s e n e st e af vi kli n g s bl o k f or C C P- h a n dl er, vil di s s e h a n dl er al dri g i n d g å i d a g e n s s e n er e
bl o k k e. V e d m a k k er s ø g ni n g eft er bl o k 4 0 vil d e n ti d li g st m uli g e af vi kli n gs bl o k d erf or v ær e bl o k 1 0 p å d e n
eft erf øl g e n d e af vi kli n g s d a g.

D ell e v eri n g af C C P- h a n dl er fi n d er st e d eft er d e n al mi n d eli g e b e h ol d ni n g s k o ntr o l. D erf or k a n m o dt a g n e



                                                                                                                                    Si d e 9 2 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G




U d v æl g el s e sr æ k k ef øl g e f or h a n dl er til d ell e v eri n g
H vi s d er m ell e m et b e st e mt d e p ot o g e n b e st e mt C C P er b å d e k ø b o g s al g, s o m er bl e v et u d s k u dt fr a
b e h ol d ni n g s k o ntr oll e n p å gr u n d af m a n gl e n d e d æ k n i n g, vil d e n b e h ol d ni n g, d er er d æ k ni n g f or, bli v e
g e n n e mf ørt, o g diff er e n c e n vil i n d g å i d ell e v eri n g s pr o c e s s e n m e d m uli g h e d f or g e n n e mf ør el s e.

H vi s d er v e d f or s ø g p å d ell e v eri n g er fl er e s al g, d er k a n k o m m e i b etr a gt ni n g, vil d er bli v e u d v al gt eft er
f øl g e n d e krit eri er i d e n n æ v nt e r æ k k ef øl g e:
Æl d st e h a n d el s d at o.
St ør st e h a n d el s b el ø b.

Mi ni m u m s b el ø b f or d ell e v eri n g
D er er f a st s at et mi ni m u m s b el ø b f or e n d ell e v eri n g . H a n d el s b el ø b et i d e n h a n d el, d er k a n d ell e v er e s, s k al
u d g ør e mi n d st 5 0. 0 0 0 kr.




R e nt e- o g u d b y t t ef u n k ti o n er

Et a bl eri n g af v al ut a k orr e kti o n s b el ø b ( T C 2 0 1 0 2 v)
F or m ål:
At i n dr a p p ort er e et k orr e kt i o n s b el ø b m ell e m t o v al ut a er.
K orr e kti o n s b el ø b et b e n ytt e s, n år d er o mr e g n e s til b a si s v al ut a ( d a n s k e kr o n er) til br u g f or i n d b er et ni n g til
S K A T.

B e h a n dli n g h o s c e nt r al d elt a g er:
D et er p e n g e k o nt of ør e n d e i n stit ut, d er k a n i n dr a p p ort er e k orr e kti o n s b el ø b et. D e t p e n g e k o nt of ør e n d e
i n stit ut k a n o g s å v æl g e at b e n ytt e d et af Fi n a n sr å d et f a st s att e k orr e kti o n s b el ø b, o g s k al s å i k k e s el v
i n dr a p p ort er e et k orr e kti o n s b el ø b.

D elt a g eri d e ntifi k ati o n s k al v ær e p e n g e k o nt of ør er.

B å d e v al ut a e n, d er k orri g er e s fr a, o g v al ut a e n d er k orri g er e s til, s k al v ær e o pr ett et s o m v al ut a er,
D a n m ar k s N ati o n al b a n k g e n n e mf ør er cl e ari n g i.

St artti d s p u n kt et s k al u df yl d e s m e d d at o o g tr æ d er i kr af t v e d d a g e n s st art.

Sl utti d s p u n kt et k a n u df yl d e s m e d d at o o g i n dtr æ d er v e d d a g e n s af sl ut ni n g.

S at s e n er d e n s at s, d er s k al fr atr æ k k e s/till æ g g e s d e n offi ci ell e v al ut a k ur s. S at s e n s k al v ær e st ørr e e n d
ell er li g m e d 0.

D et k o ntr oll er e s eft erf øl g e n d e, at d et i n dr a p p ort er e d e k orr e kti o n s b el ø b er k orr e kt.

B e h a n dli n g i V P:
D et k o ntr oll er e s, at d e n i n dr a p p or t er e n d e d elt a g er h ar a ut ori s ati o n til at i n dr a p p ort er e k orr e kti o n s b el ø b
p å p e n g e k o nt of ør er s v e g n e.

V e d o pr ett el s e af et n yt k orr e kti o n s b el ø b m e d e n fr e mti di g d at o s ætt e s sl utti d s p u n kt et p å d et ti dli g er e
i n dr a p p ort er e d e k orr e kti o n s b el ø b li g m e d d et n y e st artti d s p u n kt.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:


                                                                                                                                     Si d e 9 3 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



TI 2 0 1 0 9 v                     Et a bl eri n g af v al ut a k orr e kti o n ( P K)
TI 2 0 1 1 2 v                     Et a bl eri n g af v al ut a k orr e kti o n Fi n a n sr å d et                     (til all e P K)
TI 2 0 1 4 1 v                     L u k ni n g af v al ut a k orr e kti o n ( P K)
TI 2 0 1 1 3 v                     L u k ni n g af v al ut a k orr e kti o n Fi n a n sr å d et (til all e P K)

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                         O
0 2 D E L T A G E R.
    0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 V A L U T A- F R A. ( V A L U T A)
    0 3 I S O- K O D E                                                                                             O
0 2 V A L U T A- TI L. ( V A L U T A)
    0 3 I S O- K O D E                                                                                             O
0 2 V A L U T A- K O R R E K TI O N.
    0 3 S T A R T TI D S P U N K T                                                                                 O
    0 3 S L U T TI D S P U N K T                                                                                   /
    03 S ATS                                                                                                       O
    0 3 TI L L A E G- F R A D R A G- K O D E                                                                       O

O = o bli g at ori s k , F = f ri villi g,
                                        g , / = s k a l i k ke
                                                            ke u df yl d e s

Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k b li v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)


Æ n dri n g af v al ut a k orr e kti o n s b el ø b ( T U 2 0 1 0 2 v)
F or m ål :
At æ n dr e et all er e d e et a bl er et k orr e kti o n s b el ø b.

B e h a n dli n g h o s c e nt r al d elt a g er :
D et p e n g e k o nt of ør e n d e i n stit ut k a n æ n dr e k orr e kti o n s b el ø b et t il o g m e d r e nt e p eri o d e n s st art d at o.

S at s e n, d er s k al fr atr æ k k e s /till æ g g e s d e n offi ci ell e v a l ut a k ur s, s k al v ær e st ørr e e n d ell er li g m e d 0.

D et k o ntr oll er e s eft erf øl g e n d e, at æ n dri n g e n er k orr e kt.

B e h a n dli n g i V P :
D et k o ntr oll er e s, at d e n i n dr a p p o rt er e n d e d elt a g er h ar a ut ori s ati o n til at i n dr a p p ort er e k orr e kti o n s b el ø b
p å p e n g e k o nt of ør er s v e g n e.

Æ n dri n g af k orr e kti o n s b el ø b k a n k u n s k e, h vi s st artti d s p u n kt et er fr e mti di gt.

U d d at a :
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 1 1 8 v                     Æ n dri n g af v al ut a k orr e kti o n ( P K)
TI 2 0 1 3 2 v                     Æ n dri n g af v al ut a k orr e kti o n - Fi n a n sr å d et (til all e P K)

D A T A F ELT E R

02 A N M EL D ELS E


                                                                                                                                  Si d e 9 4 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



    0 3 A F S E N D E R- R E F E R E N C E                                                                         O
0 2 D E L T A G E R.
    0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 V A L U T A- F R A. ( V A L U T A)
    0 3 I S O- K O D E                                                                                             O
0 2 V A L U T A- TI L. ( V A L U T A)
    0 3 I S O- K O D E                                                                                             O
0 2 V A L U T A- K O R R E K TI O N.
    0 3 S T A R T TI D S P U N K T                                                                                 O
    0 3 S L U T TI D S P U N K T                                                                                   /
    03 S ATS                                                                                                       O
    0 3 TI L L A E G- F R A D R A G- K O D E                                                                       O

O = o bli g at ori s k , F = f ri villi g,
                                        g , / = s k a l i k ke
                                                            ke u df yl d e s

Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k b li v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)


Sl et ni n g af v al ut a k orr e kti o n s b el ø b ( T D 2 0 1 0 2 v)
F or m ål :
At sl ett e et k orr e kti o n s b el ø b m ell e m t o v al ut a er.

B e h a n dli n g h o s c e nt r al d elt a g er :
D et p e n g e k o nt of ør e n d e i n stit ut k a n sl ett e all er e d e et a bl er e d e k orr e kti o n s b el ø b.

Sl utti d s p u n kt et s k al u df yl d e s m e d d et ti d s p u n kt, h v orfr a d e n a kt u ell e s at s i k k e m er e m å b e n ytt e s.
Sl ut d at o e n s k al v ær e fr e mti di g.

H vi s k orr e kti o n s b el ø b et, s o m ø n s k e s sl ett et, h ar e n fr e mti d i g d at o k o ntr oll er e s det, at k orr e kti o n s b el ø b et
er sl ett et ell er s k o ntr oll er e s d et, at sl utti d s p u n kt et er s at til af sl ut ni n g e n p å d e n i n dr a p p ort er e d e d a g.

B e h a n dli n g i V P :
D et k o ntr oll er e s, at a n m el d er e n er p e n g e k o nt of ør e n d e i n stit ut.

H vi s d et er et fr e mti di gt k orr e kti o n s b el ø b d er sl ett e s, b e n ytt e s d et a kt u ell e k orr e kti o n s b el ø b f or e n d n u
e n p eri o d e.

Er d et et a kt u elt k orr e kti o n s b el ø b d er sl ett e s, o g d er i k k e i n dr a p p ort er e s et n yt b el ø b, b e n ytt e s
Fi n a n sr å d et s k orr e kti o n b el ø b f or d e n n æ st e p eri o d e til o mr e g ni n g fr a e n v al ut a til d a n s k e kr o n er.

U d d at a :
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 1 4 1 v                     L u k ni n g af v al ut a k orr e kti o n ( P K)
TI 2 0 1 1 3 v                     L u k ni n g af v al ut a k orr e kti o n Fi n a n sr å d et (til all e P K)

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                         O
0 2 D E L T A G E R.
    0 3 I D E N TI FI K A TI O N                                                                                   O


                                                                                                                                  Si d e 9 5 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



0 2 V A L U T A- F R A. ( V A L U T A)
    0 3 I S O- K O D E                                                                                             O
0 2 V A L U T A- TI L. ( V A L U T A)
    0 3 I S O- K O D E                                                                                             O
0 2 V A L U T A- K O R R E K TI O N.
    0 3 S T A R T TI D S P U N K T                                                                                 O
    0 3 S L U T TI D S P U N K T                                                                                   O
    03 S ATS                                                                                                       /
    0 3 TI L L A E G- F R A D R A G- K O D E                                                                       /

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s

Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k b li v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)


F or e s p ør g s el p å v al ut a k orr e kti o n s b el ø b ( T R 2 0 1 0 2 v)
F or m ål:
At f or e s p ør g e p å et k orr e kti o n s b el ø b m ell e m t o v al ut a k ur s er.

B e h a n dli n g h o s c e nt r al d elt a g er:
All e k a n f or e s p ør g e p å Fi n a n sr å d et s k orr e kti o n s b el ø b.   D e n e n k elt e p e n g e k o nt of ør er k a n k u n s p ør g e p å
e g n e k orr e kti o n s b el ø b.

F or e s p ør g e s d er p å et s p e cifi kt k orr e kti o n s b el ø b m ell e m t o v al ut a er, s k al st artti d s p u n kt et u df yl d e s. Er
st artti d s p u n kt et i k k e u df yl dt, vil d et a kt u ell e k orr e kti o n s b el ø b bli v e o pl y st.

B e h a n dli n g i V P:
Er d er fl er e k orr e kti o n s b el ø b m ell e m t o v al ut a er, o g st artti d s p u n kt et i k k e er a n gi v et, vil d et a kt u ell e
k orr e kti o n s b el ø b bli v e o pl y st i s v ar et.

U d d at a:
S v ar p å f or e s p ør g sl e n.

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                         O
0 2 D E L T A G E R.
    0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 V A L U T A- F R A. ( V A L U T A)
    0 3 I S O- K O D E                                                                                             O
0 2 V A L U T A- TI L. ( V A L U T A)
    0 3 I S O- K O D E                                                                                             O
0 2 V A L U T A- K O R R E K TI O N.
    0 3 S T A R T TI D S P U N K T                                                                                 O
    0 3 S L U T TI D S P U N K T                                                                                   /
    03 S ATS                                                                                                       /
    0 3 TI L L A E G- F R A D R A G- K O D E                                                                       /

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df y l d e s




                                                                                                                                    Si d e 9 6 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k b li v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)


R e nt efl yt ni n g ( T U 2 0 1 0 3 v)
F or m ål:
At fl ytt e r e nt e m ell e m t o v ær di p a pir k o nti' s p e n g e k o nti f or pr o v e n u. R e nt efl yt ni ng e n k a n s k e, eft er at
r e nt e b er e g ni n g e n h ar f u n d et st e d o g i n dtil d e n 3 0/ 1 2 i d et år, h v or r e nt er n e i n d b er ett e s til S K A T.

B e h a n dli n g h o s c e nt r al d elt a g er:
D elt a g eri d e ntifi k ati o n e n s k al v ær e k o nt of ør e n d e i n stit ut f or v ær di p a pir k o nt o e n ell er k o nt of ør e n d e
r el at er et.

I p eri o d e n m ell e m r e nt e b er e g ni n g e n o g d a n n el s e af b et ali n g sfor mi dli n g e n k a n r e nt er fl ytt e s m e d vir k ni n g
f or b et ali n g sf or mi dli n g e n.

Fi n d er r e nt efl yt ni n g e n f ør st st e d eft er b et ali n g sf or mi dli n g e n, vil fl yt ni n g e n al e n e f å vir k ni n g f or
i n d b er et ni n g e n til S K A T.

Er d er t al e o m r e nt er i e n a n d e n v al ut a e n d b a si s v al ut a e n ( d a n s k e kr o n er), s k al d et o mr e g n e d e b el ø b i
b a si s v al ut a e n o g s å a n gi v e s, h vi s fl yt ni n g e n s k er eft er di s p o siti o n s d a g e n.

Fl yt ni n g af r e nt er vil f or e k s e m p el v ær e n ø d v e n di g i d e sit u ati o n er, h v or e n h a n d el til af vi kli n g p å
r e nt e b er e g ni n g sti d s p u n kt et i k k e er bl e v et af vi kl et s o m til si gt et, ell er h v or æ n dr i n g af af k a st k o nt o e n p å
v ær di p a pir k o nt o e n i k k e er b l e v et r ett et s o m til si gt et.

B e h a n dli n g i V P:
D et k o ntr oll er e s, at d elt a g er e n h ar l o v til at fl ytt e r e nt e n fr a v ær di p a pir k o nt o e n.

R e nt efl yt ni n g e n o p d at er e s m e d d et s a m m e o g f år a n k o m stti d e n s o m r et s vir k ni n g sti d s p u n kt.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 1 2 7 v                     R e nt efl yt ni n g ( KI)
TI 2 0 1 7 7 v                     Fr a g a n g i li k vi dit et ( P K)
TI 2 0 1 7 8 v                     Til g a n g i li k vi dit et ( P K)
TI 2 0 1 8 2 v                     N ett o p å vir k ni n g i li k vi dit et pr. di s p o siti o n s d a g ( P K)

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                          O
0 2 A F GI V E N D E- K O N T O
    03 D ELT A G E R
         0 4 I D E N TI FI K A TI O N                                                                               O
    0 3 V A E R DI P A PI R K O N T O.
         04 N U M MER                                                                                               O
    0 3 B E T A LI N G S S T E D.
         0 4 R E GI S T R E RI N G S N U M M E R                                                                    O
    0 3 P E N G E K O N T O- K L A S SI FI C E RI N G.
         04 TYPE                                                                                                    O
    0 3 P E N G E K O N T O- F O R- P R O V E N U.


                                                                                                                                      Si d e 9 7 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



           04 N U M MER                                                                                            O
0 2 M O D T A G E N D E- K O N T O
     0 3 D E L T A G E R.
           0 4 I D E N TI FI K A TI O N                                                                            O
     0 3 V A E R DI P A PI R K O N T O.
           04 N U M MER                                                                                            O
     0 3 B E T A LI N G S S T E D.
           0 4 R E GI S T R E RI N G S N U M M E R                                                                 F
     0 3 P E N G E K O N T O- K L A S SI FI C E RI N G.
           04 TYPE                                                                                                 F
     0 3 P E N G E K O N T O- F O R- P R O V E N U.
           04 N U M MER                                                                                            F
0 2 H A N D E L S P R O D U K T.
     0 3 I SI N                                                                                                    O
0 2 F O R F A L D- A F- P R O V E N U.
     03 F O RF AL DS D AT O                                                                                        O
0 2 V A L U T A.
     0 3 I S O- K O D E                                                                                            O
0 2 P R O V E N U T Y P E.
     03 K O DE                                                                                                     O
0 2 P R O V E N U.
     0 3 O M R E G N E T- B E L O E B                                                                              O/ F
     0 3 U D B E T A L T- B E L O E B                                                                              O

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s
Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k b li v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)


K orr e kti o n af o mr e g n et r e nt e- ell er br utt o u d b ytt e b el ø b ( T C 2 0 1 0 4 v)
F or m ål:
At k orri g er e et o mr e g n et r e nt e- ell er br utt o u d b ytt e b el ø b, n år d e n a ut o m ati s k o mr e g n e d e v ær di i
b a si s v al ut a e n ( d a n s k e kr o n er) i k k e s v ar er til d et f a kti s k u d b et alt e b el ø b.

B e h a n dli n g h o s c e nt r al d elt a g er:
D et k o nt of ør e n d e i n stit ut o g d et p e n g e k o nt of ør e n d e i n stit ut k a n k o rri g er e d et o mr e g n e d e b el ø b p å e n
v ær di p a pir k o nt o.

D elt a g eri d e ntifi k ati o n e n s k al v ær e k o nt of ør e n d e i n stit ut f or v ær di p a pir k o nt o e n ell er k o nt of ør e n d e
r el at er et ell er p e n g e k o nt of ør e n d e f or b et ali n g s st e d et, h v or b el ø b et f orf al d er til b et ali n g.

B el ø b e n e k a n k orri g er e s eft er di s p o siti o n s d a g e n i n dtil d e n 3 0/ 1 2 i d et år, h v or e v e nt u el i n d b er et ni n g til
S k at f or et a g e s.

K orr e kti o n e n vil f å vir k ni n g f or i n d b er et ni n g e n til S K A T o g vil fr e m g å af år s o p g ør el s e n.

B e h a n dli n g i V P:
D et k o ntr oll er e s, at d elt a g er e n h ar l o v til at k orri g er e b el ø b et p å v ær di p a pir k o nt o e n.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 1 2 8 v                     K orr e kti o n af r e nt e o g br utt o u d b ytt e ( KI, P K)

                                                                                                                                    Si d e 9 8 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G




D A T A F ELT E R

0 2 D E L T A G E R.
     0 3 I D E N TI FI K A TI O N                                                                                  O
02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                        O
0 2 V A E R DI P A PI R K O N T O.
     03 N U M MER                                                                                                  O
0 2 H A N D E L S P R O D U K T.
     0 3 I SI N                                                                                                    O
0 2 P R O V E N U T Y P E.
     03 K O DE                                                                                                     O
0 2 F O R F A L D- A F- P R O V E N U.
     03 F O RF AL DS D AT O                                                                                        O
0 2 B E T A LI N G S S T E D.
     0 3 R E GI S T R E RI N G S N U M M E R                                                                       O
0 2 P E N G E K O N T O- K L A S SI FI C E RI N G.
     03 TYPE                                                                                                       O
0 2 P E N G E K O N T O- F O R- P R O V E N U.
     03 N U M MER                                                                                                  O
0 2 P R O V E N U.
     0 3 O M R E G N E T- B E L O E B                                                                              O

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s

Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k bli v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)


Et a bl eri n g af kr y d s k ur s f or et h a n d el s pr o d u kt ( T C 2 0 1 0 5 v)
F or m ål:
At i n dr a p p ort er e e n kr y d s k ur s f or et h a n d el s pr o d u kt. B e n ytt e s, n år r e nt e u d b et al e s i e n a n d e n v al ut a e n d
d e n, h a n d el s pr o d u kt et er u d st e dt i.

B e h a n dli n g h o s c e nt r al d elt a g er:
D et u d st e d e n d e i n stit ut s k al i n dr a p p ort er e kr y d s k ur s e n.

Kr y d s k ur s e n s k al v ær e st ørr e e n d ell er li g m e d n ul.

Kr y d s k ur s k o d e n a n gi v er, o m kr y d s k ur s e n er f a st ell er v ari a b el i h el e p eri o d e n. Er kr y d s k ur s e n f a st, br u g e s
d e n s a m m e kr y d s k ur s til all e r e nt e b et ali n g er, ell er s b e n ytt e s d e n kr y d s k ur s, d er er r e gi str er et p å
r e nt e b er e g ni n g sti d s p u n kt et.

St art d at o e n s k al v ær e fr e mti di g ell er d a g s d at o. H v i s d er er o pr ett et r e nt e k ar a kt eri sti k a, s k al d at o e n v ær e
li g m e d e n st art d at o i e n r e nt e p eri o d e.

D er s k al v ær e o pr ett et e n d ef a ult k o nt o gr u p p eri n g i d e n v al ut a, s o m d er et a bl er e s kr y d s k ur s i.

D et k o ntr oll er e s eft erf øl g e n d e, at d e n i n dr a p p ort er e d e kr y d s k ur s er k orr e kt.




                                                                                                                                    Si d e 9 9 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



B e h a n dli n g i V P:
Kr y d s k ur s e n off e ntli g g ør e s p å et a bl eri n g sti d s p u n kt et ell er s a mti di g m e d, at h a n d el s pr o d u kt et bli v er
off e ntli g gj ort.

D et k o ntr oll er e s,
     at h a n d el s pr o d u kt et er et a bl er et.
     at kr y d s k ur s e n er st ørr e e n d ell er li g m e d n ul.
     at st art d at o e n er e n fr e mti di g d at o ell er d a g s d at o. H vi s der er o pr ett et r e nt e k ar a kt eri sti k a, s k al
     d at o e n v ær e li g m e d e n st art d at o i e n r e nt e p eri o d e.
     at d er er o pr ett et d ef a ult k o nt o gr u p p eri n g i d e n v al ut a, d er et a bl er e s kr y d s k ur s i.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 1 1 9 v                     Et a bl eri n g af kr y d s k ur s f or et h a n d el s pr o d u kt ( U D)
TI 2 0 1 5 1 v                     Et a bl eri n g af kr y d s k ur s f or et h a n d el s pr o d u kt, k o pi ( D C)


D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                         O
02 H A N D ELS P R O D U KT
    0 3 I SI N                                                                                                     O
0 2 V A L U T A.
    0 3 I S O- K O D E                                                                                             O
0 2 B E T A LI N G-I- A N D E N- V A L U T A.
    03 ST ART D AT O                                                                                               O
    03 KRY DS K URS                                                                                                O
    03 KRY DS K URS K O DE                                                                                         O

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s

Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k b li v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)


Æ n dri n g af kr y d s k ur s f or et h a n d el s pr o d u kt ( T U 2 0 1 0 5 v)
F or m ål:
At æ n dr e e n all er e d e et a bl er et kr y d s k ur s f or et h a n d el s pr o d u kt.

B e h a n dli n g h o s c e nt r al d elt a g er:
D et u d st e d e n d e i n stit ut k a n æ n dr e kr y d s k ur s e n til o g m e d r e nt e p eri o d e n s st art d at o.

Kr y d s k ur s e n s k al v ær e st ørr e e n d ell er li g m e d n ul.

St art d at o e n k a n i k k e æ n dr e s.

D et k o ntr oll er e s eft erf øl g e n d e, at d e n æ n dr e d e kr y d s k ur s er k orr e kt.

B e h a n dli n g i V P:
D et k o ntr oll er e s, at h a n d el s pr o d u kt et er et a bl er et, o g at a n m el d er e n er u d st e d er af h a n d el s pr o d u kt et.



                                                                                                                                 Si d e 1 0 0 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



H vi s v al ut a e n æ n dr e s, k o ntr oll er e s d et, at d er er o pr ett et e n d ef a ult k o nt o gr u p p eri n g i d e n v al ut a, d er
æ n dr e s til.

Kr y d s k ur s e n off e ntli g g ør e s p å æ n dri n g sti d s p u n kt et ell er s a mti di g m e d, at h a n d el s pr o d u kt et bli v er
off e ntli g gj ort.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 1 2 0 v                     Æ n dri n g af kr y d s k ur s f or et h a n d el s pr o d u kt ( U D)
TI 2 0 1 5 2 v                     Æ n dri n g af kr y d s k ur s f or et h a n d el s pr o d u kt, k o pi ( D C)

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                           O
02 H A N D ELS P R O D U KT
    0 3 I SI N                                                                                                       O
0 2 V A L U T A.
    0 3 I S O- K O D E                                                                                               O
0 2 B E T A LI N G-I- A N D E N- V A L U T A.
    03 ST ART D AT O                                                                                                 O
    03 KRY DS K URS                                                                                                  O
    03 KRY DS K URS K O DE                                                                                           O

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s

Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k b li v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)


Sl et ni n g af kr y d s k ur s f or et h a n d el s pr o d u kt ( T D 2 0 1 0 5 v)
F or m ål:
At sl ett e e n kr y d s k ur s f or et h a n d el s pr o d u kt.

B e h a n dli n g h o s c e nt r al d elt a g er:
D et u d st e d e n d e i n stit ut k a n sl ett e kr y d s k ur s e n til o g m e d m e d n æ st e r e nt e p eri o d e s st art d at o.

D et k o ntr oll er e s eft erf øl g e n d e, at kr y d s k ur s e n er sl ett et.

B e h a n dli n g i V P:
D et k o ntr oll er e s at h a n d el s pr o d u kt et er et a bl er et, o g at a n m el d er e n er u d st e d er af h a n d el s pr o d u kt et.

H vi s kr y d s k ur s f or f ør st e r e nt e p eri o d e sl ett e s, k o ntr oll er e s d et, at d er er et a bl er et e n d ef a ult
k o nt o gr u p p eri n g i h a n d el s pr o d u kt et s u d st e d el s e s v al ut a.

Sl et ni n g e n af kr y d s k ur s e n off e ntli g g ør e s p å sl ett eti d s p u n kt et, h vi s h a n d el s pr o d u kt et er off e ntli g gj ort,
ell er s i k k e.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 1 2 1 v                     Sl et ni n g af kr y d s k ur s f or et h a n d el s pr o d u kt ( U D)
TI 2 0 1 5 3 v                     Sl et ni n g af kr y d s k ur s f or et h a n d el s pr o d u kt, k o pi ( D C)

                                                                                                                                  Si d e 1 0 1 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G




D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                        O
02 H A N D ELS P R O D U KT
    0 3 I SI N                                                                                                    O
0 2 V A L U T A.
    0 3 I S O- K O D E                                                                                            O
0 2 B E T A LI N G-I- A N D E N- V A L U T A.
    03 ST ART D AT O                                                                                              O
    03 KRY DS K URS                                                                                               /
    03 KRY DS K URS K O DE                                                                                        /

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s

Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k b li v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)


F or e s p ør g s el p å kr y d s k ur s f or et h a n d el s pr o d u kt ( T R 2 0 1 0 5 v)
F or m ål:
At f or e s p ør g e p å e n kr y d s k ur s f or et h a n d el s pr o d u kt.

B e h a n dli n g h o s c e nt r al d elt a g er:
All e k a n f or e s p ør g e p å kr y d s k ur s e n. F or e s p ør g e s d er p å e n f orti di g ell er e n fr e mti di g kr y d s k ur s, s k al
st art d at o e n a n gi v e s, ell er s o pl y s e s d e n a kt u ell e kr y d s k ur s.

B e h a n dli n g i V P:
Er d er fl er e kr y d s k ur s er f or h a n d el s pr o d u kt et, o g st ar t d at o e n i k k e er a n gi v et, vil d e n a kt u ell e kr y d s k ur s
bli v e o pl y st i s v ar et.

U d d at a:
S v ar p å f or e s p ør g sl e n.

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                        O
02 H A N D ELS P R O D U KT
    0 3 I SI N                                                                                                    O
0 2 V A L U T A.
    0 3 I S O- K O D E                                                                                            O
0 2 B E T A LI N G-I- A N D E N- V A L U T A.
    03 ST ART D AT O                                                                                              O
    03 KRY DS K URS                                                                                               /
    03 KRY DS K URS K O DE                                                                                        /

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s

Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k b li v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)



                                                                                                                                  Si d e 1 0 2 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



F or e s p ør g s el p å v al ut a n ot eri n g ( T R 2 0 1 0 6 v)
F or m ål:
At f or e s p ør g e p å e n v al ut a n ot eri n g.

B e h a n dli n g h o s c e nt r al d elt a g er:
All e k a n f or e s p ør g e p å v al ut a n ot eri n g.

V e d u df yl d el s e af b a si s v al ut a o g d e n ø n s k e d e v al ut a vi s e s s e n e st r e gi st r er e d e v al ut a n ot eri n g.

D er k a n bl a dr e s til b a g e til f or e g å e n d e n ot eri n g sti d s p u n kt f or d e n n e v al ut a n ot eri n g.

B e h a n dli n g i V P:
Er d er fl er e v al ut a n ot eri n g er, o g n ot eri n g sti d s p u n kt et i k k e er a n gi v et, v il d e n a kt u ell e v al ut a n ot eri n g
bli v e o pl y st.

U d d at a:
S v ar p å f or e s p ør g sl e n.

D A T A F ELT E R

02 D ELT A G E R
    0 3 I D E N TI FI K A TI O N                                                                                   F
02 V AL UT A
    0 3 I S O- K O D E                                                                                             O
02 V AL UT A
    0 3 I S O- K O D E                                                                                             O
0 2 V A L U T A- N O T E RI N G
    0 3 N O T E RI N G S TI D S P U N K T                                                                          /
    03 K URS                                                                                                       /

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s

Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k b li v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)

F or e s p ør g s el p å i n d e k sf a kt or ( T R 2 0 1 0 7 v)
F or m ål:
At f or e s p ør g e p å i n d e k s - o g k o rr e kti o n sf a kt or p å i n d e k s p a pir er.

B e h a n dli n g h o s c e nt r al d elt a g er:
All e k a n f or e s p ør g e p å i n d e k s- o g k orr e kti o n sf a kt or. S p ør g e s d er p å e n f orti di g ell er e n fr e mti di g i n d e k s-
o g k orr e kti o n sf a kt or, k a n st art d at o e n f or di s s e a n gi v e s. D er k a n bl a dr e s til ø n s k et i n d e k s- o g
k orr e kti o n sf a kt or s st art p eri o d e.

U d d at a:
S v ar p å f or e s p ør g sl e n.

D A T A F ELT E R

0 2 I N D E K S T Y P E.
     03 N U M MER                                                                                                  O
0 2 I N D E K S.
     0 3 TI D S P U N K T                                                                                          F

                                                                                                                                  Si d e 1 0 3 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



     03 F A KT OR                                                                                                F
     0 3 K O R R E K TI O N S F A K T O R                                                                        F

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s

Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k b li v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)


F or e s p ør g s el p å pr o v e n u ( T R 2 0 1 1 3 v)
F or m ål:
At f or e s p ør g e p å pr o v e n u til k n ytt et e n v ær di p a pir k o nt o.

B e h a n dli n g h o s c e nt r al d elt a g er:
D et k o nt of ør e n d e i n stit ut k a n f or e s p ør g e p å pr o v e n u et, eft er at d et er b er e g n et, o g i n dtil d et sl ett e s fr a
v ær di p a pir k o nt o e n.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 1 5 5 v                     S v ar p å f or e s p ør g s el, pr o v e n u ( KI)

D A T A F ELTE R

0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                      O
0 2 D E L T A G E R.
     0 3 I D E N TI FI K A TI O N                                                                                O
0 2 V A E R DI P A PI R K O N T O.
     03 N U M MER                                                                                                O
0 2 H A N D E L S P R O D U K T.
     0 3 I SI N                                                                                                  O
0 2 P R O V E N U T Y P E.
     03 K O DE                                                                                                   O
0 2 F O R F A L D- A F- P R O V E N U.
     03 F O RF AL DS D AT O                                                                                      F

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s

Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k b li v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)


F or e s p ør g s el p å pr o v e n u b e v æ g el s er ( T R 2 0 1 1 4 v)
F or m ål:
At f or e s p ør g e p å pr o v e n u b e v æ g el s er f or et a g et p å e n v ær di p a pir k o nt o.

B e h a n dli n g h o s c e nt r al d elt a g er:
D et k o nt of ør e n d e i n stit ut k a n f o r e s p ør g e p å pr o v e n u b e v æ g el s er p å e n v ær di p a pir k o nt o i n dtil pr o v e n u et
er sl ett et.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

                                                                                                                                 Si d e 1 0 4 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G




TI 2 0 1 5 6 v                    S v ar p å f or e s p ør g s el, pr o v e n u b e v æ g el s er ( KI)

D A T A F ELT E R

0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                         O
0 2 D E L T A G E R.
     0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 V A E R DI P A PI R K O N T O.
     03 N U M MER                                                                                                   O
0 2 H A N D E L S P R O D U K T.
     0 3 I SI N                                                                                                     O
0 2 F O R F A L D- A F- P R O V E N U.
     03 F O RF AL DS D AT O                                                                                         O
0 2 P R O V E N U T Y P E.
     03 K O DE                                                                                                      O

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s

Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k b li v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)


K o nt o gr u p p eri n g er

K o nt o gr u p p eri n g, g e n er elt.
D et u d st e d e n d e i n stit ut d er u d st e d er o bli g ati o n er, s k al f or h v er v al ut a et a bl er e e n d ef a ult
k o nt o gr u p p eri n g f or h e n h ol d s vi s r e nt e o g u dtr u k n e a n d el e ( k o nt ot y p e), s o m pr o v e n u et s k al afr e g n e s i.
K o nt o gr u p p eri n g er s k al v ær e o pr ett et i n d e n V P f or et a g er r e nt e b er e g ni n g ell er u dtr æ k ni n g.

D er u d o v er k a n d er et a bl er e s i k k e- d ef a ult k o nt o gr u p p eri n g er f or d e v al ut a er o g k o nt ot y p er ( u dtr æ k ni n g,
r e nt e), s o m i n stit utt et i f or v ej e n h ar et a bl er et e n d ef a ult k o nt o gr u p p eri n g f or.

F or i k k e- d ef a ult k o nt o gr u p p eri n g k a n d er a n gi v e s e n p eri o d e, s o m k o nt o gr u p p eri n g e n s k al g æl d e f or. F or
d ef a ult k o nt o gr u p p eri n g s k al d er a n gi v e s e n st art d at o li g d a g s d at o, m e n sl ut d at o e n m å i k k e a n gi v e s.

V P a n v e n d er d e n k o nt o gr u p p eri n g, s o m h ar d e n s a m m e v al ut a s o m pr o v e n u et s k al afr e g n e s i f or d e n
p å g æl d e n d e k o nt ot y p e ( u dtr æ k ni n g, r e nt e).

I k k e- d ef a ult k o nt o gr u p p eri n g a n v e n d e s f or d e h a n d el spr o d u kt er d er er til k n ytt et d e n n e, h vi s st art d at o e n
er n å et o g sl ut d at o e n e n d n u i k k e er n å et.

I all e a n dr e tilf æl d e vil d ef a ult k o nt o gr u p p eri n g bli v e a n v e n dt.

Et h a n d el s pr o d u kt k a n k u n til k n ytt e s e n i k k e- d ef a ult k o nt o gr u p p eri n g, h vi s d et i k k e i f or v ej e n er til k n ytt et
e n a n d e n i k k e- d ef a ult k o nt o gr u p p eri n g i s a m m e v al ut a o g k o nt ot y p e s o m d æ k k er s a m m e ell er e n d el af
p eri o d e n.

H a n d el s pr o d u kt et s k al til k n ytt e s pr. k o nt ot y p e ( u dtr æ k ni n g, r e nt e) i d e n v al ut a pr o v e n u et s k al afr e g n e s i.




                                                                                                                                    Si d e 1 0 5 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G



Ø n s k e s e n d ef a ult k o nt o gr u p p eri n g er st att et af e n n y d ef a ult k o nt o gr u p p eri n g, et a bl er e s d e n n y e s o m
d ef a ult k o nt o gr u p p eri n g. D e n e k si st er e n d e d ef a ult k o nt o gr u p p eri n g bli v er a ut o m ati s k æ n dr et til e n i k k e-
d ef a ult.

E k s e m p el p å k o nt o gr u p p eri n g.
E k s e m p el nr. 1




  R e nt e p eri o d er               1. 1. x 0          1. 4. x 0          1. 7. x 0            1. 1 0. x 0     1. 1. x 1          1. 4. x 1

 D ef a ult k o nt o
  gr u p p eri n g
  nr. 1 i D K K

                                                         1. 4. x 0          3 0. 6. x 0
  I k k e- d ef a ult k o nt o-
   gr u p p eri n g nr. 2 i D K K


                                                                      1. 6. x 0           3 0. 9. x 0

  I k k e- d ef a ult k o nt o-
   gr u p p eri n g nr. 3 i D K K


                                                                                          1. 9. x 0
  I k k e- d ef a ult k o nt o-
   gr u p p eri n g nr. 4 i D K K



I d ett e e k s e m p el til k n ytt e s h a n d el s pr o d u kt et til k o nt o gr u p p eri n g nr. 2 o g nr. 4. S y st e m et gi v er i k k e
a d g a n g til at til k n ytt e h a n d el s pr o d u kt et til k o nt o gr u p p eri n g nr. 3 f or di d er er o v erl a p p e n d e p eri o d er
( k o nt o gr u p p eri n g nr. 2 o g nr. 3).

H a n d el s pr o d u kt et s u d st e d el s e s v al ut a er i D K K, r e nt e n o g u dtr u k n e a n d el e s k al afr e g n e s i D K K.

V e d r e nt e b er e g ni n g o g v e d d a n n el s e af b et ali n g sf or mi d li n g s gr u n dl a g f or u dtr æ k ni n g a n v e n d e s f øl g e n d e
k o nt o gr u p p eri n g er:
      t er mi n        1. 4. x 0, a n v e n d e s k o nt o gr u p p eri n g nr. 1.
      t er mi n        1. 7. x 0, a n v e n d e s k o nt o gr u p p eri n g nr. 2.
      t er mi n        1. 1 0. x 0, a n v e n d e s k o nt o gr u p p eri n g nr. 1.
      t er mi n        1. 1. x 1 o g fr e m o v er a n v e n d e s k o nt o gr u p p eri n g nr. 4.

E k s e m p el nr. 2




                                                                                                                                  Si d e 1 0 6 af 4 5 0
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                                                                          S Y S T E M V E J L E D NI N G




I d ett e e k s e m p el til k n ytt e s h a n d el s pr o d u kt et til k o nt o gr u p p eri n g nr. 3, nr. 4 o g nr. 5.

H a n d el s pr o d u kt et s u d st e d el s e s v al ut a er i D K K o g r e nt e n s k al afr e g n e s i N O K d e n 1. 1 0. x 0. D er er
et a bl er et kr y d s k ur s g æl d e n d e fr a 1. 7. x 0 o g fr e m o v er.

V e d r e nt e b er e g ni n g a n v e n d e s f øl g e n d e k o nt o gr u p p eri n g er:
      t er mi n 1. 4. x 0, a n v e n d e s k o nt o gr u p p eri n g nr. 1.
      t er mi n 1. 7. x 0, a n v e n d e s k o nt o gr u p p eri n g nr. 3.
      t er mi n 1. 1 0. x 0, a n v e n d e s k o nt o gr u p p eri n g nr. 2. *)
      t er mi n 1. 1. x 1 o g fr e m o v er a n ve n d e s k o nt o gr u p p eri n g nr. 5.


Et a bl eri n g af k o nt o gr u p p eri n g ( T C 2 0 1 1 0 v)
F or m ål:
At et a bl er e e n gr u p p e af k o nti m e d til h ør e n d e pr o c e ntf or d eli n g til br u g f or e n p eri o di s k b et ali n g af r e nt e
ell er af u dtr u k n e a n d el e.




*) Er   d er o v erl a p p e n d e p eri o d er m ell e m t o k o nt o gr u p p eri n g er, vil V P a n v e n d e d e n k o nt o gr u p p eri n g e n s o m r e nt e n s k al afr e g n e s i.

                                                                                                                                                              Si d e 1 0 7 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



B e h a n dli n g h o s c e nt r al d elt a g er:
D er k a n k u n til k n ytt e s é n v al ut a pr. k o nt o gr u p p eri n g, o g all e d e b et k o nti, d er til k n ytt e s s k al h a v e s a m m e
v al ut a s o m k o nt o gr u p p eri n g e n. Pr o c e nt e n f or h v er d e b et k o nt o s k al a n gi v e s, o g s u m m e n s k al v ær e 1 0 0 %.

D et vil v ær e d e n ell er d e d e b et k o nt o(i) s o m u d st e d er e n h ar r e gi str er et i V P, d er k a n a n v e n d e s i h e n h ol d til
u d st e d er e n s aft al ef or h ol d m e d V P.

I d e ntifi k ati o n e n af e n k o nt o gr u p p eri n g s k al v ær e e nt y di g h o s u d st e d ere n o g v æl g e s af u d st e d er e n s el v.

D er k a n k u n et a bl er e s é n k o nt o gr u p p eri n g m e d k o d e n d ef a ult pr. k o nt ot y p e ( u dtr æ k ni n g, r e nt e) pr.
v al ut a.

K u n f or r e nt e:
V e d et a bl eri n g af k o nt o gr u p p eri n g, k a n d er s k e æ n dri n g til d e b er e g n e d e pr o v e n u er, s o m e n d n u i k k e er
b et ali n g sf or mi dl et. D ett e er n ær m er e b e s kr e v et i af s nit 2.

D er k a n i k k e a n gi v e s sl ut d at o p å e n d ef a ult k o nt o gr u p p eri n g.

F or d ef a ult k o nt o gr u p p eri n g s k al st art d at o v ær e d a g s d at o. F or i k k e- d ef a ult k o nt o gr u p p eri n g s k al
st art d at o v ær e d a g s d at o ell er e n fr e mti di g d at o.

B e h a n dli n g i V P:
D et k o ntr oll er e s,
      at d er er et a bl er et e n d ef a ult k o nt o gr u p p eri n g m e d s a m m e k o nt ot y p e ( u dtr æ k ni n g, r e nt e) o g m e d
      s a m m e v al ut a n år e n i k k e- d ef a ult k o nt o gr u p p eri n g s k al et a bl er e s.
      at d e b et k o nti, d er til k n ytt e s e n k o nt o gr u p p eri n g, h ar s a m m e v al ut a s o m k o nt o gr u p p eri n g e n.
      at st art d at o er d a g s d at o f or e n d ef a ult k o nt o gr u p p eri n g.
      at st art d at o er d a g s d at o ell er e n fr e mti d i g d at o f or e n i k k e- d ef a ult k o nt o gr u p p eri n g.
      at sl ut d at o e n i k k e er a n gi v et f or e n d ef a ult k o nt o gr u p p eri n g.
      at s u m m e n af pr o c e nt er f or i n dr a p p o rt er e d e k o nt or ef er e n c e n u mr e er 1 0 0 %.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 1 2 2 v                     Et a bl eri n g af k o nt o gr u p p eri n g ( U D)
TI 2 0 1 2 3 v                     Æ n dri n g af k o nt o gr u p p eri n g ( U D)
TI 2 0 1 3 6 v                     P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( U D)
TI 2 0 1 0 7 v                     Til g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( P K)
TI 2 0 1 6 8 v                     Fr a g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( P K)
TI 2 0 1 8 2 v                     N ett o p å vir k ni n g i li k vi dit et pr. af vi kli n g s k ør s el ( P K)

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                          O
02 D ELT A G E R
    0 3 I D E N TI FI K A TI O N                                                                                    O
0 2 K O N T O G R U P P E RI N G.
    0 3 I D E N TI FI K A TI O N                                                                                    O
    03 K O DE                                                                                                       F 1)
    03 ST ART D AT O                                                                                                O
    03 SL UT D AT O                                                                                                 F 2)
0 2 K O N T O- T Y P E.


                                                                                                                               Si d e 1 0 8 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



    03 K O DE                                                                                                       O
0 2 V A L U T A.
    0 3 I S O- K O D E                                                                                              O
0 2 K O N T O G R U P P E ( 2 0 f or e k o m st er)
    0 3 B E T A LI N G S S T E D.
          0 4 R E GI S T R E RI N G S N U M M E R                                                                   O
    0 3 K O N T O- R E F E R E N C E.
          04 N U M MER                                                                                              O
    0 3 P R O C E N T F O R D E LI N G- P A A- K O N TI.
          04 PR O CE NT                                                                                             O

     O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s

Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k b li v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)

1)        F elt et er o bli g at ori s k, h vi s d er i k k e er et a bl er et e n d ef a ult k o nt o gr u p p eri n g m e d s a m m e k o nt ot y p e o g
          m e d s a m m e v al ut a.

2)        M å i k k e u df yl d e s f or e n d ef a ult k o nt o gr u p p eri n g.


Æ n dri n g af k o nt o gr u p p eri n g ( T U 2 0 1 1 0 v)
F or m ål:
At æ n dr e e n k o nt o gr u p p eri n g f or r e nt e ell er u dtr u k n e a n d el e.

B e h a n dli n g h o s c e nt r al d elt a g er:
D et u d st e d e n d e i n stit ut k a n æ n dr e s a m m e n s æt ni n g af d e b et k o nti, pr o c e ntf or d eli n g,
k o nt o gr u p p eri n g s k o d e. D er u d o v er k a n st art- o g sl ut d at o æ n dr e s f or i k k e- d ef a ult k o nt o gr u p p eri n g er.

N y e d e b et k o nti k a n tilf øj e s, h vi s s u m m e n af pr o c e nt er er 1 0 0.

H vi s e n d e b et k o nt o s k al æ n dr e s til e n a n d e n d e b et k o nt o, s k al pr o c e nt s at s e n f or d e n d e b et k o nt o, s o m
s k al u d g å, æ n dr e s til 0. D e n n y d e b et k o nt o tilf øj e s. H er eft er k a n d e b et k o nt o e n m e d pr o c e nt s at s e n 0
fj er n e s v e d at a n v e n d e tr a n s a kti o n e n " Fj er n d e b et k o nti fr a k o nt o gr u p p eri n g ".

K u n f or r e nt e:
V e d æ n dri n g af k o nt o gr u p p eri n g, k a n d er s k e æ n dri n g til d e b er e g n e d e pr o v e n u er, s o m e n d n u i k k e er
b et ali n g sf or mi dl et. D ett e er n ær m er e b e s kr e v et i af s nit 3.

F or e n d ef a ult k o nt o gr u p p eri n g m å st art d at o e n i k k e æ n dr e s o g sl ut d at o e n m å i k k e u df yl d e s.
F or i k k e- d ef a ult k o nt o gr u p p eri n g s k al st art d at o v ær e d a g s d at o ell er e n fr e mti di g d at o.

Pr o c e nt e n f or h v er k o nt o s k al a n gi v e s, o g s u m m e n s k al v ær e 1 0 0 %.

O pl y s ni n g er n e p å e n k o nt o gr u p p eri n g k a n i k k e æ n dr e s n år sl ut d at o e n er n å et.
K o nt o gr u p p eri n g s k o d e k a n æ n dr e s fr a i k k e- d ef a ult til d ef a ult, m e n i k k e fr a d ef a ult til i k k e- d ef a ult.

B e h a n dli n g i V P:
D et k o ntr oll er e s,
      at d e b et k o nti d er til k n ytt e s e n k o nt o gr u p p eri n g h ar s a m m e v al ut a s o m k o nt o gr u p p eri n g e n.
      at st art d at o i k k e er æ n dr et f or e n d ef a ult k o nt o gr u p p eri n g.
      at st art d at o er d a g s d at o ell er e n fr e mti d i g d at o f or e n i k k e- d ef a ult k o nt o gr u p p eri n g.


                                                                                                                                    Si d e 1 0 9 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



      at sl ut d at o e n i k k e er n å et.
      at sl ut d at o e n i k k e er a n gi v et f or e n d ef a ult k o nt o gr u p p eri n g.
      at s u m m e n er 1 0 0 %, o g at d er er mi n d st e n d e b et k o nt o til b a g e.
      h vi s k o nt o gr u p p eri n g s k o d e n æ n dr e s, at d e n æ n dr e s fr a i k k e- d ef a ult til d ef a ult.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 1 2 3 v                     Æ n dri n g af k o nt o gr u p p eri n g ( U D)
TI 2 0 1 3 6 v                     P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( U D)
TI 2 0 1 0 7 v                     Til g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( P K)
TI 2 0 1 6 8 v                     Fr a g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( P K)
TI 2 0 1 8 2 v                     N ett o p å vir k ni n g i li k vi dit et pr. af vi kli n g s k ør s el ( P K)

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                          O
02 D ELT A G E R
    0 3 I D E N TI FI K A TI O N                                                                                    O 2)
0 2 K O N T O G R U P P E RI N G.
    0 3 I D E N TI FI K A TI O N                                                                                    O 2)
    03 K O DE                                                                                                       O
    03 ST ART D AT O                                                                                                O 3)
    03 SL UT D AT O                                                                                                 F 1)
0 2 K O N T O- T Y P E.
    03 K O DE                                                                                                       O 2)
0 2 V A L U T A.
    0 3 I S O- K O D E                                                                                              O 2)
0 2 K O N T O G R U P P E ( 2 0 f or e k o m st er)
    0 3 B E T A LI N G S S T E D.
          0 4 R E GI S T R E RI N G S N U M M E R                                                                   O 4)
    0 3 K O N T O- R E F E R E N C E.
          04 N U M MER                                                                                              O 4)
    0 3 P R O C E N T F O R D E LI N G- P A A- K O N TI.
          04 PR O CE NT                                                                                             O

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s

Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k b li v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)

1)       M å i k k e u df yl d e s f or e n d ef a ult k o nt o gr u p p eri n g.
2)       M å i k k e æ n dr e s.
3)       M å i k k e æ n dr e s f or e n d ef a ult k o nt o gr u p p eri n g.
4)       M å i k k e æ n dr e s f or d e k o nti d er er til k n y tt et. D et er m uli gt at tilf øj e n y e k o nti.



Fj er n d e b et k o nti fr a k o nt o gr u p p eri n g ( T D 2 0 1 1 0 v)
F or m ål:
At fj er n e e n ell er fl er e d e b et k o nti i e n k o nt o gr u p p eri n g.


                                                                                                                               Si d e 1 1 0 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



B e h a n dli n g h o s c e nt r al d elt a g er:
D et u d st e d e n d e i n stit ut k a n fj er n e e n ell er fl er e d e b et k o nti fr a e n k o nt o gr u p p eri n g, bl ot d er er mi n d st é n
d e b et k o nt o til b a g e i k o nt o gr u p p eri n g e n, o g at s u m m e n er 1 0 0 %.

F ør st s k al pr o c e nt e n æ n dr e s til n ul p å d e b et k o nt o e n s o m ø n s k e s sl ett et. D er eft er k a n d e b et k o nt o e n
fj er n e s fr a k o nt o gr u p p eri n g e n.

B e h a n dli n g i V P:
D et k o ntr oll er e s, at s u m m e n er 1 0 0 %, o g at d er er mi n d st e n d e b et k o nt o til b a g e.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 1 2 4 v                     Sl et ni n g af k o nt o gr u p p eri n g ( U D)

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                     O
02 D ELT A G E R
    0 3 I D E N TI FI K A TI O N                                                                               O
0 2 K O N T O G R U P P E RI N G.
    0 3 I D E N TI FI K A TI O N                                                                               O
    03 K O DE                                                                                                  F
    03 ST ART D AT O                                                                                           F
    03 SL UT D AT O                                                                                            F
0 2 K O N T O- T Y P E.
    03 K O DE                                                                                                  O
0 2 V A L U T A.
    0 3 I S O- K O D E                                                                                         F
0 2 K O N T O G R U P P E ( 2 0 f or e k o m st er)
    0 3 B E T A LI N G S S T E D.
          0 4 R E GI S T R E RI N G S N U M M E R                                                              O
    0 3 K O N T O- R E F E R E N C E.
          04 N U M MER                                                                                         O
    0 3 P R O C E N T F O R D E LI N G- P A A- K O N TI.
          04 PR O CE NT                                                                                        O

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s

Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k b li v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)


F or e s p ør g s el p å k o nt o g r u p p eri n g ( T R 2 0 1 1 0 v)
F or m ål:
At f or e s p ør g e p å e n k o nt o gr u p p eri n g o g d e n s i n d h ol d af d e b et k o nti.

B e h a n dli n g h o s c e nt r al d elt a g er:
U d st e d er e n k a n f or e s p ør g e p å k o nt o gr u p p eri n g er n e.




                                                                                                                              Si d e 1 1 1 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



B e h a n dli n g i V P:
D et k o ntr oll er e s, at k o nt o gr u p p eri n g e n e k si st er er, o g at d e n p å g æl d e n d e u d st e d er h ar a d g a n g til at
s p ør g e p å k o nt o gr u p p eri n g e n.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 1 6 3 v                     S v ar p å f or e s p ør g s el, k o nt o gr u p p eri n g ( U D)

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                         O
02 D ELT A G E R
    0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 K O N T O G R U P P E RI N G.
    0 3 I D E N TI FI K A TI O N                                                                                   O
    03 K O DE                                                                                                      /
    03 ST ART D AT O                                                                                               /
    03 SL UT D AT O                                                                                                /
0 2 K O N T O- T Y P E.
    03 K O DE                                                                                                      O
0 2 V A L U T A.
    0 3 I S O- K O D E                                                                                             /
0 2 K O N T O G R U P P E ( 2 0 f or e k o m st er)
    0 3 B E T A LI N G S S T E D.
          0 4 R E GI S T R E RI N G S N U M M E R                                                                  /
    0 3 K O N T O- R E F E R E N C E.
          04 N U M MER                                                                                             /
    0 3 P R O C E N T F O R D E LI N G- P A A- K O N TI.
          04 PR O CE NT                                                                                            /

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s

Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k b li v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)


Til k n yt ni n g af h a n d el s pr o d u kt til e n k o nt o gr u p p eri n g ( T C 2 0 1 1 1 v)
F or m ål:
At til k n ytt e e n u d st e d er s h a n d el s pr o d u kt er til e n i k k e- d ef a ult k o nt o gr u p p eri n g til br u g f or e n p eri o di s k
b et ali n g af r e nt e ell er af u dtr u k n e a n d el e.

B e h a n dli n g h o s c e nt r al d elt a g er:
D et u d st e d e n d e i n stit ut k a n v æl g e at til k n ytt e h a n d el s pr o d u kt er til e n i k k e- d ef a ult k o nt o gr u p p eri n g.

H a n d el s pr o d u kt et k a n til k n ytt e s pr. k o nt ot y p e ( u dtr æ k ni n g, r e nt e) i d e n v al ut a pr o v e n u et s k al afr e g n e s i.

F or u dtr u k n e a n d el e s k al h a n d el s pr o d u kt et til k n ytt e s e n k o nt o gr u p p eri n g, d er h ar s a m m e v al ut a, s o m
h a n d el s pr o d u kt et s u d st e d el s e s v al ut a.

H a n d el s pr o d u kt et k a n til k n ytt e s d e k o nt o gr u p p eri n g er, h v or p eri o d er n e i k k e o v erl a p p er hi n a n d e n.
G æl d er k u n i n d e nf or s a m m e v al ut a.

                                                                                                                                   Si d e 1 1 2 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G




V e d til k n yt ni n g af h a n d el s pr o d u kt et m å sl ut d at o e n i k k e v ær e n å et.

K u n f or r e nt e:
V e d til k n yt ni n g af h a n d el s pr o d u kt til k o nt o gr u p p eri n g, k a n d er s k e æ n dri n g til d e b er e g n e d e pr o v e n u er,
s o m e n d n u i k k e er b et ali n g sf or mi dl et. D ett e er n ær m er e b e s kr e v et i af s nit 2.

B e h a n dli n g i V P:
D et k o ntr oll er e s,
      at k o nt o gr u p p eri n g e n e k si st er er f o r d e n p å g æl d e n d e d elt a g er, s a mt at d elt a g er e n er u d st e d er af
      h a n d el s pr o d u kt et.
      at k o nt o gr u p p eri n g e n er e n i k k e- d ef a ult k o nt o gr u p p eri n g.
      at k o nt o gr u p p eri n g e n s sl ut d at o i k k e er n å et.
      at d er i s a m m e v al ut a i k k e s k a b e s o v erl a p p e n d e p eri o d er.
      K u n f or u dtr u k n e a n d el e:
at k o nt o gr u p p eri n g e n er i s a m m e v al ut a s o m h a n d el s pr o d u kt et s u d st e d el s e s v al ut a.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 1 2 5 v                     Til k n yt ni n g af et h a n d el s pr o d u kt til e n k o nt o gr u p p eri n g ( U D)
TI 2 0 1 3 6 v                     P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( U D)
TI 2 0 1 0 7 v                     Til g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( P K)
TI 2 0 1 6 8 v                     Fr a g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( P K)
TI 2 0 1 8 2 v                     N ett o p å vir k ni n g i li k vi dit et pr. af vi kli n g s- k ør s el ( P K)

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                         O
02 D ELT A G E R
    0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 K O N T O- T Y P E.
    03 K O DE                                                                                                      O
0 2 K O N T O G R U P P E RI N G
    0 3 I D E N TI FI K A TI O N                                                                                   O
02 H A N D ELS P R O D U KT
    0 3 I SI N                                                                                                     O

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s

Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k b li v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)


Sl et ni n g af h a n d el s pr o d u kt fr a e n k o nt o gr u p p eri n g ( T D 2 0 1 1 1 v)
F or m ål:
At fj er n e et h a n d el s pr o d u kt fr a e n i k k e- d ef a ult k o nt o gr u p p eri n g.

B e h a n dli n g h o s c e nt r al d elt a g er:
D et u d st e d e n d e i n stit ut k a n fj er n e et h a n d el s pr o d u kt fr a e n i k k e- d ef a ult k o nt o gr u p p eri n g.




                                                                                                                                   Si d e 1 1 3 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



Eft er at h a n d el s pr o d u kt et er fj er n et fr a i k k e- d ef a ult k o nt o gr u p p eri n g vil d ef a ult k o nt o gr u p p eri n g e n f or
s a m m e k o nt ot y p e u dtr æ k ni n g, r e nt e) bli v e a n v e n dt i st e d et f or.

K u n f or r e nt e:
V e d sl et ni n g af h a n d el s pr o d u kt fr a e n k o nt o gr u p p eri n g, k a n d er s k e æ n dri n g til d e b er e g n e d e pr o v e n u er,
s o m e n d n u i k k e er b et ali n g sf or mi dl et. D ett e er n ær m er e b e s kr e v et i af s nit 2.

D et k o ntr oll er e s eft erf øl g e n d e, at h a n d el s pr o d u kt et er fj er n et fr a k o nt o gr u p p eri n g e n.

B e h a n dli n g i V P:
D et k o ntr oll er e s, at u d st e d er e n h ar l o v til at f j er n e et h a n d el s pr o d u kt fr a d e n p å g æl d e n d e
k o nt o gr u p p eri n g.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 1 2 6 v                     Sl et ni n g af h a n d el s pr o d u kt fr a e n k o nt o gr u p p eri n g ( U D)
TI 2 0 1 3 6 v                     P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( U D)
TI 2 0 1 0 7 v                     Til g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( P K)
TI 2 0 1 6 8 v                     Fr a g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( P K)
TI 2 0 1 8 2 v                     N ett o p å vir k ni n g i li k vi dit et pr. af vi kli n g s k ør s el ( P K)

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                          O
02 D ELT A G E R
    0 3 I D E N TI FI K A TI O N                                                                                    O
0 2 K O N T O- T Y P E.
    03 K O DE                                                                                                       O
0 2 K O N T O G R U P P E RI N G
    0 3 I D E N TI FI K A TI O N                                                                                    O
02 H A N D ELS P R O D U KT
    0 3 I SI N                                                                                                      O

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s

Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k b li v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)


F or e s p ør g s el p å h a n d el s pr o d u kt er i e n k o nt o gr u p p eri ng ( T R 2 0 1 1 1 v)
F or m ål:
At f or e s p ør g e p å h a n d el s pr o d u kt er i e n i k k e- d ef a ult k o nt o gr u p p eri n g.

B e h a n dli n g h o s c e nt r al d elt a g er:
U d st e d er e n k a n f or e s p ør g e p å d e h a n d el s pr o d u kt er, d er      er k n ytt et til e n i k k e- d ef a ult k o nt o gr u p p eri n g.

V e d f or e s p ør g s el p å e n i k k e- d ef a ult k o nt o gr u p p eri n g vi s e s all e d e h a n d el s pr o d u kt er, d er er til k n ytt et.

D er k a n i k k e f or e s p ør g e s p å   e n d ef a ult k o nt o gr u p p eri n g.

B e h a n dli n g i V P:
D et k o ntr oll er e s, at k o nt o gr u p p eri n g e n e k si st er er, o g at k o nt o gr u p p eri n g e n er i k k e- d ef a ult.

                                                                                                                                    Si d e 1 1 4 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G




U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 1 6 4 v                     S v ar p å f or e s p ør g s el, til k n ytt e d e h a n d el s p r o d u kt er til e n k o nt o gr u p p eri n g( U D)

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                           O
02 D ELT A G E R
    0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 K O N T O- T Y P E.
    03 K O DE                                                                                                        O
0 2 K O N T O G R U P P E RI N G
    0 3 I D E N TI FI K A TI O N                                                                                     O
02 H A N D ELS P R O D U KT
    0 3 I SI N                                                                                                       /

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s

Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k bli v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)


Æ n dri n g af k o nt o gr u p p e f or h a n d el s pr o d u kt er ( T U 2 0 1 1 7 v)
F or m ål:
At fl ytt e et ell er all e h a n d el s pr o d u kt er fr a e n i k k e- d ef a ult k o nt o gr u p p eri n g til e n a n d e n i k k e- d ef a ult
k o nt o gr u p p eri n g.

B e h a n dli n g h o s c e nt r al d elt a g er:
D et u d st e d e n d e i n stit ut s k al i n dr a p p ort er e d et h a n d el s pr o d u kt, d er øn s k e s fl ytt et fr a e n i k k e- d ef a ult
k o nt o gr u p p eri n g til e n a n d e n i k k e- d ef a ult.

H vi s h a n d el s pr o d u kt i k k e u df yl d e s, fl ytt e s all e h a n d el s pr o d u kt er i k o nt o gr u p p eri n g e n til d e n n y e
k o nt o gr u p p eri n g.

Et h a n d el s pr o d u kt k a n fl ytt e s fr a o g til k o nt o gr u p p eri n g er af s a m m e k o nt ot y p e. D et m å d o g i k k e s k a b e
o v erl a p p e n d e p eri o d er f or et ell er fl er e af h a n d el s pr o d u kt er n e.

K u n f or r e nt e:
V e d fl yt ni n g af h a n d el s pr o d u kt fr a e n k o nt o gr u p p eri n g til e n a n d e n k o nt o gr u p p eri n g, k a n d er s k e
æ n dri n g til d e b er e g n e d e pr o v e n u er, s o m e n d n u i k k e er b et ali n g sf or mi dl et. D ett e er n ær m er e b e s kr e v et i
af s nit 2.

B e h a n dli n g i V P:
V e d fl yt ni n g af fl er e h a n d el s pr o d u kt er, s k al all e k o ntr oll er v ær e i or d e n, i n d e n fl yt ni n g e n k a n f or et a g e s.

D et k o ntr oll er e s,
     at sl ut d at o e n p å n y k o nt o gr u p p eri n g i k k e er n å et.
     at n y k o nt o gr u p p eri n g h ar s a m m e k o nt ot y p e, o g at d er i k k e s k a b e s o v erl a p p e n d e p eri o d e f or et ell er
     fl er e af h a n d el s pr o d u kt er n e.



                                                                                                                                     Si d e 1 1 5 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 1 2 5 v                     Til k n yt ni n g af et h a n d el s pr o d u kt til e n k o nt o gr u p p eri n g ( U D)
TI 2 0 1 2 6 v                     Sl et ni n g af h a n d el s pr o d u kt fr a e n k o nt o gr u p p eri n g ( U D)
TI 2 0 1 3 6 v                     P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( U D)
TI 2 0 1 0 7 v                     Til g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( P K)
TI 2 0 1 6 8 v                     Fr a g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( P K)
TI 2 0 1 8 2 v                     N ett o p å vir k ni n g i li k vi dit et pr. af vi kli n g s k ør s el ( P K)

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                           O
02 D ELT A G E R
    0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 K O N T O- T Y P E- F R A. ( K O N T O- T Y P E)
    03 K O DE                                                                                                        O
0 2 K O N T O G R U P P E- F R A. ( K O N T O G R U P P E RI N G)
    0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 K O N T O- T Y P E- TI L. ( K O N T O- T Y P E)
    03 K O DE                                                                                                        O
0 2 K O N T O G R U P P E- TI L. ( K O N T O G R U P P E RI N G)
    0 3 I D E N TI FI K A TI O N                                                                                     O
02 H A N D ELS P R O D U KT
    0 3 I SI N                                                                                                       F

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s

Et fri villi gt f elt, s o m i k k e er u df yl dt, vil a ut o m ati s k b li v e u df yl dt m e d d ef a ult v ær di e n v e d m o dt a g el s e n i
V P. ( S e f elt b e s kri v el s er n e)




A ut o m ati s k p a nt

Si k k er h e d sr et s aft al er - g e n er elt
F or m ål:
Si k k er h e d sr et s aft al er er i n df ørt i V P- s y st e m et s o m et s u p pl e m e nt til d e n ø vri g e li k vi dit et s still el s e d e
af vi kli n g s a n s v arli g e ell er pri m ær e b et ali n g s still er e (l å nt a g er e) h ar et a bl er et h o s D a n m ar k s N ati o n al b a n k
ell er f or af vi kli n g s a n s v arli g e s v e d k o m m e n d e tilli g e h o s e n pri m ær b et ali n g s still er (l å n gi v er e n).

D e n s a ml e d e li k vi dit et, s o m l å n gi v er st ill er til r å di g h e d f or l å nt a g er s d elta g el s e i h a n d el s af vi kli n g i V P s a mt
e n r æ k k e b et ali n g s s y st e m er, u d g ør s ål e d e s s u m m e n af d e n ø vri g e li k vi dit et s still el s e o g tr æ k k et p å
si k k er h e d sr et s aft al e n.

Si k k er h e d sr ett e n o mf att er:

             h a n d el s af vi kli n g i V P,
             t e g ni n g o g k o n v ert eri n g af k o n v erti bl e o bli g ati o n er i V P,
             s u m- cl e ari n g e n ( P B S),
             C L S- cl e ari n g e n ( v al ut a cl e ari n g) o g
             p eri o di s k e b et ali n g er i V P- s y st e m et ( bl o k 3 5)

                                                                                                                                     Si d e 1 1 6 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G




D e n et a bl er e d e si k k er h e d sr et s aft al e gi v er l å n gi v er si k k er h e d f or d e n kr e dit, l å n gi v er i h a n d el s af vi kli n g e n
ell er et af d e ø vri g e b et ali n g s s y st e m er h ar y d et l å nt a g er.

V e d a n v e n d el s e af si k k er h e d sr et s aft al er s mi di g g ør e s l å nt a g er s si k k er h e d s still el s e, i d et l å nt a g er still er
si k k er h e d i e n u s p e cifi c er et b e h ol d ni n g p å si n e e g n e V P- k o nti. L å nt a g er s di s p o siti o n o v er b e h ol d ni n g er n e
p å V P- k o nti e n e er s ål e d e s k u n b e gr æ n s et af, at fr a g a n g e p å V P- k o nti e n e k u n k a n f or et a g e s, s åfr e mt d e n
s a ml e d e si k k er h e d s v ær di p å si k k er h e d sr et s aft al e n i k k e bri n g e s u n d er d et f a kti s k e tr æ k.


B a g gr u n d/ D efi niti o n er:
E n si k k er h e d sr et s aft al e i n d g å s m ell e m e n l å n gi v er o g e n l å nt a g er. L å n gi v er er d e n d elt a g er, d er still er et
tr æ k ni n g s m a k si m u m f or d e n o mf att e d e b et ali n g til r å di g h e d f or l å nt a g er.

L å n gi v er k a n v æl g e at til b y d e e n ell er fl er e l å nt a g er e at o pr ett e e n si k k er h e d sr ets aft al e. L å nt a g er e n still er
h er v e d b e h ol d ni n g er p å e g n e V P- k o nti ( af t y p e n af vi kli n g s a n s v arli g) til si k k er h e d f or u d n ytt el s e af si n
kr e dit h o s l å n gi v er.

D e n kr e dit, l å n gi v er y d er u n d er si k k er h e d sr ett e n, er s i kr et af d e b e h ol d ni n g er, d er er p å d e af l å nt a g er s
V P- k o nti, d er er til k n ytt et si k k er h e d sr et s aft al e n.

A n v e n d el s e af si k k er h e d sr ett e n til fi n a n si eri n g af h a n d el s af vi kli n g, t e g ni n g o g k o n v ert eri n g af k o n v erti bl e
o bli g ati o n er er u mi d d el b art o mf att et af e n i n d g å et si k k er h e d sr et s a ft al e. S k al e n si k k er h e d sr et s aft al e o g s å
a n v e n d e s til fi n a n si eri n g af b et ali n g er i s u m- cl e ari n g e n ( P B S), C L S- cl e ari n g e n ( v al ut a cl e ari n g) o g p eri o di s k e
b et ali n g er i V P- s y st e m et ( bl o k 3 5), s k al d er p å si k k er h e d sr et s aft al e n r e gi st r er e s s e p ar at aft al e pr.
b et ali n g sf or m ål. Di s s e b et ali n g sf o r m ål k a n k u n til k n ytt e s si k k er h e d sr et s aft al er m e d D a n m ar k s
N ati o n al b a n k s o m l å n gi v er. D et k o nt of ør e n d e i n stit ut f or e n V P- k o nt o til k n ytt et si k k er h e d sr et s aft al e n s k al
f or et a g e d e n n e r e gi str eri n g p å si k k er h e d sr et s aft al e n. D et k o nt of ør e n d e i n stit ut gi v er v e d r e gi str eri n g e n
sit s a mt y k k e til, at l å nt a g er u n d er d et k o nt of ør e n d e i n stit ut s r e gi str eri n g s a n s v ar k a n f or et a g e
i n dr a p p ort eri n g af r e s er v ati o n s a n m o d ni n g er ( s e af s nit t et Tr æ k p å si k k er h e d sr et s aft al e n:) o g e v e nt u elt
o g s å, at i n dr a p p ort eri n g e n k a n f or et a g e s v i a D a n m ar k s N ati o n al b a n k s Kr o n o s- s y st e m.

L å nt a g er k a n di s p o n er e o v er b e h ol d ni n g er p å d e t il k n ytt e d e V P- k o nti, s å l æ n g e d et li g g er i n d e n f or
fri v ær di e n. L å nt a g er k a n h er u d o v er i f or bi n d el s e m ed n ett o af vi kli n g s bl o k k e di s p o n er e o v er b el å nt e
v ær di p a pir er. S å d a n n e b e h ol d ni n g er k a n s æl g e s m o d at si k k er h e d e n d æ k k e s p å a n d e n m å d e.

N e d s k ri v si k k er h e d st r æ k:
D a u d n ytt et si k k er h e d sr et l æ g g er e n b e gr æ n s ni n g p å l å nt a g er s di s p o siti o n s m uli g h e d er o v er
b e h ol d ni n g er n e p å d e til k n ytt e d e V P- k o nti, k a n l å n gi v er n e d s kri v e o mf a n g et (tr æ k k et), s o m l å nt a g er h ar
u d n ytt et p å si k k er h e d sr ett e n i t a kt m e d, at l å nt a g er i n d d æ k k er d e n kr e dit, l å n gi v er h ar y d et.

F a st h ol d el s e af si k k er h e d sr et t e n:
S åfr e mt l å nt a g er i k k e i n d e n d e n aft alt e ti d i n d d æ k k er d e n kr e dit, s o m l å n gi v er h ar y d et, k a n l å n gi v er
v æl g e at f a st h ol d e si k k er h e d sr ett e n m e d e vt. h e n bli k p å at r e ali s er e d e b e h ol d ni n g er, d er er still et til
si k k er h e d. F a st h ol d el s e n s k er v e d at r e gi st r er e e n "f a st h ol d el s e af si k k er h e d sr et " ell er v e d h e n v e n d el s e til
V P' s Cl e ari n g & C u st o d y S er vi c e s i n d e n et n ær m er e f a st s at ti d s p u n kt, j vf. bil a g o v er V P' s af vi kli n g s d ø g n.

S e Et a bl eri n g af f a st h ol d el s e af si k k er h e d sr et ( T C 2 0 3 2 0 v)

A ut o m ati s k b or tf al d af si k k er h e d sr et t e n:
L å n gi v er s p a nt (tr æ k k et) i d e b el å nt e b e h ol d ni n g er b ortf al d er a ut o m ati s k (j vf. bil a g o v er V P' s
af vi kli n g s d ø g n), h v or eft er l å nt a g er i g e n h ar f ul d r å di g h e d o v er b e h ol d ni n g er n e p å V P- k o nti e n e.




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                                                              S Y S T E M V E J L E D NI N G



D efi niti o n er/ Kr a v til l å n gi v er:
E n l å n gi v er s k al e nt e n v ær e D a n m ar k s N ati o n al b a n k ell er d elt a g er m e d f u n kti o n e n " pri m ær
b et ali n g s still er ".
K u n D a n m ar k s N ati o n al b a n k k a n til b y d e a n v e n d el s e af si k k er h e d sr et til fi n a n si eri n g af b et ali n g er i s u m-
cl e ari n g e n ( P B S), C L S- cl e ari n g e n ( v al ut a cl e ari n g) o g p eri o di s k e b et ali n g er i V P- s y st e m et ( bl o k 3 5).

Tilf øj h a n d el s pr o d u k t til p o siti vli st e:
L å n gi v er s k al o pr ett e e n " P o siti vli st e ", d er i n d e h ol d er d e h a n d el s pr o d u kt er, s o m l å n gi v er vil g o dt a g e s o m
si k k er h e d fr a l å nt a g er e.

D a n m ar k s N ati o n al b a n k
L e v er er d a gli gt e n p o siti vli st e m e d d e pri s er pr. h a n d el s pr o d u kt, d er s k al g æl d e f or d et k o m m e n d e
af vi kli n g s d ø g n. P o siti vli st e n er i d e nti s k m e d Ti er Li st e n, d er o g s å a n v e n d e s til a n dr e l å n ef or m ål i D a n m ar k s
N ati o n al b a n k.

Ø v ri g e l å n gi v er e
s k al o pr ett e e n " P o siti vli st e ", d er i n d e h ol d er d e h a n d el s pr o d u kt er, s o m l å n gi v er vil g o dt a g e s o m
si k k er h e d fr a l å nt a g er e. L å n gi v er a n gi v er pr. h a n d el s pr o d u kt d e n v ær di k o effi ci e nt, s o m l å n gi v er vil b el å n e
b e h ol d ni n g er i d et gi v n e h a n d el s pr o d u kt m e d.

L å n gi v er h ar - v e d si n r e gi str eri n g af " a c c e pt " af e n si k k er h e d sr et s aft al e - o v er f or V P til k e n d e gi v et, at d er
er i n d g å et d e n i l o v gi v ni n g e n f or u d s att e aft al e o m si k k er h e d sr et m e d l å nt a g er, h er u n d er l å n gi v er s a d g a n g
til str a k sr e ali s ati o n v e d l å nt a g er s mi sli g h ol d el s e af si n e b et ali n g sf or pli gt el s er, jf. v ær di p a pir h a n d el sl o v e n s
§ 5 6.


D efi niti o n er/ Kr a v til l å nt a g er:
F or at e n d elt a g er k a n bli v e l å nt a g er, s k al d elt a g er e n v ær e af vi kli n g s a n s v arli g (f o n d s h a n dl er, st or k u n d e
ell er r e m ot e m e m b er) s a mt i til k n yt ni n g h ertil e v e nt u elt tilli g e pr i m ær b et ali n g s still er .

Til k n y t V P- k o nt o til si k k er h e d sr et s af t al e:
R e gi str eri n g af l å nt a g er s til sl ut ni n g til e n si k k er h e d sr et s aft al e f or et a g e s af l å nt a g er s KI. L å nt a g er s k al
s ål e d e s a n m o d e sit KI o m si k k er h e d sr et s aft al e m ell e m l å n gi v er o g l å nt a g er, s a mt at a n gi v e h vil k e V P- k o nti
( o p til 1 5), d er s k al i n d g å i si k k er h e d sr et s aft al e n. Di s se V P- k o nti k a n v ær e r e gi str er e d e u n d er f or s k elli g e
KI' er, s åfr e mt di s s e h ør er u n d er s a m m e aft al e h a v er. E n V P- k o nt o k a n i k k e til k n ytt e s e n
si k k er h e d sr et s aft al e, h vi s d er er r e gi s tr er et e n di s p o siti o n s b e gr æ n s e n d e r etti g h e d p å V P- k o nt o e n.

E n l å nt a g er k a n o pr ett e si k k er h e d sr et s aft al er m e d fl er e f or s k elli g e l å n gi v er e. E n V P- k o nt o k a n d o g k u n
til k n ytt e s é n si k k er h e d sr et s aft al e.

Si k k er h e d sr et s aft al e n o pr ett e s m e d st at u s "i n a kti v ".

R e gi str eri n g e n af aft al e n er u dtr y k f or, at l å nt a g er o v er f or V P h ar til k e n d e gi v et, at d er er i n d g å et d e n i
l o v gi v ni n g e n f or u d s att e aft al e o m si k k er h e d sr et m e d d e n r e gi str er e d e l å n gi v er p å d e f or d e n n e s or d ni n g
til e n h v er ti d g æl d e n d e vil k år, h er u n d er l å n gi v er s a d g a n g til str a k sr e ali s ati o n v e d l å nt a g er s mi sli g h ol d el s e
af si n e b et ali n g sf or pli gt el s er, jf. v ær di p a pir h a n d el sl o v e n s § 5 6.


Tr æ k p å si k k er h e d sr et s aft al e n:
B et ali n g er i f or bi n d el s e m e d h a n d el s af vi kli n g m. m:
V e d b et ali n g er i f or bi n d el s e m e d h a n d el s af vi kli n g, t e g ni n g o g k o n v ert eri n g af k o n v erti bl e o bli g ati o n er
a n v e n d e s si k k er h e d sr ett e n u mi d d el b art, i d et si k k er h e d sr ett e n er d e n pri m ær e fi n a n si eri n g s kil d e.
B et ali n g er vil bli v e tr u k k et p å si k k er h e d sr ett e n i d e n u d str æ k ni n g, d er er d æ k ni n g i


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                                                                         S Y S T E M V E J L E D NI N G



si k k er h e d sr et s v ær di e n. R e st er e n d e b et ali n g bli v er tr u k k et p å tr æ k ni n g s m a k si m u m m et. V e d m o dt a g el s e
af b et ali n g er, bli v er si k k er h e d sr ett e n pri m ært n e d br a gt. F ør st n å r d er i k k e er tr u k k et m er e p å
si k k er h e d sr ett e n til fi n a n si eri n g af h a n d el s af vi kli n g, t e g ni n g o g k o n v ert eri n g af k o n v erti bl e o bli g ati o n er,
bli v er d et r e st er e n d e b el ø b i n d s at p å h a n d el s af vi kli n g s k o nt o e n (tr æ k ni n g s m a k si m u m m et).

B et ali n g er i f or bi n d el s e m e d s u m- cl e ari n g e n, C L S- cl e ari n g e n o g bl o k 3 5:
V e d b et ali n g er i f or bi n d el s e m e d s u m- cl e ari n g e n ( P B S), C L S- cl e ari n g e n ( v al ut a cl e ari n g) o g p eri o di s k e
b et ali n g er i V P- s y st e m et ( bl o k 3 5) st yr er l å nt a g er e n si n a n v e n d el s e af si k k er h e d sr ett e n dir e kt e, i d et
si k k er h e d sr ett e n k u n a n v e n d e s, n år l å nt a g er e n p å f or h å n d h ar r e s er v er et * 4 si k k er h e d sr et til d et e n k elt e
f or m ål. N år d e n r e s er v er e d e si k k er h e d sr et er b o gf ørt i D a n m ar k s N ati o n al b a n k u d gør d e n - s a m m e n
m e d l å nt a g er e n s ø vri g e di s p o siti o n er ( p å af vi kli n g s k o nt o i D a n m ar k s N ati o n al b a n k ) til et b e st e mt f or m ål -
d et b el ø b, d er af D a n m ar k s N ati o n al b a n k l e v er e s til f or m ål et.

R e s er v ati o n af si k k er h e d sr et f or et a g e s v e d at l å nt a g er i n dr a p p ort er er e n r e s er v ati o n s a n m o d ni n g til
a n m el d el s e ( g e n n e mf ør el s e) p å et s el v v al gt ti d s p u n kt. V P vil p å d et v al gt e ti d s p u n kt a ut o m ati s k
g e n n e mf ør e r e s er v ati o n e n, s åfr e mt b eti n g el s er n e f or r e s er v ati o n er til st e d e. S åfr e mt d er i k k e k a n
g e n n e mf ør e s r e s er v ati o n af h el e d et ø n s k e d e m a k si m al e r e s er v ati o n s b el ø b, vil b el ø b et a ut o m ati s k bli v e
r e d u c er et til d et b el ø b, d er er pl a d s til. D er s e n d e s b e s k e d til D a n m ar k s N ati o n al b a n k ( B E C) o m d e n
f or et a g n e r e s er v ati o n. N år D a n m ar k s N ati o n al b a n k h ar f or et a g et b o gf øri n g af d et r e s er v er e d e b el ø b
m e d d el e s d ett e til V P, d er d er eft er g ør r e gi str eri n g e n af r e s er v ati o n e n i V P- s y st e m et e n d eli g.

L å nt a g er h ar o g s å m uli g h e d f or at o pr ett e e n st å e n d e r e s er v ati o n s a n m o d ni n g. D et m e df ør er, at d er h v er
d a g a ut o m ati s k d a n n e s e n r e s er v ati o n s a n m o d ni n g eft er s p e cifi k ati o n er n e i d e n st å e n d e
r e s er v ati o n s a n m o d ni n g. D e n a ut o m ati s k e d a n n el s e af r e s er v ati o n s a n m o d ni n g er fi n d er st e d i u mi d d el b ar
f orl æ n g el s e af bl o k 1 0. I p eri o d e n fr a af vi kli n g s d ø g net s st art til d e n a ut o m ati s k e d a n n el s e af
r e s er v ati o n s a n m o d ni n g er h ar f u n d et st e d k a n d er i k k e æ n dr e s i d e n st å e n d e r e s er v ati o n s a n m o d ni n g.


St at u s p å si k k er h e d sr et s aft al e n:
A c c e pt af si k k er h e d sr et s af t al e n:
N år l å nt a g er s KI h ar o pr ett et si k k er h e d sr et s aft al e n, k a n l å n gi v er g o d k e n d e d e n n e, v e d at æ n dr e st at u s til
" a c c e pt er et ". F ør st h er eft er k a n si k k er h e d sr et s aft al e n u d n ytt e s.
V e d at a n m o d e o m æ n dri n g af st at u s p å e n si k k er h e d sr et s aft al e til " a c c e pt er et " b e m y n di g er d et
k o nt of ør e n d e i n stit ut l å nt a g er til at i n dr a p p ort er e a n m el d el s er til r e gi str eri n g p å si n e v e g n e. E n s å d a n
b e m y n di g el s e k a n o g s å o mf att e r e gi str eri n g g e n n e m K R O N O S- s y st e m et.

H vi s l å n gi v er i k k e ø n s k er, at si k k er h e d sr et s aft al e n s k al f ort s ætt e, s k al l å n gi v er æ n dr e st at u s til
" s u s p e n d er et ".

H ur ti gt o p h ør m e d si k k er h e d sr et s af t al e:
Si k k er h e d sr et s aft al e n k a n k u n " s u s p e n d er e s ", s åfr e mt d er i k k e er et a kt u elt tr æ k. S åfr e mt d er er et
a kt u elt tr æ k, s k al tr æ k k et f ør st i n d d æ k k e s. D ett e k a n e v e nt u elt s k e v e d, at l å n gi v er g e n n e mf ør er e n
f a st h ol d el s e af si k k er h e d sr ett e n. N år tr æ k k et er 0, k a n aft al e n s u s p e n d er e s af l å n gi v er.

R e gi st r eri n g af di s p o siti o n s b e gr æ n s e n d e r et ti g h e d:
H vi s d er r e gi str er e s e n di s p o siti o n s b e gr æ n s e n d e r etti g h e d p å e n e ll er fl er e af d e V P- k o nti, d er er
til k n ytt et si k k er h e d sr et s aft al e n, "l u k k e s " si k k er h e d sr et s a ft al e n a ut o m ati s k. D er k a n i k k e f or et a g e s n y e
tr æ k p å e n "l u k k et " si k k er h e d sr et s aft al e, li g e s o m fr a g a n g e p å s a mtli g e d e til si k k er h e d sr et s aft al e n
k n ytt e d e V P- k o nti vil bli v e af vi st.




4 O p m ær k s o m h e d e n h e nl e d e s   p å, at n år d er g e n n e mf ør e s r e s er v ati o n er, s k al d er s a mti di g v ær e a d g a n g f or a n dr e til at a n m el d e
v e dr ør e n d e d e p å g æl d e n d e b e h ol d ni n g er .

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                                                             S Y S T E M V E J L E D NI N G



L å n gi v er k a n " a c c e pt er e " si k k er h e d sr et s aft al e n i g e n, s åfr e mt r etti g h e d e n er sl ett et, ell er V P- k o nt o e n m e d
r etti g h e d e n fj er n e s fr a si k k er h e d sr et s aft al e n.


L oft p å si k k er h e d sr et s aft al e n:
L of t er m e d f a st e b el ø b:
Si k k er h e d sr et s aft al e n k a n h øj st b el å n e s m e d si k k er h e d sr et s v ær di e n af b e h ol d ni n g er n e. B å d e l å n gi v er o g
l å nt a g er k a n r e gi str er e et l oft, d er a n gi v er d et m a k si m al e tr æ k, d er m å f or et a g e s p å
si k k er h e d sr et s aft al e n. L å nt a g erl oft et o mf att er al e n e tr æ k i f or bi n d el s e m e d h a n d el s af vi kli n g, t e g ni n g o g
k o n v ert eri n g af k o n v erti b l e o bli g ati o n er, h v ori m o d l å n gi v erl oftet o mf att er all e f or m ål - alt s å o g s å
a n v e n d el s e af si k k er h e d sr et til fi n a n si eri n g af b et ali n g er i s u m- cl e ari n g e n ( P B S), C L S- cl e ari n g e n
( v al ut a cl e ari n g) o g p eri o di s k e b et ali n g er i V P- s y st e m et ( bl o k 3 5).

S ærli g e l of t er o v er r e s er v ati o n af si k k er h e d sr et:
D a n m ar k s N ati o n al b a n k h ar m uli g h e d f or at l æ g g e b e gr æ n s ni n g er f or b el å ni n g til s u m- cl e ari n g e n ( P B S),
C L S- cl e ari n g e n ( v al ut a cl e ari n g) o g p eri o di s k e b et ali n g er i V P- s y st e m et ( bl o k 3 5). F or m ål et m e d
b e gr æ n s ni n g er n e er, at D a n m ar k s N ati o n al b a n k k a n st yr e, s åfr e mt d er o p st år s a m s pil s pr o bl e m er m ell e m
d e e n k elt e cl e ari n g s k ør sl er.

B e gr æ n s ni n g p å r e gi st r eri n g af r e s er v ati o n s a n m o d ni n g er ( r e s er v ati o n s a n m o d ni n g sl of t).
D a n m ar k s N ati o n al b a n k k a n l æ g g e e n b e gr æ n s ni n g p å, h v or m e g et d e n e n k elt e l å nt a g er s a ml et k a n
i n dr a p p ort er e.
D er r e gi str er e s e n pr o c e nt s at s (f. e k s. 1 5 0) p å si k k er h e d sr et s aft al e n o g s u m m e n af
r e s er v ati o n s a n m o d ni n g er m å i k k e o v er sti g e d e n r e gi str er e d e pr o c e nt af si k k er h e d s v ær di e n p å
i n dr a p p ort eri n g sti d s p u nkt et. I b er e g ni n g e n af s u m m e n af r e s er v ati o n s a n m o d ni n g er t a g e s d er i k k e h e n s y n
til n e d s kri v ni n g er (til b a g e b et ali n g er).

F or m ål s b e st e mt b el å ni n g sr e d u k ti o n.
D a n m ar k s N ati o n al b a n k k a n l æ g g e e n b e gr æ n s ni n g f or, h v or m e g et d e n e n k elt e l å nt a g er s a ml et k a n f å
r e s er v er et til et k o n kr et f or m ål.
D er r e gi str er e s e n k o effi ci e nt (f. e k s. 0, 8 0) p å d et e n k elt e l å n ef or m ål o g s u m m e n af l å n til d et e n k elt e
f or m ål m å i k k e o v er sti g e si k k er h e d sr et s aft al e n s si k k er h e d s v ær di g a n g et m e d k o effi ci e nt e n.

O v e n st å e n d e m uli g h e d er f or at l æ g g e b e gr æ n s ni n g e r p å e n l å nt a g er er et s u p pl e m e nt til l å n gi v erl oft et.


I nf or m ati o n er til D a n m ar k s N ati o n al b a n k:
D er l e v er e s fr a s y st e m et o pl y s ni n g er til D a n m ar k s N ati o n al b a n k til a n al y s ef or m ål.
D et dr ej er si g o m f øl g e n d e o pl y s ni n g er:
      R e s er v ati o n s a n m o d ni n g er.
      Si k k er h e d sr et s v ær di p å si k k er h e d sr et s aft al e n v e d i n dr a p p ort eri n g af e n r e s er v ati o n s a n m o d ni n g o g
      v e d g e n n e mf ør el s e af r e s er v ati o n e n.


R e gi str eri n g af r e s er v ati o n s a n m o d ni n g er vi a D a n m ar k s N ati o n al b a n k s Kr o n o s- s y st e m:
R e gi str eri n g af r e s er v ati o n s a n m o d ni n g er k a n f or et a g e s dir e kt e i V P- s y st e m et, m e n d et k o nt of ør e n d e
i n stit ut f or e n V P- k o nt o til k n ytt et si k k er h e d sr et saft al e n k a n å b n e m uli g h e d f or at i n dr a p p ort er e
r e s er v ati o n s a n m o d ni n g er vi a D a n m ar k s N ati o n al b a n k s Kr o n o s- s y st e m. D e n n e s ærli g e m uli g h e d er
u d vi kl et f or at l ett e li k vi dit et s m e d ar b ej d er e s ar b ej d e m e d r e gi str eri n g e n, i d et di s s e m e d ar b ej d er e t y pi s k
a n v e n d er Kr o n o s- s y st e m et i f or v ej e n, m e n s æ d v a nli g vi s i k k e r e gi str er er i V P- s y st e m et.




                                                                                                                                    Si d e 1 2 0 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



S e n e st e ti d s p u n kt f or r e gi str eri n g af r e s er v ati o n s a n m o d ni n g er:
R e s er v ati o n til e n k ør s el s k al f or et a g e s i n d e n D a n m ar k s N ati o n al b a n k s si d st e fri st f or i n d d æ k ni n g til
k ør sl e n. Di s s e ti d s p u n kt er er i k k e r e gi str er et i V P- s y st e m et. E n r e s er v ati o n s a n m o d ni n g vil bli v e r e gi str er et
s o m e n d eli g g e n n e mf ørt i V P, h vi s d e n n år fr e m til D a n m ar k s N ati o n al b a n k ( B E C) i n d e n d et er f or s e nt.
K o m m er r e s er v ati o n e n f or s e nt, vil d e n bli v e af vi st af D a n m ar k s N ati o n al b a n k, o g l å nt a g er vil m o dt a g e
i nf o o m af vi s ni n g e n fr a V P- s y st e m et. D e n n e fr e m g a n g s m å d e er v al gt f or at u n d g å, at V P- s y st e m et af vi s er
e n r e s er v ati o n, d er k o m m er li dt f or s e nt, m e n m å s k e li g e k a n n å m e d i D a n m ar k s N ati o n al b a n k.

I V P- s y st e m et r e gi str er e s d eri mo d af vi kli n g s d a g e n s s e n e st e kl o k k e sl æt f or g e n n e mf ør el s e af
r e s er v ati o n s a n m o d ni n g er. R e s er v ati o n s a n m o d ni n g er m e d r e s er v ati o n sti d eft er d ett e kl o k k e sl æt p å
af vi kli n g s d a g e n af vi s e s. D ett e f or hi n dr er i k k e, at d er k a n r e gi str er e s r e s er v ati o n s a n m o d ni n g er m e d et
kl o k k e sl æt, d er h ør er til e n n y af vi kli n g s d a g. D et er o g s å r e gi str er et, at V P- s y st e m et er l u k k et i e n p eri o d e
o m n att e n. D er k a n i k k e r e gi st r er e s r e s er v ati o n s a n m o d ni n g er m e d et kl o k k e sl æt i d e n l u k k e d e p eri o d e.


Af vi kli n g s d ø g n et i V P - s ær s kilt o m si k k er h e d sr et o g p a nt er et
V e dli g e h ol d el s e af p o siti v li st e k a n f or et a g e s f r a kl. 0 5. 0 0 til kl. 1 6. 4 5      m e d vir k ni n g f or d et k o m m e n d e
af vi kli n g s d ø g n.


1 5. 0 0                                                1 5. 3 0                                                  1 8. 0 0

Si d st e fri st f or f a st h ol d el s e.             D et s y st e m m æ s si g e b ortf al d af                R e b er e g ni n g af si k k er h e d s v ær di
                                                        p a nt e- o g si k k er h e d sr ett e n.                  p å a c c e pt er e d e
                                                                                                                   si k k er h e d sr et s aft al er.
                                                                                                                   N y e b ør s- o g v al ut a k ur s er
                                                                                                                   a n v e n d e s.
A d p a nt er et:
H e n v e n d el s e til KI f or V P- k o nt o e n      P a nt s att e b e h ol d ni n g er fri gi v e s o g       S kift af af vi kli n g s d ø g n.
                                                        tr æ k p å si k k er h e d sr et s aft al er
                                                        b ortf al d er.

A d si k k er h e d sr et:
Et a bl eri n g af f a st h ol d el s e af
si k k er h e d sr et ( T C 2 0 3 2 0 v) ell er
h e n v e n d el s e til V P' s Cl e ari n g &
C u st o d y S er vi c e s


P a nt er et

A n n ull eri n g af p a nt er et s ø n s k e ( T U 2 0 0 7 9 v)
F or m ål:
At k u n n e a n n ull er e et r e gi str er et ø n s k e o m p a nt er et.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er s k al v ær e e nt e n
      i d e nti s k m e d a n m el d er e n af d et pr e a d vi c e, h v ori p a nt er et s ø n s k et o pri n d eli gt er a n gi v et
      ell er
      d e n p e n g e k o nt of ør er, s o m d et r e gi str eri n g s n u m m er, d er er a n gi v et i d et o pri n d eli g e pr e a d vi c e, er
      til k n ytt et

I b e g g e tilf æl d e s k al d e n o pri n d eli g e a n m el d er af o g af s e n d err ef er e n c e fr a pr e a d vi c et a n gi v e s.

                                                                                                                                      Si d e 1 2 1 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G




P a nt er et s ø n s k et k a n a n n ull er e s, s ål æ n g e pr e a d vi c et i k k e h ar
      a kt u el- st at u s = 9 ( af vi kl et)
      a kt u el- st at u s = 1 0 ( af vi st)
      a kt u el- st at u s = 1 1 ( a n n ull er et)

Tr a n s a kti o n e n k a n i k k e u df ør e s, n år e n h a n d el s af vi kli n g er i g a n g, d. v. s. fr a r et s vir k ni n g sti d s p u n kt et f or e n
h a n d el s af vi kli n g s k ør s el er o v er s kr e d et, til h a n d el s af vi kli n g e n er af sl utt et, s åfr e mt a n n ull eri n g e n af
p a nt er et s ø n s k et v e dr ør er et pr e a d vi c e, d er i n d g år i d e n n e h a n d el s af vi kli n g.

B e h a n dli n g i V P:
D et k o ntr oll er e s,
      at a n m el d er er b er etti g et til at a n n ull er e p a nt er et s ø n s k et
      at p a nt er et s ø n s k et k a n a n n ull er e s

U d d at a:
D er d a n n e s f øl g e n d e i nf o:

TI 2 0 1 7 9 v                     " A n n ull er et p a nt er et s ø n s k e "

S e S y st e m o v er bli k f or a ut o m ati s k p a nt
P a nt er et - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er.

D A T A F ELT E R

0 2 O P RI N D E LI G- A N M E L D E R. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                      O
0 2 O P RI N D E LI G- A N M E L D E L S E. ( A N M E L D E L S E)
    0 3 A F S E N D E R- R E F E R E N C E                                                                            O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


N e d s kri v ni n g/ o p h æ v el s e af        p a nt er et ( T U 2 0 0 8 0 v)
F or m ål:
At n e d s kri v e/ o p h æ v e d et p a nt, s o m p a nt h a v er e n h ar t a g et f or bi n d el s e m e d af vi kli n g e n af et k ø b.
N e d s kri v ni n g e n/ o p h æ v el s e n af p a nt er ett e n b ør f or et a g e s i t a kt m e d, at k u n d e n i n d d æ k k er
p e n g e k o nt of ør er e n s u dl æ g, i d et d er i k k e k a n di s p o n er e s til a n d e n si d e o v er e n p a nt s at b e h ol d ni n g.

S åfr e mt p e n g e k o nt of ør er e n i k k e n e d s kri v er/ o p h æ v er p a nt er ett e n, b ortf al d er d e n n e a ut o m ati s k p å et
n ær m er e f a st s at ti d s p u n kt p å h a n dl e n s af vi kli n g s d a g ( s e Af vi kli n g s d ø g n et i V P - s ær s kilt o m si k k er h e d sr et
o g p a nt er et).

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er s k al v ær e P K ell er o p d at eri n g sr el at er et f or P K.

A n m el d er s k al a n gi v e, p å h vil k e n V P- k o nt o h o s h vil k et KI p a nt et ø n s k e s n e d s kr e v et ell er o p h æ v et.
H er u d o v er s k al f o n d s k o d e n (I SI N) a n gi v e s.




                                                                                                                                      Si d e 1 2 2 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



A n m el d er a n gi v er d e n m æ n g d e, h v or m e d p a nt et ø n s k e s n e d s kr e v et. A n m el d er k a n v æl g e at f or et a g e h el
ell er d el vi s n e d s kri v ni n g af p a nt er ett e n. A n m el d er k a n li g el e d e s v æl g e at f or et a g e e n n e d s kri v ni n g af
p a nt et i d e n u dtr u k n e o g / ell er d e n i k k e- u dtr u k n e b e h ol d ni n g.

Tr a n s a kti o n e n k a n i k k e u df ør e s, n år e n h a n d el s af vi kli n g er i g a n g, d. v. s. fr a r et s vir k ni n g sti d s p u n kt et f or e n
h a n d el s af vi kli n g s k ør s el er o v er s kr e d et, til h a n d el s af v i kli n g e n er af sl utt et.

B e h a n dli n g i V P:
D et k o ntr oll er e s,
      at a n m el d er er b er etti g et til at n e d s kri v e/ o p h æ v e p a nt et
      at n e d s kri v ni n g e n af p a nt et er mi n dr e e n d ell er li g m e d p a nt er ett e n

U d d at a:
D er d a n n e s f øl g e n d e i nf o:

TI 2 0 1 8 0 v                     " N e d s kr e v et / o p h æ v et p a nt er et "

S e " S y st e m o v er bli k f or a ut o m ati s k p a nt
P a nt er et - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er ".

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                            O
0 2 P E N G E K O N T O F O E R E R. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                      O
0 2 KI. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                      O
0 2 V A E R DI P A PI R K O N T O.
    03 N U M MER                                                                                                      O
0 2 H A N D E L S P R O D U K T.
    0 3 I SI N                                                                                                        O
0 2 A E N D RI N G. ( P A N T S A T- B E H O L D NI N G)
    0 3 I K K E- U D T R U K K E T- M A E N G D E                                                                     O
    0 3 U D T R U K K E T- M A E N G D E                                                                              O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Vi s p a nt er et pr. p a nt h a v er ( T R 2 0 0 9 0 v)
F or m ål:
At gi v e d et k o nt of ør e n d e i n stit ut m uli g h e d f or at s e, h vil k e p e n g e k o nt of ør er e d er h ar t a g et p a nt i e n
b e h ol d ni n g p å e n gi v e n V P- k o nt o, s a mt h v or st ort p a nt et i gi v et f al d er.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er s k al v ær e KI' e n f or d e n p å g æl d e n d e b e h ol d ni n g ell er l æ s e- ell er o p d at eri n g sr el at er et f or d e n n e
KI.

F or e s p ør g sl e n vi s er p e n g e k o nt of ør er n e s C D-i d e nt er i sti g e n d e or d e n m e d til s v ar e n d e p a nt s at m æ n g d e i
h h v. d e n i k k e- u dtr u k n e o g d e n u dtr u k n e b e h ol d ni n g.


                                                                                                                                      Si d e 1 2 3 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G




S ærli g e b e m ær k ni n g er:
D er k a n m a k si m alt vi s e s 7 5 p e n g e k o nt of ør er e.

B e h a n dli n g i V P:
D er f or et a g e s k u n a d g a n g s m æ s si g e k o ntr oll er.

U d d at a:
D er d a n n e s f øl g e n d e i nf o:

TI 2 0 1 9 3 v                     " P a nt er et pr. p a nt h a v er "

S e S y st e m o v er bli k f or a ut o m ati s k p a nt
P a nt er et - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er.

D A T A F ELT E R

0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                                            O
0 2 KI. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                      O
0 2 V A E R DI P A PI R K O N T O.
    03 N U M MER                                                                                                      O
0 2 H A N D E L S P R O D U K T.
    0 3 I SI N                                                                                                        O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.

Si k k er h e d sr ett e n

Tilf øj h a n d el s pr o d u kt p å p o siti vli st e ( T C 2 0 0 8 5 v)
Tr a n s a kti o n e n a n v e n d e s af a n dr e l å n gi v er e e n d D a n m ar k s N ati o n al b a n k.
D a n m ar k s N ati o n al b a n k i n d s e n d er d a gli gt e n k o m pl et p o siti vli st e ( Ti er Li st e n).

F or m ål:
At o pr ett e e n li st e o v er, h vil k e h a n d el s pr o d u kt er e n l å n gi v er vil b el å n e u n d er d e si k k er h e d sr et s aft al er,
s o m l å nt a g er e i n d g år m e d l å n gi v er.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er f or l å n gi v er s k al v ær e b et ali n g s still er ( B S) m e d et tr æ k ni n g s m a k si m u m i cl e ari n g b a n k e n ell er
v ær e o p d at eri n g sr el at er et f or l å n gi v er s b et ali n g s still er . C D-i d e nt e n f or l å n gi v er e n er C D-i d e nt e n f or
d e n n e s aft al e h a v er.

P å p o siti vli st e n r e gi str er e s d e h a n d el s pr o d u kt er, l å n gi v er vil b el å n e u n d er si k k er h e d sr et s aft al er n e.
F øl g e n d e h a n d el s pr o d u kt er k a n i k k e r e gi str er e s p å e n p o siti vli st e:
      A-r ett er ( a kti et y p e 1)
      T-r ett er ( a kti et y p e 2)

F or h v ert h a n d el s pr o d u kt s k al a n gi v e s:



                                                                                                                                      Si d e 1 2 4 af 4 5 0
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                                                               S Y S T E M V E J L E D NI N G



      e n v ær di k o effi ci e nt s o m s k al v ær e st ørr e e n d 0 o g mi n dr e e n d ell er li g m e d 1. V ær di k o effi ci e nt e n
      a n v e n d e s s a m m e n m e d b ør s k ur s e n til at b er e g n e si k k er h e d sr et s aft al e n s t ot al e v ær di.
( S e B er e g ni n g af si k k er h e d sr et s vær di e n af si k k er h e d sr et s aft al er)
      e n m ar k e d s-i d e ntifi k ati o n s k o d e s o m f ort æll er, fr a h vil k e n f o n d s b ør s k ur s e n til b er e g ni n g af
      si k k er h e d s v ær di e n s k al h e nt e s (i n dtil vi d er e k u n N A S D A Q O M X)

D er s k al o pr ett e s é n p o siti vli st e pr . l å n gi v er. D et vil si g e at d e h a n d el s pr o d u kt er o g v ær di k o effi ci e nt er,
l å n gi v er r e gi str er er p å p o siti vli st e n, vil v ær e g æl de n d e f or s a mtli g e si k k er h e d sr et s aft al er, l å n gi v er i n d g å r
m e d l å nt a g er e.

P o siti vli st e n k a n o p d at er e s d a gli gt i et n ær m er e s p e cifi c er et ti d sr u m. Tid sr u m m et fr e m g år af bil a g o v er
V P' s af vi kli n g s d ø g n.

R e gi str eri n g af n y e h a n d el s pr o d u kt er p å p o siti vli st e n f år vir k ni n g f or si k k er h e d sr et s aft al er n e fr a
f ør st k o m m e n d e s kift af af vi kli n g s d ø g n.

B e h a n dli n g i V P:
D et k o ntr oll er e s
      at a n m el d er o pf yl d er krit eri er n e f or at k u n n e o pr ett e e n p o siti vli st e
      at h a n d el s pr o d u kt et m å til k n ytt e s p o siti vli st e n, d. v. s.
at h a n d el s pr o d u kt et i k k e er af t y p e n A-r et ell er T-r et
      at v ær di k o effi ci e nt e n er st ørr e e n d 0 o g mi n dr e e n d ell er li g m e d 1
      at d e n a n gi v n e m ar k e d s-i d e ntifi k ati o n s k o d e er g yl di g

U d d at a:
D er d a n n e s f øl g e n d e i nf o:

TI 2 0 1 8 7 v                     " Tilf øj el s e p å p o siti vli st e "

S e Si k k er h e d s aft al er - p o siti vli st e n - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                          O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                    O
0 2 H A N D E L S P R O D U K T.
     0 3 I SI N                                                                                                      O
0 2 P O SI TI V LI S T E.
     0 3 V A E R DI- K O E F FI CI E N T                                                                             O
     0 3 M A R K E D S-I D E N TI FI K A TI O N S- K O D E                                                           O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Æ n dri n g af v ær di k o effi ci e n t o g/ ell er m ar k e d s-i d e ntifi k ati o n s k o d e p å h a n d el s pr o d u kt p å
        p o siti vli st e ( T U 2 0 0 8 5 v)
Tr a n s a kti o n e n a n v e n d e s af a n dr e l å n gi v er e e n d D a n m ar k s N ati o n al b a n k.
D a n m ar k s N ati o n al b a n k i n d s e n d er d a gli gt e n k o m pl et p o siti vli st e ( Ti er Li st e n).

                                                                                                                                     Si d e 1 2 5 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G




F or m ål:
At æ n dr e v ær di k o effi ci e nt o g/ ell er m ar k e d s-i d e ntifi k at i o n s k o d e p å et h a n d el s pr o d u kt p å p o siti vli st e n.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er f or l å n gi v er s k al v ær e b et ali n g s still er ( B S) m e d et tr æ k ni n g s m a k si m u m i cl e ari n g b a n k e n ell er
v ær e o p d at eri n g sr el at er et f or l å n gi v er s b et ali n g s still er. C D-i d e nt e n f or l å n gi v er e n er C D-i d e nt e n f or
d e n n e s aft al e h a v er.

V ær di k o effi ci e nt e n k a n æ n dr e s til e n v ær di st ø rr e e n d 0 o g mi n dr e e n d ell er li g m e d 1.

I n dtil vi d er e k a n m ar k e d s-i d e ntifi k ati o n s k o d e n, s o m f ort æll er, fr a h vil k e n f o n d s b ør s k ur s e n til b er e g ni n g af
si k k er h e d s v ær di e n s k al h e nt e s (i n dtil vi d er e k u n N A S D A Q O M X), i k k e æ n dr e s.

Æ n dri n g er af p o siti vli st e n k a n f or et a g e s d a gli gt i et n ær m er e s p e cifi c er et ti d sr u m. Ti d sr u m m et fr e m g år af
bil a g o v er V P' s af vi kli n g s d ø g n.

Æ n dri n g af v ær di k o effi ci e nt er p å h a n d el s pr o d u kt er p å p o siti v li st e n f år vir k ni n g f or
si k k er h e d sr et s aft al er n e fr a f ør st k o m m e n d e s kift af af vi kli n g s d ø g n.

B e h a n dli n g i V P:
D et k o ntr oll er e s
      at a n m el d er o pf yl d er krit eri er n e f or at k u n n e æ n dr e v ær di k o effi ci e nt e n
      at d e n æ n dr e d e v ær di k o effi ci e nt er st ørr e e n d 0 o g mi n dr e e n d ell er li g m e d 1
      at d e n a n gi v n e m ar k e d s-i d e ntifi k ati o n s k o d e er g yl di g

U d d at a:
D er d a n n e s f øl g e n d e i nf o:

TI 2 0 1 9 6 v                     " Æ n dr et k o effi ci e nt o g/ ell er m ar k e d s-i d e n tifi k ati o n s k o d e p å p o siti vli st e "

S e Si k k er h e d s aft al er - p o siti vli st e n - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                          O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                    O
02 H A N D ELS P R O D U KT
     0 3 I SI N                                                                                                      O
0 2 P O SI TI V LI S T E.
     0 3 V A E R DI- K O E F FI CI E N T                                                                             O
     0 3 M A R K E D S-I D E N TI FI K A TI O N S- K O D E                                                           O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Sl et ni n g af h a n d el s pr o d u kt p å p o siti vli st e ( T D 2 0 0 8 5 v)
Tr a n s a kti o n e n a n v e n d e s af a n dr e l å n gi v er e e n d D a n m ar k s N ati o n al b a n k.


                                                                                                                                    Si d e 1 2 6 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



D a n m ar k s N ati o n al b a n k i n d s e n d er d a gli gt e n        k o m pl et p o siti vli st e ( Ti er Li st e n).

F or m ål:
At fj er n e h a n d el s pr o d u kt er fr a p o siti vli st e n.

L å n gi v er s p o siti vli st e sl ett e s v e d fj er n el s e af s a mtli g e h a n d el s pr o d u kt er.

B e h a n dli n g h o s c e nt r al d elt a g er:
A n m el d er f or l å n gi v er s k al v ær e b et ali n g s still er ( B S) m e d et tr æ k ni n g s m a k si m u m i cl e ari n g b a n k e n ell er
v ær e o p d at eri n g sr el at er et f or l å n gi v er s b et ali n g s still er. C D-i d e nt e n f or l å n gi v er e n er C D-i d e nt e n f or
d e n n e s aft al e h a v er.

Si d st e h a n d el s pr o d u kt p å p o siti vli st e n k a n k u n fj er n e s, s åfr e mt d er i k k e e k si st er er si k k er h e d sr et s aft al er
a c c e pt er et af d e n p å g æl d e n d e l å n gi v er, i d et fj er n el s e af si d st e h a n d el s pr o d u kt p å p o siti vli st e n si d e still e s
m e d d elt a g er e n s o p h ør s o m l å n gi v er.

Fj er n el s e af h a n d el s pr o d u kt er p å p o siti vli st e n k a n f o r et a g e s d a gli gt i et n ær m er e s p e cifi c er et ti d sr u m.
Ti d sr u m m et fr e m g år af bil a g o v er V P' s af vi kli n g s d ø g n.

Fj er n el s e af et h a n d el s pr o d u kt fr a p o siti vli st e n f år vir k ni n g f or si k k er h e d s r et s aft al er n e fr a f ør st k o m m e n d e
s kift af af vi kli n g s d ø g n.

B e h a n dli n g i V P:
D et k o ntr oll er e s
      at a n m el d er o pf yl d er krit eri er n e f or at k u n n e fj er n e h a n d el s pr o d u kt er fr a p o siti vli st e n

V e d sl et ni n g af si d st e h a n d el s pr o d u kt p å p o siti vli st e n k o ntr oll er e s o g s å
      at d er i k k e fi n d e s si k k er h e d sr et s aft al er a c c e pt er et af d e n p å g æl d e n d e l å n gi v er

U d d at a:
D er d a n n e s f øl g e n d e i nf o:

TI 2 0 1 9 5 v                     " Fj er n et fr a p o siti vli st e "

S e Si k k er h e d s aft al er - p o siti vli st e n - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                               O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                         O
0 2 H A N D E L S P R O D U K T.
     0 3 I SI N                                                                                                           O
0 2 P O SI TI V LI S T E
     0 3 V A E R DI- K O E F FI CI E N T                                                                                  F
     0 3 M A R K E D S-I D E N TI FI K A TI O N S- K O D E                                                                F

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.



                                                                                                                                     Si d e 1 2 7 af 4 5 0
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                                                                S Y S T E M V E J L E D NI N G



Vi s p o siti vli st e ( T R 2 0 0 8 9 v)
Tr a n s a kti o n e n k a n vi s e p o siti vli st er fr a a n dr e l å n gi v er e e n d D a n m ar k s N ati o n al b a n k.

F or m ål:
At k u n n e s e, h vil k e h a n d el s pr o d u kt er m e d til h ør e n d e v ær di k o effi ci e nt er o g m ar k e d s-i d e ntifi k ati o n s k o d er,
d er er p å e n p o siti vli st e f or e n gi v e n b et ali n g s still er ( B S) m e d et tr æ k ni n g s m a k si m u m i cl e ari n g b a n k e n.
D e n vi st e p o siti vli st e er d e n s e n e st i n dr a p p ort er e d e o g s å s el v o m li st e n f ør st b e n ytt e s v e d b er e g ni n g af
si k k er h e d sr et s v ær di i d et n æ st e af vi kli n g s d ø g n.

B e h a n dli n g h o s c e nt r al d elt a g er:
L å nt a g er e, l å nt a g er n e s KI' er ell er s p ør g e-/ o p d at e -ri n g sr el at er e d e KI' er f or l å nt a g er e, d er h ar e n
a c c e pt er et si k k er h e d sr et s aft al e m e d e n l å n gi v er, k a n f or e s p ør g e p å l å n gi v er s p o siti vli st e.

L å n gi v er s b et ali n g s still er ( B S) k a n li g el e d e s f or e s p ør g e.

D er k a n f or e s p ør g e s p å e nt e n all e h a n d el s pr o d u kt er p å p o siti vli st e n ell er p å et i nt er v al af
h a n d el s pr o d u kt er.

B e h a n dli n g i V P:
D er f or et a g e s k u n a d g a n g s m æ s si g e k o ntr oll er.

U d d at a:
D er d a n n e s f øl g e n d e i nf o:

TI 2 0 1 9 2 v                      " H a n d el s pr o d u kt p å p o siti vli st e "

S e Si k k er h e d s aft al er - p o siti vli st e n - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

B e m ær k:
F or d elt a g er e, d er a n v e n d er V P- st a n d ar dt er mi n al, vi s e s d e f ør st e 1 0 0 f or e k o m st er p å h el e p o siti vli st e n
ell er i d et v al gt e i nt er v al.

F or d elt a g er e, d er s e n d er tr a n s a kti o n e n vi a d at a c e nt er, fr e m s e n d e s e n i nf o pr. f or e k o m st p å p o siti vli st e n
u a n s et et e vt. a n gi v et i nt er v al.

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                          O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                    O
0 2 F R A I N T E R V A L. ( H A N D E L S P R O D U K T)
     0 3 I SI N                                                                                                      F
0 2 TI L I N T E R V A L. ( H A N D E L S P R O D U K T)
     0 3 I SI N                                                                                                      F

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.




                                                                                                                                   Si d e 1 2 8 af 4 5 0
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                                                                S Y S T E M V E J L E D NI N G



Vi s af vi kli n g s d a g e n s p o siti vli st e f or si k k er h e d sr et ( T R 2 0 2 2 5 v)
F or m ål:
At k u n n e s e h vil k e h a n d el s pr o d u kt er m e d til h ør e n d e v ær di k o effi ci e nt er, m ar k e d s- i d e ntifi k ati o n s k o d er o g
b el å ni n g s k ur s er d er er p å e n gi v e n l å n gi v er s p o siti vli st e. D e n vi st e p o siti vli st e er d e n f a stfr o s n e li st e pr.
af vi kli n g s d ø g n et s st art. D e n n e f a stfr o s n e p o siti vli st e, d er d a n n e s v e d af vi kli n g s d ø g n et s st art, d a n n er
gr u n dl a g f or h el e af vi kli n g s d ø g n et s b el å ni n g.

F u n k ti o n alit et:
L å nt a g er e, l å nt a g er n e s KI' er ell er s p ør g e-/ o p d at eri n g sr el at er e d e KI' er f or l å nt a g er e, d er h ar e n
a c c e pt er et si k k er h e d sr et s aft al e m e d e n l å n gi v er, k a n f or e s p ør g e p å l å n gi v er s p o siti vli st e.

L å n gi v er s b et ali n g s still er ( B S) k a n li g el e d e s f or e s p ør g e.

F or d elt a g er e, d er a n v e n d er V P- st a n d a r dt er mi n al, vi s e s d e f ør st e 1 0 0 f or e k o m st er p å p o siti vli st e n ell er i
d et v al gt e i nt er v al.

F or d elt a g er e, d er s e n d er tr a n s a kti o n e n vi a d at a c e nt er, fr e m s e n d e s e n i nf o pr. f or e k o m st p å p o siti vli st e n.

D er k a n s p ør g e s p å d e n a kt u ell e af vi kli n g s d a g s p o siti vli st e o g p å p o siti v li st e n, d er v ar g æl d e n d e d e n
f or e g å e n d e af vi kli n g s d a g.

B e h a n dli n g i V P:
D er f or et a g e s k u n a d g a n g s m æ s si g e k o ntr oll er.

B e m ær k:
D er vi s e s i k k e v ær di k o effi ci e nt er o g m ar k e d s-i d e ntifi k ati o n s k o d er p å D a n m ar k s N ati o n al b a n k s p o siti vli st e,
d a d e n d a gli g e b el å ni n g s k ur s i n dr a p p ort er e s dir e kt e.

V P- st a n d ar d s y st e m:
D 2 5 9 a n v e n d es

U d d at a:
D er d a n n e s f øl g e n d e i nf o:

TI 2 0 2 0 4 v                      " H a n d el s pr o d u kt p å af vi kli n g s d a g e n s p o siti vli st e "

S e Si k k er h e d s aft al er - p o siti vli st e n - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                          O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                    O
0 2 A F VI K LI N G S D A G
     0 3 A F VI K LI N G S D A T O                                                                                   O
02 V AL UT A
     0 3 I S O- K O D E                                                                                              O

O = o bli g at ori s k, F = f ri villi g




                                                                                                                                    Si d e 1 2 9 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



Til k n yt V P- k o nt o til si k k er h e d sr et s aft al e ( T C 2 0 0 8 6 v)
F or m ål:
At til k n ytt e V P- k o nti til e n si k k er h e d sr et s aft al e. V e d til k n yt ni n g af f ør st e V P- k o nt o o pr ett e s
si k k er h e d sr et s aft al e n.

B e h a n dli n g h o s c e nt r al d elt a g er:
L å nt a g er s KI ell er et o p d at eri n g sr el at er et KI s k al f or et a g e r e gi str eri n g er v e dr. si k k er h e d sr et s aft al er p å
v e g n e af l å nt a g er.

O pr et t el s e:
V e d o pr ett el s e af e n si k k er h e d sr et s aft al e s k al a n gi v e s mi n d st é n V P- k o nt o. V P- k o nt o e n s k al h a v e
af vi kli n g s gr u p p e " a f vi kli n g s a n s v arli g ".

P å si k k er h e d sr et s aft al e n s k al l å nt a g er a n gi v e e n l oft-i n di k at or o g et e vt. l å nt a g erl oft. H vi s l oft-i n di k at or er
J A, b et y d er d et, at l å nt a g er ø n s k er at b e gr æ n s e tr æ k k et u n d er si k k er h e d sr et s aft al e n til d et i l oft et
a n gi v n e b el ø b, s o m k a n s ætt e s til 0. H vi s l oft-i n di k at or er N E J, b et y d er d et, at l å nt a g er i k k e ø n s k er at
b e gr æ n s e tr æ k k et u n d er si k k er h e d sr et s aft al e n.

V e dli g e h ol d:
D er k a n k n ytt e s fl er e V P- k o nti til s a m m e si k k er h e d sr et s aft al e, f or u d s at at KI f or d e til k n ytt e d e V P- k o nti
h ør er u n d er s a m m e aft al e h a v er.

Til k n yt ni n g af fl er e V P- k o nti k a n s k e u a n s et si k k er h e d sr et s aft al e n s st at u s. ( O m st at u s, s e T e k ni s k
v ejl e d ni n g, 7 F elt b e s kri v el s er S, Si k k er h e d sr et s aft al e).

D et s k al b e m ær k e s, at til k n yt ni n g af e n n y V P- k o nt o til e n si k k er h e d sr et s aft al e k a n s k e s a mti di g m e d
a n gi v el s e af e n æ n dr et l oft-i n di k at or o g l oft f or l å nt a g er. F or v ali d eri n g af æ n dri n g er af l oft-i n di k at or o g
l oft, s e " Æ n dr e l å nt a g erl oft ( T U 2 0 0 8 6 v) ".

D er k a n m a k si m alt k n ytt e s 1 5 V P- k o nti til é n si k k er h e d sr et s aft al e.

S ærli g e b e st e m m el s er:
L å nt a g er k a n h a v e fl er e si k k er h e d sr et s aft al er m e d f or s k elli g e l å n gi v er e, m e n k u n é n si k k er h e d sr et s aft al e
pr. v al ut a m e d h v er l å n gi v er. D e e n k elt e V P- k o nti k a n k u n v ær e til k n ytt et é n si k k er h e d sr et s aft al e. V P- k o nti
m e d di s p o siti o n s b e gr æ n s e n d e r etti g h e d er k a n i k k e til k n ytt e s e n si k k er h e d sr et s aft al e. Til k n yt ni n g af V P-
k o nti til e n si k k er h e d sr et s aft al e k a n i k k e s k e, n år e n h a n d el s af vi kli n g er i g a n g, d. v. s. fr a
r et s vir k ni n g sti d s p u n kt et f or e n h a n d el s af vi kli n g s k ørs el er o v er s kr e d et, til h a n d el s af vi kli n g e n er af sl utt et.

B e h a n dli n g i V P:
D et k o ntr oll er e s,
      at a n m el d er o pf yl d er krit eri er n e f or at k u n n e f or et a g e r e gi str eri n g e n
      at d er i k k e er o pr ett et a n dr e si k k er h e d sr et s aft al er m ell e m l å n gi v er o g l å nt a g er i d e n a kt u ell e v al ut a
      at KI f or all e til k n ytt e d e V P- k o nti h ø r er u n d er s a m m e aft al e h a v er
      at d e til k n ytt e d e V P- k o nti h ar af v i kli n g s gr u p p e " af vi kli n g s a n s v arli g "
      at d er i k k e er r e gi str er et di s p o sit i o n s b e gr æ n s e n d e r etti g h e d er p å d e n V P- k o nt o, d er s ø g e s til k n ytt et
      at d er m a k si m alt til k n ytt e s 1 5 V P- k o nti til é n si k k er h e d sr et s aft al e
      at e n V P- k o nt o i k k e er til k n ytt et e n a n d e n si k k er h e d sr et s aft al e
      at l å nt a g erl oft er u df yl dt m e d b el ø b ( e vt. 0), s åfr e mt l oft-i n di k at or er J A
      at l å nt a g erl oft i k k e er u df yl dt m e d b el ø b, s åfr e mt l oft-i n di k at or er N E J
      at e vt. æ n dri n g af l oft-i n di k at or o g l oft f or l å nt a g er i k k e m e df ør er, at l å nt a g erl oft et bli v er mi n dr e e n d
      d et a kt u ell e tr æ k p å si k k er h e d sr et s aft al e n




                                                                                                                                     Si d e 1 3 0 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



U d d at a:
F øl g e n d e i nf o er k a n d a n n e s:

TI 2 0 1 8 3 v                     " D e p ot til k n ytt et si k k er h e d sr et s aft al e "
TI 2 0 2 1 9 v                     " Æ n dr et si k k er h e d sr et s v ær di "
TI 2 0 1 9 1 v                     " Æ n dr et l å nt a g erl oft "
TI 2 0 1 9 2 v                     " H a n d el s pr o d u kt p å p o siti vli st e "

S e Si k k er h e d s aft al er - l å nt a g er si d e n - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                           O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                     O
02 V AL UT A
     0 3 I S O- K O D E                                                                                               O
0 2 KI. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 V A E R DI P A PI R K O N T O.
     03 N U M MER                                                                                                     O
0 2 SI K K E R H E D S R E T S A F T A L E.
     0 3 L A A N T A G E R- L O F T-I N DI K A T O R                                                                  O
     0 3 L A A N T A G E R- L O F T                                                                                   O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Æ n dr e l å nt a g erl oft ( T U 2 0 0 8 6 v)
F or m ål:
At æ n dr e l å nt a g erl oft et p å e n si k k er h e d sr et s aft al e.

B e h a n dli n g h o s c e nt r al d elt a g er:
L å nt a g er s KI ell er et o p d at eri n g sr el at er et KI s k al f or et a g e æ n dri n g er af l å nt a g erl oft.

S åfr e mt l oft-i n di k at or æ n dr e s fr a J A til N E J, s k al l å nt a g erl oft et u df yl d e s m e d / n e d s kri v e s til 0, i d et e n
æ n dri n g af l oft-i n di k at or til N E J b et y d er, at d e n t ot al e si k k er h e d sr et s v ær di af d e til k n ytt e d e V P- k o nti m å
a n v e n d e s u n d er si k k er h e d sr et s aft al e n.

S åfr e mt l oft-i n di k at or æ n dr e s fr a N E J til J A, s k al l å nt a g erl oft et u df yl d e s. L oft et k a n u df yl d e s m e d 0.
L oft et k a n d o g i k k e æ n dr e s til e n v ær di l a v er e e n d d et a kt u ell e tr æ k p å si k k er h e d sr et s aft al e n. Eft er u dl ø b
af si k k er h e d sr ett e n k a n l oft et fr it f a st s ætt e s, e vt. til 0.

Tr a n s a kti o n e n k a n i k k e u df ør e s, n år e n h a n d el s af vi kli n g er i g a n g, d. v. s. fr a r et s vir k ni n g sti d s p u n kt et f or e n
h a n d el s af vi kli n g s k ør s el er o v er s kr e d et, til h a n d el s af v i kli n g e n er af sl utt et.




                                                                                                                                      Si d e 1 3 1 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



B e h a n dli n g i V P:
D et k o ntr oll er e s
      at a n m el d er m å f or et a g e æ n dri n g af l å nt a g erl oft
      at æ n dri n g af l oft-i n di k at or o g l o ft i k k e m e df ør er, at l oft et bli ver mi n dr e e n d d et a kt u ell e tr æ k p å
      si k k er h e d sr et s aft al e n

U d d at a:
F øl g e n d e i nf o er d a n n e s:

TI 2 0 1 9 1 v                     " Æ n dr et l å nt a g erl oft "

S e Si k k er h e d s aft al er - l å nt a g er si d e n - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                           O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                     O
02 V AL UT A
     0 3 I S O- K O D E                                                                                               O
0 2 KI. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 V A E R DI P A PI R K O N T O.
     03 N U M MER                                                                                                     O
0 2 SI K K E R H E D S R E T S A F T A L E.
     0 3 L A A N T A G E R- L O F T-I N DI K A T O R                                                                  O
     0 3 L A A N T A G E R- L O F T                                                                                   O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Fj er n V P- k o nt o fr a si k k er h e d sr et s aft al e ( T D 2 0 0 8 6 v)
F or m ål:
At fj er n e e n V P- k o nt o fr a e n si k k er h e d sr et s aft al e.

B e h a n dli n g h o s c e nt r al d elt a g er:
L å nt a g er s KI ell er et o p d at eri n g sr el at er et KI s k al f o r et a g e fj er n el s e n af e n/fl er e V P- k o nti fr a
si k k er h e d sr et s aft al e n p å v e g n e af l å nt a g er.

D e n V P- k o nt o, d er ø n s k e s fj er n et fr a si k k er h e d sr et s aft al e n, a n gi v e s. S åfr e mt d er er et tr æ k p å
si k k er h e d sr et s aft al e n, m å fj er n el s e n af V P- k o nt o e n i k k e m e df ør e, at d e n t ot al e si k k er h e d sr et s v ær di
h er eft er bli v er l a v er e e n d tr æ k k et.

D et er i k k e m uli gt at fj er n e V P- k o nti fr a si k k er h e d sr et s aft al er i st at u s "l u k k et ", s å fr e mt d er e k si st er er et
a kt u elt tr æ k p å si k k er h e d sr et s aft al e n. ( Si k k er h e d sr et s af t al e n f år st at u s "l u k k et ", n år d er r e gi str er e s e n
di s p o siti o n s b e gr æ n s e n d e r etti g h e d p å e n V P- k o nt o ti l k n ytt et si k k er h e d sr et s aft al e n.)



                                                                                                                                    Si d e 1 3 2 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



S åfr e mt si k k er h e d sr et s aft al e n ø n s k e s sl ett et, s k er d e tt e v e d at fj er n e s a mtli g e V P- k o nti fr a
si k k er h e d sr et s aft al e n.

Tr a n s a kti o n e n k a n i k k e u df ør e s, n år e n h a n d el s af vi kli n g er i g a n g, d. v. s. fr a r et s vir k ni n g sti d s p u n kt et f or e n
h a n d el s af vi kli n g s k ør s el er o v er s kr e d et, til h a n d el s af v i kli n g e n er af sl utt et.

B e h a n dli n g i V P:
D et k o ntr oll er e s,
      at a n m el d er o pf yl d er krit eri er n e f or at k u n n e f or et a g e r e gi str eri n g e n
      at d e n t ot al e si k k er h e d sr et s v ær di eft er fj er n el s e af e n V P- k o nt o i k k e bli v er mi n dr e e n d d et a kt u ell e
      tr æ k p å si k k er h e d sr et s aft al e n
      at d er i k k e e k si st er er et a kt u elt tr æ k p å si k k er h e d sr et s aft al e n, s åfr e mt d e n n e er i st at u s "l u k k et "

U d d at a:
F øl g e n d e i nf o er k a n d a n n e s:

TI 2 0 1 8 6 v                     " D e p ot fj er n et fr a si k k er h e d sr et s aft al e "
TI 2 0 2 1 9 v                     " Æ n dr et si k k er h e d sr et s v ær di "

S e Si k k er h e d s aft al er - l å nt a g er si d e n - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                           O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                     O
02 V AL UT A
     0 3 I S O- K O D E                                                                                               O
0 2 KI. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 V A E R DI P A PI R K O N T O.
     03 N U M MER                                                                                                     O
0 2 SI K K E R H E D S R E T S A F T A L E.
     0 3 L A A N T A G E R- L O F T-I N DI K A T O R                                                                  F
     0 3 L A A N T A G E R- L O F T                                                                                   F

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Vi s si k k er h e d sr et s aft al e ( T R 2 0 0 8 3 v)
F or m ål:
At i nf or m er e a n m el d er e n o m, h vil k e V P- k o nti d er er til k n ytt et e n gi v e n si k k er h e d sr et s aft al e s a mt aft al e n s
st at u s. D e s u d e n vi s e s si k k er h e d sr et s v ær d i e n af d e til k n ytt e d e V P- k o nti sa mt l å nt a g erl oft o g l å n gi v erl oft.

B e h a n dli n g h o s c e nt r al d elt a g er:
L å nt a g er, l å nt a g er s KI ell er et s p ør g e-/ o p d at eri n g sr el at er et KI k a n f or e s p ør g e p å si k k er h e d sr et s aft al e n.



                                                                                                                                      Si d e 1 3 3 af 4 5 0
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                                                               S Y S T E M V E J L E D NI N G



B e h a n dli n g i V P:
D er f or et a g e s k u n a d g a n g s m æ s si g e k o ntr oll er.

U d d at a:
F øl g e n d e i nf o d a n n e s:

TI 2 0 1 8 8 v                       " O pl y s ni n g o m e n si k k er h e d sr et s aft al e "

S e Si k k er h e d s aft al er - l å nt a g er si d e n - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                             O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                       O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                       O
02 V AL UT A
     0 3 I S O- K O D E                                                                                                 O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


A c c e pt af si k k er h e d sr et s aft al e ( T C 2 0 0 8 7 v)
F or m ål:
At b e kr æft e d e n af l å nt a g er s KI o pr ett e d e si k k er h e d sr et s aft al e. V e d a c c e pt af si k k er h e d sr et s aft al e n s k al
d er s a mti di g i n dl æ g g e s i n di k at or f or l å n gi v erl oft s a mt e vt. l å n gi v erl oft.

B e h a n dli n g h o s c e nt r al d elt a g er:
L å n gi v er s b et ali n g s still er ( B S) s k al a c c e pt er e si k k er h e d sr et s aft al er p å l å n gi v er s v e g n e.

V e d a c c e pt af e n si k k er h e d sr et s aft al e s k al a n gi v e s e n i n di k at or f or l å n gi v erl oft. H vi s i n di k at or f or
l å n gi v erl oft er N E J, k a n l å n gi v erl oft i k k e u df yl d e s. H vi s i n di k at or f or l å n gi v erl oft er J A, s k al l å n gi v erl oft
u df yl d e s m e d d et m a k si m al e tr æ k, s o m l å n gi v er vil a c c e pt er e p å si k k er h e d sr et s aft al e n. L å n gi v erl oft et k a n
s ætt e s til 0.

E n si k k er h e d sr et s aft al e k a n a c c e pt er e s, s åfr e mt d er p å d e til si k k er h e d sr et s aft al e n k n ytt e d e V P- k o nti i k k e
er r e gi str er et di s p o siti o n s b e gr æ n s e n d e r etti g h e d er.

Tr a n s a kti o n e n k a n i k k e u df ør e s, n år e n h a n d el s af vi kli n g er i g a n g, d. v. s. fr a r et s vir k ni n g sti d s p u n kt et f or e n
h a n d el s af vi kli n g s k ør s el er o v er s kr e d et, til h a n d el s af v i kli n g e n er af sl utt et.

B e h a n dli n g i V P:
D et k o ntr oll er e s,
      at a n m el d er o pf yl d er krit eri er n e f or at k u n n e f or et a g e r e gi str eri n g e n
      at l å n gi v erl ofti n di k at or er u df yl dt
      at l å n gi v erl oft er u df yl dt ( e vt. m e d v ær di e n 0), s åfr e mt l å n gi v er- l ofti n di k at or er J A
      at d er i k k e er r e gi str er et di s p o siti o n s b e gr æ n s e n d e r etti g h e d er p å d e til si k k er h e d sr et s aft al e n
      k n ytt e d e V P- k o nti


                                                                                                                                          Si d e 1 3 4 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G




D er u d o v er b er e g n e s si k k er h e d sr et s v ær di e n af si k k er h e d sr et s aft al e n

U d d at a:
F øl g e n d e i nf o er k a n d a n n e s:

TI 2 0 2 1 9 v                     " Æ n dr et si k k er h e d sr et s v ær di "
TI 2 0 1 9 0 v                     " Æ n dr et si k k er h e d sr et s aft al e (l å n gi v er o pl y s ni n g er) "

S e Si k k er h e d s aft al er - l å nt a g er si d e n - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                            O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                      O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                      O
02 V AL UT A
     0 3 I S O- K O D E                                                                                                O
0 2 SI K K E R H E D S R E T S A F T A L E.
     0 3 L A A N GI V E R- L O F T-I N DI K A T O R                                                                    O
     0 3 L A A N GI V E R- L O F T                                                                                     O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Æ n dri n g af l å n gi v erl oft ( T U 2 0 0 8 7 v)
F or m ål:
At æ n dr e l å n gi v erl oft et p å e n si k k er h e d sr et s aft al e.

B e h a n dli n g h o s c e nt r al d elt a g er:
L å n gi v er s b et ali n g s still er ( B S) s k al æ n dr e l å n gi v erl oft et p å l å n gi v er s v e g n e.

S åfr e mt l oft-i n di k at or æ n dr e s fr a J A til N E J, s k al l å n g i v erl oft et u df yl d e s m e d/ n e d s kri v e s til 0, i d et e n
æ n dri n g af l oft-i n di k at or til N E J b et y d er, at l å n gi v er i k k e ø n s k er at b e gr æ n s e d et tr æ k, l å nt a g er k a n
f or et a g e u n d er d e n t ot al e si k k er h e d sr et s v ær di.

S åfr e mt l oft-i n di k at or æ n dr e s fr a N E J til J A, s k al l å n gi v erl o ft et u df yl d e s. L oft et k a n u df yl d e s m e d 0. L oft et
k a n d o g i k k e æ n dr e s til e n v ær di l a v er e e n d d et a kt u ell e tr æ k p å si k k er h e d sr et s aft al e n. Eft er u dl ø b af
si k k er h e d sr ett e n k a n l oft et frit f a st s ætt e s, e vt. til 0.

Tr a n s a kti o n e n k a n i k k e u df ør e s, n år e n h a n d el s af vi kli n g er i g a n g, d. v. s. fr a r et s vir k ni n g sti d s p u n kt et f or e n
h a n d el s af vi kli n g s k ør s el er o v er s kr e d et, til h a n d el s af vi kli n g e n er af sl utt et.

B e h a n dli n g i V P:
D et k o ntr oll er e s
      at a n m el d er o pf yl d er krit eri er n e f or at k u n n e f or et a g e r e gi str eri n g e n



                                                                                                                                      Si d e 1 3 5 af 4 5 0
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                                                               S Y S T E M V E J L E D NI N G



      at æ n dri n g af l oft-i n di k at or o g l o ft i k k e m e df ør er, at l oft et bli ver mi n dr e e n d d et a kt u ell e tr æ k p å
      si k k er h e d sr et s aft al e n

U d d at a:
F øl g e n d e i nf o d a n n e s:

TI 2 0 2 1 2 v                       " Æ n dr et l å n gi v erl oft "

S e Si k k er h e d s aft al er - l å nt a g er si d e n - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                             O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                       O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                       O
02 V AL UT A
     0 3 I S O- K O D E                                                                                                 O
0 2 SI K K E R H E D S R E T S A F T A L E.
     0 3 L A A N GI V E R- L O F T-I N DI K A T O R                                                                     O
     0 3 L A A N GI V E R- L O F T                                                                                      O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Fj er n a c c e pt fr a ( s u s p e n d er) si k k er h e d sr et s aft al e ( T D 2 0 0 8 7 v)
F or m ål:
At fj er n e l å n gi v er s b e kr æft el s e af e n si k k er h e d sr et s af t al e. D er m e d k a n l å nt a g er i k k e f or et a g e y d erli g er e
tr æ k p å si k k er h e d sr et s aft al e n.

B e h a n dli n g h o s c e nt r al d elt a g er:
L å n gi v er s b et ali n g s still er ( B S) s k al s u s p e n d er e e n si k k er h e d sr et s aft al e p å l å n gi v er s v e g n e.

Fj er n el s e af a c c e pt e n fr a e n si k k er h e d sr et s aft al e m e df ør er s u s p e n si o n af aft al e n. S u s p e n si o n af
si k k er h e d sr et s aft al e n k a n k u n f or et a g e s, s åfr e mt d er i k k e er et a kt u elt tr æ k p å aft al e n.

E n aft al e m e d st at u s "l u k k et " k a n i k k e s u s p e n d er e s. ( O m st at u s, s e T e k ni s k v ejl e d ni n g, 0 7 F elt b e s kri v el s er
S, Si k k er h e d sr et s aft al e).

Tr a n s a kti o n e n k a n i k k e u df ør e s, n år e n h a n d el s af vi kli n g er i g a n g, d. v. s. fr a r et s vir k ni n g sti d s p u n kt et f or e n
h a n d el s af vi kli n g s k ør s el er o v er s kr e d et, til h a n d el s af v i kli n g e n er af sl utt et.

B e h a n dli n g i V P:
D et k o ntr oll er e s
      at a n m el d er o pf yl d er krit eri er n e f or at k u n n e f or et a g e r e gi str eri n g e n
      at d er i k k e er et a kt u elt tr æ k p å si k k er h e d sr et s aft al e n




                                                                                                                                         Si d e 1 3 6 af 4 5 0
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                                                                S Y S T E M V E J L E D NI N G



U d d at a:
F øl g e n d e i nf o d a n n e s:

TI 2 0 1 9 0 v                       " Æ n dr et si k k er h e d sr et s aft al e (l å n gi v er o pl y s ni n g er) "

S e Si k k er h e d s aft al er - l å nt a g er si d e n - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                              O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                        O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                        O
02 V AL UT A
     0 3 I S O- K O D E                                                                                                  O
0 2 SI K K E R H E D S R E T S A F T A L E.
     0 3 L A A N GI V E R- L O F T-I N DI K A T O R                                                                      F
     0 3 L A A N GI V E R- L O F T                                                                                       F

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Vi s si k k er h e d s v ær di af fr e mti d i g e h a n dl er ( T R 2 0 0 9 5 v)
F or m ål:
At gi v e l å nt a g er o g l å nt a g er s KI et v ejl e d e n d e o v er bli k o v er si k k er h e d sr et s v ær di e n af d e h a n dl er, d er
li g g er til af vi kli n g p å e n gi v e n af vi kli n g s d a g.

B e h a n dli n g h o s c e nt r al d elt a g er:
L å nt a g er, l å nt a g er s KI ell er e n s p ør g e-/ o p d at er i n g sr el at er et f or l å nt a g er s KI k a n f or e s p ør g e p å
si k k er h e d sr et s v ær di e n af fr e mti di g e h a n dl er.

Si k k er h e d sr et s aft al e n s l å n gi v er, l å nt a g er o g v al ut a s a mt d e n ø n s k e d e af vi kli n g s d a g s k al a n gi v e s.

D e n b er e g n e d e si k k er h e d sr et s v ær di af d e fr e mti di g e h a n dl er v e dr ør er h a n dl er til d e n gi v n e af vi kli n g s d a g,
d er h ar f u n d et m a k k er o g er i h a n d el s pr o d u kt er, d er er o mf att et af l å n gi v er s p o siti vli st e

Af s v ar et p å f or e s p ør g sl e n fr e m g år b å d e si k k er h e d sr et s v ær di e n af d e n n u v ær e n d e b e h ol d ni n g o g
si k k er h e d sr et s v ær di e n af fr e mti di g e h a n dl er m e d d e n ø n s k e d e af vi kli n g s d a g. Si k k er h e d sr et s v ær di e n af
b e h ol d ni n g e n er d e n p å f or e s p ør g s el sti d s p u n kt et r e gi str er e d e si k k er h e d sr et s v ær di.
Si k k er h e d sr et s v ær di e n af h a n dl er pr. d e n n u v ær e n d e af vi kli n g s d a g b er e g n e s p å gr u n dl a g af d a g e n s
f a stl å st e p o siti vli ste. S p ør g er m a n p å si k k er h e d sr et s v ær di e n af h a n dl er til e n fr e mti di g af vi kli n g s d a g
(t y pi s k m e d h e n bli k p å aft e n e n s o g n att e n s af vi kli n g s k ørsl er) b er e g n e s v ær di e n p å gr u n dl a g af d e n s e n e st
m o dt a g n e p o siti vli st e o g d e s e n e st m o dt a g n e b ør s- o g v al ut a k ur s er.
D a l å n gi v er s p o siti vli st e ( h er u n d er pri s er o g v ær di k o effi ci e nt er ) s a mt b ør s- o g v al ut a k ur s er m. v. e vt. k a n
æ n dr e s i n d e n e n fr e mti di g af vi kli n g s d a g, vil d e n b er e g n e d e si k k er h e d sr et s v ær di af d e fr e mti di g e h a n dl er
k u n v ær e e n i n di k ati o n af d e n e n d eli g e si k k er h e d sr et s v ær di af h a n dl er n e pr. d e n p å g æl d e n d e
af vi kli n g s d a g.



                                                                                                                                       Si d e 1 3 7 af 4 5 0
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                                                               S Y S T E M V E J L E D NI N G



D e n b er e g n e d e si k k er h e d sr et s v ær di af d e fr e mti di g e h a n dl er er et n ett o b el ø b. V ær di e n 0 k a n e nt e n
af s p ejl e, at n ett o vir k ni n g e n er 0, ell er at d er i n g e n h a n dl er er i h a n d el s pr o d u kt er p å d e n n u v ær e n d e
p o siti vli st e til d e n p å g æl d e n d e af vi kli n g s d a g.

Si k k er h e d sr et s v ær di e n af d e n n u v ær e n d e b e h ol d ni n g er s o m n æ v nt o v e nf or d e n p å
f or e s p ør g s el sti d s p u n kt et s e n e st r e gi str er e d e si k k er h e d sr et s v ær di. O p m ær k s o m h e d e n h e nl e d e s p å, at
d e n n e v ær di æ n dr e s v e d eft erf øl g e n d e b e h ol d ni n g s æ n dri n g er p å V P- k o nti e n e u n d er
si k k er h e d sr et s aft al e n. Si k k er h e d sr et s v ær di e n af d e n n u v ær e n d e b e h ol d ni n g k a n li g el e d e s bli v e æ n dr et i
f or bi n d el s e m e d s kift af af vi kli n gs d ø g n, h v or d er s k er e n r e b er e g ni n g af s a mtli g e a c c e pt er e d e
si k k er h e d sr et s aft al er s si k k er h e d sr et s v ær di. ( S e i ø vri gt B er e g ni n g af si k k er h e d sr et s v ær di e n af
si k k er h e d sr et s aft al er)

B e h a n dli n g i V P:
D er f or et a g e s k u n a d g a n g s m æ s si g e k o ntr oll er.

U d d at a:
F øl g e n d e i nf o d a n n e s:

TI 2 0 1 9 4 v                       " Si k k er h e d sr et s v ær di af fr e mti di g e h a n dl er "

S e Si k k er h e d s aft al er - l å nt a g er si d e n - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                            O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                      O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                      O
02 V AL UT A
     0 3 I S O- K O D E                                                                                                O
0 2 A F VI K LI N G S D A G.
     0 3 A F VI K LI N G S D A T O                                                                                     O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f el t b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Vi s si k k er h e d s v ær di af fr e mti di g e h a n dl er u d e n p e n g e ( T R 2 0 3 6 1 v)
F or m ål:
Til b er e g ni n g af b uff er kr a v. Gi v er l å nt a g er o g l å nt a g er s KI et v ejl e d e n d e o v er bli k o v er
si k k er h e d sr et s v ær di e n af d e h a n dl er u d e n p e n g e, d er li g g er til af vi kli n g p å e n gi v e n af vi kli n g s d a g.

Br u g e s til af k orri g er e t all e n e i T R 2 0 0 9 5 v, Vi s si k k er h e d sr et s v ær di af fr e mti di g e h a n dl er ( Vi s
si k k er h e d s v ær di af fr e mti di g e h a n dl er ( T R 2 0 0 9 5 v)).

B e h a n dli n g h o s c e nt r al d elt a g er:
L å nt a g er, l å nt a g er s KI ell er e n s p ør g e-/ o p d at er i n g sr el at er et f or l å nt a g er s KI k a n f or e s p ør g e p å
si k k er h e d sr et s v ær di e n af fr e mti d i g e h a n dl er u d e n p e n g e.

Si k k er h e d sr et s aft al e n s l å n gi v er, l å nt a g er o g v al ut a s a mt d e n ø n s k e d e af vi kli n g s d a g s k al a n gi v e s.

                                                                                                                                       Si d e 1 3 8 af 4 5 0
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                                                               S Y S T E M V E J L E D NI N G




D e n b er e g n e d e si k k er h e d sr et s v ær di af d e fr e mti di g e h a n dl er u d e n p e n g e v e dr ør er h a n dl er til d e n gi v n e
af vi kli n g s d a g, d er h ar f u n d et m a k k er o g er i h a n d el s pr o d u kt er, d er er o mf att et af l å n gi v er s p o siti vli st e

Af s v ar et p å f or e s p ør g sl e n fr e m g år si k k er h e d sr et s v ær di e n af til- o g fr a g a n g e i f or m af C S D- h a n dl er u d e n
p e n g e ( h a n dl er m e d u d e nl a n d s k e v ær di p a pir c e ntr al er) s a mt si k k er h e d sr et s v ær di e n af ø vri g e fr e mti di g e
h a n dl er u d e n p e n g e m e d d e n ø n s k e d e af vi kli n g s d a g.

Si k k er h e d sr et s v ær di e n af h a n dl er pr. d e n n u v ær e n d e af vi kli n g s d a g b er e g n e s p å gr u n dl a g af d a g e n s
f a stl å st e p o siti vli st e. S p ør g er m a n p å si k k er h e d sr et s v ær di e n af h a n dl er til e n fr e mti di g af vi kli n g s d a g
(t y pi s k m e d h e n bli k p å aft e n e n s o g n att e n s af vi kli n g s k ørsl er) b er e g n e s v ær di e n p å gr u n dl a g af d e n s e n e st
m o dt a g n e p o siti vli st e o g d e s e n e st m o dt a g n e b ør s- o g v al ut a k ur s er.

D a l å n gi v er s p o siti vli st e ( h er u n d er pri s er o g v ær di k o effi ci e nt er ) s a mt b ør s- o g v al ut a k ur s er m. v. e vt. k a n
æ n dr e s i n d e n e n fr e mti di g af vi kli n g s d a g, vil d e n b er e g n e d e si k k er h e d sr et s v ær di af d e fr e mti di g e h a n dl er
k u n v ær e e n i n di k ati o n af d e n e n d eli g e si k k er h e d sr et s v ær di af h a n dl er n e pr. d e n p å g æl d e n d e
af vi kli n g s d a g.

D e n b er e g n e d e si k k er h e d sr et s v ær di af d e fr e mti di g e h a n dl er u d e n p e n g e er et n ett o b el ø b. V ær di e n 0
k a n e nt e n af s p ejl e, at n ett o vir k ni n g e n er 0, ell er at d er i n g e n h a n dl er er i h a n d el s pr o d u kt er p å d e n
n u v ær e n d e p o siti vli st e til d e n p å g æl d e n d e af vi kli n g s d a g.

B e h a n dli n g i V P:
D er f or et a g e s k u n a d g a n g s m æ s si g e k o ntr oll er.

U d d at a:
F øl g e n d e i nf o d a n n e s:

TI 2 0 2 1 0 v                       " Si k k er h e d s v ær di e n af fr e mti di g e h a n dl er u d e n p e n g e "

S e Si k k er h e d s aft al er - l å nt a g er si d e n - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                           O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                     O
02 V AL UT A
     0 3 I S O- K O D E                                                                                               O
0 2 A F VI K LI N G S D A G
     0 3 A F VI K LI N G S D A T O                                                                                    O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.




                                                                                                                                 Si d e 1 3 9 af 4 5 0
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                                                                S Y S T E M V E J L E D NI N G



N e d s kri v si k k er h e d sr et str æ k ( T U 2 0 0 8 4 v)
F or m ål:
Eft er h å n d e n s o m l å nt a g er afr e g n er h a n d el s b el ø b m e d l å n gi v er, b ør l å n gi v er n e d s kri v e d et tr æ k, l å nt a g er
h ar f or et a g et p å si k k er h e d sr et s aft al e n. L å nt a g er f år s ål e d e s di s p o siti o n sr ett e n o v er b e h ol d ni n g er n e p å d e
til si k k er h e d sr et s aft al e n k n ytt e d e V P - k o nti til b a g e, i n d e n d et a ut o m ati s ke u dl ø b af si k k er h e d sr ett e n fi n d er
st e d j vf. Af vi kli n g s d ø g n et i V P - s ær s kilt o m si k k er h e d sr et o g p a nt er et.

B e h a n dli n g h o s c e nt r al d elt a g er:
L å n gi v er s b et ali n g s still er ( B S) k a n f or et a g e e n n e d s kri v ni n g af d et tr æ k, l å nt a g er h ar h aft p å
si k k er h e d sr et s aft al e n i f or bi n d el s e m e d af vi kli n g e n af h a n dl er.

L å n gi v er a n gi v er d et b el ø b, tr æ k k et s k al n e d s kri v e s m e d. Tr æ k k et k a n n e d s kri v e s h elt ell er d el vi st.
Tr æ k k et k a n i k k e n e d s kri v e s m e d et st ørr e b el ø b , e n d d er er tr u k k et. Tr æ k k et k a n i k k e o p s kri v e s.

Tr a n s a kti o n e n k a n i k k e u df ør e s, n år e n h a n d el s af vi kli n g er i g a n g, d. v. s. fr a r et s vi r k ni n g sti d s p u n kt et f or e n
h a n d el s af vi kli n g s k ør s el er o v er s kr e d et, til h a n d el s af v i kli n g e n er af sl utt et.

B e h a n dli n g i V P:
D et k o ntr oll er e s,
      at a n m el d er o pf yl d er krit eri er n e f or at k u n n e f or et a g e r e gi str eri n g e n
      at n e d s kri v ni n g e n af si k k er h e d sr et str æ k k e t i k k e o v er sti g er d et f a kti s k e tr æ k

U d d at a:
F øl g e n d e i nf o d a n n e s:

TI 2 0 1 8 4 v                       " St at u s p å si k k er h e d sr et str æ k "

S e Si k k er h e d s aft al er - l å nt a g er si d e n - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                            O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                      O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                      O
02 V AL UT A
     0 3 I S O- K O D E                                                                                                O
0 2 A E N D RI N G. ( SI K K E R H E D S R E T S A F T A L E- T R A E K)
     03 B EL O E B                                                                                                     O

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Et a bl eri n g af f a st h ol d el s e af si k k er h e d sr et ( T C 2 0 3 2 0 v)
F or m ål:
At f a st h ol d e d e n si k k er h e d, l å n t a g er h ar still et o v er f or l å n gi v er.




                                                                                                                                       Si d e 1 4 0 af 4 5 0
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                                                               S Y S T E M V E J L E D NI N G



L å n gi v er s k al f a st h ol d e si n si k k er h e d sr et v e d e nt e n at s e n d e d e n n e tr a n s a kti o n ell er v e d at r ett e
t el ef o ni s k h e n v e n d el s e h er o m til V P' s Cl e ari n g & C u st o d y S er vi c e s i n d e n m uli g h e d e n f or f a st h ol d el s e af
si k k er h e d sr ett e n u dl ø b er ( S e S y st e m v ejl e d ni n g
O v er si gt o v er af vi kli n g s d ø g n i V P ( P R O D.). V e d t el ef o ni s k h e n v e n d el s e s k al h e n v e n d el s e n str a k s h er eft er
b e kr æft e s pr. f a x.

B e h a n dli n g h o s l å n gi v er:
I nf o " TI 2 0 2 2 0 v O pl y s ni n g o m r etti g h e d " i nf or m er er l å n gi v er o m, at d er p å e n af gi v e n d e V P- k o nt o er
a n m el dt e n r etti g h e d. L å n gi v er s k al i tilf æl d e af et o v er s k y d e n d e pr o v e n u v e d r e ali s ati o n af d e f a st h ol dt e
p a pir er si kr e, at e n s e n er e til k o m m et r etti g h e d s h a v er til g o d e s e s.

B e h a n dli n g i V P:
P å i n dr a p p ort eri n g sti d s p u n kt et vil d er s k e e n f a st h ol d el s e af si k k er h e d sr ett e n, s o m m e df ør er o v erf ør s el af
b e h ol d ni n g er fr a l å nt a g er s V P- k o nti u n d er si k k e r h e d sr et s aft al e n s v ar e n d e til v ær di e n af d et
si k k er h e d sr et str æ k, l å nt a g er h ar p å aft al e n. B e h ol d ni n g er n e o v erf ør e s til e n af l å n gi v er a n gi v et V P- k o nt o.

V e d o v erf ør sl e n fr a l å nt a g er s V P- k o nti u d v æl g e s f ør st o bli g ati o n er o g d er eft er a kti er o g
i n v e st eri n g sf or e ni n g s a n d el e. I n d e n f or d e t o gr u p p er u d v æl g e s h a n d el s pr o d u kt er n e i r æ k k ef øl g e eft er
b el å ni n g s k ur s e n, s o m si k k er h e d sr et s v ær di e n er u dr e g n et eft er. H a n d el s p r o d u kt et m e d d e n h øj e st e
b el å ni n g s k ur s u d v æl g e s f ør st.

S åfr e mt d er p å i n dr a p p ort eri n g sti d s p u n kt et er I SI N- u d el u k k el s e af et ell er fl er e h a n d el s pr o d u kt er s o m
f øl g e af e n u dtr æ k ni n g s k ør s el, vil d er f ør st bli v e s ø gt d æ k ni n g f or si k k er h e d s r et str æ k k et i ø vri g e
b e h ol d ni n g er. D ett e b et y d er, at si k k er h e d sr et str æ k k et i k k e n ø d v e n di g vi s bli v er i n d d æ k k et p å
i n dr a p p ort eri n g sti d s pu n kt et. Eft er e n I SI N- u d el u k k el s e s o p h ør vil d er a ut o m ati s k s k e e n n y f a st h ol d el s e af
si k k er h e d sr ett e n, i n dtil si k k er h e d sr et str æ k k et er d æ k k et.

D er vil bli v e o v erf ørt b e h ol d ni n g er s v ar e n d e til si k k er h e d sr et str æ k k et. P å gr u n d af h a n d el s pr o d u kt er n e s
a n d el s- h h v. st y k st ørr el s e k a n d er d o g f or e k o m m e o v erf ør s el af b e h ol d ni n g er, d er o v er sti g er
si k k er h e d sr et str æ k k et.

V e d o v erf ør s el af b e h ol d ni n g er fr a l å nt a g er s V P- k o nti n e d s kri v e s si k k er h e d sr et str æ k k et p å
si k k er h e d sr et s aft al e n til s v ar e n d e, li g e s o m d e n r e st er e n d e si k k er h e d sr et s v ær di p å si k k er h e d sr et s aft al e n
n e d s kri v e s.

Si k k er h e d sr et s aft al e n s st at u s æ n dr e s i k k e s o m f øl g e af e n f a s t h ol d el s e.

U d d at a:
S e S y st e m v ejl e d ni n g F a st h ol d el s e af si k k er h e d sr et - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                             O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                       O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                       O
02 V AL UT A
     0 3 I S O- K O D E                                                                                                 O
0 2 M O D T A G E R- KI. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                       O
0 2 M O D T A G E R- K O N T O. ( V A E R DI P A PI R K O N T O)
     03 N U M MER                                                                                                       O

                                                                                                                                        Si d e 1 4 1 af 4 5 0
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                                                                S Y S T E M V E J L E D NI N G




O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Et a bl eri n g af f or m ål p å si k k er h e d sr et s aft al e ( T C 2 0 2 4 5 v)
F or m ål:
At u d vi d e si k k er h e d sr et s aft al e n til o g s å at g æl d e f or a n dr e f or m ål e n d h a n d el s af vi kli n g o g t e g ni n g.
K u n pri m ær e b et ali n g s still er e k a n a n v e n d e si k k er h e d sr et s aft al e n til a n dr e f or m ål e n d h a n d el s af vi kli n g o g
t e g ni n g. D et k a n a n gi v e s i tr a n s a kti o n e n, o m D a n m ar k s N ati o n al b a n k s K R O N O S- br u g er gr æ n s efl a d e tilli g e
s k al k u n n e a n v e n d e s til r e g i str eri n g af r e s er v ati o n er.

B e h a n dli n g h o s c e nt r al d elt a g er:
R e gi str eri n g e n f or et a g e s af d et k o nt of ør e n d e i n stit ut f or e n V P- k o nt o, d er er til k n ytt et
si k k er h e d sr et s aft al e n. D e f or m ål, d er i h e n h ol d til l å nt a g er s aft al e m e d D a n m ar k s N ati o n al b a n k k a n
a n v e n d e s u n d er si k k er h e d sr et s aft al e n, s k al r e g i str er e s. D er k a n et a bl er e s fl er e f or m ål i d e n s a m m e
tr a n s a kti o n. D et k o nt of ør e n d e i n stit ut k a n i tr a n s a kti o n e n gi v e till a d el s e til, at K R O N O S-
br u g er gr æ n s efl a d e n k a n a n v e n d e s v e d r e gi str eri n g af r e s er v ati o n er. E n s å d a n till a d el s e o mf att er all e
aft al e n s f or m ål.

B e h a n dli n g i V P:
D et k o ntr oll er e s at a n m el d er o pf yl d er krit eri er n e f or at k u n n e f or et a g e r e gi str eri n g e n.
F or m ål et r e gi str er e s m e d st at u s "i n a kti v " o g k a n f ør s t a n v e n d e s, n år d et er a c c e pt er et af D a n m ar k s
N ati o n al b a n k.

U d d at a:
F øl g e n d e i nf o d a n n e s:

TI 2 0 3 4 0 v                       " St at u s p å si k k er h e d sr et sf or m ål "

D A T A F ELT E R

0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                       O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                 O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                 O
0 2 V A L U T A.
     0 3 I S O- K O D E                                                                                           O
0 2 SI K K E R H E D S R E T S A F T A L E.
     0 3 K R O N O S- K O D E                                                                                     O
0 2 D A T A- G R U P P E                     ( 7 f or e k o m st er).
     0 3 SI K K E R H E D S R E T S F O R M A A L.
           04 K O DE                                                                                              O
     0 3 A F T A L T- SI K K E R H E D S R E T S- F O R M A A L.
           04 ST AT US                                                                                            F

O = o bli g at ori s k, F = f ri villi g




                                                                                                                                  Si d e 1 4 2 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Æ n dri n g af f or m ål p å si k k er h e d sr et s aft al e ( T U 2 0 2 4 5 v)
F or m ål:
L å nt a g er s k o nt of ør e n d e i n stit ut k a n æ n dr e st at u s (til s u s p e n d er et) p å f or m ål p å si k k er h e d sr et s aft al e n
ell er æ n dr e p å till a d el s e n til at a n v e n d e D a n m ar k s N ati o n al b a n k s K R O N O S- br u g er gr æ n s efl a d e.

B e h a n dli n g h o s c e nt r al d elt a g er:
R e gi str eri n g e n f or et a g e s af d et k o nt of ør e n d e i n stit ut f or e n V P- k o nt o, d er er til k n ytt et
si k k er h e d sr et s aft al e n. D er k a n æ n dr e s st at u s p å fl er e f or m ål i d e n s a m m e tr a n s a kti o n.

B e h a n dli n g i V P:
D et k o ntr oll er e s at a n m el d er o pf yl d er krit eri er n e f or at k u n n e f or et a g e r e gi str eri n g e n.

U d d at a:
F øl g e n d e i nf o er d a n n e s:

TI 2 0 3 4 0 v                     " St at u s p å si k k er h e d sr et sf or m ål "
TI 2 0 3 4 1 v                     " St at u s p å kr o n o s- k o d e "
TI 2 0 3 5 0 v                     " St at u s p å r e s er v ati o n s a n m o d ni n g "
TI 2 0 3 5 3 v                     " Sl et ni n g af st å e n d e r e s er v ati o n s a n m o d ni n g "

D A T A F ELT E R

0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                        O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                  O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                  O
0 2 V A L U T A.
     0 3 I S O- K O D E                                                                                            O
0 2 SI K K E R H E D S R E T S A F T A L E.
     0 3 K R O N O S- K O D E                                                                                      F
0 2 D A T A- G R U P P E                     ( 7 f or e k o m st er).
     0 3 SI K K E R H E D S R E T S F O R M A A L.
           04 K O DE                                                                                               F
     0 3 A F T A L T- SI K K E R H E D S R E T S- F O R M A A L.
           04 ST AT US                                                                                             F

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Æ n dri n g af l å n gi v er o pl y s ni n g er p å si k k er h e d s r et sf or m ål ( T U 2 0 2 4 7 v)
F or m ål:
L å n gi v er k a n æ n dr e st at u s ( a c c e pt er et ell er s u s p e n d er et) p å et f or m ål p å e n si k k er h e d sr et s aft al e, æ n dr e
e n b el å ni n g sr e d u kti o n s k o effi ci e nt ell er æ n dr e r e s er v ati o n s a n m o d ni n g sl oft et.


                                                                                                                                   Si d e 1 4 3 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



B e h a n dli n g h o s c e nt r al d elt a g er:
R e gi str eri n g e n f or et a g e s af l å n gi v er e n s p e n g e k o nt of ør er. D er k a n æ n dr e s st at u s p å fl er e f or m ål i d e n
s a m m e tr a n s a kti o n.

B e h a n dli n g i V P:
D et k o ntr oll er e s at a n m el d er o pf yl d er krit eri er n e f or at k u n n e f or et a g e r e gi str eri n g e n.

U d d at a:
F øl g e n d e i nf o er d a n n e s:

TI 2 0 3 4 0 v                     " St at u s p å si k k er h e d sr et sf or m ål "
TI 2 0 3 4 6 v                     " St at u s p å r e s er v ati o n s a n m o d ni n g sl oft "
TI 2 0 3 5 0 v                     " St at u s p å r e s er v ati o n s a n m o d ni n g "
TI 2 0 3 5 3 v                     " Sl et ni n g af st å e n d e r e s er v ati o n s a n m o d ni n g "

D A T A F ELT E R

0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                         O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 V A L U T A.
     0 3 I S O- K O D E                                                                                             O
0 2 SI K K E R H E D S R E T S A F T A L E.
     0 3 R E S E R V A TI O N S A N M- L O F T-I N DI K A T O R                                                     F
     0 3 R E S E R V A TI O N S A N M O D NI N G- L O F T- P C T                                                    F
0 2 D A T A- G R U P P E                     ( 7 f or e k o m st er).
     0 3 SI K K E R H E D S R E T S F O R M A A L.
           04 K O DE                                                                                                F
     0 3 A F T A L T- SI K K E R H E D S R E T S- F O R M A A L.
           04 ST AT US                                                                                              F
           0 4 B E L A A NI N G- R E D U K TI O N S- K O E F F- K O D E                                             F
           0 4 B E L A A NI N G- R E D U K TI O N S- K O E F FI CI E N T                                            F

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Et a bl eri n g af r e s er v ati o n s a n m o d ni n g ( T C 2 0 2 4 2 v)
F or m ål:
R e s er v ati o n s a n m o d ni n g er a n v e n d e s til at r e s er v er e si k k er h e d sr et til d æ k ni n g af li k vi dit et til b et ali n g er i
f or bi n d el s e m e d s u m- cl e ari n g e n ( P B S), C L S- cl e ari n g e n ( v al ut a cl e ari n g) o g p eri o di s k e b et ali n g er i V P-
s y st e m et ( bl o k 3 5).

Se
A ut o m ati s k p a nt
Si k k er h e d sr et s aft al er - g e n er elt




                                                                                                                                     Si d e 1 4 4 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



B e h a n dli n g h o s c e nt r al d elt a g er:
L å nt a g er k a n f or et a g e r e s er v ati o n er til d e f or m ål, d er er aft alt m e d D a n m ar k s N ati o n al b a n k.
D er k a n et a bl er e s fl er e r e s er v ati o n s a n m o d ni n g er pr. f o r m ål. D e vil bli v e g e n n e mf ørt i n di vi d u elt,
eft er h å n d e n s o m d et ø n s k e d e r e s er v ati o n sti d s p u n kt n å s.

D et m a k si m al e b el ø b, d er ø n s k e s r e s er v er et, a n gi v e s.

B e h a n dli n g i V P:
B e h a n dli n g e n i V P er tr e d elt.

      D et k o ntr oll er e s, at a n m el d er o pf yl d er krit eri er n e f or at k u n n e g e n n e mf ør e r e gi str eri n g.
      Tr a n s a kti o n e n v ali d er e s o g l æ g g e s i " p o st k a s s e n " - li g e s o m a n dr e æ n dri n g er, d er p å vir k er
      b e h ol d ni n g er - til g e n n e mf ør el s e i r æ k k ef øl g e eft er r et s vir k ni n g sti d.
      V ali d eri n g e n o mf att er bl. a. e n k o ntr ol af, at kl o k k e sl ætt et i r e s er v ati o n st i d s p u n kt et i k k e o v er s kri d er
      d a g e n s si d st e fri st fr a D a n m ar k s N ati o n al b a n k f or r e gi str eri n g af r e s er v ati o n er. D et k o ntr oll er e s
      d eri m o d i k k e, o m r e s er v ati o n e n er r etti di g til at n å at d a n n e lik vi dit et til e n n ært f or e st å e n d e
      cl e ari n g k ør s el f or d et p å g æl d e n d e f or m ål. E n r e s er v ati o n s a n m o d ni n g vil bli v e r e gi str er et e n d eli gt,
      h vi s d e n n år fr e m til D a n m ar k s N ati o n al b a n k ( B E C) i n d e n d et er f or s e nt. K o m m er r e s er v ati o n e n f or
      s e nt, vil d e n bli v e af vi st af D a n m ar k s N ati o n al b a n k, o g l å nt a g er vil m o dt a g e i nf o o m af vi s ni n g e n fr a
      V P- s y st e m et. D e n n e fr e m g a n g s m å d e er v al gt f or at u n d g å, at V P- s y st e m et af v i s er e n r e s er v ati o n, d er
      k o m m er li dt f or s e nt, m e n m å s k e li g e k a n n å m e d i D a n m ar k s N ati o n al b a n k.
      S åfr e mt d er er r e s er v ati o n s a n m o d ni n g sl oft p å si k k er h e d sr et s aft al e n, k o ntr oll er e s d et, o m
      r e s er v ati o n s a n m o d ni n g e n li g g er i n d e n f or d ett e l oft. Er d er i k k e pl a d s u n d er l oft et, n e d s ætt e s
      b el ø b et a ut o m ati s k til d et b el ø b, d er er pl a d s til.

      N år tr a n s a kti o n e n i " p o st k a s s e n " s k al g e n n e mf ør e s p å d et v al gt e r e s er v ati o n sti d s p u n kt k o ntr oll er e s
      d et, at d er er d æ k ni n g f or d et m a k si m al e r e s er v ati o n s b el ø b i d e n u b el å nt e d el af
      si k k er h e d sr et s v ær di e n. H vi s d er i k k e er d æ k ni n g f or h el e d et m a k si m al e b el ø b, d er ø n s k e s r e s er v er et,
      n e d s ætt e s b el ø b et a ut o m ati s k til d et b el ø b, d er er d æ k ni n g f or. M a n gl e n d e d æ k ni n g k a n e nt e n
      s k yl d e s, at d er i k k e er til str æ k k e li g fri v ær di p å si k k er h e d sr et s aftal e n, at l å n gi v erl of t et ( s o m o mf att er
      alt p å si k k er h e d sr et s aft al e n) er n å et ell er at l å n gi v er h ar f or s y n et aft al e n m e d e n s ærli g
      b el å ni n g sr e d u kti o n f or f or m ål et.

      O pl y s ni n g er o m d e n g e n n e mf ørt e r e s er v ati o n s e n d e s vi d er e til D a n m ar k s N ati o n al b a n k ( B E C), h v or
      d et r e s er v er e d e b el ø b still e s til r å di g h e d p å af vi kli n g s k o nt o e n f or d et p å g æl d e n d e f or m ål. D a n m ar k s
      N ati o n al b a n k s e n d er a c c e pt, n år b o gf øri n g h ar f u n d et st e d ell er af vi s ni n g, h v i s b o gf øri n g i k k e k a n
      fi n d e st e d.

U d d at a:
D a n n el s e af u d d at a f øl g er d e n b e s kr e v n e tr e d eli n g.

      F øl g e n d e i nf o d a n n e s v e d r e gi str eri n g af r e s er v ati o n s a n m o d ni n g e n:

      TI 2 0 3 4 3 v " Et a bl eri n g af r e s er v ati o n s a n m o d ni n g "

      F øl g e n d e i nf o er d a n n e s v e d g e n n e mf ør el s e i p o st k a s s e n:

      TI 2 0 3 4 2 v " F or el ø bi g r e s er v er et "
      TI 2 0 3 5 0 v " St at u s æ n dri n g p å r e s er v ati o n s a n m o d ni n g "
      TI 2 0 1 8 4 v " St at u s p å si k k er h e d sr et str æ k "

      F øl g e n d e i nf o er d a n n e s v e d m o dt a g el s e af b o gf øri n g s s v ar fr a D a n m ar k s N ati o n al b a n k:

      TI 2 0 3 4 9 v " Af vi kl et r e s er v ati o n s a n m o d ni n g "

                                                                                                                                   Si d e 1 4 5 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



      TI 2 0 3 5 0 v " St at u s æ n dri n g p å r e s er v ati o n s a n m o d ni n g "
      TI 2 0 1 8 4 v " St at u s p å si k k er h e d sr et str æ k "


D A T A F ELT E R

0 2 O P RI N D E LI G- A N M E L D E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                           O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 V A L U T A.
     0 3 I S O- K O D E                                                                                               O
0 2 SI K K E R H E D S R E T S F O R M A A L.
     03 K O DE                                                                                                        O
0 2 SI K K E R H E D S R E T S- R E S E R V A TI O N S A N M.
     0 3 M A X- R E S E R V A TI O N S B E L O E B                                                                    O
     0 3 R E S E R V A TI O N S TI D S K O D E                                                                        O
     0 3 A F VI K LI N G S D A T O                                                                                    O
     0 3 R E S E R V A TI O N S TI D                                                                                  F *

O = o bli g at ori s k, F = f ri villi g, *) s k al u df yl d e s v e d r e s er v ati o n sti d s k o d e 2 ( a n m el d er s kl o k k e sl æt
ø n s k e s b e n y t t et)


Æ n dri n g af r e s er v ati o n s a n m o d ni n g ( T U 2 0 2 4 2 v)
F or m ål:
At æ n dr e e n r e s er v ati o n s a n m o d ni n g, d er e n d n u i k k e er g e n n e mf ørt.
R e s er v ati o n s a n m o d ni n g er a n v e n d e s til at r e s er v er e si k k er h e d sr et til d æ k ni n g af li k vi dit et til b et ali n g er i
f or bi n d el s e m e d s u m- cl e ari n g e n ( P B S), C L S- cl e ari n g e n ( v al ut a cl e ari n g) o g p eri o di s k e b et ali n g er i V P-
s y st e m et ( bl o k 3 5).

Se
A ut o m ati s k p a nt
Si k k er h e d sr et s aft al er - g e n er elt

B e h a n dli n g h o s c e nt r al d elt a g er:
L å nt a g er k a n æ n dr e i e n al l er e d e et a bl er et r e s er v ati o n s a n m o d ni n g.
D er k a n i k k e æ n dr e s i e n r e s er v ati o n s a n m o d ni n g, n år r e s er v ati o n e n er g e n n e mf ørt ell er i e n
r e s er v ati o n s a n m o d ni n g, h v or ti d s p u n kt et f or r e s er v ati o n e n er o v er s kr e d et.
M a x-r e s er v ati o n s b el ø b, r e s er v ati o n sti d s k o d e, af vi kli n g s d at o o g r e s er v ati o n sti d k a n æ n dr e s.

B e h a n dli n g i V P:
B e h a n dli n g e n i V P er tr e d elt.

      D et k o ntr oll er e s, at a n m el d er o pf yl d er krit eri er n e f or at k u n n e g e n n e mf ør e æ n dri n g e n.
      Tr a n s a kti o n e n v ali d er e s o g l æ g g e s i " p o st k a s s e n " - li g e s o m a n dr e æ n dri n g er, d er p å vir k er
      b e h ol d ni n g er - til g e n n e mf ør el s e i r æ k k ef øl g e eft er r et s vir k ni n g sti d.
      V ali d eri n g e n o mf att er bl. a. e n k o ntr ol af, at d a g e n s si d st e fri st fr a D a n m ar k s N ati o n al b a n k f or
      r e gi str eri n g af r e s er v ati o n er i k k e er o v er s kr e d et. D et k o ntr oll er e s d eri m o d i k k e, o m r e s er v ati o n e n er

                                                                                                                                      Si d e 1 4 6 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



      r etti di g til at n å at d a n n e li k vi dit et til e n n ært f or e st å e n d e cl e ari n g k ør s el f or d et p å g æl d e n d e f or m ål.
      E n r e s er v ati o n s a n m o d ni n g vil n å i g e n n e m, h vi s d e n n år fr e m til D a n m ar k s N ati o n al b a n k ( B E C) i n d e n
      d et er f or s e nt. K o m m er r e s er v ati o n e n f or s e nt, vil d e n bli v e af vi st af D a n m ar k s N ati o n al b a n k, o g
      l å nt a g er vil m o dt a g e i nf o o m af vi s ni n g e n fr a V P- sy st e m et. D e n n e fr e m g a n g s m å d e er v al gt f or at
      u n d g å, at V P- s y st e m et af vi s er e n r e s er v ati o n, d er k o m m er li dt f or s e nt, m e n m å s k e li g e k a n n å m e d i
      D a n m ar k s N ati o n al b a n k.
      S åfr e mt d er er r e s er v ati o n s a n m o d ni n g sl oft p å si k k er h e d sr et s aft al e n, k o ntr oll er e s d et, o m
      r e s er v ati o n s a n m o d ni n g e n li g g er i n d e n f or d ett e l oft. Er d er i k k e pl a d s u n d er l oft et, n e d s ætt e s
      b el ø b et a ut o m ati s k til d et b el ø b, d er er pl a d s til.

      N år tr a n s a kti o n e n i " p o st k a s s e n " s k al g e n n e mf ør e s p å d et v al gt e r e s er v ati o n sti d s p u n kt k o ntr oll er e s
      d et, at d er er d æ k ni n g f or d et m a k si m al e r e s er v ati o n s b el ø b i d e n u b el å nt e d el af
      si k k er h e d sr et s v ær di e n. H vi s d er i k k e er d æ k ni n g f or h el e d et m a k si m al e b el ø b, d er ø n s k e s r e s er v er et,
      n e d s ætt e s b el ø b et a ut o m ati s k til d et b el ø b, d er er d æ k ni n g f or. M a n gl e n d e d æ k ni n g k a n e nt e n
      s k yl d e s, at d er i k k e er til str æ k k e li g fri v ær di p å si k k er h e d sr et s aftal e n, at l å n gi v erl of t et ( s o m o mf att er
      alt p å si k k er h e d sr et s aft al e n) er n å et ell er at l å n gi v er h ar f or s y n et aft al e n m e d e n s ærli g
      b el å ni n g sr e d u kti o n f or f or m ål et.

      O pl y s ni n g er o m d e n g e n n e mf ørt e r e s er v ati o n s e n d e s vi d er e til D a n m ar k s N ati o n al b a n k ( B E C), h v or
      d et r e s er v er e d e b el ø b still e s til r å di g h e d p å af vi kli n g s k o nt o e n f or d et p å g æl d e n d e f o r m ål.
      D a n m ar k s N ati o n al b a n k s e n d er a c c e pt, n år b o gf øri n g h ar f u n d et st e d ell er af vi s ni n g, h vi s b o gf øri n g
      i k k e k a n fi n d e st e d.

U d d at a:
D a n n el s e af u d d at a f øl g er d e n b e s kr e v n e tr e d eli n g.

      F øl g e n d e i nf o er d a n n e s v e d r e gi str eri n g af r e s er v ati o n s a n m o d ni n g e n:

      TI 2 0 3 4 4 v " Æ n dri n g af r e s er v ati o n s a n m o d ni n g "

      F øl g e n d e i nf o er d a n n e s v e d g e n n e mf ør el s e i p o st k a s s e n:

      TI 2 0 3 4 2 v " F or el ø bi g r e s er v er et "
      TI 2 0 1 8 4 v " St at u s p å si k k er h e d sr et str æ k "
      TI 2 0 3 5 0 v " St at u s æ n dri n g p å r e s er v ati o n s a n m o d ni n g "

      F øl g e n d e i nf o er d a n n e s v e d m o dt a g el s e af b o gf øri n g s s v ar fr a D a n m ar k s N ati o n al b a n k:

      TI 2 0 3 4 9 v " Af vi kl et r e s er v ati o n s a n m o d ni n g "
      TI 2 0 3 5 0 v " St at u s æ n dri n g p å r e s er v ati o n s a n m o d ni n g "
      TI 2 0 1 8 4 v " St at u s p å si k k er h e d sr et str æ k "


D A T A F ELT E R

0 2 O P RI N D E LI G- A N M E L D E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                         O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 V A L U T A.

                                                                                                                                   Si d e 1 4 7 af 4 5 0
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                                                               S Y S T E M V E J L E D NI N G



     0 3 I S O- K O D E                                                                                               O
0 2 SI K K E R H E D S R E T S F O R M A A L.
     03 K O DE                                                                                                        O
0 2 SI K K E R H E D S R E T S- R E S E R V A TI O N S A N M.
     0 3 M A X- R E S E R V A TI O N S B E L O E B                                                                    F
     0 3 R E S E R V A TI O N S TI D S K O D E                                                                        F
     0 3 A F VI K LI N G S D A T O                                                                                    F
     0 3 R E S E R V A TI O N S TI D                                                                                  F *

O = o bli g at ori s k, F = f ri villi g, *) s k al u df yl d e s v e d r e s er v ati o n sti d s k o d e 2 ( a n m el d er s kl o k k e sl æt
ø n s k e s b e n y t t et)


A n n ull eri n g af r e s er v ati o n s a n m o d ni n g ( T D 2 0 2 4 2 v)
F or m ål:
Tr a n s a kti o n e n a n v e n d e s til at a n n ull er e e n r e s er v ati o n s a n m o d ni n g.

B e h a n dli n g h o s c e nt r al d elt a g er:
L å nt a g er k a n a n n ull er e e n r e s er v ati o n s a n m o d ni n g, s å l æ n g e ti d s p u n kt et f or r e s er v ati o n e n i k k e er
o v er s kr e d et.
R e s er v ati o n s a n m o d ni n g e n s o pri n d eli g e af s e n d er-r ef er e n c e s k al a n gi v e s.

B e h a n dli n g i V P:

D et k o ntr oll er e s, at a n m el d er o pf yl d er krit eri er n e f or at k u n n e f or et a g e a n n ull eri n g e n, o g at
r e s er v ati o n sti d e n i k k e er n å et. G o d k e n d e s tr a n s a kti o n e n vil d e n a n gi v n e r e s er v ati o n s a n m o d ni n g bli v e
a n n ull er et.

U d d at a:
F øl g e n d e i nf o d a n n e s:

TI 2 0 3 5 0 v " St at u s p å r e s er v ati o n s a n m o d ni n g "

D A T A F ELT E R

0 2 O P RI N D E LI G- A N M E L D E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                           O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 V A L U T A.
     0 3 I S O- K O D E                                                                                               O
0 2 SI K K E R H E D S R E T S F O R M A A L.
     03 K O DE                                                                                                        O
0 2 SI K K E R H E D S R E T S- R E S E R V A TI O N S A N M.
     0 3 M A X- R E S E R V A TI O N S B E L O E B                                                                    F
     0 3 R E S E R V A TI O N S TI D S K O D E                                                                        F
     0 3 A F VI K LI N G S D A T O                                                                                    F
     0 3 R E S E R V A TI O N S TI D                                                                                  F *


                                                                                                                                       Si d e 1 4 8 af 4 5 0
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                                                                S Y S T E M V E J L E D NI N G



O = o bli g at ori s k, F = f ri villi g, *) s k al u df yl d e s v e d r e s er v ati o n sti d s k o d e 2 ( a n m el d er s kl o k k e sl æt
ø n s k e s b e n y t t et)


Et a bl eri n g af st å e n d e r e s er v ati o n s a n m o d ni n g ( T C 2 0 2 4 6 v)
F or m ål:
Tr a n s a kti o n e n a n v e n d e s til at et a bl er e e n st å e n d e r e s er v ati o n s a n m o d ni n g.

B e h a n dli n g h o s c e nt r al d elt a g er:
L å nt a g er k a n et a bl er e st å e n d e r e s er v ati o n s a n m o d ni n g til d e f or m ål, d er er aft alt m e d D a n m ar k s
N ati o n al b a n k. D er k a n et a bl er e s é n st å e n d e r e s er v ati o n s a n m o d ni n g pr. f or m ål.

D et m a k si m al e b el ø b, d er ø n s k e s r e s er v er et, a n gi v e s.

B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er o pf yl d er krit eri er n e f or at k u n n e g e n n e mf ør e r e gi str eri n g.
Tr a n s a kti o n e n v ali d er e s. V ali d eri n g e n o m f att er bl. a. e n k o ntr ol af, at kl o k k e sl ætt et i k k e o v er s kri d er
d a g e n s si d st e fri st fr a D a n m ar k s N ati o n al b a n k f or r e gi str eri n g af r e s er v ati o n er i k k e er o v er s kr e d et.

E n g o d k e n dt st å e n d e r e s er v ati o n s a n m o d ni n g r e gi str er e s o g vil m e df ør e, at d er a ut o m ati s k d a n n e s e n
r e s er v ati o n s a n m o d ni n g h v er d a g. D e n a ut o m ati s k d a n n e d e r e s er v ati o n s a n m o d ni n g vil i n d e h ol d e d e
o pl y s ni n g er, d er er s p e cifi c er et i d e n st å e n d e r e s er v at i o n s a n m o d ni n g. D o g k a n d et m a k si m al e b el ø b, d er
ø n s k e s r e s er v er et, bli v e r e d u c e r et, s åfr e mt d er af D a n m ar k s N ati o n al b a n k er r e gi str er et
r e s er v ati o n s a n m o d ni n g sl oft p å si k k er h e d sr et s aft al e n, o g d er i k k e er pl a d s til h el e d et ø n s k e d e b el ø b
u n d er d ett e l oft.

U d d at a:

F øl g e n d e i nf o d a n n e s:

TI 2 0 3 5 1 v                       " Et a bl eri n g af st å e n d e r e s er v ati o n s a n m o d ni n g "

F or n ær m er e b e s kri v el s e af g e n n e mf ør el s e n af r e s er v ati o n e n
- s e Et a bl eri n g af r e s er v ati o n s a n m o d ni n g ( T C 2 0 2 4 2 v)

D A T A F ELT E R

0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                          O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                    O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                    O
0 2 V A L U T A.
     0 3 I S O- K O D E                                                                                              O
0 2 SI K K E R H E D S R E T S F O R M A A L.
     03 K O DE                                                                                                       O
0 2 S T A A E N D E- SI K K E R H E D S R E T S- R E S V- A N M.
     0 3 M A X- R E S E R V A TI O N S B E L O E B                                                                   O
     0 3 R E S E R V A TI O N S TI D S K O D E                                                                       O
     0 3 R E S E R V A TI O N S TI D                                                                                 F *




                                                                                                                                   Si d e 1 4 9 af 4 5 0
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                                                               S Y S T E M V E J L E D NI N G



O = o bli g at ori s k, F = f ri villi g, *) s k al u df yl d e s v e d r e s er v ati o n sti d s k o d e 2 ( a n m el d er s kl o k k e sl æt
ø n s k e s b e n y t t et)


Æ n dri n g af st å e n d e r e s er v ati o n s a n m o d ni n g ( T U 2 0 2 4 6 v)
F or m ål:
Tr a n s a kti o n e n a n v e n d e s til at æ n dr e e n st å e n d e r e s er v ati o n s a n m o d ni n g.

B e h a n dli n g h o s c e nt r al d elt a g er:
L å nt a g er k a n æ n dr e e n e k si st er e n d e st å e n d e r e s er v ati o n s a n m o d ni n g.
M a x-r e s er v ati o n s b el ø b, r e s er v ati o n sti d s k o d e o g r e s er v ati o n sti d k a n æ n dr e s.

B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er o pf yl d er krit eri er n e f or at k u n n e g e n n e mf ør e r e gi str eri n g.
Tr a n s a kti o n e n v ali d er e s. V ali d eri n g e n o mf att er bl. a. e n k o ntr ol af, at d a g e n s si d st e fri st fr a D a n m ar k s
N ati o n al b a n k f or r e gi str eri n g af r e s er v ati o n er i k k e er o v er s kr e d et.

E n g o d k e n dt æ n dri n g af e n st å e n d e r e s er v ati o n s a n m o d ni n g r e gi str er e s o g er st att er d e n o pri n d eli g e
st å e n d e r e s er v ati o n s a n m o d ni n g. Æ n dri n g e n vil h a v e vir k ni n g fr a o g m e d d e n n æ st e af vi kli n g s d a g.

U d d at a:
F øl g e n d e i nf o d a n n e s:

TI 2 0 3 5 2 v                       " Æ n dri n g af st å e n d e r e s er v ati o n s a n m o d ni n g "

D A T A F ELT E R

0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                              O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                        O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                        O
0 2 V A L U T A.
     0 3 I S O- K O D E                                                                                                  O
0 2 SI K K E R H E D S R E T S F O R M A A L.
     03 K O DE                                                                                                           O
0 2 S T A A E N D E- SI K K E R H E D S R E T S- R E S V- A N M.
     0 3 M A X- R E S E R V A TI O N S B E L O E B                                                                       F
     0 3 R E S E R V A TI O N S TI D S K O D E                                                                           F
     0 3 R E S E R V A TI O N S TI D                                                                                     F *

O = o bli g at ori s k, F = f ri villi g, *) s k al u df yl d e s v e d r e s er v ati o n sti d s k o d e 2 ( a n m el d er s kl o k k e sl æt
ø n s k e s b e n y t t et)


Sl et ni n g af st å e n d e r e s er v ati o n s a n m o d ni n g ( T D 2 0 2 4 6 v)
F or m ål:
Tr a n s a kti o n e n a n v e n d e s til at sl ett e e n st å e n d e r e s er v ati o n s a n m o d ni n g.

B e h a n dli n g h o s c e nt r al d elt a g er:
L å nt a g er k a n sl ett e e n e k si st er e n d e st å e n d e r e s er v ati o n s a n m o d ni n g.
L å n gi v er, l å nt a g er o g v al ut a s k al a n gi v e s.

                                                                                                                                Si d e 1 5 0 af 4 5 0
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                                                                S Y S T E M V E J L E D NI N G




B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er o pf yl d er krit eri er n e f or at k u n n e g e n n e mf ør e r e gi str eri n g.

Æ n dri n g e n vil h a v e vir k ni n g fr a o g m e d d e n n æ st e af vi kli n g s d a g.

U d d at a:
F øl g e n d e i nf o d a n n e s:

TI 2 0 3 5 3 v                       " Sl et ni n g af st å e n d e r e s er v ati o n s a n m o d ni n g "

D A T A F ELT E R

0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                         O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 V A L U T A.
     0 3 I S O- K O D E                                                                                             O
0 2 SI K K E R H E D S R E T S F O R M A A L.
     03 K O DE                                                                                                      O
0 2 S T A A E N D E- SI K K E R H E D S R E T S- R E S V- A N M.
     0 3 M A X- R E S E R V A TI O N S B E L O E B                                                                  F
     0 3 R E S E R V A TI O N S TI D S K O D E                                                                      F
     0 3 R E S E R V A TI O N S TI D                                                                                F *

O = o bli g at ori s k, F = f ri villi g, *) s k al u df yl d e s v e d r e s er v ati o n sti d s k o d e 2 ( a n m el d er s kl o k k e sl æt
ø n s k e s b e n y t t et)


F or e s p ør g p å r e s er v ati o n s a n m o d ni n g er ( T R 2 0 2 4 3 v)
F or m ål:
At gi v e l å nt a g er o g l å nt a g er s KI et o v er bli k o v er d a g e n s r e s er v ati o n er.

B e h a n dli n g h o s c e nt r al d elt a g er:
L å nt a g er, l å nt a g er s KI ell er e n s p ør g e-/ o p d at er i n g sr el at er et f or l å nt a g er s KI k a n f or e s p ør g e p å
r e s er v ati o n s a n m o d ni n g er.

Si k k er h e d sr et s aft al e n s l å n gi v er, l å nt a g er o g v al ut a s a mt d e n ø n s k e d e af vi kli n g s d a g s k al a n gi v e s. H vi s
f or m ål o g s å a n gi v e s vi s e s k u n r e s er v ati o n s a n m o d ni n g er v e drør e n d e d et a n gi v n e f or m ål o g d er vil v ær e
a n gi v et t ot al er f or f or m ål et.

Af s v ar et p å f or e s p ør g sl e n fr e m g år b å d e d e e n k elt e r e s er v ati o n s a n m o d ni n g er o g n o gl e o p s u m m er e d e
b el ø b. V e d d e e n k elt e r e s er v ati o n s a n m o d ni n g er er d et a nf ørt, o m d et o pri n d eli gt ø n s k e d e m a k si m al e
r e s er v ati o n s b el ø b er bl e v et r e d u c er et a ut o m ati s k. A u t o m ati s k r e d u kti o n fi n d er st e d, h vi s d er i k k e h ar
v ær et d æ k ni n g f or h el e d et ø n s k e d e b el ø b - e n t e n p g a. l oft er ell er p g a. util str æ k k eli g di s p o ni b el
si k k er h e d sr et s v ær di p å d e til k n ytt e d e V P- d e p ot er. H vi s b el ø b et er b l e v et r e d u c er et vil d et r e d u c er e d e
b el ø b v ær e a nf ørt, li g e s o m d et vil v ær e d et r e d u c er e d e b el ø b, d er i n d g år i d e vi st e s u m m er. D et er o g s å
a n gi v et i s v ar et, o m r e s er v ati o n s a n m o d ni n g e n st a m m er fr a e n st å e n d e r e s er v ati o n s a n m o d ni n g. Di s s e
r e s er v ati o n s a n m o d ni n g er d a n n e s a ut o m ati s k i st art e n af af vi kli n g s d ø g n et, m e n s åfr e mt f or e s p ør g sl e n
v e dr ør er e n fr e mti di g af vi k li n g s d a g, h v or d e st å e n d e r e s er v ati o n s an m o d ni n g er e n d n u i k k e er d a n n et, vil


                                                                                                                                    Si d e 1 5 1 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



d e bli v e m e dt a g et i s v ar et alli g e v el o g s ål e d e s v ær e m e d i b å d e o p s u m m er e d e b el ø b o g i o v er si gt e n o v er
r e s er v ati o n s a n m o d ni n g er.

D e o p s u m m er e d e b el ø b er f øl g e n d e:

      All e r e s er v ati o n er:
      T ot al f or r e s er v ati o n s a n m o d ni n g er.
      H er af r e s er v er et (r e s er v ati o n e n er g e n n e mf ørt).

      R e s er v ati o n er til a n gi v et f or m ål:
      T ot al f or r e s er v ati o n s a n m o d ni n g er.
      H er af r e s er v er et (r e s er v ati o n e n er g e n n e mf ørt).

      D e n a kt u ell e si k k er h e d sr et s v ær di p å f or e s p ør g s el sti d s p u n kt et.
      O p m ær k s o m h e d e n h e nl e d e s p å, at d e n n e v ær di æ n dr e s v e d eft erf øl g e n d e b e h ol d ni n g s æ n dri n g er p å
      V P- k o nti e n e u n d er si k k er h e d sr et s aft al e n. Si k k er h e d sr et s v ær di e n af d e n n u v ær e n d e b e h ol d ni n g vil
      li g el e d e s bli v e æ n dr et i f or bi n d el s e m e d s kift af af vi kli n g s d ø g n, h v or d er s k er e n r e b er e g ni n g af
      s a mtli g e a c c e pt er e d e si k k er h e d sr et s aft al er s si k k er h e d sr et s v ær di.

      D et a kt u ell e si k k er h e d sr et str æ k p å f or e s p ør g s el sti d s p u n kt et.
      Vi s e s alti d, m e n s åfr e mt f or e s p ør g sl e n v e dr ør er e n fr e mti d i g af vi kli n g s d a g, vil d et a kt u ell e
      si k k er h e d sr et str æ k i k k e v ær e r el e v a nt.

B e h a n dli n g i V P:
D er f or et a g e s a d g a n g s m æ s s i g e k o ntr oll er o g b er e g nin g af d e vi st e s u m m er.

U d d at a:
F øl g e n d e i nf o er d a n n e s:

TI 2 0 3 5 4 v                     " Vi s s u m af r e s er v ati o n s b el ø b "
TI 2 0 3 5 5 v                     " Vi s r e s er v ati o n s a n m o d ni n g er "
TI 2 0 3 5 6 v                     " Vi s st å e n d e r e s er v ati o n s a n m o d ni n g er "

D A T A F ELT E R

0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                      O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                O
0 2 V A L U T A.
     0 3 I S O- K O D E                                                                                          O
0 2 A F VI K LI N G S D A G.
     0 3 A F VI K LI N G S D A T O                                                                               O
0 2 SI K K E R H E D S R E T S F O R M A A L.
     03 K O DE                                                                                                   F

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.



                                                                                                                                 Si d e 1 5 2 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



Et a bl eri n g af n e d s kri v ni n g s a n m o d ni n g ( T C 2 0 0 8 4 v)
F or m ål:
Eft er h å n d e n s o m l å nt a g er afr e g n er m e d l å n gi v er, b ør l å n gi v er n e d s kri v e d et tr æ k, l å nt a g er h ar f or et a g et
p å si k k er h e d sr et s aft al e n. L å nt a g er f år s ål e d e s di s p o siti o n sr ett e n o v er b e h ol d ni n g er n e p å d e til
si k k er h e d sr et s aft al e n k n ytt e d e V P- k o nti til b a g e, i n d e n d et a ut o m ati s k e u dl ø b af si k k er h e d sr ett e n fi n d er
st e d j vf. af vi kli n s d ø g n et i V P g Af vi kli n g s d ø g n et i V P - s ær s kilt o m si k k er h e d sr et o g p a nt er et.

B e h a n dli n g h o s c e nt r al d elt a g er:
L å n gi v er s b et ali n g s still er ( B S) k a n f or et a g e e n n e d s kri v ni n g af d et tr æ k, l å nt a g er h ar h aft p å
si k k er h e d sr et s aft al e n.

L å n gi v er a n gi v er d et m a k si m al e b el ø b, tr æ k k et s k al n e d s kri v e s m e d. Tr æ k k et k a n n e d s kri v e s h elt ell er
d el vi st. Tr æ k k et k a n i k k e n e d s kri v e s m e d et st ørr e b el ø b, e n d d er er tr u k k et.

B e h a n dli n g i V P:
B e h a n dli n g e n i V P er t o d elt.

1) D et k o ntr oll er e s, at a n m el d er o pf yl d er krit eri er n e f or at k u n n e g e n n e mf ør e r e gi str eri n g.
Tr a n s a kti o n e n v ali d er e s o g l æ g g e s i " p o st k a s s e n " - li g e s o m a n dr e æ n dri n g er, d er p å vir k er b e h ol d ni n g er -
til g e n n e mf ør el s e i r æ k k ef øl g e eft er r et s vir k ni n g sti d.

2) V e d g e n n e mf ør el s e n i " p o st k a s s e n " k o ntr oll er e s d et, at d et a n gi v n e m a k si m al e n e d s kri v ni n g s b el ø b
i k k e o v er sti g er d et f a kti s k e tr æ k p å si k k er h e d sr et s aftal e n. H vi s d et f a kti s k e tr æ k er mi n dr e e n d d et
a n gi v n e m a k si m al e n e d s kri v ni n g s b el ø b, n e d s ætt e s n e d s kri v ni n g s b el ø b et a ut o m ati s k, s ål e d e s at tr æ k k et
h er eft er er n ul.

U d d at a:
      D a n n el s e af u d d at a f øl g er d e n b e s kr e v n e t o d eli n g.
      F øl g e n d e i nf o d a n n e s v e d r e gi str eri n g e n af n e d s kri v ni n g s a n m o d ni n g e n:
      TI 2 0 3 4 5 v " Et a bl eri n g af n e d s kri v ni n g s a n m o d ni n g "
      F øl g e n d e i nf o er d a n n e s v e d g e n n e mf ør el s e i p o st k a s s e n:
      TI 2 0 3 4 8 v " Af vi kl et n e d s kri v ni n g s a n m o d ni n g "
      TI 2 0 1 8 4 v " St at u s p å si k k er h e d sr et str æ k "

S e Si k k er h e d s aft al er - l å n gi v er si d e n - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er.

D A T A F ELT E R

0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                            O
0 2 L A A N GI V E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                      O
0 2 L A A N T A G E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                      O
0 2 V A L U T A.
     0 3 I S O- K O D E                                                                                                O
0 2 N E D S K RI V NI N G S A N M O D NI N G.
     0 3 A N M O D E T- M A X- N E D S K RI V NI N G S B E L O E B                                                     O


O = o bli g at ori s k, F = f ri villi g




                                                                                                                                     Si d e 1 5 3 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



B er e g ni n g af si k k er h e d sr et s v æ r di e n af si k k er h e d sr et s aft al er
F or m ål:
At b er e g n e d e n t ot al e si k k er h e d sr et s v ær di af all e a c c e pt er e d e si k k er h e d sr et s aft al er.

I f or bi n d el s e m e d s kift til n yt af vi kli n g s d ø g n r e b er e g ne s si k k er h e d sr et s v ær di e n p å s a mtli g e a c c e pt er e d e
si k k er h e d sr et s aft al er.

All e eft erf øl g e n d e b er e g ni n g er af s i k k er h e d sr et s v ær di e n i d et p å g æl d e nd e af vi kli n g s d ø g n f or et a g e s p å
b a g gr u n d af æ n dri n g er, d er r el at er er si g til d e n e n k elt e a c c e pt er e d e si k k er h e d sr et s aft al e, f. e k s.:

æ n dri n g er i b e h ol d ni n g er n e p å V P- k o nti e n e u n d er si k k er h e d sr et s aft al er n e s o m f øl g e af
til-/fr a g a n g e i h a n d el s af vi kli n g s k ør sl er
str a k s h a n dl er
o v erf ør sl er til/fr a e n V P- k o nt o
e mi s si o n er o g i n dfri el s er.
til k n yt ni n g af V P- k o nti u n d er si k k er h e d sr et s aft al e n
fj er n el s e af V P- k o nti u n d er si k k er h e d sr et s aft al e n

B er e g ni n g e n af si k k er h e d sr et s v ær di e n af æ n dr i n g er n e f or et a g e s h el e af vi kli n g s d ø g n e t i. h.t. d e
eft erf øl g e n d e f or ml er, o g d e n t ot al e si k k er h e d sr et s v ær di o p d at er e s.

B e h a n dli n g i V P:
I f or bi n d el s e m e d s kift af af vi kli n g s d ø gn f or et a g e s e n k o pi eri n g o g f a s tfr y s ni n g af all e p o siti vli st er s o m
" af vi kli n g s d a g e n s p o siti vli st er ". Af vi kli n g s d a g e n s p o siti vli st e f or s y n e s m e d b el å ni n g s k ur s pr. n o mi n elt 1 0 0
f or o bli g ati o n er o g b el å ni n g s k ur s pr. st k. f or a kti er o g i n v e st eri n g sf or e ni n g s a n d el e.

D a n m ar k s N ati o n al b a n k
B el å ni n g s k ur s er i af vi kli n g s d a g e n s p o siti vli st e st a m m er f or p o siti vli st e m e d D a n m ar k s N ati o n al b a n k s o m
l å n gi v er fr a d e n s e n e st i n d e n kl. 1 8 m o dt a g n e Ti er Li st e fr a D a n m ar k s N ati o n al b a n k.

A n dr e l å n gi v er e e n d D a n m ar k s N ati o n al b a n k
F or p o siti vli st er m e d a n dr e pri m ær e b et ali n g s st ill er e s o m l å n gi v er e f or et a g e s b er e g ni n g er n e af
b el å ni n g s k ur s er til af vi kli n g s d a g e n s p o sit i vli st e p å b a g gr u n d af d e n af l å n gi v er s e n e st i n d e n kl. 1 8 a n gi v n e
v æ di k o effi ci e nt i p o siti vli st e n s a mt b ør s- o g v al ut a k ur s er. D e n s e n e st m o dt a g n e b ør s k ur s fr a N A S D A Q
O M X o g d e n s e n e st m o dt a g n e v al ut a k ur s fr a D a n m ar k s N ati o n al b a n k a n v e n d e s.
B el å ni n g s k ur s er til af vi kli n g s d a g e n s p o siti vli st e b er e g n e s v e d at g a n g e v ær di k o effi ci e nt e n m e d
k ur s v ær di e n af 1 0 0 n o mi n elt, n år d et dr ej er si g o m o bli g ati o n er. F or a kti er o g
i n v e st eri n g sf or e ni n g s a n d el e g a n g e s v ær di k o effi ci e nt e n m e d k ur s v ær di e n af 1 s t k.
B er e g ni n g e n af si k k er h e d sr et s v ær di e n af b e h ol d ni n g er er n ær m er e s p e cifi c er et i d e eft erf øl g e n d e
f or ml er.

Li g el e d e s i f or bi n d el s e m e d s kift af af vi kli n g s d ø g n f or et a g e s e n r e b er e g ni n g af si k k er h e d sr et s v ær di e n af
s a mtli g e a c c e pt er e d e si k k er h e d sr et s aft al er. Di s s e b er e g ni n g er o g all e eft erf øl g e n d e b er e g ni n g er af
si k k er h e d sr et s v ær di, d er v e dr ør er af vi kli n g s d a g e n, s k er p å b a g gr u n d af pri s er n e i o v e n n æ v nt e
" af vi kli n g s d a g e n s p o siti vli st e " f or af vi kli n g s d a g e n.


I SI N- u d el u k k el s e:
B e h ol d ni n g er i h a n d el s pr o d u kt er, d er v e d st art e n af af vi kli n g s d ø g n et er I SI N- u d el u k k et, ell er p å et
ti d s p u n kt i l ø b et af af vi kli n g s d ø g n et vil bli v e I SI N- u d el u k k et, vil s o m h o v e dr e g el i k k e bli v e m e dr e g n et i
si k k er h e d sr et s v ær di e n. U n dt a g et h erfr a er I SI N - u d el u k k el s e s- h æ n d el s e st y p e " U dtr æ k- 1 " ( k o d e 1).
H a n d el s pr o d u kt er, d er er u n dt a g et fr a b el å ni n g p å gr u n d af I SI N- u d el u k k el s e, vil i af vi kli n g s d a g e n s
p o siti vli st e v ær e a n gi v et m e d b el å ni n g s k ur s e n 0.


                                                                                                                                      Si d e 1 5 4 af 4 5 0
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                                                                S Y S T E M V E J L E D NI N G



U dt r æ k ni n g:
P å u dtr æ k ni n g e n s p u bli c eri n g s d a g b er e g n e s si k k er h e d sr et s v ær di e n af e n u dtr u k k e t b e h ol d ni n g, s o m o m
u dtr æ k ni n g i k k e h a v d e f u n d et st e d. F ør st v e d s kift til d et eft erf øl g e n d e af vi kli n g s d ø g n vil b er e g ni n g e n af
d e n u dtr u k n e b e h ol d ni n g s si k k er h e d sr et s v ær di v ær e b a s er et p å u dtr æ k ni n g s k ur s e n.

M a n gl e n d e k ur s:
S åfr e mt b ør s k ur s, u dtr æ k ni n g s k ur s ell er v al ut a k ur s i k k e er r e gi s tr er et, vil si k k er h e dsr et s v ær di e n af d et
p å g æl d e n d e h a n d el s pr o d u kt v ær e 0.

U d d at a:
F øl g e n d e i nf o er k a n d a n n e s:

TI 2 0 2 1 9 v                       " Æ n dr et si k k er h e d sr et s v ær di "
TI 2 0 1 8 5 v                       " Si k k er h e d s v ær di v e d st art af n yt af vi kli n g s d ø g n "

S e S y st e m v ejl e d ni n g Si k k er h e d s af t al er - l å nt a g er si d e n - tr a n s a kti o n , i n d s e n d er, i nf o er o g m o dt a g er
S e S y st e m v ejl e d ni n g Si k k er h e d s aft al er - l å n gi v er si d e n - tr a n s a kti o n, i n d s e n d er, i nf o er o g m o dt a g er
S e S y st e m v ejl e d ni n g Si k k er h e d s aft al er - b at c h - tr a n s a kti o n, i nf o er o g m o dt a g er.


F or m el o v er si gt
P å s a mtli g e a c c e pt er e d e si k k er h e d sr et s a ft al er b er e g n e s e n si k k er h e d sr et s v ær di.

N e d e n st å e n d e f or m el o v er si gt g æl d er f or si k k er h e d sr et s aft al er m e d a n dr e l å n gi v er e e n d D a n m ar k s
N ati o n al b a n k.

F or ml er f or b er e g ni n g af v ær di af si k k er h e d sr et s af t al e

Si k k er h e d sr et s v ær di e n f or v ær di p a pir er n e u n d er e n si k k er h e d sr et s aft al e u dr e g n e s eft er f øl g e n d e f or m el:

( 1)




F or m el f or b er e g ni n g af e sti m er et si k k er h e d s v ær di af f r e mti di g e h a n dl er

Si k k er h e d sr et s v ær di e n f or fr e mti di g e h a n dl er b er e g n e s eft er f øl g e n d e f or m el:

( 2)




R e s ult at et af f or m el ( 2) h ar f øl g e n d e f ort e g n s k o n v e nti o n:

( +)              si k k er h e d sr et s v ær di e n af h a n dl er n e pr. af vi kli n g s d a g e n vil f or ø g e si k k er h e d sr et s aft al e n s v ær di m e d
                 d et a n gi v n e
( 0)             si k k er h e d sr et s v ær di e n af h a n dl er n e pr. af vi kli n g s d a g e n vil i k k e æ n dr e si k k er h e d sr et s aft al e n s v ær di
                 ( k a n v ær e f or di d er i n g e n h a n dl er er, ell er f or di vær di e n af fr a g a n g e o g til g a n g e er li g e st or)
(-)              si k k er h e d sr et s v ær di e n af h a n dl er n e pr . af vi kli n g s d a g e n vil f or mi n d s k e sik k er h e d sr et s aft al e n s v ær di

                                                                                                                                       Si d e 1 5 5 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



             m e d d et a n gi v n e

F or m el f or b er e g ni n g af di s p o ni b el b e h ol d ni n g p å e n V P - k o nt o

( 3 A) A kti er o g i k k e u dtr u k n e o bli g ati o n er:

Di s p o ni b el b e h ol d ni n g =

S a ml et b e h ol d ni n g - u dtr u k k et b e h ol d ni n g ( h v i s o bli g ati o n er) - r e s er v er et b e h ol d ni n g

( 3 B) U dtr u k n e o bli g ati o n er: Di s p o ni b el u dtr u k k et b e h ol d ni n g = U dtr u k k et b e h ol d ni n g

F or m el f or b er e g ni n g af b ør s d a g e n s i n d e xf a k t or (I X s)
( 4)

I Xs =       I Xt + ((I Xt + 1 - I Xt) * K D s/ T D s)


V ari a b elf or kl ari n g:
A Ma          A nt al st y k a kti er i h a n d el s pr o d u kt et a, d er i k k e er I SI N- u d el u k k et, p å V P- k o nti u n d er
              si k k er h e d sr et s aft al e n
B Ka         S e n e st i V P- s y st e m et r e gi s tr er e d e b ør s k ur s f or h a n d el s pr o d u kt a.
              B e m ær k: F or s k at k a m m er b e vi s er er k ur s e n pr. n o mi n el 1 mill. D erf or s k al b ør s k ur s e n f or
              s k at k a m m er b e vi s er o mr e g n e s, i n d e n d e n k a n b e n ytt e s i f or ml e n.
C Qa          D e n p å b er e g ni n g sti d s p u n kt et i V P- s y st e m et r e gi str er e d e v al ut a k ur s m ell e m si k k er h e d sr et s aft al e n s
              v al ut a o g h a n d el s pr o d u kt et a' s n ot eri n g s v al ut a.
              B e m ær k: I b er e g ni n g e n i n d g år I K K E d et i s y st e m et r e gi str er e d e k ur sfr a dr a g.
F A as         M æ n g d e af a kti er i h a n d el pr o d u kt a, d er i k k e er I SI N- u d el u k k et, i fr a g a n g- pr e a d vi c e, d er h ar f u n d et
              m a k k er, pr. af vi kli n g s d a g s p å V P- k o nt o u n d er si k k er h e d sr et s aft al e n.
F O as        M æ n g d e af i k k e u dtr u k n e o b li g ati o n er i h a n d el pr o d u kt a i fr a g a n g- pr e a d vi c e, d er h ar f u n d et
              m a k k er, pr. af vi kli n g s d a g s p å V P- k o nt o u n d er si k k er h e d sr et s aft al e n.
F U as         M æ n g d e af u dtr u k n e o bli g ati o n er i h a n d el pr o d u kt a i fr a g a n g- pr e a d vi ce, d er h ar f u n d et m a k k er, pr.
              af vi kli n g s d a g s p å V P- k o nt o u n d er si k k er h e d sr et s aft al e n.
I Xs            D e n f or b ør s d at o e n g æl d e n d e i n d e xf a kt or ( kr e dit or-i n d e xf a kt or f or i n d e xl å n), i d et d er s k er
              i nt er p ol ati o n.
              B e n ytt e s f or i n d e xl å n.
              F or a n dr e t y p er o bli g ati o n er b e n ytt e s i n d e xf a kt or = 1 0 0
I Xt          Er i n d e xf a kt or e n f or si d st p a s s er e d e 3 0/ 6 ell er 3 1/ 1 2, o pl y st fr a N A S D A Q O M X
I Xt + 1      Er i n d e xf a kt or e n f or f ør st k o m m e n d e 3 0/ 6 ell er 3 1/ 1 2, o pl y st fr a N A S D A Q O M X
K Ds          Er a nt all et af d a g e fr a I Xt til I X s eft er k al e n d er k o n v e nti o n e n 3 0/ 3 6 0
O Ma         N o mi n el o bli g ati o n s b e h ol d ni n g i h a n d el s pr o d u kt et a p å V P- k o nt o u n d er si k k er h e d sr et s aft al e n.
              K o n v erti bl e o bli g ati o n er m å i k k e v ær e I SI N- u d el u k k et.
R Aa          A nt al st y k r e s er v er e d e a kti er i h a n d el s pr o d u kt et a p å V P- k o nt o u d e n r etti g h e d er u n d er
              si k k er h e d sr et s aft al e n. A kti er n e m å i k k e v ær e I SI N- u d el u k k et.
R Oa          R e s er v er et n o mi n el o bli g ati o n s b e h ol d n i n g i h a n d el s pr o d u kt et a p å V P- k o nt o u n d er
              si k k er h e d sr et s aft al e n. K o n v erti b l e o bli g ati o n er m å i k k e v ær e I SI N- u d el u k k et.
S Vt          B er e g n et si k k er h e d sr et s v ær di f or si k k er h e d sr et s aft al e n p å b er e g ni n g s-ti d s p u n kt et t.
T A as        M æ n g d e af a kti er i h a n d el pr o d u kt a, d er i k k e er I SI N - u d el u k k et, til g a n g- pr e a d vi c e, d er h ar f u n d et
              m a k k er, pr. af vi kli n g s d a g s p å V P- k o nt o u n d er si k k er h e d sr et s aft al e n.
T Ds          1 8 0 d a g e, s v ar e n d e til a nt al d a g e m ell e m I Xt til I Xt + 1 eft er k al e n d er k o n v e nti o n e n 3 0/ 3 6 0
T O as        M æ n g d e af i k k e u dtr u k n e o bli g ati o n er i h a n d el pr o d u kt a i til g a n g- pr e a d vi c e, d er h ar f u n d et
              m a k k er, pr. af vi kli n g s d a g s p å V P- k o nt o u n d er si k k er h e d sr et s aft al e n.
T U as        M æ n g d e af u dtr u k n e o bli g ati o n er i h a n d el pr o d u kt a i til g a n g-pr e a d vi c e, d er h ar f u n d et m a k k er, pr.
              af vi kli n g s d a g s p å V P- k o nt o u n d er si k k er h e d sr et s aft al e n.


                                                                                                                                     Si d e 1 5 6 af 4 5 0
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                                                                 S Y S T E M V E J L E D NI N G



T Vt s           D e n p å ti d s p u n kt t b er e g n e d e si k k er h e d sr et s v ær di af fr e mti di g e h a n dl er pr. af vi kli n g s d a g s.
U Ba             U dtr u k k et n o mi n el o bli g ati o n s b e h ol d ni n g i h a n d el s pr o d u kt et a p å V P- k o nti u n d er
                 si k k er h e d sr et s aft al e n h v or b et ali n g sf or mi dli n g s d at o e n i k k e er n å et ( u dtr u k n e o bli g ati o n er h v or
                 b et ali n g sf or mi dli n g e n er d a n n et t ill æ g g e s si k k er h e d sr et s v ær di e n 0).
U Ka             U dtr æ k ni n g s k ur s e n f or h a n d el s pr o d u kt et a.
U Oa             U dtr u k k et n o mi n el o bli g ati o n s b e h ol d ni n g i h a n d el s pr o d u kt et a p å V P- k o nti u n d er
                 si k k er h e d sr et s aft al e n.
V Ka             V ær di k o effi ci e nt e n f or h a n d el s pr o d u kt et a.




I n v e st eri n g sf or e ni n g s kl a s sifi k ati o n

Et a bl eri n g af i n v e st eri n g sf or e ni n g s kl a s sifi k ati o n ( T C 2 0 3 8 1 v)
F or m ål:
At et a bl er e o pl y s ni n g er o m i n v e st eri n g sf or e ni n g er s vir k e til br u g v e d i n d b er et ni n g til S K A T.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or u d st e d er e n ell er e n o p d at eri n g sr el at er et u d st e d er.

V P- st a n d ar d s y st e m:
D 3 4 2 k a n a n v e n d e s.

B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er er u d st e d er ell er e n o p d at eri n g sr el at er et u d st e d er, o g at h a n d el s pr o d u kt et
er et a kti vt i n v e st eri n g sf or e ni n g s b e vi s.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s e:

TI 2 0 2 2 7 v                       Et a bl eri n g af i n v e st eri n g sf or e ni n g s kl a s sifi k ati o n

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                            O
0 2 H A N D E L S P R O D U K T.
     0 3 I SI N                                                                                                        O
0 2 I N V E S T- F O R E NI N G S- K L A S SI FI K A TI O N
     0 3 I K R A F T T R Æ D E L S E S- D A T O                                                                        O
     03 G R U N DL A G                                                                                                 O
     0 3 U D L O D NI N G S- K O D E                                                                                   O
     0 3 S P E CI A L F O R E NI N G S- K O D E                                                                        O

O = o bli g at ori s k, F = f ri villi g
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Æ n dri n g af i n v e st eri n g sf or e ni n g s kl a s s ifi k ati o n ( T U 2 0 3 8 1 v)
F or m ål:
At v e dli g e h ol d e o pl y s ni n g er o m i n v e st eri n g sf or e ni n g er s vir k e til br u g v e d i n d b er et ni n g til S K A T.


                                                                                                                                       Si d e 1 5 7 af 4 5 0
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                                                               S Y S T E M V E J L E D NI N G



B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or u d st e d er e n ell er e n o p d at eri n g sr el at er et u d st e d er.

V P- st a n d ar d s y st e m:
D 3 4 2 k a n a n v e n d e s.

B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er er u d st e d er ell er e n o p d at eri n g sr el at er et u d st e d er, o g at h a n d el s pr o d u kt et
er et a kti vt i n v e st eri n g sf or e ni n g s b e vi s.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s e:

TI 2 0 2 2 8 v                     Æ n dri n g af i n v e st eri n g sf or e ni n g s kl a s sifi k ati o n

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                       O
0 2 H A N D E L S P R O D U K T.
     0 3 I SI N                                                                                                   O
0 2 I N V E S T- F O R E NI N G S- K L A S SI FI K A TI O N
     0 3 I K R A F T T R Æ D E L S E S- D A T O                                                                   O
     03 G R U N DL A G                                                                                            O
     0 3 U D L O D NI N G S- K O D E                                                                              O
     0 3 S P E CI A L F O R E NI N G S- K O D E                                                                   O

O = o bli g at ori s k, F = f ri villi g
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Sl et ni n g af i n v e st eri n g sf or e ni n g s k l a s sifi k ati o n ( T D 2 0 3 8 1 v)
F or m ål:
At sl ett e o pl y s ni n g er o m i n v e st eri n g sf or e ni n g er s vir k e.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or u d st e d er e n ell er e n o p d at eri n g sr el at er et u d st e d er.

V P- st a n d ar d s y st e m:
D 3 4 2 k a n a n v e n d e s.

B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er er u d st e d er ell er e n o p d at eri n g sr el at er et u d st e d er, o g at h a n d el s pr o d u kt e t
er et a kti vt i n v e st eri n g sf or e ni n g s b e vi s.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s e:

TI 2 0 2 2 9 v                     Sl et ni n g af i n v e st eri n g sf or e ni n g s kl a s sifi k ati o n

D A T A F ELT E R

02 A N M EL D ELS E

                                                                                                                                 Si d e 1 5 8 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G



     0 3 A F S E N D E R- R E F E R E N C E                                                                        O
0 2 H A N D E L S P R O D U K T.
     0 3 I SI N                                                                                                    O
0 2 I N V E S T- F O R E NI N G S- K L A S SI FI K A TI O N
     0 3 I K R A F T T R Æ D E L S E S- D A T O                                                                    O
     03 G R U N DL A G                                                                                             /
     0 3 U D L O D NI N G S- K O D E                                                                               /
     0 3 S P E CI A L F O R E NI N G S- K O D E                                                                    /

O = o bli g at ori s k, F = f ri villi g, / = M å i k k e u df yl d e s
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


F or e s p ør g s el p å i n v e st eri n g sf or e ni n g s kl a s sifi k ati o n ( T R 2 0 3 8 1 v)
F or m ål:
At vi s e, h vil k e o pl y s ni n g er d er er r e gi str er et v e dr ør e n d e e n i n v e st eri n g sf or e ni n g s vir k e.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or all e a kti v e V P- d elt a g er e.

V P- st a n d ar d s y st e m:
D 3 4 2 k a n a n v e n d e s.

B e h a n dli n g i V P:
I n g e n.

U d d at a:
F or efi n d e s k u n s o m s k ær m s v ar.

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                        O
0 2 H A N D E L S P R O D U K T.
     0 3 I SI N                                                                                                    O
0 2 I N V E S T- F O R E NI N G S- K L A S SI FI K A TI O N
     0 3 I K R A F T T R Æ D E L S E S- D A T O                                                                    F
     03 G R U N DL A G                                                                                             /
     0 3 U D L O D NI N G S- K O D E                                                                               /
     0 3 S P E CI A L F O R E NI N G S- K O D E                                                                    /

O = o bli g at ori s k, F = f ri villi g, / = M å i k k e u df yl d e s
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.




                                                                                                                                      Si d e 1 5 9 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G



M at e m ati s k u dt r æ k ni n g

Et a bl eri n g af e n ø n s k et m æ n g d e til u dtr æ k ni n g ( T C 2 0 0 7 5 1)
F or m ål :
At gi v e u d st e d er e af o bli g ati o n er, s o m s k al h a v e g e n n e mf ørt tr æ k ni n g v e d hj æl p af m at e m ati s k
u dtr æ k ni n g, m uli g h e d f or at i n dr a p p ort er e d e n ø n s k e d e m æ n g d e til u dtr æ k ni n g f or e n I SI N pr. e n gi v e n
u dtr æ k ni n g s- o g f orf al d s d at o (tr æ k ni n g s s p e cfi k ati o n).

B e h a n dli n g h o s c e nt r al d elt a g er :
D et er d e n u d st e d er a n s v arli g e ell er e n r el at er et u d st e d er, s o m i n dr a p p ort er er d e n ø n s k e d e m æ n g d e til
u dtr æ k ni n g.

Et a bl eri n g e n s k al v ær e r e gi str er et i V P i n d e n b er e g ni n g e n af u dtr æ k ni n g s pr o c e nt e n kl. 1 0. 3 0 p å
tr æ k ni n g s d a g e n.

Tr a n s a kti o n e n k a n b e n ytt e s f or I S I N s, s o m er r e gi str er et m e d u dtr æ k ni n g st y p e 5 ( m at e m ati s k
u dtr æ k ni n g).

Tr a n s a kti o n e
r e gi str e, o g s o m d er i k k e all er e d e er i n d s e n dt o pl y s ni n g er til.

B e h a n dli n g i V P :
D et k o ntr oll er e s, at d e n i n dr a p p o rt er e n d e d elt a g er h ar a ut ori s ati o n til at i n dr a p p ort er e o pl y s ni n g er n e p å
d e n p å g æl d e n d e I SI N, s a mt at d e n ø n s k e d e m æ n g d e til u dtr æ k ni n g er u df yl dt.

D et k o ntr oll er e s, at d e n ø n s k e d e m æ n g d e er mi n dr e e n d ell er li g m e d d e n cir k ul er e n d e m æ n g d e p å
i n dr a p p ort eri n g sti d s p u n kt et.

D et k o ntr oll er e s, at d er er o v er e n s st e m m el s e m ell e m d e o pl y s ni n g er, s o m er a n gi v et i tr a n s a kti o n e n o m
u dtr æ k ni n g s d at o o g f orf al d s d at o, i f or h ol d til d e all er e d e r e gi str er e d e o pl y s ni n g er i V P.

Til u d st e d er s k o ntr ol l e v er er V P e n f or el ø bi g u dtr æ k ni n g s pr o c e nt i r et ur s v ar et b a s er et p å d e n
cir k ul er e n d e m æ n g d e p å i n dr a p p ort eri n g sti d s p u n kt et.

U d d at a :
Tr a n s a kti o n s s v ar
I nf o: TI 2 0 1 6 9 1

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                      O
0 2 H A N D E L S P R O D U K T.
     0 3 I SI N                                                                                                  O
0 2 F O R F A L D- A F- P R O V E N U.                                                                           O
     03 F O RF AL DS D AT O                                                                                      O
0 2 U D T R A E K NI N G S P E RI O D E.
     0 3 U D T R A E K NI N G S D A T O                                                                          O
0 2 M A T E M A TI S K- U D T R A E K NI N G.
     0 3 O E N S K E T- M A E N G D E- TI L- U D T R A E K NI N G                                                O
     0 3 K F- L E V E RI N G- K O D E                                                                            O




                                                                                                                                 Si d e 1 6 0 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G



O = o bli g at ori s k, F = f ri villi g
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Æ n dri n g af e n ø n s k et m æ n g d e til u dtr æ k ni n g ( T U 2 0 0 7 5 1)
F or m ål:
At æ n dr e e n all er e d e et a bl er et tr æ k ni n g s s p e cifi k ati o n pr. e n gi v e n u dtr æ k ni n g s- o g f orf al d s d at o f or e n
I SI N m e d m at e m ati s k u dtr æ k ni n g.

B e h a n dli n g h o s c e nt r al d elt a g er:
D et er d e n u d st e d er a n s v arli g e ell er e n r el at er et u d st e d er, s o m i n dr a p p ort er er æ n dri n g e n.

Æ n dri n g e n s k al v ær e r e gi str er et i V P i n d e n b er e g ni n g e n af u dtr æ k ni n g s pr o c e nt e n kl. 1 0. 3 0 p å
tr æ k ni n g s d a g e n.

D et er k u n ø n s k et m æ n g d e til u dtr æ k ni n g, s o m k a n æ n dr e s.

B e h a n dli n g i V P:
D et k o ntr oll er e s, o m d e n i n dr a p p ort er e n d e d elt a g er h ar a ut ori s ati o n ti l at i n dr a p p ort er e o pl y s ni n g er n e p å
d e n p å g æl d e n d e I SI N, s a mt at d e n ø n s k e d e m æ n g d e til u dtr æ k ni n g er u df yl dt, o g at d e n ø n s k e d e
m æ n g d e er mi n dr e e n d ell er li g m e d d e n cir k ul er e n d e m æ n g d e p å i n dr a p p ort eri n g sti d s p u n kt et.

U d d at a:
Tr a n s a kti o n s s v ar
I nf o: TI 2 0 1 7 1 1

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                        O
0 2 H A N D E L S P R O D U K T.
     0 3 I SI N                                                                                                    O
0 2 F O R F A L D- A F- P R O V E N U.
     03 F O RF AL DS D AT O                                                                                        O
0 2 U D T R A E K NI N G S P E RI O D E.
     0 3 U D T R A E K NI N G S D A T O                                                                            O
0 2 M A T E M A TI S K- U D T R A E K NI N G.
     0 3 O E N S K E T- M A E N G D E- TI L- U D T R A E K NI N G                                                  O
     0 3 K F- L E V E RI N G- K O D E                                                                              F

O = o bli g at ori s k, F = f ri villi g
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


F or e s p ør g s el p å tr æ k ni n g s s p e cifi k ati o n ( T R 2 0 2 1 1 1)
F or m ål:
At gi v e u d st e d er e af o bli g ati o n er, s o m s k al h a v e g e n n e mf ørt m at e m ati s k u dtr æ k ni n g, m uli g h e d f or p å e n
ell er fl er e I SI N s at f or e s p ør g e p å e n i n dr a p p ort er et tr æ k ni n g s s p e cifi k ati o n f ør b er e g ni n g sti d s p u n kt et f or
u dtr æ k ni n g s pr o c e nt e n.




                                                                                                                                   Si d e 1 6 1 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



B e h a n dli n g h o s c e nt r al d elt a g er :
D et er d e n u d st e d er a n s v arli g e ell er e n r el at er et u d st e d er, s o m k a n f or e s p ør g e p å o pl y s ni n g er n e.

F or e s p ør g sl e n k a n b e n ytt e s f or I SI N s, s o m er r e gi str er et m e d u dtr æ k ni n g st y p e 5 ( m at e m ati s k
u dtr æ k ni n g), o g d e n k a n b e n ytt e s, i n dtil b er e g ni n g e n af u dtr æ k ni n g s pr o c e nt e n fi n d er st e d.

Eft er b er e g ni n g e n af u dtr æ k ni n g s pr o c e nt e n b e n ytt e s f o r e s p ør g s el T R 2 0 2 1 7 1 p å tr æ k ni n g s s p e cifi k ati o n
o g r e s ult at.

F or e s p ør g sl e n k a n f or et a g e s pr. u d st e d er p å b a g gr u n d af u dtr æ k ni n g s d at o, e v e nt u elt i i nt er v al af I SI N s.


g e n n e mf ør el s e af u dtr æ k ni n g e n, s a mt f å vi st e n f or el ø bi g u dtr æ k ni n g s pr o c e nt p å
f or e s p ør g s el sti d s p u n kt et.

B e h a n dli n g i V P :
D et k o ntr oll er e s, o m d elt a g er e n h ar a ut ori s ati o n til at f or e s p ør g e p å o pl y s ni n g er n e o m d e n/ d e
p å g æl d e n d e I SI N s.

V P b er e g n er o g vi s er e n f or el ø bi g u dtr æ k ni n g s pr o c e nt p å f or e s p ør g s el sti d s p u n kt et, o g gr u n dl a g et
( cir k ul er e n d e m æ n g d e o g ø n s k et m æ n g d e til u dtr æ k ni n g) i n d e h ol d e s i s v ar et.

U d d at a :
Tr a n s a kti o n s s v ar
I nf o: TI 2 0 0 4 5 1

D A T A F ELT E R

02 A N M EL D ELS E
      0 3 A F S E N D E R- R E F E R E N C E                                                                        O
0 2 U D S T E D E N D EI N S TI T U T. ( D E L T A G E R)
      0 3 I D E N TI FI K A TI O N                                                                                  O
0 2 U D T R A E K NI N G S P E RI O D E.
      0 3 U D T R A E K NI N G S D A T O                                                                            O
0 2 I SI N-I N T E R V A L- S T A R T. ( H A N D E L S P R O D U K T)
      0 3 I SI N                                                                                                    F
0 2 I SI N-I N T E R V A L- S L U T. ( H A N D E L S P R O D U K T)
      0 3 I SI N                                                                                                    F

O = o bli g at ori s k , F = f ri villig
                                       villi g
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


F or e s p ør g s el p å m at e m ati s k u dtr æ k ni n g s pr o c e nt ( T R 2 0 2 1 6 1)
F or m ål :
At gi v e d elt a g er e m uli g h e d f or at f or e s p ør g e p å u dtr æ k ni n g s pr o c e nt e n f or e n gi v e n I SI N m e d
m at e m ati s k u dtr æ k ni n g pr. e n s p e cifi k f orf al d s d at o el l er u dtr æ k ni n g s d at o, eft er u dtr æ k ni n g s pr o c e nt e n er
off e ntli g gj ort.

B e h a n dli n g h o s c e nt r al d elt a g er :
All e d elt a g er e k a n f or e s p ør g e p å u dtr æ k ni n g s pr o c e nt e n eft er off e ntli g g ør el s e sti d s p u n kt et.



                                                                                                                                    Si d e 1 6 2 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G



F or e s p ør g sl e n k a n b e n ytt e s f or I SI N s, s o m er r e gi str er et m e d u dtr æ k ni n g st y p e 5 ( m at e m ati s k
u dtr æ k ni n g).

U d d at a :
Tr a n s a kti o n s s v ar

D A T A F ELT E R

0 2 U D T R A E K NI N G S P E RI O D E.
     0 3 U D T R A E K NI N G S D A T O                                                                           F*
0 2 F O R F A L D- A F- P R O V E N U.
     03 F O RF AL DS D AT O                                                                                       F*
0 2 H A N D E L S P R O D U K T.
     0 3 I SI N                                                                                                   O

O = o bli g at ori s k , F = f ri villi g, g , F * = mi n d s t e t a f f elt er nnee s k al u df yl d e s
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


F or e s p ør g s el p å tr æ k ni n g s s p e cifi k ati o n o g r e s ult at ( T R 2 0 2 1 7 1)
F or m ål :
At gi v e u d st e d er e af o bli g ati o n er     m e d m at e m ati s k u dtr æ k ni n g m uli g h e d f or pr. I SI N at f or e s p ør g e p å

vi s e s s a mti di g d et f a kti s k e r e s ult at af u dtr æ k ni n g e n pr. I SI N.

B e h a n dli n g h o s c e nt r al d elt a g er :
D et er d e n u d st e d er a n s v arli g e ell er e n r el at er et u d st e d er, s o m k a n f or e s p ør g e p å o pl y s ni n g er n e.

F or e s p ør g sl e n k a n b e n ytt e s f or I SI N s, s o m er r e gi str er et m e d u dtr æ k ni n g st y p e 5 ( m at e m ati s k
u dtr æ k ni n g).

F or e s p ør g sl e n k a n f or et a g e s pr. u d st e d er p å b a g gr u n d af u dtr æ k ni n g s d at o, e v e nt u elt i i nt er v al af I SI N s.

B e h a n dli n g i V P :
D et k o ntr oll er e s, o m d elt a g er e n h ar a ut ori s ati o n til at f or e s p ør g e p å o pl y s ni n g er n e o m d e n/ d e
p å g æl d e n d e I SI N s.

                                                       e u dtr æ k ni n g s pr o c e nt, m e n f ør r e s ult at et f or eli g g er fr a
u dtr æ k ni n g s k ør sl e n, vi s e s u dtr æ k ni n g s pr o c e nt e n o g gr u n dl a g et ( cir k ul er e n d e m æ n g d e o g b e n ytt et

vi s e s tilli g e o pl y s ni n g er o m d e n f a kt i s k u dtr u k n e m æ n g d e pr. I SI N.

U d d at a :
Tr a n s a kti o n s s v ar
I nf o: TI 2 0 0 5 7 1

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                        O
0 2 U D S T E D E N D EI N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                  O


                                                                                                                                 Si d e 1 6 3 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



0 2 U D T R A E K NI N G S P E RI O D E.
      0 3 U D T R A E K NI N G S D A T O                                                                           O
0 2 I SI N-I N T E R V A L- S T A R T. ( H A N D E L S P R O D U K T)
      0 3 I SI N                                                                                                   F
0 2 I SI N-I N T E R V A L- S L U T. ( H A N D E L S P R O D U K T)
      0 3 I SI N                                                                                                   F

O = o bli g at ori s k , F = f ri villig
                                       villi g
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


I n v e st or ø n s k er
                      er

Et a bl eri n g af i n v e st or ø n s k e ( T C 2 0 0 2 2 v)
F or m ål :
At r e gi str er e e n k u n d e s ø n s k e i f or b i n d el s e m e d e n s el s k a b sr el at er et h æ n d el s e.

B e h a n dli n g h o s d elt a g er e n :
Tr a n s a kti o n e n er til g æ n g eli g f or k u n d e n s KI o g o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m :
D 0 2 9 k a n a n v e n d e s.

B e h a n dli n g i V P :
D et k o ntr oll er e s, at a n m el d er er li g m e d d e n a n gi v n e KI ell er e n o p d at eri n g sr el at er et KI.

U d d at a :
F øl g e n d e i nf o- m e d d el el s e d a n n e s:

TI 2 0 2 6 1 v Et a bl eri n g af i n v e st or ø n s k e

D A T A F ELT E R

0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                        O
0 2 I N V E S T O R- O E N S K E
     0 3 I D E N TI FI K A TI O N- KI                                                                              O
     0 3 V A E R DI P A PI R K O N T O- N U M M E R                                                                O
     0 3 I SI N- F R A                                                                                             O
     0 3 I SI N- TI L                                                                                              O
     03 M AE N G DE                                                                                                F 1)
     0 3 M A E N G D E- B E H A N D LI N G S K O D E                                                               O
     03 K O E RS ELS D AT O                                                                                        O
     0 3 N A V N E N O T E RI N G S K O D E                                                                        F
     0 3 F O R C E RI N G S M A R K E RI N G S K O D E                                                             F
     03 PR O CE NT                                                                                                 F 2)
0 2 I N V E S T O R- O E N S K E- T Y P E
     03 K O DE                                                                                                     O

                                                                                          -
                                                                                      -
k u n h vi s k o d e f or i n v e st or- ø n s k e-t y p e er u d b ytt e a kti er.

                                                                                                                                 Si d e 1 6 4 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G




O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


F or e s p ør g s el p å i n v e st or ø n s k e ( T R 2 0 0 2 2 v)
F or m ål:
At f or e s p ør g e p å et k u n d e ø n s k e v e dr ør e n d e e n s el s k a b sr el at er et h æ n d el s e.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or k u n d e n s KI o g o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m:
D 0 2 9 k a n a n v e n d e s.

B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er er li g m e d d e n a n gi v n e KI ell er e n o p d at eri n g sr el at er et KI.

U d d at a:
K u n s k ær m s v ar.

D A T A F ELT E R

0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                         O
0 2 I N V E S T O R- O E N S K E
     0 3 I D E N TI FI K A TI O N- KI                                                                               O
     0 3 V A E R DI P A PI R K O N T O- N U M M E R                                                                 O
     0 3 I SI N- F R A                                                                                              O
     0 3 I SI N- TI L                                                                                               O
     03 M AE N G DE                                                                                                 /
     0 3 M A E N G D E- B E H A N D LI N G S K O D E                                                                /
     03 K O E RS ELS D AT O                                                                                         O
     0 3 N A V N E N O T E RI N G S K O D E                                                                         /
     0 3 F O R C E RI N G S M A R K E RI N G S K O D E                                                              /
     03 PR O CE NT                                                                                                  F
0 2 I N V E S T O R- O E N S K E- T Y P E
     03 K O DE                                                                                                      O

O = o bli g at ori s k, F = f ri villi g, / = m å i k k e u df yl d e s

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Æ n dri n g af i n v e st or ø n s k e ( T U 2 0 0 2 2 v)
F or m ål:
At æ n dr e p å e n k u n d e s r e gi str er e d e ø n s k e v e dr ør e n d e e n s el s k a b sr el at er et h æ n d el s e.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or o pri n d eli g a n m el d er af d et r e gi str er e d e ø n s k e.

                                                                                                                                  Si d e 1 6 5 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G




V P- st a n d ar d s y st e m :
D 0 2 9 k a n a n v e n d e s.

B e h a n dli n g i V P :
D et k o ntr oll er e s, at a n m el d er er li g m e d o pr i n d eli g a n m el d er af d et r e gi str er e d e ø n s k e.

U d d at a :
F øl g e n d e i nf o d a n n e s:

TI 2 0 2 6 2 v Æ n dri n g af i n v e st or ø n s k e

D A T A F ELT E R

0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                        O
0 2 I N V E S T O R- O E N S K E
     0 3 I D E N TI FI K A TI O N- KI                                                                              O 3)
     0 3 V A E R DI P A PI R K O N T O- N U M M E R                                                                O 3)
     0 3 I SI N- F R A                                                                                             O 3)
     0 3 I SI N- TI L                                                                                              O 3)
     03 M AE N G DE                                                                                                F 1)
     0 3 M A E N G D E- B E H A N D LI N G S K O D E                                                               O
     03 K O E RS ELS D AT O                                                                                        O 3)
     0 3 N A V N E N O T E RI N G S K O D E                                                                        F
     0 3 F O R C E RI N G S M A R K E RI N G S K O D E                                                             F
     03 PR O CE NT                                                                                                 F 2)
0 2 I N V E S T O R- O E N S K E- T Y P E
     03 K O DE                                                                                                     O 3)

1) M æ n g d e s k al o g m å k u n a n gi v e s, h vi s f elt                            -
                                                                                      -
k u n h vi s k o d e f or i n v e st or- ø n s k e-t y p e er u d b ytt e a kti er.
3) V ær di e n k a n i k k e æ n dr e s.

O = o bli g at ori s k , F = f ri villig
                                  villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


Sl et ni n g af i n v e st or ø n s k e ( T D 2 0 0 2 2 v)
F or m ål :
At sl ett e e n k u n d e s r e gi str er e d e ø n s k e v e dr ør e n d e e n s el s k a b sr el at er et h æ n d el s e.

B e h a n dli n g h o s d elt a g er e n :
Tr a n s a kti o n e n er til g æ n g eli g f or o pri n d eli g a n m el d er af d et r e gi str er e d e ø n s k e.

V P- st a n d ar d s y st e m :
D 0 2 9 k a n a n v e n d e s.

B e h a n dli n g i V P :
D et k o ntr oll er e s, at a n m el d er er li g m e d o pri n d eli g a n m el d er af d et r e gi str er e d e ø n s k e.


                                                                                                                                 Si d e 1 6 6 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G




U d d at a:
F øl g e n d e i nf o d a n n e s:

TI 2 0 2 6 3 v Sl et ni n g af i n v e st or ø n s k e

D A T A F ELT E R

0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                       O
0 2 I N V E S T O R- O E N S K E
     0 3 I D E N TI FI K A TI O N- KI                                                                             O
     0 3 V A E R DI P A PI R K O N T O- N U M M E R                                                               O
     0 3 I SI N- F R A                                                                                            O
     0 3 I SI N- TI L                                                                                             O
     03 M AE N G DE                                                                                               /
     0 3 M A E N G D E- B E H A N D LI N G S K O D E                                                              /
     03 K O E RS ELS D AT O                                                                                       O
     0 3 N A V N E N O T E RI N G S K O D E                                                                       /
     0 3 F O R C E RI N G S M A R K E RI N G S K O D E                                                            /
     03 PR O CE NT                                                                                                F
0 2 I N V E S T O R- O E N S K E- T Y P E
     03 K O DE                                                                                                    O

O = o bli g at ori s k, F = f ri villi g, / = m å i k k e u df yl d e s

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


O pr et a n m o d ni n g o m u dtr æ k af i n v e st or ø n s k er ( T C 2 0 1 1 8 v)
F or m ål:
At et a bl er e e n r e k vi siti o n f o r u dtr æ k ni n g af i n v e st or ø n s k er.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or D C.

V P- st a n d ar d s y st e m:
D 1 2 2 k a n a n v e n d e s.

B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er er li g m e d d e n a n gi v n e KI ell er e n o p d at eri n g sr el at er et KI.

U d d at a:
K u n s k ær m s v ar.

D A T A F ELT E R

0 2 R E K VI SI TI O N.
    0 3 A F S E N D E R- R E F E R E N C E                                                                        O
    03 K O E RS ELS D AT O
0 2 A F T A L E H A V E R. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N

                                                                                                                                 Si d e 1 6 7 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G



0 2 K O N T O F O E R E N D EI N S TI T U T. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N
0 2 D A T A C E N T E R. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N
0 2 S E L S K A B S H A E N D E L S E.
     03 N U M MER
0 2 R E K VI SI TI O N S O P L Y S NI N G E R.
     0 3 S O E G- F R A-I SI N
     0 3 S O E G- TI L-I SI N

O = o bli g at ori s k, F = f ri villi g

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di ( s e f elt b e s kri v el s er), vil d e n n e bli v e
i s at v e d m o dt a g el s e n i V P.


BI C

Et a bl eri n g af BI C s er vi c e p eri o d e ( T C 2 0 0 2 1 v)
F or m ål:
At r e gi str er e e n k u n d e s B a n k I d e ntif i k ati o n s K o d e ( BI C) til br u g v e d i n dr a p p ort eri n g o g m a k k er s ø g ni n g af
pr e a d vi c e s.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or k u n d e n s KI o g e n o p d at eri n g s-r el at er et KI.

V P- st a n d ar d s y st e m:
D 0 9 5 k a n a n v e n d e s.

B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er er li g m e d d e n a n gi v n e KI ell er e n o p d at eri n g sr el at er et KI.

U d d at a:
K u n s k ær m s v ar.
D a gli gt d a n n e s i nf o TI 2 0 2 6 5 1 - O v er si gt o v er o pl y s ni n g er o m BI C- k o d er, at i nf or m er e o m e n d elt a g er s
u n d er st øtt el s e af BI C- k o d er.

D A T A F ELT E R

02 D ELT A G E R
    0 3 I D E N TI FI K A TI O N                                                                                  O
0 2 BI C- S E R VI C E- P E RI O D E
    0 3 B A N K-I D E N TI FI K A TI O N S- K O D E                                                               O
    03I N VEST OR N AV N                                                                                          O
    03 ST ART D AT O                                                                                              O
    03 SL UT D AT O                                                                                               F

O = o bli g at ori s k, F = f ri villi g
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di, s e F elt b e s kri v el s er 7 ( N yt s y st e m),
vil d e n n e bli v e i s at v e d m o dt a g el s e n i V P.




                                                                                                                                 Si d e 1 6 8 af 4 5 0
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                                                                         S Y S T E M V E J L E D NI N G



F or e s p ør g s el p å BI C s er vi c e p eri o d e ( T R 2 0 0 2 1 v)
F or m ål :
                                                                                                          a n k I d e ntifi k ati o n s K o d e ( BI C).

B e h a n dli n g h o s d elt a g er e n :
Tr a n s a kti o n e n er til g æ n g eli g f or all e.

V P- st a n d ar d s y st e m :
D 0 9 5 k a n a n v e n d e s.

B e h a n dli n g i V P :
D et k o ntr oll er e s, at a n m el d er er a kti v.

U d d at a :
K u n s k ær m s v ar.

D A T A F ELT E R

02 D ELT A G E R
    0 3 I D E N TI FI K A TI O N                                                                                     /
0 2 BI C- S E R VI C E- P E RI O D E
    0 3 B A N K-I D E N TI FI K A TI O N S- K O D E                                                                  O *
    03I N VEST OR N AV N                                                                                             /
    03 ST ART D AT O                                                                                                 /
    03 SL UT D AT O                                                                                                  /

O = o bli g at ori s k , F = f ri villi g, g , / = m å i k ke ke u df yl d e s
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di, s e F elt b e s kri v el s er 7 ( N yt s y st e m),
vil d e n n e bli v e i s at v e d m o dt a g el s e n i V P.


Æ n dri n g af BI C s er vi c e p eri o d e ( T U 2 0 0 2 1 v)
F or m ål :
At æ n dr e o pl y s ni n g er n e r e gi str er et u n d er e n k u n d e s B a n k I d e ntifi k ati o n s K o d e ( BI C).

B e h a n dli n g h o s d elt a g er e n :
Tr a n s a kti o n e n er til g æ n g eli g f or k u n d e n s KI o g e n o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m :
D 0 9 5 k a n a n v e n d e s.

B e h a n dli n g i V P :
D et k o ntr oll er e s, at a n m el d er er li g m e d d e n a n gi v n e KI ell er e n o p d at eri n g sr el at er et KI.

U d d at a :
K u n s k ær m s v ar.
D a gli gt d a n n e s i nf o TI 2 0 2 6 5 1 - O v er si gt o v er o pl y s ni n g er o m BI C- k o d er, at i nf or m er e o m e n d elt a g er s
u n d er st øtt el s e af BI C- k o d er.




* D et er   m uli gt k u n at a n gi v e e n d el af BI C- k o d e n .

                                                                                                                                     Si d e 1 6 9 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G



D A T A F ELT E R

02 D ELT A G E R
    0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 BI C- S E R VI C E- P E RI O D E
    0 3 B A N K-I D E N TI FI K A TI O N S- K O D E                                                                O
    03I N VEST OR N AV N                                                                                           F
    03 ST ART D AT O                                                                                               F
    03 SL UT D AT O                                                                                                F

O = o bli g at ori s k, F = f ri villi g
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di, s e F elt b e s kri v el s er 7 ( N yt s y st e m),
vil d e n n e bli v e i s at v e d m o dt a g el s e n i V P.


Sl et ni n g af BI C s er vi c e p eri o d e ( T D 2 0 0 2 1 v)
F or m ål:
At sl ett e all e r e gi str er e d e o pl y s ni n g er u n d er e n k u n d e s B a n k I d e ntifi k ati o n s K o d e ( BI C).

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or k u n d e n s KI o g e n o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m:
D 0 9 5 k a n a n v e n d e s.

B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er er li g m e d d e n a n gi v n e KI ell er e n o p d at eri n g sr el at er et KI.

U d d at a:
K u n s k ær m s v ar.
D a gli gt d a n n e s i nf o TI 2 0 2 6 5 1 - O v er si gt o v er o pl y s ni n g er o m BI C- k o d er, at i nf or m er e o m e n d elt a g er s
u n d er st øtt el s e af BI C- k o d er.

D A T A F ELT E R

02 D ELT A G E R
    0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 BI C- S E R VI C E- P E RI O D E
    0 3 B A N K-I D E N TI FI K A TI O N S- K O D E                                                                O
    03I N VEST OR N AV N                                                                                           /
    03 ST ART D AT O                                                                                               /
    03 SL UT D AT O                                                                                                /

O = o bli g at ori s k, F = f ri villi g, / = m å i k k e u df yl d e s
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di, s e F elt b e s kri v el s er 7 ( N yt s y st e m),
vil d e n n e bli v e i s at v e d m o dt a g el s e n i V P.


Et a bl eri n g af d elt a g er BI C a d m i ni str ati o n ( T C 2 0 2 3 0 v)
F or m ål:
At r e gi str er e e n k u n d e s B a n k I d e ntif i k ati o n s K o d e ( BI C) til br u g f or fr e mfi n di n g af e n c d-i d e nt til
i n dr a p p ort eri n g af pr e a d vi c e s.


                                                                                                                                     Si d e 1 7 0 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G



B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or KI - S T / F H o g e n m e d o p d at eri n g sr el ati o n.

V P- st a n d ar d s y st e m:
D 3 7 2 a n v e n d e s.
B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er er li g m e d d e n a n gi v n e KI - S T/ F H ell er e n m e d o p d at eri n g sr el ati o n.

U d d at a:
S k ær m s v ar.
D a gli gt d a n n e s i nf o TI 2 0 2 6 8 1 - O v er s i gt o v er o pl y s ni n g er o m d elt a g er- BI C- k o d er, s o m i nf or m er er o m e n
d elt a g er s u n d er st øtt el s e af BI C- k o d er.

D A T A F ELT E R

0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                     F
0 2 D E L T A G E R.
     0 3 I D E N TI FI K A TI O N                                                                               O
0 2 TI L S L U T NI N G S- F U N K TI O N.
     03 TYPE                                                                                                    O
0 2 D E L T A G E R- BI C.
     0 3 B A N K-I D E N TI FI K A TI O N S- K O D E                                                            O 1)
     0 3 BI C- N A V N                                                                                          O 2)
     03 ST ART D AT O                                                                                           O
     03 SL UT D AT O                                                                                            F
     0 3 BI C- D E F A U L T- K O D E                                                                           F 3)

O = o bli g at ori s k, F = f ri villi g
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di, s e F elt b e s kri v el s er 7 ( N yt s y st e m),
vil d e n n e bli v e i s at v e d m o dt a g el s e n i V P.

1) BI C- k o d e n s k al v ær e 8 ell er 1 1 t e g n l a n g u d e n m ell e mr u m o g d e tr e si d st e t e g n m å i k k e v ær e X X X
2) M å i k k e v ær e bl a n k
3) H vi s d e n n e i k k e er u df yl dt, s ætt e s d e n til 2 = n e j. D ef a ult k o d e n k a n k u n v ær e 1 h vi s til sl ut ni n g sf u n k-
ti o n e n er F H ell er S T.


F or e s p ør g s el p å d elt a g er BI C a d mi ni str ati o n ( T R 2 0 2 3 0 v)
F or m ål:
At f or e s p ør g e p å e n k u n d e s B a n k I d e ntifi k ati o n s K o d e ( BI C).

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or all e.
V P- st a n d ar d s y st e m:
D 3 7 2 a n v e n d es
V e d F 2 vi s s k al f øl g e n d e f elt er v ær e u df yl dt:
   D elt a g er i d e ntifi k ati o n
  Til sl ut ni n g sf u n kti o n
  BI C- k o d e

ell er F 4 li st k a n a n v e n d e s v e d at u df yl d e e n ell er fl er e at f øl g e n d e f elt er:
   D elt a g er i d e ntifi k ati o n


                                                                                                                               Si d e 1 7 1 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G



 Til sl ut ni n g sf u n kti o n
 BI C- k o d e

H vi s i n g e n af f elt er n e u df y l d e s, f år m a n s a mtli g e BI C-k o d er d er er r e gi str er et.
I d ett e s k ær m bill e d e er d er o g s å m uli g h e d f or at f or e s p ør g e p å T Y P E 0 6 = A H ( s o m br u g e s til T A R G E T 2).

H vi s m a n vil h e nt e e n d elt a g er fr a li st bill e d et t il r ett el s e, s ætt e s X u d f or d e n a kt u ell e o g m a n r et ur n er er
m e d F 3 r et ur til D 3 7 2. ( D ett e g æl d er d o g i k k e f or T Y P E 0 6 = A H).

U d d at a:
K u n s k ær m s v ar.

D A T A F ELT E R

0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                        F
0 2 D E L T A G E R.
     0 3 I D E N TI FI K A TI O N                                                                                  O
0 2 TI L S L U T NI N G S- F U N K TI O N.
     03 TYPE                                                                                                       O
0 2 D E L T A G E R- BI C.
     0 3 B A N K-I D E N TI FI K A TI O N S- K O D E                                                               O
     0 3 BI C- N A V N                                                                                             /
     03 ST ART D AT O                                                                                              F
     03 SL UT D AT O                                                                                               /
     0 3 BI C- D E F A U L T- K O D E                                                                              /

O = o bli g at ori s k, F = f ri villi g, / = m å i k k e u df yl d e s
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di, s e F elt b e s kri v el s er 7 ( N yt s y st e m),
vil d e n n e bli v e i s at v e d m o dt a g el s e n i V P.



Æ n dri n g af d elt a g er BI C a d mi ni str ati o n ( T U 2 0 2 3 0 v)
F or m ål:
At æ n dr e o pl y s ni n g er n e r e gi st r er et u n d er e n k u n d e s B a n k I d e ntifi k ati o n s K o d e ( BI C).

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or KI - S T / F H ell er e n m e d o p d at eri n g sr el ati o n.

V P- st a n d ar d s y st e m:
D 3 7 2 a n v e n d e s.
F øl g e n d e f elt er s k al v ær e u df yl dt o g F 2 vi s s k al a kti v er e s f ør æ n dri n g
   D elt a g er i d e ntifi k ati o n
  Til sl ut ni n g sf u n kti o n
  BI C- k o d e

B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er er li g m e d d e n a n gi v n e KI - S T/ F H ell er e n m e d o p d at eri n g sr el ati o n.

U d d at a:
S k ær m s v ar.



                                                                                                                                  Si d e 1 7 2 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G



D a gli gt d a n n e s i nf o TI 2 0 2 6 8 1 - O v er s i gt o v er o pl y s ni n g er o m d elt a g er- BI C- k o d er, s o m i nf or m er er o m e n
d elt a g er s u n d er st øtt el s e af BI C- k o d er.

D A T A F ELT E R

0 2 A N M E L D E L S E.
     0 3 A F S E N D E R- R E F E R E N C E                                                                        F
0 2 D E L T A G E R.
     0 3 I D E N TI FI K A TI O N                                                                                  O
0 2 TI L S L U T NI N G S- F U N K TI O N.
     03 TYPE                                                                                                       O
0 2 D E L T A G E R- BI C.
     0 3 B A N K-I D E N TI FI K A TI O N S- K O D E                                                               O
     0 3 BI C- N A V N                                                                                             F 1)
     03 ST ART D AT O                                                                                              O
     03 SL UT D AT O                                                                                               F
     0 3 BI C- D E F A U L T- K O D E                                                                              F

O = o bli g at ori s k, F = f ri villi g, / = m å i k k e u df yl d e s
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di, s e F elt b e s kri v el s er 7 ( N yt s y st e m),
vil d e n n e bli v e i s at v e d m o dt a g el s e n i V P.

1) M å i k k e v ær e bl a n k


Sl et ni n g af d elt a g er BI C a d m i ni str ati o n ( T D 2 0 2 3 0 v)
F or m ål:
At sl ett e all e r e gi str er e d e o pl y s ni n g er u n d er e n k u n d e s B a n k I d e ntifi k ati o n s K o d e ( BI C).

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or KI - S T / F H ell er e n m e d o p d at eri n g sr el ati o n.

V P- st a n d ar d s y st e m:
D 3 7 2 a n v e n d e s.
F øl g e n d e f elt er s k al v ær e u df yl dt o g F 2 vi s s k al a kti v er e s f ør sl et ni n g
   D elt a g er i d e ntifi k ati o n
  Til sl ut ni n g sf u n kti o n
  BI C- k o d e

B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er er li g m e d d e n a n gi v n e KI- S T/ F H ell er e n m e d o p d at eri n g sr el ati o n.

U d d at a:
S k ær m s v ar.
D a gli gt d a n n e s i nf o TI 2 0 2 6 8 1 - O v er s i gt o v er o pl y s ni n g er o m d elt a g er- BI C- k o d er, s o m i nf or m er er o m e n
d elt a g er s u n d er st øtt el s e af BI C- k o d er.

D A T A F ELT E R

0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                                         F
0 2 D E L T A G E R.
    0 3 I D E N TI FI K A TI O N                                                                                   O


                                                                                                                                     Si d e 1 7 3 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



0 2 TI L S L U T NI N G S- F U N K TI O N.
     03 TYPE                                                                                                      O
0 2 D E L T A G E R- BI C.
     0 3 B A N K-I D E N TI FI K A TI O N S- K O D E                                                              O
     0 3 BI C- N A V N                                                                                            /
     03 ST ART D AT O                                                                                             O
     03 SL UT D AT O                                                                                              /
     0 3 BI C- D E F A U L T- K O D E                                                                             /

O = o bli g at ori s k, F = f ri villi g, / = m å i k k e u df yl d e s
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di, s e F elt b e s kri v el s er 7 ( N yt s y st e m),
vil d e n n e bli v e i s at v e d m o dt a g el s e n i V P.




C or p or at e A cti o n s

Et a bl eri n g af u d b ytt efl yt ni n g ( T C 2 0 0 2 7 v)
F or m ål:
At k u n n e fl ytt e et br utt o u d b ytt e b el ø b fr a e n v ær di p a pir k o nt o til e n a n d e n o g k orri g er e s k att e b el ø b f or
af gi v er o g m o dt a g er i h e n h ol d til g æl d e n d e b e s k at ni n g sr e gl er.

B e h a n dli n g h o s d elt a g er e n:
A n m el d er af tr a n s a kti o n e n s k al v ær e d et af gi v e n d e k o nt of ør e n d e i n stit ut ( KI) f or v ær di p a pir k o nt o e n ell er
af et af gi v e n d e o p d at eri n g sr el at er et k o nt of ør e n d e i n stit ut ( KI).

U d b ytt efl yt ni n g k a n f or et a g e s i n dtil u d g a n g e n af d et k al e n d er år, h v ori u d b ytt et er b er e g n et, d o g alti d
u d e n vir k ni n g f or b et ali n g sf or mi dli n g e n. D et k o nt a nt e u d b ytt e o g e vt. æ n dri n g er i u d b ytt e s k att e n s k al
s ål e d e s afr e g n e s m a n u elt.
U d b ytt e b el ø b et s k al v ær e r e gi str er et p å d e n af gi v e n d e V P - k o nt o, f ør fl yt ni n g k a n s k e. D er k a n alt s å i k k e
di s p o n er e s o v er u d b ytt e b el ø b s a m m e d a g s o m u d b ytt e b er e g ni n g e n fi n d er st e d.

V e d fl yt ni n g af u d b ytt e eft er U 2- s k att e k ør sl e n s k al k o nt of ør e n d e i n stit ut afr eg n e/til b a g e s ø g e e vt.
æ n dri n g er i u d b ytt e s k att e n dir e kt e o v er f or S K A T.

H vi s d er fl ytt e s til e n v p- k o nt o, h v or d er i f o r v ej e n fi n d e s u d b ytt e o pl y s ni n g er, a n v e n d e s d e s a m m e
v ær di er f or l a n d e k o d e, d o b b elt b e s k at ni n g s aft al e o g k o d e f or a n v e n dt u d b ytt e- er kl æri n g s o m bl e v br u gt
v e d o pri n d eli g b er e g ni n g.

B e h a n dli n g i V P:
D er d a n n e s d o k u m e nt ati o n til u d st e d er a n s v arli g, h vi s u d b y tt e s k att e n æ n dr e s s o m f øl g e af u d b ytt efl yt ni n g
til/fr a v p- k o nti, h v or p å d er er b er e g n et u d b ytt e s k at eft er e n d o b b elt b e s k at ni n g s aft al e, n e d s at p g a. S E L
ell er s o m er fri h ol dt p g a. R E V, F RI ell er K A P.

G o d k e n dt e tr a n s a kti o n er b e h a n dl e s u mi d d el b art eft er i n dr a p p ort eri n g e n.

V P- st a n d ar d s y st e m:
D 1 9 1 k a n a n v e n d e s.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 3 2 3 v                     U d b ytt efl yt ni n g til KI

                                                                                                                                 Si d e 1 7 4 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



TI 2 0 3 2 8 v                     Æ n dri n g af u d b ytt e s k at t il u d st e d er a n s v arli g

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                       O
0 2 A F GI V E N D E- K O N T O
    0 3 K O N T O F O E R E N D E-I N S TI T U T. ( D E L T A G E R)
           0 4 I D E N TI FI K A TI O N                                                                          O
    0 3 V A E R DI P A PI R K O N T O
           04 N U M MER                                                                                          O
0 2 M O D T A G E N D E- K O N T O
    0 3 K O N T O F O E R E N D E-I N S TI T U T. ( D E L T A G E R)
           0 4 I D E N TI FI K A TI O N                                                                          O
    0 3 V A E R DI P A PI R K O N T O
           04 N U M MER                                                                                          O
02 H A N D ELS P R O D U KT
    0 3 I SI N                                                                                                   O
02 U DBYTTE
    03 K O E RS ELS D AT O                                                                                       O
    0 3 B R U T T O- B E L O E B                                                                                 O
02 V AL UT A
    0 3 I S O- K O D E                                                                                           O
02 PR OVE N UTYPE
    03 K O DE                                                                                                    O

O = o bli g at ori s k


Æ n dri n g af a n v e n dt u d b ytt e er kl ær i n g s k o d e ( T U 2 0 0 2 8 v)
F or m ål:
At k u n n e æ n dr e k o d e f or a n v e n dt u d b y tt e er kl æri n g f or et b er e g n et u d b ytt e.

B e h a n dli n g h o s c e nt r al d elt a g er:
Tr a n s a kti o n e n i n dr a p p ort er e s af d et k o nt of ør e n d e i n stit ut i d e tilf æl d e, h v or V P- k o nt o e n s k o d e f or
u d b ytt e er kl æri n g i k k e h ar v ær et k orr e kt p å u d b ytt e b er e g ni n g sti d s p u n kt et. Æ n dri n g e n g æl d er f or
u d b ytt e b er e g ni n g e n i e n e n k elt I SI N.
F or u d s æt ni n g er:
Æ n dri n g e n i k o d e f or a n v e n dt u d b ytt e er kl æri n g, k a n s k e i n dtil U 2- s k att e k ør sl e n.
Æ n dri n g i k o d e f or a n v e n dt u d b ytt e er kl æri n g m å i k k e f or et a g e s i p eri o d e n m ell e m b er e g ni n g s d at o o g
b et ali n g sf or mi dli n g s d at o.

V P- st a n d ar d s y st e m:
D 1 9 2 k a n a n v e n d e s.
H er s k al i n dt a st e s d at a i all e f elt er, d o g k a n d at a i f elt et u d b ytt e- æ n dri n g = a n v e n dt
u d b ytt e er kl æri n g s k o d e bli v e v i st v e d at t a st e F 0 2 = vi s.

B e h a n dli n g i V P:
G o d k e n dt e tr a n s a kti o n er b e h a n dl e s u mi d d el b art eft er i n dr a p p ort eri n g e n.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:



                                                                                                                              Si d e 1 7 5 af 4 5 0
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                                                           S Y S T E M V E J L E D NI N G



TI 2 0 3 2 2 v                   Æ n dri n g af a n v e n dt u d b ytt e er kl æri n g til KI
TI 2 0 3 2 8 v                   Æ n dri n g af u d b ytt e s k at t il u d st e d er a n s v arli g

D A T A F ELT E R

0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                                      O
0 2 K O N T O F O E R E N D E-I N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                O
0 2 V A E R DI P A PI R K O N T O
    03 N U M MER                                                                                                O
02 H A N D ELS P R O D U KT
    0 3 I SI N                                                                                                  O
02 U DBYTTE
    03 K O E RS ELS D AT O                                                                                      O
    0 3 A N V E N D T- U D B Y T T E E R K L A E RI N G S- K O D E                                              O
02 PR OVE N UTYPE
    03 K O DE                                                                                                   O

O = o bli g at ori s k



Vi s a n v e n dt u d b ytt e er kl æ ri n g s k o d e ( T R 2 0 0 2 8 v)
F or m ål:
At vi s e k o d e f or a n v e n dt u d b ytt e er kl æri n g f or et b er e g n et u d b ytt e.

B e h a n dli n g h o s c e nt r al d elt a g er:
D et k o nt of ør e n d e i n stit ut k a n f or e s p ør g e p å a n v e n dt u d b ytt e er kl æri n g s k o d e p å e n v p- k o nt o.

V P- st a n d ar d s y st e m:
D 1 9 2 k a n a n v e n d e s.

U d d at a:
F or efi n d e s k u n s o m s k ær m s v ar

D A T A F ELT E R

0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                                      O
0 2 K O N T O F O E R E N D E-I N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                O
0 2 V A E R DI P A PI R K O N T O
    03 N U M MER                                                                                                O
02 H A N D ELS P R O D U KT
    0 3 I SI N                                                                                                  O
02 U DBYTTE
    03 K O E RS ELS D AT O                                                                                      O
    0 3 A N V E N D T- U D B Y T T E E R K L A E RI N G S- K O D E                                              O
02 PR OVE N UTYPE
    03 K O DE                                                                                                   O




                                                                                                                               Si d e 1 7 6 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



O = o bli g at ori s k


Æ n dri n g af u d b ytt e s k at ( T U 2 0 0 2 9 v)
F or m ål:
At k u n n e æ n dr e/ k orri g er e i d e n b er e g n e d e u d b ytt e s k at p å e n v p- k o nt o f or e n gi v e n I SI N.

B e h a n dli n g h o s c e nt r al d elt a g er:
Tr a n s a kti o n e n i n dr a p p ort er e s af d et k o nt of ør e n d e i n stit u t o g k a n a n v e n d e s, eft er at U 2- s k att e k ør sl e n h ar
f u n d et st e d, f or u d e nl a n d s k e s el s k a b er eft er di s p o siti o n s d at o e n.

Æ n dri n g er i u d b ytt e s k att e n k a n f or et a g e s i n dtil si d st e b a n k d a g i år et o g vil fr e m g å af år s o p g ør el s er n e.

D et k o nt of ør e n d e i n stit ut er a n s v arli g f or at i n d b er ett e h e n h ol d s vi s til b a g e s ø g e u d b y tt e s k att e n h o s S K A T.

V P- st a n d ar d s y st e m:
D 1 9 3 k a n a n v e n d e s.
H er s k al i n dt a st e s d at a i all e f elt er, d o g k a n d at a i f elt et u d b ytt e- æ n dri n g = s k att e b el ø b bli v e vi st v e d at
t a st e F 0 2 = vi s.
I f elt et V al ut a I S O k o d e i n dt a st e s d e n v al ut a u d b ytt e b el ø b et er u d b et alt i.
F elt et u d b ytt et y p e s k al u df yl d e s m e d k o d e 3 = u d b ytt e ell er k o d e 5 = u d b ytt eli g n e n d e u dl o d ni n g,

B e h a n dli n g i V P:
G o d k e n dt e tr a n s a kti o n er b e h a n dl e s u mi d d el b art eft er i n dr a p p ort eri n g e n.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 3 2 4 v                     Æ n dri n g af u d b ytt e s k at til KI

D A T A F ELT E R

0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                                         O
0 2 K O N T O F O E R E N D E-I N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 V A E R DI P A PI R K O N T O
    03 N U M MER                                                                                                   O
02 H A N D ELS P R O D U KT
    0 3 I SI N                                                                                                     O
02 U DBYTTE
    03 K O E RS ELS D AT O                                                                                         O
    0 3 S K A T T E- B E L O E B                                                                                   O
02 V AL UT A
    0 3 I S O- K O D E                                                                                             O
02 PR OVE N UTYPE
    03 K O DE                                                                                                      O

O = o bli g at ori s k




                                                                                                                                   Si d e 1 7 7 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



Vi s u d b ytt e s k at ( T R 2 0 0 2 9 v)
F or m ål:
At vi s e d et b er e g n e d e s k att e b el ø b, d er er r e gi str er et p å v p- k o nt o e n f or e n gi v e n I SI N.

B e h a n dli n g h o s c e nt r al d elt a g er:
D et k o nt of ør e n d e i n stit ut k a n f or e s p ør g e p å s k att e b el ø b p å e n v p- k o nt o.

V P- st a n d ar d s y st e m:
D 1 9 3 k a n a n v e n d e s.

U d d at a:
F or efi n d e s k u n s o m s k ær m s v ar

D A T A F ELT E R

0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                                           O
0 2 K O N T O F O E R E N D E-I N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 V A E R DI P A PI R K O N T O
    03 N U M MER                                                                                                     O
02 H A N D ELS P R O D U KT
    0 3 I SI N                                                                                                       O
02 U DBYTTE
    03 K O E RS ELS D AT O                                                                                           O
    0 3 S K A T T E- B E L O E B                                                                                     O
02 V AL UT A
    0 3 I S O- K O D E                                                                                               O
02 PR OVE N UTYPE
    03 K O DE                                                                                                        O

O = o bli g at ori s k


Et a bl eri n g af g e n er el g e ni n v e st eri n g s aft al e( T C 2 0 0 7 1 v)
F or m ål:
At r e gi str er e e n k u n d e s g e n er ell e g e ni n v e st eri n g s aft al e i f or bi n d el s e m e d s el s k a b sr el at er e d e h æ n d el s er
h v or d er til b y d e s u d b ytt e a kti er.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or k u n d e n s KI o g o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m:
D 1 9 5 k a n a n v e n d e s.

U d d at a:
F øl g e n d e i nf o- m e d d el el s e d a n n e s:

TI 2 0 3 6 1 v         Et a bl eri n g af g e n er el g e ni n v e st eri n g s aft al e

D A T A F ELT E R

0 2 A N M E L D E L S E.

                                                                                                                                    Si d e 1 7 8 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



    0 3 A F S E N D E R- R E F E R E N C E                                                                          O
0 2 K O N T O F Ø R E N D EI N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                    O
0 2 V A E R DI P A PI R K O N T O.
    03 N U M MER                                                                                                    O
0 2 G E NI N V E S T E RI N G S A F T A L E.
    03 K O DE                                                                                                       O
    03 PR O CE NT                                                                                                   F 1)
    0 3 N A V N E N O T E RI N G S K O D E                                                                          F

1) Pr o c e nt m å k u n a n gi v e s, h vi s f elt et ' K O D E' er u df yl dt m e d ' 1'.
H vi s pr o c e nt i k k e a n gi v e s v e d k o d e 1, s ætt e s pr o c e nt til 1 0 0.

O = o bli g at ori s k, F = f ri villi g
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di, s e F elt b e s kri v el s er 7 ( N yt s y st e m),
vil d e n n e bli v e s at til d ef a u lt v ær di e n v e d m o dt a g el s e n i V P.


F or e s p ør g s el p å g e n er el g e ni n v e st eri n g s aft al e( T R 2 0 0 7 1 v)
F or m ål:
At f or e s p ør g e p å e n k u n d e s g e n er ell e g e ni n v e st eri n g s aft al e i f or bi n d el s e m e d s el s k a b sr el at er e d e
h æ n d el s er h v or d er til b y d e s u d b ytt e a kti er.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or k u n d e n s KI o g o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m:
D 1 9 5 k a n a n v e n d e s.

U d d at a:
K u n s k ær m s v ar.

D A T A F ELT E R

0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                                          O
0 2 K O N T O F Ø R E N D EI N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                    O
0 2 V A E R DI P A PI R K O N T O.
    03 N U M MER                                                                                                    O
0 2 G E NI N V E S T E RI N G S A F T A L E.
    03 K O DE                                                                                                       /
    03 PR O CE NT                                                                                                   /
    0 3 N A V N E N O T E RI N G S K O D E                                                                          /

O = o bli g at ori s k, / = m å i k k e u df yl d e s


Æ n dri n g af g e n er el g e ni n v e st eri n g s aft al e( T U 2 0 0 7 1 v)
F or m ål:
At æ n dr e e n k u n d e s g e n er ell e g e ni n v e st eri n g s aft al e i f or bi n d el s e m e d s el s k a b sr el at er e d e h æ n d el s er h v or
d er til b y d e s u d b ytt e a kti er.


                                                                                                                                     Si d e 1 7 9 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or k u n d e n s KI o g o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m:
D 1 9 5 k a n a n v e n d e s.

U d d at a:
F øl g e n d e i nf o- m e d d el el s e d a n n e s:

TI 2 0 3 6 2 v         Æ n dri n g af g e n er el g e ni n v e st eri n g s aft al e

D A T A F ELT E R

0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                                        O
0 2 K O N T O F Ø R E N D EI N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                  O 1)
0 2 V A E R DI P A PI R K O N T O.
    03 N U M MER                                                                                                  O 1)
0 2 G E NI N V E S T E RI N G S A F T A L E.
    03 K O DE                                                                                                     O
    03 PR O CE NT                                                                                                 F 2)
    0 3 N A V N E N O T E RI N G S K O D E                                                                        F

1) F elt et k a n i k k e æ n dr e s
2) Pr o c e nt m å k u n a n gi v e s, h vi s f elt et ' K O D E' er u df yl dt m e d ' 1'.
H vi s pr o c e nt i k k e a n gi v e s v e d k o d e 1, s ætt e s pr o c e nt til 1 0 0.

O = o bli g at ori s k, F = f ri villi g
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di, s e F elt be s kri v el s er 7 ( N yt s y st e m),
vil d e n n e bli v e s at til d ef a u lt v ær di e n v e d m o dt a g el s e n i V P.


Sl et ni n g af g e n e r el g e ni n v e st eri n g s aft al e( T D 2 0 0 7 1 v)
F or m ål:
At sl ett e e n k u n d e s g e n er ell e g e ni n v e st eri n g s aft al e i f or bi n d el s e m e d s el s k a b sr el at er e d e h æ n d el s er h v or
d er til b y d e s u d b ytt e a kti er, s a mti di g sl ett e s et a b l er e d e f or e k o m st er af g e ni n v e st eri n g s aft al er d et alj er.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or k u n d e n s KI o g o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m:
D 1 9 5 k a n a n v e n d e s.

U d d at a:
F øl g e n d e i nf o- m e d d el el s e d a n n e s:

TI 2 0 3 6 3 v      Sl et ni n g af g e n er el g e ni n v e st eri n g s aft al e

D A T A F ELT E R

0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                                        O


                                                                                                                                   Si d e 1 8 0 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



0 2 K O N T O F Ø R E N D EI N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                    O
0 2 V A E R DI P A PI R K O N T O.
    03 N U M MER                                                                                                    O
0 2 G E NI N V E S T E RI N G S A F T A L E.
    03 K O DE                                                                                                       /
    03 PR O CE NT                                                                                                   /
    0 3 N A V N E N O T E RI N G S K O D E                                                                          /

O = o bli g at ori s k, / = m å i k k e u df yl d e s


Et a bl eri n g af g e ni n v e st eri n g s aft al e I SI N( T C 2 0 0 7 2 v)
F or m ål:
At r e gi str er e e n k u n d e s g e ni n v e st eri n g s aft al e f or e n s p e cifi k I SI N i f or bi n d el s e m e d s el s k a b sr el at er e d e
h æ n d el s er h v or d er til b y d e s u d b ytt e a kti er.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or k u n d e n s KI o g o p d at eri n g sr el at er et KI.
G e n er el g e ni n v e st eri n g s aft al e s k al v ær e et a bl er et f ør g e ni n v e st eri n g s aft al e d et alj er k a n et a bl er e s.

V P- st a n d ar d s y st e m:
D 1 9 6 k a n a n v e n d e s.

U d d at a:
F øl g e n d e i nf o- m e d d el el s e d a n n e s:

TI 2 0 3 6 4 v      Et a bl eri n g af g e ni n v e st eri n g s aft al e d et alj er

D A T A F E L T E R´

0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                                          O
0 2 K O N T O F Ø R E N D EI N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                    O
0 2 V A E R DI P A PI R K O N T O.
    03 N U M MER                                                                                                    O
0 2 H A N D E L S P R O D U K T.
    0 3 I SI N                                                                                                      O
0 2 G E NI N V E S T E RI N G S A F T A L E- D E T AI L.
    03 K O DE                                                                                                       O
    03 PR O CE NT                                                                                                   F 1)
    0 3 N A V N E N O T E RI N G S K O D E                                                                          F

1) Pr o c e nt m å k u n a n gi v e s, h vi s f elt et ' K O D E' er u df yl dt m e d ' 1'.
H vi s pr o c e nt i k k e a n gi v e s v e d k o d e 1, s ætt e s pr o c e nt til 1 0 0.

O = o bli g at ori s k, F = f ri villi g
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di, s e F elt b e s kri v el s er 7 ( N yt s y st e m),
vil d e n n e bli v e s at til d ef a u lt v ær di e n v e d m o dt a g el s e n i V P.




                                                                                                                                     Si d e 1 8 1 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



F or e s p ør g s el p å g e ni n v e st eri n g s aft al e I SI N( T R 2 0 0 7 2 v)
F or m ål:
At f or e s p ør g e p å e n k u n d e s g e ni n v e st eri n g s aft al e f or e n s p e cifi k I SI N i f or bi n d el s e m e d
s el s k a b sr el at er e d e h æ n d el s er h v or d er til b y d e s u d b ytt e a kti er.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or k u n d e n s KI o g o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m:
D 1 9 6 k a n a n v e n d e s.

U d d at a:
K u n s k ær m s v ar.

D A T A F ELT E R

0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                                        O
0 2 K O N T O F Ø R E N D EI N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                  O
0 2 V A E R DI P A PI R K O N T O.
    03 N U M MER                                                                                                  O
0 2 H A N D E L S P R O D U K T.
    0 3 I SI N                                                                                                    O
0 2 G E NI N V E S T E RI N G S A F T A L E- D E T AI L.
    03 K O DE                                                                                                     /
    03 PR O CE NT                                                                                                 /
    0 3 N A V N E N O T E RI N G S K O D E                                                                        /

O = o bli g at ori s k, / = m å i k k e u df yl d e s


Æ n dri n g af g e ni n v e st eri n g s aft al e I SI N( T U 2 0 0 7 2 v)
F or m ål:
At æ n dr e e n k u n d e s g e ni n v e st eri n g s aft al e f or e n s p e cifi k I SI N i f or bi n d el s e m e d s el s k a b sr el at er e d e
h æ n d el s er h v or d er til b y d e s u d b ytt e a kti er.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or k u n d e n s KI o g o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m:
D 1 9 6 k a n a n v e n d e s.

U d d at a:
F øl g e n d e i nf o- m e d d el el s e d a n n e s:

TI 2 0 3 6 5 v      Æ n dri n g af g e ni n v e st eri n g s aft al e d et alj er

D A T A F ELT E R

0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                                        O
0 2 K O N T O F Ø R E N D EI N S TI T U T. ( D E L T A G E R)

                                                                                                                                      Si d e 1 8 2 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



    0 3 I D E N TI FI K A TI O N                                                                                   O 1)
0 2 V A E R DI P A PI R K O N T O.
    03 N U M MER                                                                                                   O 1)
0 2 H A N D E L S P R O D U K T.
    0 3 I SI N                                                                                                     O 1)
0 2 G E NI N V E S T E RI N G S A F T A L E- D E T AI L.
    03 K O DE                                                                                                      O
    03 PR O CE NT                                                                                                  F 2)
    0 3 N A V N E N O T E RI N G S K O D E                                                                         F

1) F elt et k a n i k k e æ n dr e s
2) Pr o c e nt m å k u n a n gi v e s, h vi s f elt et ' K O D E' er u df yl dt m e d ' 1'.
H vi s pr o c e nt i k k e a n gi v e s v e d k o d e 1, s ætt e s pr o c e nt til 1 0 0.

O = o bli g at ori s k, F = f ri villi g
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di, s e F elt b e s kri v el s er 7 ( N yt s y st e m),
vil d e n n e bli v e s at til d ef a u lt v ær di e n v e d m o dt a g el s e n i V P.


Sl et ni n g af g e ni n v e st eri n g s aft al e I SI N( T D 2 0 0 7 2 v)
F or m ål:
At sl ett e e n k u n d e s g e ni n v e st eri n g s aft al e f or e n s p e cifi k I SI N i f or bi n d el s e m e d s el s k a b sr el at er e d e
h æ n d el s er h v or d er til b y d e s u d b ytt e a kti er.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or k u n d e n s KI o g o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m:
D 1 9 6 k a n a n v e n d e s.

U d d at a:
F øl g e n d e i nf o- m e d d el el s e d a n n e s:

TI 2 0 3 6 6 v      Sl et ni n g af g e ni n v e st eri n g s aft al e d et alj er

D A T A F ELT E R

0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                                         O
0 2 K O N T O F Ø R E N D EI N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 V A E R DI P A PI R K O N T O.
    03 N U M MER                                                                                                   O
0 2 H A N D E L S P R O D U K T.
    0 3 I SI N                                                                                                     O
0 2 G E NI N V E S T E RI N G S A F T A L E- D E T AI L.
    03 K O DE                                                                                                      /
    03 PR O CE NT                                                                                                  /
    0 3 N A V N E N O T E RI N G S K O D E                                                                         /

O = o bli g at ori s k, / = m å i k k e u df yl d e s




                                                                                                                                   Si d e 1 8 3 af 4 5 0
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                                                                S Y S T E M V E J L E D NI N G



Et a bl eri n g af r e k vi siti o n af li k vi dit e t s o pl y s ni n g er( T C 2 0 1 1 9 v)
F or m ål:
At r e k vir er e o pl y s ni n g er o m f or el ø bi g li k vi dit et s b e h o v af e n f or e st å e n d e g e ni n v e st eri n g af u d b ytt e.

B e h a n dli n g h o s d elt a g er e n:
A n m el d er at tr a n s a kti o n e n s k al v ær e a kti e u d st e d e n d e i n stit ut ( AI).
R e k vi siti o n af o pl y s ni n g er o m f or el ø bi g li k vi dit et s b e h o v af e n f or e st å e n d e g e ni n v e st eri n g af u d b ytt e, k a n
r e k vir er e s fr a 1 5 b a n k d a g e f ør u d b ytt e k ør s el s d at o.

V P- st a n d ar d s y st e m:
D 1 2 3 k a n a n v e n d e s.

B e h a n dli n g i V P:
G o d k e n d e s tr a n s a kti o n e n s e n d e s d e n ø n s k e d e i nf or m ati o n i f or bi n d el s e m e d s kift til n yt af vi kli n g s d ø g n.

U d d at a:
D er d a n n e s f øl g e n d e i nf o - m e d d el el s er:

TI 2 0 3 3 4 v           U d b ytt e a kti er - f or el ø bi g li k vi dit et s b e h o v

D A T A F ELT E R

0 2 R E K VI SI TI O N.
    0 3 A F S E N D E R- R E F E R E N C E                                                                          O
    03 K O E RS ELS D AT O                                                                                          O
0 2 R E K VI SI TI O N S O P L Y S NI N G E R.
    0 3 S E L S K A B S H A E N D E L S E- N U M M E R                                                              O
    0 3 U D B Y T T E A K TI E P RI S                                                                               O

O = o bli g at ori s k


Sl et ni n g af r e k vi siti o n( T D 2 0 1 1 9 v)
F or m ål:
At sl ett e e n ti dli g er e i n dr a p p o rt er et o pl y s ni n g o m f or el ø bi g li k vi d it et s b e h o v af e n f or e st å e n d e
g e ni n v e st eri n g af u d b ytt e.

B e h a n dli n g h o s d elt a g er e n:
A n m el d er at tr a n s a kti o n e n s k al v ær e a kti e u d st e d e n d e i n stit ut ( AI).

V P- st a n d ar d s y st e m:
D 1 2 3 k a n a n v e n d e s.

B e h a n dli n g i V P:
G o d k e n d e s tr a n s a kti o n e n, a n n ull er e s r e k vi si ti o n e n u mi d d el b art eft er m o dt a g el s e n.

U d d at a:
K u n s k ær m s v ar.

D A T A F ELT E R

0 2 R E K VI SI TI O N.
    0 3 A F S E N D E R- R E F E R E N C E                                                                          O


                                                                                                                                    Si d e 1 8 4 af 4 5 0
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                                                               S Y S T E M V E J L E D NI N G



    03 K O E RS ELS D AT O                                                                                       O
0 2 R E K VI SI TI O N S O P L Y S NI N G E R.
    0 3 S E L S K A B S H A E N D E L S E- N U M M E R                                                           O
    0 3 U D B Y T T E A K TI E P RI S                                                                            O

O = o bli g at ori s k.


Vi s r e k vi siti o n( T R 2 0 1 1 9 v)
F or m ål:
At vi s e, h vil k e o pl y s ni n g er d er er r e gi str er et v e dr ør e n d e r e k vir er e d e o pl y s ni n g er o m f or el ø bi g
li k vi dit et s b e h o v af e n f or st å e n d e g e ni n v e st eri n g af u d b ytt e.

B e h a n dli n g h o s d elt a g er e n:
A n m el d er at tr a n s a kti o n e n s k al v ær e a kti e u d st e d e n d e i n stit ut ( AI).

V P- st a n d ar d s y st e m:
D 1 2 3 k a n a n v e n d e s.

U d d at a:
K u n s k ær m s v ar.

D A T A F ELT E R

0 2 R E K VI SI TI O N.
    0 3 A F S E N D E R- R E F E R E N C E                                                                       O
    03 K O E RS ELS D AT O                                                                                       O
0 2 R E K VI SI TI O N S O P L Y S NI N G E R.
    0 3 S E L S K A B S H A E N D E L S E- N U M M E R                                                           O
    0 3 U D B Y T T E A K TI E P RI S                                                                            O

O = o bli g at ori s k.


F or e s p ør g s el p å a kti e s el s k a b s o pl y s ni n g er( T R 2 0 3 8 2 v)
F or m ål:
At k u n n e f or e s p ør g e p å a kti e s el s k a b s o pl y s ni n g er.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or KI o g U D.

V P- st a n d ar d s y st e m:
D 1 4 2 k a n a n v e n d e s.

U d d at a:
K u n s k ær m s v ar.

D A T A F ELT E R

0 2 A K TI E S E L S K A B ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                 F 1)
02 H A N D ELS P R O D U K T
    0 3 I SI N                                                                                                   F 1)

                                                                                                                                 Si d e 1 8 5 af 4 5 0
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                                                           S Y S T E M V E J L E D NI N G




1) mi n d st et af f elt er n e s k al u df yl d e s.
F = f ri villi g


Et a bl eri n g af mi ni m u m s gr æ n s e f o r g e ni n v e st eri n g( T C 2 0 4 2 6 v)
F or m ål:
At et a bl er e mi ni m u m s gr æ n s e f or g e ni n v e st eri n g.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or k u n d e n s KI o g o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m:
D 1 9 9 s k al a n v e n d e s.

U d d at a:
F or efi n d e s k u n s o m s k ær m s v ar.

D A T A F ELT E R

0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                                     O
0 2 MI NI M U M S G R A E N S E- F O R- G E NI N V E S T.
    03 B EL O E B                                                                                              O
    0 3 I D E N TI FI K A TI O N- KI                                                                           O
    0 3 I N V E S T- F O R E NI N G S K L A S SI FI K A TI O N                                                 O

O = o bli g at ori s k, F = f ri villi g
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di, s e F elt b e s kri v el s er 7 ( N yt s y st e m),
vil d e n n e bli v e s at til d ef a u lt v ær di e n v e d m o dt a g el s e n i V P.


F or e s p ør g s el p å mi ni m u m s gr æ n s e f or g e ni n v e st eri ng( T R 2 0 4 2 6 v)
F or m ål:
At f or e s p ør g e p å mi ni m u m s gr æ n s e f or g e ni n v e st eri n g.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or k u n d e n s KI o g o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m:
D 1 9 9 s k al a n v e n d e s.

U d d at a:
F or efi n d e s k u n s k ær m s v ar.

D A T A F ELT E R

0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                                     O
0 2 MI NI M U M S G R A E N S E- F O R- G E NI N V E S T.
    03 B EL O E B                                                                                              /
    0 3 I D E N TI FI K A TI O N- KI                                                                           O
    0 3 I N V E S T- F O R E NI N G S K L A S SI FI K A TI O N                                                 F

                                                                                                                               Si d e 1 8 6 af 4 5 0
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                                                           S Y S T E M V E J L E D NI N G




O = o bli g at ori s k, / = m å i k k e u df yl d e s


   Æ n dri n g af mi ni m u m s gr æn s e f or g e ni n v e st eri n g( T U 2 0 4 2 6 v)
F or m ål:
At æ n dr e mi ni m u m s gr æ n s e f or g e ni n v e st eri n g.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or k u n d e n s KI o g o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m:
D 1 9 9 s k al a n v e n d e s.

U d d at a:
F or efi n d e s k u n s k ær m s v ar.

D A T A F ELT E R

0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                                     O
0 2 MI NI M U M S G R A E N S E- F O R- G E NI N V E S T.
    03 B EL O E B                                                                                              O
    0 3 I D E N TI FI K A TI O N- KI                                                                           O
    0 3 I N V E S T- F O R E NI N G S K L A S SI FI K A TI O N                                                 O

O = o bli g at ori s k, F = f ri villi g
V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di, s e F elt b e s kri v el s er 7 ( N yt s y st e m),
vil d e n n e bli v e s at til d ef a u lt v ær di e n v e d m o dt a g el s e n i V P.


Sl et ni n g af mi ni m u m s gr æ n s e f or g e ni n v e st eri n g( T D 2 0 4 2 6 v)
F or m ål:
At sl ett e mi ni m u m s gr æ n s e n f or g e ni n v e st eri n g.

B e h a n dli n g h o s d elt a g er e n:
Tr a n s a kti o n e n er til g æ n g eli g f or k u n d e n s KI o g o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m:
D 1 9 9 s k al a n v e n d e s.

U d d at a:
F or efi n d e s k u n s k ær m s v ar.

D A T A F ELT E R

0 2 A N M E L D E L S E.
    0 3 A F S E N D E R- R E F E R E N C E                                                                     O
0 2 MI NI M U M S G R A E N S E- F O R- G E NI N V E S T.
    03 B EL O E B                                                                                              /
    0 3 I D E N TI FI K A TI O N- KI                                                                           O
    0 3 I N V E S T- F O R E NI N G S K L A S SI FI K A TI O N                                                 O



                                                                                                                               Si d e 1 8 7 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G




O = o bli g at ori s k , / = m å i k ke
                                     ke u df yl d e s




V P k o nt o e n

Æ n dri n g af r e g el f or o pl ø s ni n g af b e h ol d ni n g s o v ertr æ k ( T U 2 0 1 0 0 v)
F or m ål :
At r e gi str er e aft al e m ell e m k o nt o h a v er p å et V P-                                                      -
d et k o nt of ør e n d e i n stit ut o m at a n v e n d e s el e kti v e pri n ci p p er v e d o pl ø s ni n g af b e h ol d ni n g s o v ertr æ k.

N år d et k o nt of ør e n d e i n stit ut h ar i n d g å et s kriftli g aft al e m e d k u n d e n o m at d e n n e ø n s k er at a n v e n d e d e
s el e kti v e pri n ci p p er f or o pl ø s ni n g af b e h ol d ni n g s o v ert r æ k, k a n k u n d e n s V P- k o nt o m ar k er e s, s å d ett e
o pl ø s ni n g s pri n ci p bli v er a n v e n dt.

V e d r e gi str eri n g af m ar k eri n g e n p å d e n e n k elt e V P- k o nt o i n d e st år d et k o nt of ør e n d e i n stit ut f or, at d e n
n ø d v e n di g e aft al e er i n d g å et m e d k o nt o h a v er e n o m a n v e n d el s e af d et til e n h v er ti d g æl d e n d e s el e kti v e



M ar k eri n g e n af V P- k o nt o e n m e df ør er al e n e, at o p l ø s ni n g af b e h ol d ni n g s o v ertr æ k f or et a g e s eft er r e gl er n e
                                                                                                                           -
k a n f ort s at t a g e s p a nt ell er k o nt a ntf or b e h ol d, i d et alt o m kri n g b et ali n g e n vil v ær e u æ n dr et, li g e s o m
m uli g h e d e n f or si k k er h e d sr et ell er r e gl er o m n etti n g i tilf æl d e af k o n k ur s i k k e fi n d er a n v e n d el s e.

M ar k eri n g e n k a n k u n r e gi str er e s p å V P-                                                      -
h a n d el s d elt a g er e alti d h ar aft al e o m o p l ø s ni n g eft er d e s el e kti v e pri n ci p p er.

B a g gr u n d f or o r d e n n e v al g m uli g h e d :
U d e n aft al e f øl g e s d et gr u n dl æ g g e n d e li g er et s pri n ci p o m, at all e fr a g a n g e er si d e or d n e d e. D erf or
m e df ør er b e h ol d ni n g s o v ertr æ k, at all e fr a g a n g e i d e n o v ertr u k n e I SI N u d s k y d e s, u a n s et at d er e v e nt u elt
er d æ k ni n g f or n o gl e af fr a g a n g e n e. F or pri v at e k u n d er m e df ør er d et gr u n dl æ g g e n d e pri n ci p
s æ d v a nli g vi s i k k e n o g e n ul e m p er, d a d er sj æl d e nt k ø b e s o g s æl g e s fl er e p o st er i d e n s a m m e I SI N i n d e n
f or d e n s a m m e d a g.

F or n o gl e pr of e s si o n ell e k u n d er, d er i V P-                                             -

m a n gl e n d e l e v eri n g til a n dr e pr of e s si o n ell e i af vi kli n g e n , s ærli gt af vi kli n g s a n s v arli g e. D et vil d erf or

o pl ø st eft er d e s el e kti v e pri n ci p p er.
B e h a n dli n g i V P :
V P- d e p ot et m ar k er e s i h e n h ol d til d e n f or et a g n e æ n dri n g.
M ar k eri n g f or a n v e n d el s e af d e s el e kti v e pri n ci p p er v e d o pl ø s ni n g af b e h ol d ni n g s o v ert r æ k vil m e df ør e, at
et e v e nt u elt b e h ol d ni n g s o v ertr æ k i e n h a n d el s af vi kli n g s k ør s el vil bli v e o pl ø st ef t er d e pri n ci p p er, d er


B e h a n dli n g h o s c e nt r al d elt a g er :
I n d e n r e gi str eri n g e n af e n aft al e o m at a n v e nd e s el e kti v e pri n ci p p er v e d o pl ø s ni n g af
b e h ol d ni n g s o v ertr æ k, s k al d et k o nt of ør e n d e i n stit ut i n d g å e n s kriftli g aft al e m e d k o nt o h a v er e n jf.
o v e nf or.
H vi s e n h a n d el s af vi kli n g s k ør s el er i g a n g, k a n tr a n s a kti o n e n i k k e g e n n e mf ør e s, o g vil s å bli v e af vi st.



                                                                                                                                     Si d e 1 8 8 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



V P- st a n d ar d s y st e m :
D 0 1 2 k a n a n v e n d e s.

U d d at a :
TI 2 0 1 0 0 1 Æ n dri n g af r e g el f or o pl ø s ni n g af b e h ol d ni n g s o v ertr æ k.


O pr ett el s e af v al ut a u dl æ n di n g s s k att e o pl y s ni n g er ( T C 2 0 1 4 9 v)
F or m ål :
A n v e n d e s til at o pr ett e v al ut a u dl æ n di n g s s k att e o pl y s ni n g er s a mt n a v n e- o g a dr e s s e o pl y s ni n g er.

B e h a n dli n g h o s d elt a g er e n :
A n m el d er af tr a n s a kti o n e n s k al v ær e d et k o nt of ør e n d e i n stit ut ( KI) f or v ær di p a pir k o nt o e n ell er et
o p d at eri n g sr el at er et k o nt of ør e n d e i n stit ut ( KI).

A n v e n d e s til at r e gi str er e s k att e m æ s si g I D n u m m er ( TI N n u m m er) eft er b o p æl sl a n d et s r e gl er p å k o nt o-

Alt er n ati vt k a n f ø d s el s d at o, f ø d e st e d o g f ø d el a n d i n dr a p p ort er e s.
E n d vi d er e s k al v al ut a u dl æ n di n g e s n a v n e- o g a dr e s s e o pl y s ni n g er r e gi str er e s. D i s s e a dr e s s e o pl y s ni n g er
i n d b er ett e s til S K A T p å k o nt o-
f or s k elli g fr a D K.


B e h a n dli n g i V P :
D et k o ntr oll er e s at:
      a n m el d er er li g m e d d e n a n gi v n e KI ell er e n o p d at eri n g sr el at er et KI
      v al ut a u dl æ n di n g s s k att e o pl y s ni n g er i k k e fi n d e s

V P- st a n d ar d s y st e m :
D 5 0 6 k a n a n v e n d e s.

U d d at a :
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er

TI 2 0 4 6 1 v              O pr ett el s e af v al ut a u dl æ n di n g s s k att e o pl y s ni n g er

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                             O
0 2 K O N T O F O E R E N D E-I N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                       O
0 2 V A E R DI P A PI R K O N T O
    03 N U M MER                                                                                                       O
0 2 V A L U T A U D L A E N DI N G- S K A T- O P L Y S NI N G
    0 3 I D E N TI FI K A TI O N                                                                                       O
    0 3 TI N- N U M M E R                                                                                              F 2)
    0 3 TI N- N U M M E R- T Y P E                                                                                     O 2)
    03 F OE DESTE D                                                                                                    F 1)
    03 F O E D EL A N D                                                                                                F 1)
    03 F OR N AV N                                                                                                     F
    03 EFTER N AV N                                                                                                    O
    0 3 C O- N A V N                                                                                                   F


                                                                                                                                       Si d e 1 8 9 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



     03 G A DE                                                                                                      F
     03 H US N U M MER                                                                                              F
     03 ET A GE                                                                                                     F
     0 3 SI D E                                                                                                     F
     03 P OSTB O X                                                                                                  F
     03 L A N DS BY                                                                                                 F
     03 P OST NR                                                                                                    F
     03 BY N AV N                                                                                                   F
     03 H US N AV N                                                                                                 F
     0 3 L E J LI G H E D S- N U M M E R                                                                            F
     03 E G N                                                                                                       F
     03 L A N D                                                                                                     F

O = o bli g at ori s k, F = f ri villi g

1) H vi s TI N n u m m er er u df yl dt m e d f ø d s el s d at o( D D M M Å Å Å Å) o g TI N n u m m er t y p e er li g 2, s k al f ø d e st e d
o g f ø d el a n d u df yl d e s.
2) H vi s TI N n u m m er t y p e er li g 3, m å TI N n u m m er, f ø d e st e d o g f ø d el a n d i k k e u df yl d e s.


F or e s p ør g p å v al ut a u dl æ n di n g s s k att e o pl y s ni n g er ( T R 2 0 1 4 9 v)
F or m ål:
At f or e s p ør g e p å v al ut a u dl æ n di n g s s k att e o p l y s ni n g er s a mt n a v n e- o g a dr e s s e o pl y s ni n g er.

B e h a n dli n g h o s d elt a g er e n:
A n m el d er af tr a n s a kti o n e n s k al v ær e d et k o nt of ør e n d e i n stit ut ( KI) f or v ær di p a pir k o nt o e n ell er s p ør g e-
/ o p d at eri n g sr el at er et k o nt of ør e n d e i n stit ut ( KI).

B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er er li g m e d d e n a n gi v n e KI ell er e n s p ør g e-/ o p d at eri n g sr el at er et KI s a mt at
v al ut a u dl æ n di n g s s k att e o pl y s ni n g er e k si st er er.

V P- st a n d ar d s y st e m:
D 5 0 6 k a n a n v e n d e s.

U d d at a:
Tr a n s a kti o n s s v ar.

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                          O
0 2 K O N T O F O E R E N D E-I N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                    O
0 2 V A E R DI P A PI R K O N T O
    03 N U M MER                                                                                                    O
0 2 V A L U T A U D L A E N DI N G- S K A T- O P L Y S NI N G
    0 3 I D E N TI FI K A TI O N                                                                                    O
    0 3 TI N- N U M M E R                                                                                           F
    0 3 TI N- N U M M E R- T Y P E                                                                                  F
    03 F OE DESTE D                                                                                                 F
    03 F O E D EL A N D                                                                                             F
    03 F OR N AV N                                                                                                  F

                                                                                                                                   Si d e 1 9 0 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



     03 EFTER N AV N                                                                                               F
     0 3 C O- N A V N                                                                                              F
     03 G A DE                                                                                                     F
     03 H US N U M MER                                                                                             F
     03 ET A GE                                                                                                    F
     0 3 SI D E                                                                                                    F
     03 P OSTB O X                                                                                                 F
     03 L A N DS BY                                                                                                F
     03 P OST NR                                                                                                   F
     03 BY N AV N                                                                                                  F
     03 H US N AV N                                                                                                F
     0 3 L E J LI G H E D S- N U M M E R                                                                           F
     03 E G N                                                                                                      F
     03 L A N D                                                                                                    F

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s


Æ n dri n g af v al ut a u dl æ n di n g s s k att e o pl y s ni n g er ( T U 2 0 1 4 9 v)
F or m ål:
At æ n dr e v al ut a u dl æ n di n g s s k att e o pl y s ni n g er s a mt n a v n e- o g a dr e s s e o pl y s ni n g er.

B e h a n dli n g h o s d elt a g er e n:
A n m el d er af tr a n s a kti o n e n s k al v ær e d et k o nt of ør e n d e i n stit ut ( KI) f or v ær di p a pir k o nt o e n ell er et
o p d at eri n g sr el at er et k o nt of ør e n d e i n stit ut ( KI).

B e h a n dli n g i V P:
D et k o ntr oll er e s at:
      a n m el d er er li g m e d d e n a n gi v n e KI ell er e n o p d at eri n g sr el at er et KI
      v al ut a u dl æ n di n g s s k att e o pl y s ni n g er fi n d e s

V P- st a n d ar d s y st e m:
D 5 0 6 k a n a n v e n d e s.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 4 6 2 v             O p d at eri n g af v al ut a u dl æ n d i n g s s k att e o pl y s ni n g er

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                         O
0 2 K O N T O F O E R E N D E-I N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 V A E R DI P A PI R K O N T O
    03 N U M MER                                                                                                   O
0 2 V A L U T A U D L A E N DI N G- S K A T- O P L Y S NI N G
    0 3 I D E N TI FI K A TI O N                                                                                   O
    0 3 TI N- N U M M E R                                                                                          F 2)
    0 3 TI N- N U M M E R- T Y P E                                                                                 O 2)
    03 F OE DESTE D                                                                                                F 1)
    03 F O E D EL A N D                                                                                            F 1)

                                                                                                                               Si d e 1 9 1 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



     03 F OR N AV N                                                                                                F
     03 EFTER N AV N                                                                                               O
     0 3 C O- N A V N                                                                                              F
     03 G A DE                                                                                                     F
     03 H US N U M MER                                                                                             F
     03 ET A GE                                                                                                    F
     0 3 SI D E                                                                                                    F
     03 P OSTB O X                                                                                                 F
     03 L A N DS BY                                                                                                F
     03 P OST NR                                                                                                   F
     03 BY N AV N                                                                                                  F
     03 H US N AV N                                                                                                F
     0 3 L E J LI G H E D S- N U M M E R                                                                           F
     03 E G N                                                                                                      F
     03 L A N D                                                                                                    F

O = o bli g at ori s k, F = f ri villi g

1) H vi s TI N n u m m er er u df yl dt m e d f ø d s el s d at o ( D D M M Å Å Å Å) o g TI N nu m m er t y p e er li g 2, s k al
f ø d e st e d o g f ø d el a n d u df yl d e s.
2) H vi s TI N n u m m er t y p e er li g 3, m å TI N n u m m er, f ø d e st e d o g f ø d el a n d i k k e u df yl d e s.


Sl et ni n g af v al ut a u dl æ n di n g s s k att e o pl y s ni n g er ( T D 2 0 1 4 9 v)
F or m ål:
At sl ett e v al ut a u dl æ n di n g s s k att e o pl y s ni n g er s a mt n a v n e- o g a dr e s s e o pl y s ni n g er.

B e h a n dli n g h o s d elt a g er e n:
A n m el d er af tr a n s a kti o n e n s k al v ær e d et k o nt of ør e n d e i n stit ut ( KI) f or v ær di p a pir k o nt o e n ell er et
o p d at eri n g sr el at er et k o nt of ør e n d e i n stit ut ( KI).

B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er er li g m e d d e n a n gi v n e KI ell er e n o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m:
D 5 0 6 k a n a n v e n d e s.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 4 6 3 v             Sl et ni n g af v al ut a u dl æ n di n g s s k att e o pl y s ni n g er

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                         O
0 2 K O N T O F O E R E N D E-I N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 V A E R DI P A PI R K O N T O
    03 N U M MER                                                                                                   O
0 2 V A L U T A U D L A E N DI N G- S K A T- O P L Y S NI N G
    0 3 I D E N TI FI K A TI O N                                                                                   O
    0 3 TI N- N U M M E R                                                                                          /

                                                                                                                               Si d e 1 9 2 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



     0 3 TI N- N U M M E R- T Y P E                                                                                 O
     03 F OE DESTE D                                                                                                /
     03 F O E D EL A N D                                                                                            /
     03 F OR N AV N                                                                                                 /
     03 EFTER N AV N                                                                                                /
     0 3 C O- N A V N                                                                                               /
     03 G A DE                                                                                                      /
     03 H US N U M MER                                                                                              /
     03 ET A GE                                                                                                     /
     0 3 SI D E                                                                                                     /
     03 P OSTB O X                                                                                                  /
     03 L A N DS BY                                                                                                 /
     03 P OST NR                                                                                                    /
     03 BY N AV N                                                                                                   /
     03 H US N AV N                                                                                                 /
     0 3 L E J LI G H E D S- N U M M E R                                                                            /
     03 E G N                                                                                                       /
     03 L A N D                                                                                                     /

O = o bli g at ori s k, F = f ri villi g, / = s k al i k k e u df yl d e s


Et a bl eri n g af m e d d el el s e sfr a v al g f or k o nt o h a v er o g r etti g h e d s h a v er ( T C 2 0 1 5 9 v)
F or m ål:
A n v e n d e s til at v e dli g e h ol d e e n m e d d el el s e s m o dt a g er s fr a v al g af e n m e d d el el s e ell er e n d el af e n
m e d d el el s e

B e h a n dli n g h o s d elt a g er e n:
A n m el d er af tr a n s a kti o n e n s k al v ær e d et k o nt of ør e n d e i n stit ut ( KI) f or v ær di p a pir k o nt o e n ell er et
o p d at eri n g sr el at er et k o nt of ør e n d e i n stit ut ( KI).

Et a bl eri n g af fr a v al g p å h el e m e d d el el s e n vil er st att e e v e nt u ell e ti dli g er e fr a v al g p å s e kti o n s ni v e a u.
O m v e n dt vil et a bl eri n g af fr a v al g p å s e kti o n s ni v e a u er st att e e v e nt u el l e ti dli g er e fr a v al g p å h el e
m e d d el el s e n.

D er k a n "fl o w e s " til D 3 8 8 i m e d d el el s e s v al g pr. m o dt a g er ell er til D 3 8 7 Li st m e d d el el s er o g s e kti o n er, v e d
at a n gi v e d et ø n s k e d e o g b e n ytt e F 0 4. I D 3 8 7 Li st m e d d el el s er o g s e kti o n er k a n d er v æl g e s fr a li st e n o g
r et ur n er e s i g e n m e d F 0 3.

B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er er li g m e d d e n a n gi v n e KI ell er e n o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m:
D 3 8 6 k a n a n v e n d e s.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 4 0 1 v                     O pr ett el s e af m e d d el el s e sfr a v al g
TI 2 0 4 0 0 v                     Sl et ni n g af m e d d el el s e sfr a v al g

D A T A F ELT E R



                                                                                                                                   Si d e 1 9 3 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                          O
02 M E D D EL ELS ES M O DT A G E R
    0 3 I D E N TI FI K A TI O N- K O N T O F O E R E R                                                             O
    0 3 V A E R DI P A PI R K O N T O N U M M E R                                                                   O
    0 3 I D E N TI FI K A TI O N                                                                                    O 1)
    03 TYPE                                                                                                         F 2)
02 M E D D EL ELS E
    03 N U M MER                                                                                                    O
0 2 M E D D E L E L S E S S E K TI O N
    0 3 S E K TI O N S N U M M E R                                                                                  F 3)

O = o bli g at ori s k, F = f ri villi g
1) H vi s k o nt o h a v er i d i k k e er a n gi v et h e nt e s d et a ut o m ati s k fr a K O N T O. H vi s r ett i g h e d s h a v er i d i k k e er
a n gi v et h e nt e s d et a ut o m ati s k fr a R E T TI G H E D S H A V E R, s åfr e mt d er k u n fi n d e s e n r etti g h e d s h a v er. V e d
fl er e r etti g h e d s h a v er e s k al r etti g h e d s h a v er i d a n gi v e s.
2) D ef a ult 1, 1 = k o nt o h a v er
3) H vi s s e kti o n s n u m m er i k k e er a n gi v et, s ætt e s d et til d ef a ult 0 1 ( h el m e d d el el s e).

Et a bl eri n g af fr a v al g p å h el e m e d d el el s e n vil er st att e e v e nt u ell e ti dli g er e fr a v al g p å s e kti o n s ni v e a u.
O m v e n dt vil et a bl eri n g af fr a v al g p å s e kti o n s ni v e a u er st att e e v e nt u ell e ti dli g er e fr a v al g p å h el e
m e d d el el s e n.

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di, s e F elt b e s kri v el s er 7 ( N yt s y st e m),
vil d e n n e bli v e s at til d ef a u lt v ær di e n v e d m o dt a g el s e n i V P.


Vi s m e d d el el s e sfr a v al g f or k o nt o h a v er o g r etti g h e d s h a v er ( T R 2 0 1 5 9 v)
F or m ål:
At f or e s p ør g e p å e n m e d d el el s e s m o dt a g er s fr a v al g af    e n m e d d el el s e ell er e n d el af e n m e d d el el s e.

B e h a n dli n g h o s d elt a g er e n:
A n m el d er af tr a n s a kti o n e n s k al v ær e d et k o nt of ør e n d e i n stit ut ( KI) f or v ær di p a pir k o nt o e n ell er et
o p d at eri n g sr el at er et k o nt of ør e n d e i n stit ut ( KI).

B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er er li g m e d d e n a n gi v n e KI ell er e n o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m:
D 3 8 6 k a n a n v e n d e s.

U d d at a:
Tr a n s a kti o n s s v ar.

D A T A F ELT E R

02 A N M EL D ELS E
   0 3 A F S E N D E R- R E F E R E N C E                                                                           O
02 M E D D EL ELS ES M O DT A G E R
   0 3 I D E N TI FI K A TI O N- K O N T O F O E R E R                                                              O
   0 3 V A E R DI P A PI R K O N T O N U M M E R                                                                    O
   0 3 I D E N TI FI K A TI O N                                                                                     O 1)
   03 TYPE                                                                                                          F 2)


                                                                                                                                   Si d e 1 9 4 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



02 M E D D EL ELS E
    03 N U M MER                                                                                                 O
0 2 M E D D E L E L S E S S E K TI O N
    0 3 S E K TI O N S N U M M E R                                                                               F 3)

O = o bli g at ori s k, F = f ri villi g
1) H vi s k o nt o h a v er i d i k k e er a n gi v et h e nt e s d et a ut o m ati s k fr a K O N T O. H vi s r ett i g h e d s h a v er i d i k k e er
a n gi v et h e nt e s d et a ut o m ati s k fr a R E T TI G H E D S H A V E R, s åfr e mt d er k u n fi n d e s e n r etti g h e d s h a v er. V e d
fl er e r etti g h e d s h a v er e s k al r etti g h e d s h a v er i d a n gi v e s.
2) D ef a ult 1, 1 = k o nt o h a v er
3) H vi s s e kti o n s n u m m er i k k e er a n gi v et, s ætt e s d et til d ef a ult 0 1 ( h el m e d d el el s e).

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di, s e F elt b e s kri v el s er 7 ( N y t s y st e m),
vil d e n n e bli v e s at til d ef a u lt v ær di e n v e d m o dt a g el s e n i V P.


Sl et m e d d el el s e sfr a v al g f or k o nt o h a v er o g r etti g h e d s h a v er ( T D 2 0 1 5 9 v)
F or m ål:
At sl ett e e n m e d d el el s e s m o dt a g er s fr a v al g s å m e d d el el s e s m o dt a g er e n i g e n m o dt a g er m e d d el el s e.

B e h a n dli n g h o s d elt a g er e n:
A n m el d er af tr a n s a kti o n e n s k al v ær e d et k o nt of ør e n d e i n stit ut ( KI) f or v ær di p a pir k o nt o e n ell er et
o p d at eri n g sr el at er et k o nt of ør e n d e i n stit ut ( KI).

B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er er li g m e d d e n a n gi v n e KI ell er e n o p d at eri n g s r el at er et KI.

V P- st a n d ar d s y st e m:
D 3 8 6 k a n a n v e n d e s.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 4 0 0 v                     Sl et ni n g af m e d d el el s e sfr a v al g

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                       O
02 M E D D EL ELS ES M O DT A G E R
    0 3 I D E N TI FI K A TI O N- K O N T O F O E R E R                                                          O
    0 3 V A E R DI P A PI R K O N T O N U M M E R                                                                O
    0 3 I D E N TI FI K A TI O N                                                                                 O 1)
    03 TYPE                                                                                                      F 2)
02 M E D D EL ELS E
    03 N U M MER                                                                                                 O
0 2 M E D D E L E L S E S S E K TI O N
    0 3 S E K TI O N S N U M M E R                                                                               F 3)

O = o bli g at ori s k, F = f ri villi g
1) H vi s k o nt o h a v er i d i k k e er a n gi v et h e nt e s d et a ut o m ati s k fr a K O N T O. H vi s r ett i g h e d s h a v er i d i k k e er
a n gi v et h e nt e s d et a ut o m ati s k fr a R E T TI G H E D S H A V E R, s åfr e mt d er k u n fi n d e s e n r etti g h e d s h a v er. V e d
fl er e r etti g h e d s h a v er e s k al r etti g h e d s h a v er i d a n gi v e s.


                                                                                                                                 Si d e 1 9 5 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



2) D ef a ult 1, 1 = k o nt o h a v er
3) H vi s s e kti o n s n u m m er i k k e er a n gi v et, s ætt e s d et til d ef a ult 0 1 ( h el m e d d el el s e).

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di, s e F elt b e s kri v el s er 7 ( N yt s y st e m),
vil d e n n e bli v e s at til d ef a u lt v ær di e n v e d m o dt a g el s e n i V P.


Et a bl eri n g af r e k vi siti o n af m e d d e l el s e sfr a v al g - s k y g g e ( T C 2 0 1 6 2 v)
F or m ål:
A n v e n d e s til at o pr ett e e n r e k vi siti o n p å e n o v er si gt o v er k o nt o h a v er s o g r etti g h e d s h a v er s
m e d d el el s e sfr a v al g pr. k o nt of ør e n d e i n stit ut/ aft al e h a v er/ d at a c e nt er.

B e h a n dli n g h o s d elt a g er e n:
A n m el d er af tr a n s a kti o n e n s k al v ær e aft al e h a v er e n s d at a c e nt er ( D C).
U dtr æ k k et k a n r e k vir er e s p å f øl g e n d e ni v a u er:
1.           pr. d at a c e nt er ( D C)
2.           pr. aft al e h a v er ( A H)
3.           pr. k o nt of ør e n d e i n stit ut ( KI)

V P- st a n d ar d s y st e m:
D 3 9 2 k a n a n v e n d e s.

B e h a n dli n g i V P:
G o d k e n d e s tr a n s a kti o n e n s e n d e s d e n ø n s k e d e i nf or m ati o n i f or bi n d el s e m e d s kift til n yt af vi kli n g s d ø g n.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 4 0 2 v                     O pr ett el s e af m e d d el el s e sfr a v al g ( s k y g g e)

D A T A F ELT E R

0 2 D A T A C E N T E R. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                    F 1)
0 2 A F T A L E H A V E R. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                    F 1)
0 2 K O N T O F O E R E N D EI N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                    F 1)
0 2 R E K VI SI TI O N
    0 3 A F S E N D E R- R E F E R E N C E                                                                          O
    03 K O E RS ELS D AT O                                                                                          O 2)

O = o bli g at ori s k, F = f ri villi g

1) Mi n d st et af f elt er n e s k al u df yl d e s.
2) K ør s el s d at o s k al v ær e > d a g s d at o.


Vi s r e k vi siti o n af m e d d el el s e sfr a v al g - s k y g g e ( T R 2 0 1 6 2 v)
F or m ål:
At f or e s p ør g e p å e n r e k vi siti o n p å e n o v er si gt o v er k o nt o h a v er o g r etti g h e d s h a v er s m e d d el el s e sfr a v al g
pr. k o nt of ør e n d e i n stit ut/ aft al e h a v er/ d at a c e nt er.



                                                                                                                                    Si d e 1 9 6 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



B e h a n dli n g h o s d elt a g er e n:
A n m el d er af tr a n s a kti o n e n s k al v ær e aft al e h a v er e n s d at a c e nt er ( D C).

V P- st a n d ar d s y st e m:
D 3 9 2 k a n a n v e n d e s.

U d d at a:
Tr a n s a kti o n s s v ar.

D A T A F ELT E R

0 2 D A T A C E N T E R. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                     F 1)
0 2 A F T A L E H A V E R. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                     F 1)
0 2 K O N T O F O E R E N D EI N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                     F 1)
0 2 R E K VI SI TI O N
    0 3 A F S E N D E R- R E F E R E N C E                                                                           O
    03 K O E RS ELS D AT O                                                                                           O 2)

O = o bli g at ori s k, F = f ri villi g

1) Mi n d st et af f elt er n e s k al u df yl d e s.
2) K ør s el s d at o s k al v ær e > d a g s d at o.


Sl et ni n g af r e k vi siti o n af m e d d el el s e sfr a v al g - s k y g g er ( T D 2 0 1 6 2 v)
F or m ål:
A n v e n d e s til at sl ett e e n r e k vi siti o n p å e n o v er si gt o v er k o nt o h a v er s o g r etti g h e d s h a v er s
m e d d el el s e sfr a v al g pr. k o nt of ør e n d e i n stit ut/ aft al e h a v er/ d at a c e nt er.

B e h a n dli n g h o s d elt a g er e n:
A n m el d er af tr a n s a kti o n e n s k al v ær e aft al e h a v er e n s d at a c e nt er ( D C).

B e m ær k:
Af s e n d er-r ef er e n c e i sl ett etr a n s a kti o n e n s k al v ær e li g m e d af s e n d er-r ef er e n c e n p å d e n r e k vi siti o n, d er
ø n s k e s sl ett et.

B e h a n dli n g i V P:
G o d k e n d e s tr a n s a kti o n e n a n n ull er e s r e k vi si ti o n e n u mi d d el b art eft er m o dt a g el s e n.

V P- st a n d ar d s y st e m:
D 3 9 2 k a n a n v e n d e s.

U d d at a:
Tr a n s a kti o n s s v ar.

D A T A F ELT E R

0 2 D A T A C E N T E R. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                     F 1)
0 2 A F T A L E H A V E R. ( D E L T A G E R)


                                                                                                                                  Si d e 1 9 7 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



    0 3 I D E N TI FI K A TI O N                                                                                    F 1)
0 2 K O N T O F O E R E N D EI N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                    F 1)
0 2 R E K VI SI TI O N
    0 3 A F S E N D E R- R E F E R E N C E                                                                          O
    03 K O E RS ELS D AT O                                                                                          O 2)

O = o bli g at ori s k, F = f ri villi g

1) Mi n d st et af f elt er n e s k al u df yl d e s.
2) K ør s el s d at o s k al v ær e > d a g s d at o.


Et a bl eri n g af r e k vi siti o n af t e k ni s k e m e d d el el s e sfr a v al g pr. KI ( T C 2 0 1 6 3 v)
F or m ål:
A n v e n d e s til at o pr ett e e n r e k vi siti o n p å t e k ni s k fr a v al g af e n gi v e n m e d d el el s e f or all e k o nt o h a v er e o g
r etti g h e d s h a v er e u n d er et k o nt of ør e n d e i n stit ut ( KI).

B e h a n dli n g h o s d elt a g er e n:
A n m el d er af tr a n s a kti o n e n s k al v ær e d et k o nt of ør e n d e i n stit ut ( KI ell er et o p d at eri n g sr el at er et
k o nt of ør e n d e i n stit ut ( KI).

V P- st a n d ar d s y st e m:
D 3 9 3 k a n a n v e n d e s.

B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er er li g m e d d e n a n gi v n e KI ell er e n o p d at eri n g sr el at er et KI.
G o d k e n d e s tr a n s a kti o n e n f or et a g e s o p d at eri n g af fr a v al g p å k o nt o- o g r etti g h e d s h a v er i f or bi n d el s e m e d
s kift til n yt af vi kli n g s d ø g n p å k ø r s el s d at o e n, o g d er d a n n e s i nf or m ati o n til a n m el d er.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:

TI 2 0 4 0 3 v                     O pr ett el s e af m e d d el el s e sfr a v al g (t e k ni s k)

D A T A F ELT E R

0 2 K O N T O F O E R E N D EI N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                    O
0 2 R E K VI SI TI O N
    0 3 A F S E N D E R- R E F E R E N C E                                                                          O
    03 K O E RS ELS D AT O                                                                                          O 1)
0 2 R E K VI SI TI O N S O P L Y S NI N G E R
    03 M E D D EL ELS ES N U M M E R                                                                                O
    0 3 M E D D E L E L S E S S E K TI O N S N U M M E R                                                            F 2)

O = o bli g at ori s k, F = f ri villi g

1) K ør s el s d at o s k al v ær e > d a g s d at o.
2) H vi s m e d d el el s e s s e kti o n s n u m m er i k k e er a n gi v et s ætt e s d et s o m d ef a ult til ' 0 1' ( h el m e d d el el s e).




                                                                                                                                   Si d e 1 9 8 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



Vi s r e k vi siti o n af t e k ni s k e m e d d el el s e sfr a v al g pr. KI ( T R 2 0 1 6 3 v)
F or m ål:
F or e s p ør g s el p å e n r e k vi siti o n p å et t e k ni s k fr a v al g af e n gi v e n m e d d el el s e f or all e k o nt o h a v er e o g
r etti g h e d s h a v er e u n d er et k o nt of ør e n d e i n stit ut ( KI).

B e h a n dli n g h o s d elt a g er e n:
A n m el d er af tr a n s a kti o n e n s k al v ær e d et k o nt of ør e n d e i n stit ut ( KI) ell er et o p d at eri n g sr el at er et
k o nt of ør e n d e i n stit ut ( KI).

B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er er li g m e d d e n a n gi v n e KI ell er e n o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m:
D 3 9 3 k a n a n v e n d e s.

U d d at a:
Tr a n s a kti o n s s v ar

D A T A F ELT E R

0 2 K O N T O F O E R E N D EI N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                    O
0 2 R E K VI SI TI O N
    0 3 A F S E N D E R- R E F E R E N C E                                                                          O
    03 K O E RS ELS D AT O                                                                                          O 1)
0 2 R E K VI SI TI O N S O P L Y S NI N G E R
    03 M E D D EL ELS ES N U M M E R                                                                                O
    0 3 M E D D E L E L S E S S E K TI O N S N U M M E R                                                            F 2)

O = o bli g at ori s k, F = f ri villi g

1) K ør s el s d at o s k al v ær e > d a g s d at o.
2) H vi s m e d d el el s e s s e kti o n s n u m m er i k k e er a n gi v et s ætt e s d et s o m d ef a ult til ' 0 1' ( h el m e d d el el s e).


Sl et ni n g af r e k vi siti o n af t e k ni s k e m e d d el el s e sfr a v al g pr. KI ( T D 2 0 1 6 3 v)
F or m ål:
A n v e n d e s til at sl ett e e n r e k vi siti o n p å et t e k ni s k fr a v al g af e n gi v e n m e d d el el s e f or all e k o nt o h a v er e o g
r etti g h e d s h a v er e u n d er et k o nt of ør e n d e i n stit ut ( KI).

B e h a n dli n g h o s d elt a g er e n:
A n m el d er af tr a n s a kti o n e n s k al v ær e d et k o nt of ør e n d e i n stit ut ( KI) ell er et o p d at eri n g sr el at er et
k o nt of ør e n d e i n stit ut ( KI).

B e m ær k:
Af s e n d er-r ef er e n c e i sl ett etr a n s a kti o n e n s k al v ær e li g m e d af s e n d er-r ef er e n c e n p å d e n r e k vi siti o n, d er
ø n s k e s sl ett et.

B e h a n dli n g i V P:
D et k o ntr oll er e s, at a n m el d er er li g m e d d e n a n gi v n e KI ell er e n o p d at eri n g sr el at er et KI.
G o d k e n d e s tr a n s a kti o n e n a n n ull er e s r e k vi siti o n e n u mi d d el b art eft er m o dt a g el s e n.




                                                                                                                                   Si d e 1 9 9 af 4 5 0
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                                                           S Y S T E M V E J L E D NI N G



V P- st a n d ar d s y st e m:
D 3 9 3 k a n a n v e n d e s.

U d d at a:
Tr a n s a kti o n s s v ar.

D A T A F ELT E R

0 2 K O N T O F O E R E N D EI N S TI T U T. ( D E L T A G E R)
    0 3 I D E N TI FI K A TI O N                                                                                 O
0 2 R E K VI SI TI O N
    0 3 A F S E N D E R- R E F E R E N C E                                                                       O
    03 K O E RS ELS D AT O                                                                                       O 1)
0 2 R E K VI SI TI O N S O P L Y S NI N G E R
    03 M E D D EL ELS ES N U M M E R                                                                             O
    0 3 M E D D E L E L S E S S E K TI O N S N U M M E R                                                         F 2)

O = o bli g at ori s k, F = f ri villi g
1) K ør s el s d at o s k al v ær e > d a g s d at o.
2) H vi s m e d d el el s e s s e kti o n s n u m m er i k k e er a n gi v et s ætt e s d et s o m d ef a ult til ' 0 1' ( h el m e d d el el s e).


Vi s m e d d el el s e s v al g pr. m o dt a g er ( T R 2 0 1 6 1 v)
F or m ål:
At d a n n e e n o v er si gt o v er k o nt o h a v er s ell er r etti g h e d s h a v er s v al g af m e d d el el s er u dfr a d e a n gi v n e s ø g e
krit eri er.

B e h a n dli n g h o s d elt a g er e n:
A n m el d er af tr a n s a kti o n e n s k al v ær e d et k o nt of ør e n d e i n stit ut ( KI) f or v ær di p a pir k o nt o e n ell er et
o p d at eri n g sr el at er et k o nt of ør e n d e i n stit ut ( KI).
M a n k a n k u n k o m m e til d e n n e tr a n s a kti o n v e d at "fl o w e " fr a D 3 8 6 V e dli g e h ol d m e d d el el s e sfr a v al g.
D er k a n r et ur n er e s til D 3 8 6 V e dli g e h ol d m e d d el el s e sfr a v al g v e d at b e n ytt e F 0 3.

S åfr e mt f elt et " k u n fr a v al gt " er bl a n k, d a n n e s e n o v er si gt o v er all e m e d d el el s er d er k a n fr a v æl g e s m e d
m ar k eri n g af h vil k e d er er fr a v al gt. H vi s f elt et " k u n fr a v al gt " er s at til ' X' d a n n e s e n o v er si gt af K U N
fr a v al gt e m e d d el el s er.

I n g e n fr a v al g s v ar er til et til v al g.

V P- st a n d ar d s y st e m:
D 3 8 8 k a n a n v e n d e s.

U d d at a:
Tr a n s a kti o n s s v ar

D A T A F ELT E R

02 A N M EL D ELS E
   0 3 A F S E N D E R- R E F E R E N C E                                                                        O
02 M E D D EL ELS ES M O DT A G E R
   0 3 I D E N TI FI K A TI O N                                                                                  O 1)
   03 TYPE                                                                                                       F 2)
   0 3 I D E N TI FI K A TI O N- K O N T O F O E R E R                                                           O


                                                                                                                                 Si d e 2 0 0 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



    0 3 V A E R DI P A PI R K O N T O N U M M E R                                                                    O
02 M E D D EL ELS E
    03 N U M MER                                                                                                     F
0 2 DI S S- D A T A
    0 3 K U N- F R A V A L G T E                                                                                     F

O = o bli g at ori s k , F = f ri villi
                                  villigg

1) H vi s k o nt o h a v er i d i k k e er a n gi v et h e nt e s d et a ut o m ati s k fr a K O N T O. H vi s r ett i g h e d s h a v er i d i k k e er
a n gi v et h e nt e s d et a ut o m ati s k fr a R E T TI G H E D S H A V E R, s åfr e mt d er k u n fi n d e s e n r etti g h e d s h a v er. V e d
fl er e r etti g h e d s h a v er e s k al r etti g h e d s h a v er i d a n gi v e s.
2) D ef a ult 1, 1 = k o nt o h a v er

V e d m a n gl e n d e u df yl d el s e af et fri villi gt f elt, d er h ar e n d ef a ult v ær di, s e F elt b e s kri v el s er 7 ( N yt s y st e m),
vil d e n n e bli v e s at til d ef a u lt v ær di e n v e d m o dt a g el s e n i V P.


A d mi ni str ati o n af K R O N O S m ar k eri n g p å V P- d e p ot ( T U 2 0 2 5 6 v)
F or m ål :
A n v e n d e s til at r e gi str er e till a d el s e til at D a n m ar k s N ati o n al b a n k s Kr o n o s- s y st e m k a n a n v e n d e s til
r e gi str eri n g af o v erf ør sl er til si k k er h e d s still el s e s d e p ot i D N.
Y d erli g er e b e s kri v el s e af si k k er h e d s still el s e i D N

D et k o nt of ør e n d e i n stit ut k a n å b n e m uli g h e d f or at i n dr a p p ort er e o v erf ør s el str a n s a kti o n er fr a e g et d e p ot
                                                                               - br u g er gr æ n s efl a d e. D e n n e s ærli g e m uli g h e d er
u d vi kl et f or at l ett e li k vi dit et s m e d ar b ej d er e s ar b ej d e m e d r e gi str eri n g e n, i d et di s s e m e d ar b ej d er e t y pi s k
a n v e n d er Kr o n o s- s y st e m et i f or v ej e n, m e n s æ d v a nli g vi s i k k e r e gi str er er i V P- s y st e m et.

B e h a n dli n g h o s d elt a g er e n :
A n m el d er af tr a n s a kti o n e n s k al v ær e d et k o nt of ør e n d e i n stit ut ( KI) f or V P- d e p ot et ell er et
o p d at eri n g sr el at er et KI.

B e h a n dli n g i V P :
D et k o ntr oll er e s, at a n m el d er er li g m e d d et a n gi v n e KI ell er et o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m :
D 0 7 2 k a n a n v e n d e s.

U d d at a :
D er d a n n e s i n g e n u d d at a.

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                          O
0 2 KI. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                    O
0 2 V A E R DI P A PI R K O N T O
     03 N U M MER                                                                                                    O
0 2 SI K K E R H E D S S TI L L E L S E
     0 3 K R O N O S- K O D E                                                                                        O




                                                                                                                                     Si d e 2 0 1 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G




O = o bli g at ori s k , F = f ri villig
                                  villi g


F or e s p ør g p å K R O N O S m ar k eri n g p å V P- d e p ot ( T R 2 0 2 5 6 v)
F or m ål:
At f or e s p ør g e p å K R O N O S m ar k eri n g p å V P- d e p ot.
Y d erli g er e b e s kri v el s e af si k k er h e d s still el s e i D N , s e Si k k er h e d s still el s e i D a n m ar k s N ati o n al b a n k ( D N).


B e h a n dli n g h o s d elt a g er e n :
A n m el d er af tr a n s a kti o n e n s k al v ær e d et k o nt of ør e n d e i n stit ut ( KI) f or V P- d e p ot ell er et
o p d at eri n g sr el at er et KI.

B e h a n dli n g i V P :
D et k o ntr oll er e s, at a n m el d er er li g m e d d et a n gi v n e KI ell er et o p d at eri n g sr el at er et KI.

V P- st a n d ar d s y st e m :
D 0 7 2 k a n a n v e n d e s.

U d d at a :
D er d a n n e s i n g e n u d d at a.

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                           O
0 2 KI. ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 V A E R DI P A PI R K O N T O
     03 N U M MER                                                                                                     O
0 2 SI K K E R H E D S S TI L L E L S E
     0 3 K R O N O S- K O D E                                                                                         O

O = o bli g at ori s k , F = f ri villi
                                  villigg




Si k k er h e d s still el s e i D a n m ar k s N ati o n al b a n k ( D N)
                                                                         N)

D a n m ar k s N ati o n al b a n k s si k k er h e d s still el s e s s y st e m
Si k k er h e d s still el s e s s y st e m et i D N er e n a ut o m ati s er et f u n kti o n til a d mi ni str ati o n af si k k er h e d s still el s e i
D a n m ar k s N ati o n al b a n k. D et er i k k e e n d el af V P- s y s t e m et, m e n d er er i V P- s y st e m et l a v et n o gl e
til p a s ni n g er, d er k a n s mi di g g ør e a n v e n d el s e n af si k k er h e d s still el s e s s y st e m et i D N, o g d et er p å V P-
d e p ot er si k k er h e d s still el s e n r e gi str er e s.

E n e g e ntli g b e s kri v el s e a

O v erf ør sl er fr a si k k er h e d s still el s e s d e p ot et i D N ( d e p ot i D N)
                                                 - br u g er gr æ n s efl a d e.

O v erf ør s el til si k k er h e d s still el s e s d e p ot et i D N k a n fi n d e st e d


                                                                                                                                      Si d e 2 0 2 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



      v e d a n v e n d el s e af d e n s æ d v a nli g e o v erf ør s el str a n s a kti o n ( D 0 0 6) - m ulti o v erf ør s el k a n d eri m o d i k k e
      a n v e n d e s, li g e s o m d er i k k e k a n i n dr a p p ort er e s h a n dl er til si k k er h e d s still el s e s d e p ot et i D N.
      vi a D N' s Kr o n o s- br u g er gr æ n s efl a d e, s åfr e mt d et k o nt of ør e n d e i n stit ut v e dr ør e n d e fr a- d e p ot et
      r e gi str er er si n g o d k e n d el s e s m ar k eri n g ( Kr o n o s- m ar k eri n g) p å V P- d e p ot et.

D er f or et a g e s e n d a gli g r e b er e g ni n g af b el å ni n g s v æ r di er p å si k k er h e d s still el s e s d e p ot er n e i D N. D e n vil
fi n d e st e d eft er h a n d el s af vi kli n g s bl o k 1 0 o g b er e g ni n g e n af o bli g ati o n sr ent er. D er k a n i sj æl d n e tilf æl d e
bli v e t al e o m e n e k str a or di n ær r e b er e g ni n g i l ø b et af d a g e n. E n o v erf ør s el til ell er fr a et
si k k er h e d s still el s e s d e p ot i D N vil bli v e af vi st, h vi s d er n et o p er e n r e b er e g ni n g af b el å ni n g s v ær di er i g a n g.

K r o n o s- m ar k eri n g a f V P- d e p ot er , h v orf r a d e r m å o v erf ør e s b e h ol d ni n g e r vi a D a n m ar k s
N ati o n al b a n k s K r o n o s- br u g er gr æ n s efl a d e .

D et k o nt of ør e n d e i n stit ut k a n å b n e m uli g h e d f or at i n dr a p p ort er e o v erf ør s el str a n s a kti o n er fr a e g et d e p ot
til si k k er h e d s still el s e s d e p ot et i D N                         - br u g er gr æ n s efl a d e. D e n n e s ærli g e m uli g h e d er
u d vi kl et f or at l ett e li k vi dit et s m e d ar b ej d er e s ar b ej d e m e d r e gi str eri n g e n, i d et di s s e m e d ar b ej d er e t y pi s k
a n v e n d er Kr o n o s- s y st e m et i f or v ej e n, m e n s æ d v a nli g vi s i k k e r e gi str er er i V P- s y st e m et. D et k o nt of ør e n d e
i n stit ut er o g s å a n s v arli g f or i n dr a p p ort eri n g e n vi a Kr o n o s.

Kr o n o s-                                                                                                                                            -


V P F o n d sr e gi st e r

F or e s p ør g s el p å o pl y s ni n g er o m all e V P-r e gi str er e d e h a n d el s pr o d u kt er er o ml a gt til w e b-
         s y st e m et v p. O N LI N E

O m s æt ni n g s b e gr æ n s ni n g

O pr ett el s e af o m s æt ni n g s b e gr æ n s ni n g f or et v ær di p a pir ( T C 2 0 1 6 9 v)
F or m ål :
At r e gi str er e o m s æt ni n g s b e gr æ n s ni n g p å et v ær di p a pir.

O m s æt ni n g s b e gr æ n s ni n g st y p e s k al a n gi v e s.

V ær di s æt:        1      =      G o d k e n dt e er h v er v er e.
                                   A n v e n d e s n år v ær di p a pir et frit m å o v erf ør e s m ell e m d e af u d st e d er e n u d p e g e d e
                                   i n v e st or d e p ot er.
                     2      =      U o m s ætt eli g
                                   A n v e n d e s n år v ær di p a pir et k u n m å o v erf ør e s m ell e m et af u d st e d er e n s d e p ot er o g
                                   d e af u d st e d er e n u d p e g e d e i n v e st or d e p ot er.

Tr a n s a kti o n e n k a n a n v e n d e s af d et a kti e u d st e d e n d e i n stit ut.

F u n k ti o n alit et :
O pr et: O pr ett er o m s æt ni n g s b e gr æ n s ni n g p å et v ær di p a pir.

B e h a n dli n g i V P :
V P k o ntr oll er er, at v ær di p a pir et i k k e er p å p o siti vli st e til si k k er h e d sr ett e n.

V P- st a n d ar d s y st e m :
D 0 5 5 a n v e n d e s.


                                                                                                                                  Si d e 2 0 3 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



U d d at a:
I nf o u d s e n d el s e til d e i n v ol v er e d e:
TI 2 0 4 6 4 v - O pr et o m s æt ni n g s b e gr æ n s ni n g f or et v ær di p a pir.

I nf o u d s e n d el s e til a n m el d er:
TI 2 0 4 6 9 v - K vitt eri n g f or o pr ett el s e af o m s æt ni n g s b e gr æ n s ni n g f or et v ær di p a pir.

D A T A F ELT E R

02 A N M EL D ELS E
   0 3 A F S E N D E R- R E F E R E N C E                                                                       F
02 H A N D ELS P R O D U KT
   0 3 I SI N                                                                                                   O
   0 3 O M S A E T NI N G S B E G R A E N S NI N G S T Y P E                                                    O

O = o bli g at ori s k, F = f ri villi g, / = M å i k k e u df yl d e s


F or e s p ør g p å o m s æt ni n g s b e gr æ n s ni n g f or et v ær di p a pir ( T R 2 0 1 6 9 v)
F or m ål:
At vi s e o m s æt ni n g s b e gr æ n s ni n g p å et v ær di p a pir.

O m s æt ni n g s b e gr æ n s ni n g st y p e vi s e s.

V ær di s æt:          1       =   G o d k e n dt e er h v er v er e.
                                   A n v e n d e s n år v ær di p a pir et frit m å o v erf ør e s m ell e m d e af u d st e d er e n u d p e g e d e
                                   i n v e st or d e p ot er.
                        2      =   U o m s ætt eli g
                                   A n v e n d e s n år v ær di p a pir et k u n m å o v erf ør e s m ell e m et af u d st e d er e n s d e p ot er o g
                                   d e af u d st e d er e n u d p e g e d e i n v e st or d e p ot er.

Tr a n s a kti o n e n k a n a n v e n d e s af d et a kti e u d st e d e n d e i n stit ut.

F u n k ti o n alit et:
Vi s er h vil k e n t y p e af o m s æt ni n g s b e gr æ n s ni n g, d er er p å v ær di p a pir et.
H vi s d er i k k e er o m s æt ni n g s b e gr æ n s ni n g p å v ær di p a pir et, vil t y p e n i k k e v ær e u df yl dt.

B e h a n dli n g i V P:
V P k o ntr oll er er, at v ær di p a pir et i k k e er p å p o siti vli st e til si k k er h e d sr ett e n.

V P- st a n d ar d s y st e m:
D 0 5 5 a n v e n d e s.

U d d at a:
Tr a n s a kti o n s s v ar.

D A T A F ELT E R

02 A N M EL D ELS E
   0 3 A F S E N D E R- R E F E R E N C E                                                                       F
02 H A N D ELS P R O D U KT
   0 3 I SI N                                                                                                   O
   0 3 O M S A E T NI N G S B E G R A E N S NI N G S T Y P E                                                    F


                                                                                                                                 Si d e 2 0 4 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



O = o bli g at ori s k , F = f ri villi g,
                                        g , / = M å i k ke
                                                        ke u df yl d e s


Sl et o m s æt ni n g s b e gr æ n s ni n g f or et v ær di p a pir ( T D 2 0 1 6 9 v)
F or m ål :
At sl ett e o m s æt ni n g s b e gr æ n s ni n g p å et v ær di p a pir.
Tr a n s a kti o n e n k a n a n v e n d e s af d et a kti e u d st e d e n d e i n stit ut.

F u n k ti o n alit et :
Sl ett er o m s æt ni n g s b e gr æ n s ni n g e n p å et v ær di p a pir.

B e h a n dli n g i V P :
D et k o ntr oll er e s, at a n m el d er er d et a kti e u d st e d e n d e i n stit ut.

V P- st a n d ar d s y st e m :
D 0 5 5 a n v e n d e s.

sl et ni n g f or et a g e s ( F 1 6). Sl et ni n g e n s k al b e kr æft e s m e d F 2 4.

U d d at a :
I nf o u d s e n d el s e til d e i n v ol v er e d e:
TI 2 0 4 6 5 v Sl et ni n g af o m s æt ni n g s b e gr æ n s ni n g f or et v ær di p a pir.

I nf o u d s e n d el s e til a n m el d er:
TI 2 0 4 7 0 v K vitt eri n g f or sl et ni n g af o m s æ t ni n g s b e gr æ n s ni n g f or et v ær di p a pir.

D A T A F ELT E R

02 A N M EL D ELS E
   0 3 A F S E N D E R- R E F E R E N C E                                                                           F
02 H A N D ELS P R O D U KT
   0 3 I SI N                                                                                                       O
   0 3 O M S A E T NI N G S B E G R A E N S NI N G S T Y P E                                                        F

O = o bli g at ori s k , F = f ri villi g,
                                        g , / = M å i k ke
                                                        ke u df yl d e s


O pr ett el s e af till a d el s e til et o m s æt n i n g s b e gr æ n s et v ær dip a pir ( T C 2 0 1 7 0 v)
F or m ål :
At o pr ett e till a d el s e til r e gi str eri n g af et o m s æt ni n g s b e gr æ n s et v ær di p a pir p å et d e p ot.
T y p e af till a d el s e s k al a n gi v e s.

V ær di s æt:        1      =     I n v e st or k o nt o.
                                   A n v e n d e s p å i n v e st or d e p ot er, d er s k al h a v e till a d el s e til d et
                                   o m s æt ni n g s b e gr æ n s e d e v ær di p a pir.
                     2      =      U d st e d er k o nt o
                                   A n v e n d e s p å u d st e d er s d e p ot o g k u n n år o m s æt ni n g s b e gr æ n s ni n g st y p e n p å

                                   fl ytt e s m ell e m et u d p e g et u d st e d er de p ot o g et u d p e g et i n v e st or d e p ot.

Tr a n s a kti o n e n k a n a n v e n d e s af d et a kti e u d st e d e n d e i n st it ut. R e gi str eri n g e n s k er i V P- s y st e m et p å
u d st e d er e n s li st e o v er V P- k o nti m e d till a d el s e til f o n d s a kti v et.



                                                                                                                                   Si d e 2 0 5 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G



V P- st a n d ar d s y st e m :
D 0 5 6 a n v e n d e s.

U d d at a :
I nf o u d s e n d el s e til d e i n v ol v er e d e:
TI 2 0 4 6 6 v O pr ett el s e af till a d el s e til et o m s æt ni n g s b e gr æ n s et v ær di p a pir
I nf o u d s e n d el s e til a n m el d er:
TI 2 0 4 7 1 v K vitt eri n g f or o pr ett el s e af till a d el s e til et o m s æt ni n g s b e gr æ n s et v ær di p a pir

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                         F
02 H A N D ELS P R O D U KT
    0 3 I SI N                                                                                                     O
02 D ELT A G E R
    0 3 I D E N TI FI K A TI O N                                                                                   O
0 2 V A E R DI P A PI R K O N T O
    03 N U M MER                                                                                                   O
0 2 O M S A E T NI N G S B E G R A E N S NI N G
    03 K O DE                                                                                                      O

O = o bli g at ori s k , F = f ri villi g,
                                        g , / = M å i k ke
                                                        ke u df yl d e s


F or e s p ør g p å till a d el s e til et o m s æt n i n g s b e gr æ n s et v ær dip a pir ( T R 2 0 1 7 0 v)
F or m ål :
At f or e s p ør g e p å till a d el s e til et o m s æ t ni n g s b e gr æ n s et v ær di p a pir p å et d e p ot.

V ær di s æ t f or
                o r t y pe
                        p e a f till a d el s e:
                   1       =     = I n v e st or k o nt o.
                                 A n v e n d e s p å i n v e st or d e p ot er, d er s k al h a v e till a d el s e til d et
                                 o m s æt ni n g s b e gr æ n s e d e v ær di p a pir.
                   2       =     U d st e d er k o nt o
                                 A n v e n d e s p å u d st e d er s d e p ot o g k u n n år o m s æt ni n g s b e gr æ n s ni n g st y p e n p å
                                                                                                                             a n v ær di p a pir et k u n
                                 fl ytt e s m ell e m et u d p e g et u d st e d er d e p ot o g et u d p e g et i n v e st or d e p ot.

Tr a n s a kti o n e n k a n a n v e n d e s af d et a kti e u d st e d e n d e i n stit ut o g d et k o nt of ør e n d e i n stit ut.

V P- st a n d ar d s y st e m :
D 0 5 6 a n v e n d e s.

U d d at a :
Tr a n s a kti o n s s v ar

D A TT A F E L T E R

02 A N M EL D ELS E
   0 3 A F S E N D E R- R E F E R E N C E                                                                          F
02 H A N D ELS P R O D U KT
   0 3 I SI N                                                                                                      O
02 D ELT A G E R


                                                                                                                                   Si d e 2 0 6 af 4 5 0
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                                                           S Y S T E M V E J L E D NI N G



    0 3 I D E N TI FI K A TI O N                                                                                O
0 2 V A E R DI P A PI R K O N T O
    03 N U M MER                                                                                                O
0 2 O M S A E T NI N G S B E G R A E N S NI N G
    03 K O DE                                                                                                   F

O = o bli g at ori s k , F = f ri villi g,
                                        g , / = M å i k ke
                                                        ke u df yl d e s


Sl et till a d el s e til et o m s æt ni n g s b e gr æ n s et v ær di p a pir ( T D 2 0 1 7 0 v)
F or m ål :
At sl ett e till a d el s e til r e gi str eri n g af et o m s æt ni n g s b e gr æ n s et v ær di p a pir p å et d e p ot.
Tr a n s a kti o n e n k a n a n v e n d e s af d et a kti e u d st e d e n d e i n stit ut.

B e h a n dli n g i V P :
V P k o ntr oll er er, at d et o m s æt ni n g s b e gr æ n s e d e v ær di p a pir i k k e fi n d e s p å d e p ot et o g at d er i k k e er
v e nt e n d e b e h ol d ni n g stil g a n g e p å v ej til d e p ot et, h er u n d er u af vi kl e d e pr e a d vi c e s.

V P- st a n d ar d s y st e m :
D 0 5 6 a n v e n d e s.
N år e n till a d el s e til o m s æt ni n g s b e gr æ n s ni n g s k al sl ett e s p å et d e p ot,
D er eft er k a n sl et ni n g f or et a g e s ( F 1 6). Sl et ni n g e n s k al b e kr æft e s m e d F 2 4.

U d d at a :
I nf o u d s e n d el s e til d e i n v ol v er e d e:
TI 2 0 4 6 7 v Sl et ni n g af till a d el s e til et o m s æt ni n g s b e gr æ n s et v ær di p a pir

I nf o u d s e n d el s e til a n m el d er:
TI 2 0 4 7 2 v K vitt eri n g f or sl et ni n g af till a d el s e til et o m s æt ni n g s b e gr æ n s et v ær di p a pir

D A T A F ELT E R

02 A N M EL D ELS E
    0 3 A F S E N D E R- R E F E R E N C E                                                                      F
02 H A N D ELS P R O D U KT
    0 3 I SI N                                                                                                  O
02 D ELT A G E R
    0 3 I D E N TI FI K A TI O N                                                                                O
0 2 V A E R DI P A PI R K O N T O
    03 N U M MER                                                                                                O
0 2 O M S A E T NI N G S B E G R A E N S NI N G
    03 K O DE                                                                                                   F

O = o bli g at ori s k , F = f ri villi g,
                                        g , / = M å i k ke
                                                        ke u df yl d e s


F or e s p ør g p å et d e p ot s till a d el s er til o m s æt ni n g s b e gr æ n s e d e v ær d i p a pir er ( T R 2 0 1 7 1 v)
F or m ål :
At vi s e h vil k e o m s æt ni n g s b e gr æ n s e d e v ær di p a pir er d et a n gi v n e d e p ot h ar till a d el s e til.

F u n k ti o n alit et :
Gi v er d et k o nt of ør e n d e i n stit ut e n o v er si gt o v er d e o m s æt ni n g s b e gr æ n s e d e v ær di p a pir er et a n gi v et
d e p ot h ar till a d el s e til.

                                                                                                                               Si d e 2 0 7 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G




B e h a n dli n g i V P :
K o ntr oll er er at a n m el d er er d et k o nt of ør e n d e i n stit ut ell er et a n d et k o nt of ør e n d e i n s tit ut m e d
s p ør g e a d g a n g.

V P- st a n d ar d s y st e m :
D 0 5 8 a n v e n d e s.

U d d at a :
I nf o u d s e n d el s e til a n m el d er:
TI 2 0 4 7 3 v Li st e o v er o m s æt ni n g s b e gr æ n s e d e I SI N s V P- d e p ot et h ar till a d el s e til
S v ar et p å f or e s p ør g sl e n gi v e s k u n s o m i nf o er, h vi s tr a n s a kti o n e n i n d s e n d e s fr a d at a c e nt er.

D A T A F ELT E R

02 A N M EL D ELS E
     0 3 A F S E N D E R- R E F E R E N C E                                                                           F
0 2 K O N T O F Ø R E N D EI N S TI T U T ( D E L T A G E R)
     0 3 I D E N TI FI K A TI O N                                                                                     O
0 2 V A E R DI P A PI R K O N T O
     03 N U M MER                                                                                                     O

O = o bli g at ori s k , F = f ri villi g,
                                        g , / = M å i k ke
                                                        ke u df yl d e


E k str a kt af d e p ot er d er h ar till a d el s e til et gi v et o m s æt ni n g s b e gr æ n s et v ær di p a pir ( T R 2 0 1 7 2 v)
F or m ål :
At vi s e h vil k e d e p ot er d er h ar till a d el s e til     et gi v et o m s æt ni n g s b e gr æ n s et v ær di p a pir.

F u n k ti o n alit et :
K a n a n v e n d e s af d et a kti e u d st e d e n d e i n stit ut til at f å e n o v er si gt o v er d e d e p ot er, d er h ar f å et d e n n e
till a d el s e.
S v ar et p å f or e s p ør g sl e n gi v e s k u n s o m i nf o er.
M e d tr a n s a kti o n D 0 5 6 ( F or e s p ør g p å till a d el s e til o m s æt ni n g s b e gr æ n s et v ær di p a pir) k a n m a n p å s k ær m
bl a d e i d e p ot er, d er h ar till a d el s e til d et a n gi v n e v ær di p a pir.
S e O pr ett el s e af till a d el s e til et o m s æt ni n g s b e gr æ n s et v ær di p a pir ( T C 2 0 1 7 0 v).

B e h a n dli n g i V P :
K o ntr oll er er at a n m el d er e n er d et a kti e u d st e d e n d e i n stit ut.

V P- st a n d ar d s y st e m :
D 0 5 7 a n v e n d e s.

U d d at a :
I nf o u d s e n d el s e til a n m el d er:
TI 2 0 4 6 8 v - E k str a kt af d e p ot er d er h ar t ill a d el s e til et o m s æt ni n g s be gr æ n s et v ær di p a pir

D A T A F ELT E R

02 A N M EL D ELS E
   0 3 A F S E N D E R- R E F E R E N C E                                                                             F
02 H A N D ELS P R O D U KT
   0 3 I SI N                                                                                                         O


                                                                                                                                      Si d e 2 0 8 af 4 5 0
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                                                      S Y S T E M V E J L E D NI N G



O = o bli g at ori s k, F = f ri villi g, / = M å i k k e u




                                                                                                   Si d e 2 0 9 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



0 4 F o n d sr e gi st r et f or o bli g ati o n er
D er er fl er e b eti n g el s er k n ytt et til V P-r e gi str eri n g af o bli g ati o n er. E k s e m p el h er p å er, at d er g æl d er
e n s art e d e b eti n g el s er f or s a mtli g e v ær di p a pir er i e n f o n d s k o d e. E n a n d e n b eti n g el s e er, at d et pr.
f o n d s k o d e k u n er m uli gt at r e gi str er e i é n a n del s st ørr el s e, o g at d e n n e s k al v ær e m e d d e ci m al er.

F or n ær m er e b e s kri v el s e af b eti n g el s er n e f or V P-r e gi str eri n g af v ær di p a pir er h e n vi s e s til
htt p s:// w w w. v p. d k/ V P _r e gl er " R e g el s æt A "

K o n v er ti bl e o bli g ati o n er
D et er pt. i k k e m uli gt at f or et a g e a ut o m ati s k t e g ni n g        o g k o n v ert eri n g af k o n verti bl e o bli g ati o n er.

F o n d sr e gi st r et s i n d h ol d
F o n d sr e gi str et i n d e h ol d er o pl y s ni n g er pr. u d st e d er pr. f o n d s k o d e (I SI N) o m bl. a l å n et s n o mi n ell e
r e nt e s at s, a n d el s st ørr el s e, u dtr æ k ni n g st er mi n er, r e nt et er mi n er, l å n et s l ø b eti d o g
k o n v ert eri n g s o pl y s ni n g er f or k o n v erti bl e o bli g ati o n er.

F o n d sr e gi st r et s a n v e n d el s e
O pl y s ni n g er n e i r e gi str et a n v e n d e s ti l st yri n g af u dtr æ k ni n g s- o g r e nt et er mi n s k ør sl er o g til st yri n g af
k o n v ert eri n g af k o n v erti bl e o bli g ati o n er til a kti er.

V P m o dt a g er o pl y s ni n g er o m i n d e xf a kt or p å all e i n d e xl å n fr a N A S D A Q O M X. I n d e xf a kt or e n bli v er
o p d at er et pr. 3 0. 6 o g 3 0. 1 2.

D e u d st e d el s e s a n s v arli g e h ar v e d br u g af u d d at a fr a V P ( s k y g g etr a n s a kti o n er/i nf o er/f or e s p ør g sl er) pli gt
til at si kr e, at o pl y s ni n g er n e i r e gi str et til e n h v er ti d er k orr e kt e o g aj o urf ørt e.

L u k ni n g af i n df ri e d e / u dl ø b n e o bli g ati o n er
O bli g ati o n er m e d h o v e d b o g s s al d o = 0 ( n ul) o g h v or å b ni n g s p eri o d e n er u dl ø b et, bli v er l u k k et a ut o m ati s k
i V P' s f o n d sr e gi st er. I d e n f or bi n d el s e u d s e n d e s s k yg g etr a n s a kti o n O F 4 2 L 0 1, h vi s l ø b eti d e n - s o m f øl g e af
l u k ni n g e n - s a mti di g f or k ort e s, o g f elt et ' d at o f or si d st e kr e ditt er mi n' d er m e d æ n dr e s.

O pr y d ni n g i e g et f o n d sr e gi st er
Til br u g v e d e v e nt u el o pr y d ni n g i e g et f o n d sr e gi st er o g f or at af g ør e o m e n o bli g ati o n er l u k k et, s k al
f elt et ' d at o f or si d st e kr e dit ort er mi n' b e n ytt e s. H vi s d e n n e d at o er p a s s er et er o bli g ati o n e n l u k k et
(i n dfri et/ u dl ø b et).

F y si s k e o bli g ati o n er
D e f o n d s d at a a n s v arli g e k a n s el v i n dr a p p ort er e et a bl eri n g/ æ n dri n g af f y si s k e o bli g ati o n er. D e
f o n d s d at a a n s v arli g e er s el v r e gi st er a n s v arli g e f or d e o pl y s ni n g er, d er i n dr a p p ort er e s.

V P' s b e n y t t el s e af u d st e d er- o g o bli g ati o n s o pl y s ni n g er
I o v er e n s st e m m el s e m e d al mi n d eli g pr a k si s k a n V P i f or bi n d el s e m e d si n ø vri g e vir k s o m h e d b e n ytt e
u d st e d er- o g o bli g ati o n s o pl y s ni n g er i n dr a p p ort er et ell er m o dt a g et i V P fr a u d st e d er e ell er d er e s
p e n g ei n stit utt er.




                                                                                                                                     Si d e 2 1 0 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



Di st ri b uti o n af o pl y s ni n g er o m I SI N s
F or n ær m er e b e s kri v el s e af di stri b uti o n af o pl y s ni n g er o m I SI N s h e n vi s e s til htt p:// w w w. v p. d k/I SI N


V P-r e gi st r er e d e o bli g ati o n er

Et a bl eri n g af o bli g ati o n s o pl y s ni n g er.
Et a bl eri n g af f o n d s k o d e (I SI N), p a pir o pl y s ni n g er o g t er mi n s o pl y s ni n g er f or V P-r e gi str er e d e
o bli g ati o n er/ k o n v erti bl e o b li g ati o n er i f o n d sr e gi s tr et f or et a g e s i o nli n e s y st e m et f o n d s p ort al e n. d k.

V e d u d st e d el s e af e n n y o bli g ati o n k a n d er e nt e n br u g e s e n I SI N s o m i f or v ej e n er r e gi str er et vi a o nli n e
s y st e m et R e k vir eri n g af I SI N ell er d er k a n h e nt e s e n I SI N vi a f o n d s p ort al e n. d k.

U d e nl a n d s k e I SI N' s a nf ør e s m a n u elt i f o n d s p ort al e n. d k.

B e h a n dli n g i V P
N år d e n u d st e d el s e s a n s v arli g e h ar i n dl a gt all e o pl y s ni n g er   o m d e n n y e o bli g atio n, s e n d e s o pl y s ni n g er n e
vi d er e til o p d at eri n g.

P å d e n d at o s o m d e n u d st e d el s e s a n s v arli g e h ar a n gi v et s o m V P Off e ntli g g ør el s e s d at o, di stri b u er e s
o pl y s ni n g er n e fr a d et n y e f o n d sr e gi st er, til all e a b o n n e nt er p å s k y g g etr a n s a kti o n er, f o n d sr e gi st er
( O F 4 2 L 0 1).


Æ n dri n g af o bli g ati o n s o pl y s ni n g er
Æ n dri n g af o bli g ati o n s o pl y s ni n g er f or et a g e s i o nli n e s y st e m et v p. O N LI N E.
Cir k ul er e n d e m æ n g d e f or V P-r e gi s tr er e d e o bli g ati o n er bli v er a ut o m ati s k o p d at er et fr a h o v e d b o g e n.

B e h a n dli n g i V P
V e d o p d at eri n g e n d a n n e s s k y g g etr a n s a kti o n er, f o n d sr e gi st er ( O F 4 2 L 0 1) til all e a b o n n e nt er.


Et a bl eri n g/ æ n dri n g af k o n v ert eri n g s o pl y s ni n g er
D e n n e f u n k ti o n alit e t er mi dl er ti di gt i k k e til g æ n g eli g!

O pl y s ni n g er o m k o n v ert eri n g af k o n v erti bl e o bli g ati o n er til a kti er r e gi str er e s i f o n d sr e gi str et f or
o bli g ati o n er o g d a n n er gr u n dl a g f or g e n n e mf ør el s e af e n k o n v ert eri n g.

B e h a n dli n g h o s d e n u d st e d el s e s a n s v arli g e
Bil a g et K O N V E R T E RI N G S O P L Y S NI N G E R - s e Bl a n k ett er til v ejl e d ni n g er 1 1 1. 1 D
K o n v ert eri n g s o pl y s ni n g er - u df yl d e s i o v er e n s st e m m el s e m e d pr o s p e kt et. Bil a g et i n d s e n d e s h urti g st
m uli gt, d o g s ål e d e s at o pl y s ni n g er n e er V P i h æ n d e s e n e st fir e u g er f ør k o n v ert eri n g s p eri o d e n s st art.

O pr et t el s e af k o n v er t eri n g s o pl y s ni n g er
Bil a g et i n d e h ol d er bl a n dt a n d et o pl y s ni n g er o m d e n ell er d e p eri o d er, h v ori d er k a n k o n v ert er e s.
S a mtli g e k o n v ert eri n g s p eri o d er f or e n k o n v erti b el o bli g ati o n k a n a n gi v e s. S åfr e mt d e e n k elt e
k o n v ert eri n g s p eri o d er h ar f o r s k elli g e k o n v ert eri n g s b eti n g el s er, i n d s e n d e s et bil a g pr. p eri o d e.

Æ n dri n g af k o n v er t eri n g s o pl y s ni n g er
O pl y s ni n g er o m e n k o n v er t eri n g s p eri o d e k a n æ n dr e s.

H vi s o pl y s ni n g er n e æ n dr e s mi dt i e n k o n v ert eri n g s p eri o d e, s k al d e n u d st e d el s e s a n s v arli g e v ær e
o p m ær k s o m p å, at d er k a n v ær e u d s e n dt k o n v ert eri n g si n d b y d el s e til i n v e st or er n e.

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                                                               S Y S T E M V E J L E D NI N G




B e h a n dli n g i V P
P å b a g gr u n d af d e i n d s e n dt e bil a g o p d at er e s k o n v ert eri n g s o pl y s ni n g er n e i f o n d sr e gi str et f or
o bli g ati o n er.

U d d at a                                                               M o dt a g er
O p d at eri n g af k o n v ert eri n g s o pl y s ni n g er             D e n u d st e d el s e s a n s v arli g e
S k y g g etr a n s a kti o n er f o n d sr e gi st er                   D at a c e ntr e


Æ n dri n g af år s ulti m o k ur s
År s ulti m o k ur s e n f or p a pirl ø s e o bli g ati o n er br u g e s v e d u d s kri v ni n g af år s o p g ør el s er til i n v e st or er.

B e h a n dli n g h o s r e gi st er a n s v arli g
D e n r e gi st er a n s v arli g e k a n, m e d tr a n s a kti o n e n " D 2 8 0 - V e dli g e h ol d år s ulti m o k ur s " o p d at er e
år s ulti m o k ur s e n p å p a pir er, d er i k k e er b ør s n ot er et.

A n v e n d el s e af tr a n s a kti o n e n.

F or e s p ør g s el :
V e d e n f or e s p ør g s el vil d et alti d v ær e d e n s e n e st r e gi str er e d e f or e k o m st, d er vi s e s.
Et a bl eri n g :
D et a kt u ell e r e gi str eri n g st i d s p u n kt bli v er a ut o m ati s k r e gi str er et s o m n ot eri n g sti d s p u n kt
Æ n dri n g :
Æ n dri n g f or et a g e s k u n h vi s e n ti dli g er e i n dr a p p ort er et k ur s er f or k ert. St art m e d e n f or e s p ør g s el, d er vil
vi s e d e n s e n e st r e gi str er e d e f or e k o m st. D et er alti d d e n vi st e f or e k o m st, d er æ n dr e s.
N ot eri n g sti d s p u n kt et æ n dr e s i k k e.
Sl et ni n g :
St art m e d e n f or e s p ør g s el, d er vil vi s e d e n s e n e st r e gi str er e d e f or e k o m st.
Ø n s k e s d e n sl ett et, t a st e s sl et o g b e kr æft.

B e h a n dli n g i V P
År s ulti m o k ur s e n e o p d at er e s i V P.
D er l e v er e s i n g e n u d d at a. R e gi str er e d e o p l y s ni n g er k a n k o ntr oll er e s v e d a n v e n d el s e af
f or e s p ør g s elf u n kti o n e n. E n d vi der e fr e m g år k ur s er n e af li st e n " U lti m o k ur s o pl y s ni n g er - ( D K 7 8 L 0 1) ", d er
d a n n e s i f or bi n d el s e m e d år s ulti m o.

D e n s e n e st r e gi str er e d e k ur s a n v e n d e s til år s o p g ør el s er n e.


F y si s k e o bli g ati o n e r

Et a bl eri n g af p a pir o pl y s ni n g er
Tr a n s a kti o n e n a n v e n d e s til et a bl eri n g af f o n d s k o d e o g p a pir o pl y s ni n g er f or o blig ati o n er, s o m i k k e er
r e gi str er et i V P. A d g a n g til tr a n s a kti o n e n s k er vi a v p. O N LI N E.

I n dr a p p or t eri ngng h o s d e n r e gi st er a n s v arli ggee
Tr a n s a kti o n e n i n dr a p p ort er e s af d e n f o n d s d at a a n s v arli g e.

D e n f o n d s d at a a n s v arli g e h ar a n s v ar et f or d e r e gi str er e d e o pl y s ni n g er.

B e h a n dli n g i V P
V e d o p d at eri n g e n d a n n e s; s k y g g etr a n s a kti o n er, f o n d sr e gi st er ( O F 4 2 L 0 1) til all e a b o n n e nt er.


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                                                              S Y S T E M V E J L E D NI N G




Æ n dri n g af p a pir o pl y s ni n g er

Tr a n s a kti o n e n a n v e n d e s til æ n dri n g i d e r e gi str er e d e o pl y s ni n g er f or e n f y si s k f o n d s k o d e o g a d g a n g n å e s
vi a v p. O N LI N E.

I n dr a p p or t eri n g h o s d e n r e gi st er a n s v arli g e
Æ n dri n g af d e r e gi str er e d e o pl y s ni n g er k a n k u n i n dr a p p ort er e s af d e n f o n d s d at a a n s v arli g e.

B e h a n dli n g i V P
V e d o p d at eri n g d a n n e s; s k y g g etr a n s a kti o n er, f o n d sr e gi st er ( O F 4 2 L 0 1) til all e a b o n n e nt er.




                                                                                                                                     Si d e 2 1 3 af 4 5 0
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                                                              S Y S T E M V E J L E D NI N G



0 5 R e nt et er mi n s b e h a n dli n g
E n b e s kri v el s e af r e nt e b e h a n dli n g m e d til h ør e n d e u d d at a.


R e nt e b e h a n dli n g
V P b er e g n er r e nt e p å h a n d el s pr o d u kt er o g f o r a nl e di g er r e nt er n e b et ali n g sf or mi dl et p å
di s p o siti o n s d a g e n. N år h a n d el s pr o d u kt er er r e nt e gi v e n d e i fr e m m e d v al ut a, bli v er d et til s kr e v n e
r e nt e b el ø b b et ali n g sf or mi dl et i d e n p å g æl d e n d e v al ut a. P å di s p o siti o n s d a g e n o mr e g n e s til d a n s k e
kr o n er, s e n e d e nf or. D et s k er af h e n s y n til i n d b er et ni n g e n til S K A T.

E n af b eti n g el s er n e f or V P-r e gi str eri n g af et h a n d el s p r o d u kt er, at V P' s b er e g ni n g o g b et ali n g af r e nt e n
s k er eft er V P' s r e gl er.

B e h a n dli n g h o s u d st e d er:
F ør r e nt e b er e g ni n g k a n f or e g å, S K A L d et u d st e d e n d e i n stit ut h a v e et a bl er et k o nt o gr u p p eri n g i s a m m e
v al ut a s o m d er er pr o v e n u d er s k al afr e g n e s i. S e i h o v e d af s nit 3 o m K o nt o gr u p p eri n g er.

R e nt e b er e g ni n g e n f or e g år pr. h a n d el s pr o d u kt p å b a g gr u n d af d e o pl y s ni n g er, d et u d st e d e n d e i n stit ut
h ar r e gi str er et i V P' s r e gi st er o m h a n d el s pr o d u kt er( d et n y e f o n d sr e gi st er). R e gi str er e d e r e nt e o pl y s ni n g er
s k al af st e m m e s m e d u d st e d er s e g n e o pl y s ni n g er.

V e d v ari a b el r e nt e u d e n af vi g e n d e r e nt e b e h a n dli n g i n d b er ett er u d st e d e n d e i n stit ut d e n n y e r e nt e s at s
s e n e st d a g e n f ør r e nt e p eri o d e n s st art d at o. V e d v ari a b el r e nt e m e d af vi g e n d e r e nt e b e h a n dli n g
i n d b er ett er u d st e d e n d e i n stit ut r e nt e s at s e n s e n e st 3 d a g e f ør f orf al d. I ø vri gt h e n vi s e s til o nli n e hj æl p e n
f or d et n y e f o n d sr e gi st er.

N år d er u d b et al e s r e nt e i a n d e n v al ut a e n d h a n d el s pr o d u kt et s u d st e d el s e s v al ut a, i n d b er ett er d et
u d st e d e n d e i n stit ut e n kr y d s k ur s. V e d v ari a b el kr y d s k ur s s k al d e n n e i n d b er ett e s s e n e st d a g e n f ør
r e nt e p eri o d e n s st art d at o.

B e h a n dli n g i V P f or h a n d el s pr o d u k t er m e d e x- k u p o n p eri o d e:
R e nt e b er e g ni n g e n d a n n er pr o v e n u p å b a g gr u n d af sl ut b e h ol d ni n g e n, d a g e n f ør e x- k u p o n.

F or el ø bi g r e nt e a d vi s d a n n e s 5 k al e n d er d a g e eft er e x - k u p o n d a g e n, h vi s d ett e i kk e er e n b a n k d a g, d a n n e s
f or el ø bi g r e nt e a d vi s d e n f or e g å e n d e b a n k d a g (f or elø bi g r e nt e a d vi s eri n g s d a g). F or el ø bi g r e nt e a d vi s
d a n n e s i k k e, h vi s d er er mi n dr e e n d 1 0 k al e n d er d a g e m ell e m f or el ø bi g r e nt e a d vi s eri n g s d a g o g d e n d a g
h v or b et ali n g sf or mi dli n g s gr u n dl a g et d a n n e s.

D er d a n n e s d o k u m e nt ati o n til br u g f o r li k vi dit et s st yri n g. ( S e e k s e m pl er )

B e h a n dli n g i V P f or e x- k u p o n = 0:
R e nt e b er e g ni n g e n d a n n er pr o v e n u p å b a g gr u n d af sl ut b e h ol d ni n g e n, d a g e n f ør e x- k u p o n.

8 b a n k d a g e f ør f orf al d s d a g d a n n e s li k v i dit et s o v er si gt o g pr o v e n u.

7 b a n k d a g e f ør f orf al d s d a g d a n n e s f or el ø bi g b et ali n g sf or mi dli n g, o g d er u d s e n d e s r e nt e a d vi s.
Fr a o g m e d 7 b a n k d a g e f ør f orf al d s d a g e n til o g m e d 1 b a n k d a g f ør f orf al d s d a g e n d a n n e s i nf o er i
f or bi n d el s e m e d e v e nt u ell e æ n dri n g er af d e b et r e nt e k o nt o i e n k o nt o gr u p p e ell er fl yt ni n g af
h a n d el s pr o d u kt.




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                                                              S Y S T E M V E J L E D NI N G



D er u d s e n d e s d e s u d e n i nf o v e d æ n dri n g er i t ot alt b er e g n et r e nt e v e d e mi s si o n/i n dfri el s e. Æ n dri n g er i
pr o v e n u et ell er d a n n el s e af n yt pr o v e n u k a n s k e b å d e v e d h a n dl er o g e mi s si o n/i n dfri el s er o g d e s u d e n v e d
æ n dri n g er af e n p e n g e k o nt o f or r e nt e.

6 b a n k d a g e f ør f orf al d s d a g e n til o g m e d 1 b a n k d a g f ør f orf al d s d a g e n d a n n e s i nf o er i tilf æl d e af
æ n dri n g er af b et ali n g sf or mi dli n g o g r e nt e a d vi s.




B et ali n g sf or mi dli n g e n d a n n e s p å d e pr o v e n u, s o m er p å v ær di p a pir k o nt o e n p å f orf al d s d a g e n. Pr o v e n u et
p o st er e s p å d e b er etti g e d e s p e n g e k o nti, s o m er t il k n ytt et v ær di p a pir k o nt o e n p å f orf al d s d a g e n.

B e h a n dli n g i V P g e n er elt:
P å di s p o siti o n s d a g e n bli v er b et ali n g sf or mi dli n g s g r u n dl a g et k o ntr oll er et f or d æ k ni n g, o g b er e g n e d e
r e nt e b el ø b i v al ut a o mr e g n e s til d a n s k e kr o n er. V e d o mr e g ni n g e n b e n ytt er V P d e n m ar k e d s k ur s, s o m
D a n m ar k s N ati o n al b a n k h ar off e ntli g gj ort t o b a n k d a g e f ør di s p o siti o n s d a g e n. M ar k e d s k ur s e n r e d u c er e s
m e d et st a n d ar d fr a dr a g pr. v al ut a. Fr a dr a g et f a st s ætt e s o g m e d d el e s V P af p e n g e k o nt of ør er n e vi a d er e s
s e kt or or g a ni s ati o n. P e n g e k o nt of ør er h ar alt er n ati vt m uli g h e d f or at r e gi s tr er e d et fr a dr a g pr. v al ut a, d er
s k al g æl d e f or a ll e b el ø b, d er til g år p e n g e k o nt of ør er e n s p e n g e k o nti.

R e nt e b er e g ni n g s d a g e n, b et ali n g sf or mi dli n g s d a g e n, f o rf al d s d a g e n s a m t di s p o siti o n s d a g e n k a n v ær e
s a m m e d a g.




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                                                           S Y S T E M V E J L E D NI N G




I d et eft erf øl g e n d e gi v e s ek s e m p el p å s a m m e n h æ n g e m ell e m a kti vit et er o g i nf o er i t o f or s k elli g e
r e nt e b e h a n dli n g sf orl ø b.

E k s e m p el 1 vi s er u d s e n d el s e af i nf o er n år e x- k u p o n p eri o d e n er f or s k elli g fr a 0. E k s e m p el 2 vi s er
u d s e n d el s e af i nf o er, n år e x- k u p o n er li g m e d 0.

B e h a n dli n g i d at a c e nt r e:
I nf o er n e - " St art p å p eri o di s k k ør s el " o g " Af sl ut ni n g p å p eri o di s k k ør s el ", d a n n e s h v er d a g f or s a mtli g e
k ør sl er u n d er r e nt e b er e g ni n g. N år i nf o - " Af sl ut ni n g p å p eri o di s k k ør s el " er d a n n et, k a n i nf o er n e i k ø e n
tr æ k k e s hj e m. D e n æ v nt e i nf o er d a n n e s alti d.

E k s e m p el 1: E x- k u p o n p e ri o d e n er f or s k elli g f r a 0.

A K TI VI T E T                                     I NF OER DER D A N NES
                                      ||
                                      -----         E X -K U P O N D A G O G D A N N E L S E A F LI K VI DI T E T S O V E R SI G T
                                      ||
                                      ||            TI 2 0 1 0 5 v - Pr o v e n u o pl y s ni n g er ( KI)
                                      ||            TI 2 0 1 3 7 v - T ot al b er e g n et r e nt e pr. h a n d el s pr o d u kt ( U D)
||                                                  TI 2 0 1 3 5 v - D e n e n k elt e d elt a g er s f or v e nt e d e p e n g etr æ k pr. p e n g e k o nt o
                                                    ( P K)
                                      ||             TI 2 0 1 3 4 v - D e n e n k elt e d elta g er s b er e g n e d e kr e dit eri n g er pr.
                                                    p e n g e k o nt o ( P K)
                                      ||            TI 2 0 1 3 6 v - P e n g etr æ k pr. d e b et k o nt o i k o nt o gr u p p e ( U D)
                                      ||            TI 2 0 1 8 2 v - N ett o p å vir k ni n g i li k vi dit et pr. di sp o siti o n s d a g ( P K)
                                      ||
                                      ----          5. D A G E E F T E R E X -K U P O N D A G
                                      ||
                                      ||            TI 2 0 2 0 0 v - F or el ø bi gt r e nt e a d vi s - b et ali n g s o pl y s ni n g er ( KI)
                                      ||            TI 2 0 1 9 9 v - F or el ø bi gt r e nt e a d vi s - a dr e s s e o pl y s ni n g er ( KI)
                                      ||
R E N T E F L Y T NI N G              *****         TI 2 0 1 2 7 v - R e nt efl yt ni n g ( KI)
                                      ||            TI 2 0 1 7 7 v - Fr a g a n g i li k vi dit et ( P K)
                                      ||            TI 2 0 1 7 8 v - Til g a n g i li k vi dit et ( P K)
                                      ||            TI 2 0 1 8 2 v - N ett o p å vir k ni n g i li k v i dit et pr. di s p o siti o n s d a g ( P K)
                                      ||
Æ N D RI N G A F                      *****         TI 2 0 1 2 7 v - R e nt efl yt ni n g ( KI)
PE N GEK O NT O                       ||            TI 2 0 1 7 7 v - Fr a g a n g i li k vi dit et ( P K)
F OR RE NTE                           ||            TI 2 0 1 7 8 v - Til g a n g i li k vi dit et ( P K)

                                                                                                                                    Si d e 2 1 6 af 4 5 0
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                                                  S Y S T E M V E J L E D NI N G



                                   ||      TI 2 0 1 8 2 v - N ett o p å vir k ni n g i li k v i dit et pr. di s p o siti o n s d a g ( P K)
                                   ||
Æ N D RI N G A F D E B E T-        *****   TI 2 0 1 0 7 v - Til g a n g i li k vi d it et p å d e b etr e nt e k o nt o ( P K)
RE NTE K O NT OI E N               ||      TI 2 0 1 6 8 v - Fr a g a n g i li k vi dit et p å d e b etr e nt e k o nt o ( P K)
K O NT O GR UPPE                   ||      TI 2 0 1 2 3 v - Æ n dri n g af k o nt o gr u p p eri n g ( U D)
                                   ||      TI 2 0 1 8 2 v - N ett o p å vir k ni n g i li k vi dit et pr. di sp o siti o n s d a g ( P K)
                                   ||      TI 2 0 1 3 6 v - P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( U D)
                                   ||
F L Y T NI N G A F H A N-          *****   TI 2 0 1 0 7 v - Til g a n g i li k vi d it et p å d e b etr e nt e k o nt o ( P K)
D ELS P R O D U KT F R A           ||      TI 2 0 1 6 8 v - Fr a g a n g i li k vi dit et p å d e b etr e nt e k o nt o ( P K)
E N K O NT O GR UPPE               ||      TI 2 0 1 2 3 v - Æ n dri n g af k o nt o gr u p p eri n g ( U D)
TI L E N A N D E N                 ||      TI 2 0 1 8 2 v - N ett o p å vir k ni n g i li k vi dit et pr. di s p o siti o n s d a g ( P K)
                                   ||      TI 2 0 1 3 6 v - P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( U D)
                                   ||
                                   -----   B E T A LI N G S F O R MI D LI N G S K Ø R S E L
                                   ||
                                   ||      TI 2 0 1 3 8 v - P o st eri n g s gr u n d l a g pr. V P- k o nt o ( P K)
                                   ||      TI 2 0 1 9 7 v - P o st eri n g s gr u n dl a g pr. d e b et k o nt o ( P K)
                                   ||      TI 2 0 1 9 8 v - P o st eri n g s gr u n dl a g pr. af k a st/ afr e g n. k o nt o ( P K)
                                   ||      TI 2 0 1 0 6 v - Af st e m ni n g s o pl y s ni n g er , p eri o di s k e b et ali n g er ( U D)
                                   ||      TI 2 0 1 3 9 v - R e nt e a d vi s - b et ali n g sf or mi dli n g ( KI)
                                   ||      TI 2 0 1 4 0 v - R e nt e a d vi s - a dr e s s e o pl y s ni n g er ( KI)
                                   ||
R E N T E F L Y T NI N G           *****   TI 2 0 1 2 7 v - R e nt efl yt ni n g ( KI) ( i n g e n i n d vir k ni n g i li k vi dit et)
                                   ||
Æ N D RI N G A F D E B E T-        *****   TI 2 0 1 2 3 v - Æ n dri n g i k o nt o gr u p p eri n g ( U D)
RE NTE K O NT OI E N               ||      (i n g e n i n d vir k ni n g i li k vi dit et)
K O NT O GR UPPE                   ||
                                   ||
                                   -----   F O R F A L D S D A G/ DI S P O SI TI O N S D A G
                                   ||
||                                         TI 2 0 1 0 8 v - O mr e g n e d e r e nt e b el ø b o g br utt o u d b y tt e til b a si s v al ut a ( P K,
                                           KI)
                                   ||
P E N G E K O NT R OL              *****   TI 2 0 0 3 4 v - B o gf øri n g s p o st er fr a e n af vi kli n g s k ør s el - k o pi ( B S)
                                   ||
K O R R E K TI O N A F             ||
O M R E G N E T R E N T E-         *****   TI 2 0 1 2 8 v - K orr e kti o n af r e nt e o g br utt o u d b ytt e ( KI, P K)
B EL Ø B                           ||

E k s e m p el 2: E x- k u p o n = 0.

A K TI VI T E T                            I NF OER DER D A N NES
                                   ||
                                   -----   D A G -8
                                   ||
                                   -----   D A N N E L S E A F LI K VI DI T E T S O V E R SI G T O G P R O V E N U
                                   ||
||                                         TI 2 0 1 3 5 v - D e n e n k elt e d elt a g er s f or v e nt e d e p e n g etr æ k pr. p e n g e k o nt o
                                           ( P K)
                                   ||       TI 2 0 1 3 4 v - D e n e n k elt e d elta g er s b er e g n e d e kr e dit eri n g er pr.
                                           p e n g e k o nt o ( P K)


                                                                                                                            Si d e 2 1 7 af 4 5 0
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                                             S Y S T E M V E J L E D NI N G



                              ||      TI 2 0 1 3 6 v - P e n g etr æ k pr. d e b et k o nt o i k o nt o gr u p p e ( U D)
                              ||      TI 2 0 1 8 2 v - N ett o p å vir k ni n g i li k vi dit et pr. di s p o siti o n s d a g ( P K)
                              ||      TI 2 0 1 0 5 v - Pr o v e n u o pl y s ni n g er ( KI)
                              ||      TI 2 0 1 3 7 v - T ot al b er e g n et r e nt e pr. h a n d el s pr o d u kt ( U D)
                              ||
                              ----    D A G -7
                              ||
                              ----    D A N N E L S E A F R E N T E A D VI S O G F O R E L Ø BI G
                              ||      B E T A LI N G S F O R MI D LI N G S K Ø R S E L
                              ||
                              ||      TI 2 0 1 3 9 v - R e nt e a d vi s - b et ali n g sf or mi dli n g ( KI)
                              ||      TI 2 0 1 4 0 v - R e nt e a d vi s - a dr e s s e o pl y s ni n g er ( KI)
                              ||      TI 2 0 1 3 8 v - P o st eri n g s gr u n d l a g pr. V P- k o nt o ( P K)
                              ||
E MI S SI O N O G             *****   TI 2 0 1 7 7 v - Fr a g a n g i li k vi dit et ( P K)
I N D F RI E L S E R          ||      TI 2 0 1 0 7 v - Til g a n g i li k vi dit et p å d e b etr e nt e k o nt o ( P K)
                              ||      TI 2 0 1 7 8 v - Til g a n g i li k vi dit et ( P K)
                              ||      TI 2 0 1 8 2 v - N ett o p å vir k ni n g i li k v i dit et pr. di s p o siti o n s d a g ( P K)
                              ||      TI 2 0 1 3 6 v - P e n g etr æ k pr. d e b et k o nt o i k o nt o gr u p p e ( U D)
                              ||      TI 2 0 1 6 8 v - Fr a g a n g li k vi dit et p å e n d e b etr e nt e k o nt o ( P K)
                              ||      TI 2 0 1 0 5 v - Pr o v e n u o pl y s ni n g er ( KI)
                              ||      TI 2 0 2 4 3 v - Æ n dri n g er til pr o v e n u o pl y s ni n g er ( KI)
                              ||      TI 2 0 2 4 5 v - Æ n dri n g er i t ot al b er e g n et r e nt e pr. h a n d el s pr o d u kt ( U D)
                              ||
H A N DL E R /                *****   TI 2 0 1 7 7 v - Fr a g a n g i li k vi dit et ( P K)
O V E RF Ø RSL E R O G        ||      TI 2 0 1 7 8 v - Til g a n g i li k vi dit et ( P K)
Æ N D RI N G E R A F          ||      TI 2 0 1 8 2 v - N ett o p å vir k ni n g i li k v i dit et pr. di s p o siti o n s d a g ( P K)
PE N GEK O NT O               ||      TI 2 0 1 0 5 v - Pr o v e n u o pl y s ni n g er ( KI)
F OR RE NTE                   ||      TI 2 0 2 4 3 v - Æ n dri n g er til pr o v e n u o pl y s ni n g er ( KI)
                              ||
                              -----   D A G - 6 til o g m e d D A G -1
                              ||
Æ N D RI N G A F D E B E T-   *****   TI 2 0 1 6 8 v - Fr a g a n g i li k vi dit et p å d e b etr e nt e k o nt o ( P K)
RE NTE K O NT OI E N          ||      TI 2 0 1 0 7 v - Til g a n g i li k vi d it et p å d e b etr e nt e k o nt o ( P K)
K O NT O GR UPPE              ||      TI 2 0 1 2 3 v - Æ n dri n g af k o nt o gr u p p eri n g ( U D)
                              ||      TI 2 0 1 8 2 v - N ett o p å vir k ni n g i li k vi dit et pr. di sp o siti o n s d a g ( P K)
                              ||      TI 2 0 1 3 6 v - P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( U D)
                              ||
F L Y T NI N G A F H A N-     *****   TI 2 0 1 6 8 v - Fr a g a n g i li k vi dit et p å d e b etr e nt e k o nt o ( P K)
D ELS P R O D U KT F R A      ||      TI 2 0 1 0 7 v - Til g a n g i li k vi d it et p å d e b etr e nt e k o nt o ( P K)
E N K O NT O GR UPPE          ||      TI 2 0 1 2 3 v - Æ n dri n g af k o nt o gr u p p eri n g ( U D)
TI L E N A N D E N            ||      TI 2 0 1 8 2 v - N ett o p å vir k ni n g i li k vi dit et pr. di sp o siti o n s d a g ( P K)
                              ||      TI 2 0 1 3 6 v - P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( U D)
                              ||      TI 2 0 1 3 9 v - R e nt e a d vi s - b et ali n g sf or mi dli n g ( KI)
                              ||      TI 2 0 1 4 0 v - R e nt e a d vi s - a dr e s s e o pl y s ni n g er ( KI)
                              ||      TI 2 0 1 3 8 v - P o st eri n g s gr u n d l a g pr. V P- k o nt o ( P K)
                              ||
E MI S SI O N O G             *****   TI 2 0 1 7 7 v - Fr a g a n g i li k vi dit et ( P K)
I N D F RI E L S E R          ||      TI 2 0 1 0 7 v - Til g a n g i li k vi dit et p å d e b etr e nt e k o nt o ( P K)
                              ||      TI 2 0 1 7 8 v - Til g a n g i li k vi dit et ( P K)
                              ||      TI 2 0 1 8 2 v - N ett o p å vir k ni n g i li k v i dit et pr. di s p o siti o n s d a g ( P K)
                              ||      TI 2 0 1 3 6 v - P e n g etr æ k pr. d e b et k o nt o i k o nt o gr u p p e ( U D)

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                                                          S Y S T E M V E J L E D NI N G



                                      ||           TI 2 0 1 6 8 v - Fr a g a n g li k vi dit et p å e n d e b etr e nt e k o nt o ( P K)
                                      ||           TI 2 0 1 0 5 v - Pr o v e n u o pl y s ni n g er ( KI)
                                      ||           TI 2 0 2 4 3 v - Æ n dri n g er til pr o v e n u o pl y s ni n g er ( KI)
                                      ||           TI 2 0 2 4 5 v - Æ n dri n g er i t ot al b er e g n et r e nt e pr. h a n d el s pr o d u kt ( U D)
                                      ||           TI 2 0 2 4 4 v - Æ n dri n g er til p o st eri n g s gr u n dl a g pr. V P- k o nt o ( P K)
                                      ||           TI 2 0 2 4 6 v - Æ n dri n g er i r e nt e a d vi s - b et ali n g sf or mi dli n g ( KI)
                                      ||
H A N DL E R /                        *****        TI 2 0 1 7 7 v - Fr a g a n g i li k vi dit et ( P K)
O V E RF Ø RSL E R O G                ||           TI 2 0 1 7 8 v - Til g a n g i li k vi dit et ( P K)
Æ N D RI N G A F                      ||           TI 2 0 1 8 2 v - N ett o p å vir k ni n g i li k v i dit et pr. di s p o siti o n s d a g ( P K)
PE N GEK O NT O                       ||           TI 2 0 1 0 5 v - Pr o v e n u o pl y s ni n g er ( KI)
F OR RE NTE                           ||           TI 2 0 2 4 3 v - Æ n dri n g er til pr o v e n u o pl y s ni n g er ( KI)
                                      ||           TI 2 0 2 4 4 v - Æ n dri n g er til p o st eri n g s gr u n dl a g pr. V P- k o nt o ( P K)
                                      ||           TI 2 0 2 4 6 v - Æ n dri n g er i r e nt e a d vi s - b et ali n g sf or mi dli n g ( KI)
                                      ||
                                      -----        D A G -1
                                      -----        B E T A LI N G S F O R MI D LI N G S K Ø R S E L
                                      ||
                                      ||           TI 2 0 1 9 7 v - P o st eri n g s gr u n dl a g pr. d e b et k o nt o ( P K)
                                      ||           TI 2 0 1 9 8 v - P o st eri n g s gr u n dl a g pr. af k a st/ afr e g n. k o nt o ( P K)
                                      ||           TI 2 0 1 0 6 v - Af st e m ni n g s o pl y s ni n g er , p eri o di s k e b et ali n g er ( U D)
                                      ||
                                      -----        D A G 0
                                      -----        F O R F A L D S D A G/ DI S P O SI TI O N S D A G
                                      ||
||                                                 TI 2 0 1 0 8 v - O mr e g n e d e r e nt e b el ø b o g br utt o u d b y tt e til b a si s v al ut a ( P K,
                                                   KI)
                                      ||
P E N G E K O NT R OL                 *****        TI 2 0 0 3 4 v - B o gf øri n g s p o st er fr a e n af vi kli n g s k ør s el - k o pi ( B S)
                                      ||
K O R R E K TI O N A F O M-           *****        TI 2 0 1 2 8 v - K orr e kti o n af r e nt e o g br utt o u d b ytt e ( KI, P K)
RE G NET RE NTE O G                   ||
BR UTT O U DBYTTE                     ||
                                      ||
R E N T E F L Y T NI N G              *****        TI 2 0 1 2 7 v - R e nt efl yt ni n g ( KI)
                                      ||            ( K u n m e d vir k ni n g f or S K A T)


R e nt e b er e g ni n g

F or m ål:
At b er e g n e r e nt e p å d e v ær di p a pir k o nti, d er h ar e n b e h ol d ni n g af et r e nt e gi v e n d e h a n d el s pr o d u kt.

B e h a n dli n g i V P:
R e nt e b er e g ni n g e n fi n d er st e d p å d e n d a g, r e nt e n fr a g år h o v e d st ol e n. E x- k u p o n d a g e n k a n v ær e et a nt al
d a g e f ør ell er s a m m e d a g s o m b et ali n g sf or mi dli n g e n . R e nt e b er e g ni n g e n bli v er f or et a g et p å b a g gr u n d af
f øl g e n d e o pl y s ni n g er:
      d e n r e nt e s at s, d er er a kti v p å ti d s p u n kt et, h v or r e nt e b er e g ni n g s k ør sl e n af vi kl e s.
      d e n kr y d s k ur s, d er er a kti v p å ti d s p u n kt et, h v or r e nt e b er e g ni n g s k ør sl e n af vi kl e s. B e n ytt e s, n år
      h a n d el s pr o d u kt et er r e nt e gi v e n d e i e n a n d e n v al ut a e n d u d st e d el s e s v al ut a e n.
      d e n sl ut b e h ol d ni n g, d er er p å v ær di p a pir k o nt o e n d a g e n f ør e x- k u p o n d a g e n.


                                                                                                                                  Si d e 2 1 9 af 4 5 0
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                                                             S Y S T E M V E J L E D NI N G



D e b er e g n e d e r e nt er r e gi str er e s s o m pr o v e n u p å v ær di p a pir k o nti e n e.




Pr o v e n u et k a n fl ytt e s fr a è n v ær di p a pir k o nt o til e n a n d e n. H vi s fl yt ni n g af pr o v e n u et s k al h a v e vir k ni n g f or
b et ali n g sf or mi dli n g e n, s k al d e n f or et a g e s, i n d e n n y f orr et ni n g s d a g st art er d a g e n f ør
b et ali n g sf or mi dli n g s d a g e n.

B e h a n dli n g h o s u d st e d er:
Af st e m m er d e b er e g n e d e r e nt er.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:
TI 2 0 1 0 5 v       Pr o v e n u o pl y s ni n g er ( KI)
TI 2 0 2 4 3 v       Æ n dri n g er til pr o v e n u o pl y s ni n g er ( KI)
TI 2 0 1 3 4 v       D e n e n k elt e d elt a g er s b er e g n e d e kr e dit eri n g er pr. p e n g e k o nt o pr. di s p o siti o n s d a g ( P K)
TI 2 0 1 3 5 v       D e n e n k elt e d elt a g er s f or v e nt e d e p e n g etr æ k pr . p e n g e k o nt o pr. di s p o siti o n s d a g ( P K)
TI 2 0 1 7 7 v       Fr a g a n g i li k vi dit et ( P K)
TI 2 0 1 7 8 v       Til g a n g i li k vi dit et ( P K)
TI 2 0 1 8 2 v       N ett o p å vir k ni n g i li k vi dit et pr. di s p o siti o n s d a g ( P K)
TI 2 0 1 3 6 v       P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( U D)
TI 2 0 1 3 7 v       T ot al b er e g n et r e nt e pr. h a n d el s pr o d u kt ( U D)
TI 2 0 2 4 5 v       Æ n dri n g er i t ot al b er e g n et r e nt e pr. h a n d el s pr o d u kt ( U D)


Li k vi dit et s st y ri n g

F or m ål:
At d a n n e d o k u m e nt ati o n til p e n g e k o nt of ør e n d e i n stit utt er til br u g f or b er e g ni n g af i k vi dit et s vir k ni n g e n af
r e nt e b er e g ni n g e n.

B e h a n dli n g i V P:
I nf o er til br u g f or li k vi dit et s st yri n g d a n n e s f ør st e g a n g 8 b a n k d a g e f ø r f orf al d s d a g e n ell er p å d e n d a g,
r e nt e- o pl y s ni n g er n e off e ntli g g ør e s. H vi s e x- k u p o n d a g e n er f ør, d a n n e s li k vi dit et p å d e n n e d at o.

B e m ær k
I nf o er til br u g f or li k vi dit et s st yri n g o m kri n g r e nt er af i sl a n d s k e o bli g ati o n er d a n n e s ti dli g st 4 b a n k d a g e f ør
f orf al d s d a g e n, ell er n år r e nt e o pl y s ni n g er n e m o dt a g e s fr a d e n i sl a n d s k e v ær di p a pir c e ntr al - V S.

I nf o er d a n n e s d er u d o v er i f øl g e n d e tilf æl d e:
1.         V e d k o nt of ør e n d e i n stit ut s æ n dri n g af PI _ K O N T O N R _ R E N T E i g a m m elt V P- s y st e m.
2.         V e d r e nt efl yt ni n g.



                                                                                                                                     Si d e 2 2 0 af 4 5 0
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                                                            S Y S T E M V E J L E D NI N G



3.          V e d u d st e d e n d e i n stit ut s æ n dri n g af p e n g e k o nt o ell er pr o c e ntf or d eli n g i e n k o nt o gr u p p eri n g.
      ( M å s e n e st f or et a g e s 2 b a n k d a g e f ør f orf al d s d a g e n, i m o d s at f al d s k al d et s k e i s a mr å d m e d
      p e n g e k o nt of ør er)
4.          V e d fl yt ni n g af h a n d el s pr o d u kt er fr a è n k o nt o gr u p p e til e n a n d e n. ( M å s e n e st f or et a g e s 2
      b a n k d a g e f ør f orf al d s d a g e n, i m o d s at f al d s k al d et s k e i s a mr å d m e d p e n g e k o nt of ør er)

D a n n e s d er i nf or m ati o n o m li k vi dit et f ør e x- k u p o n d a g e n, vil d er p å e x- k u p o n d a g e n bli v e k orri g er et f or
e v e nt u ell e k ø b o g s al g i d e n m ell e mli g g e n d e p eri o d e.

B e vir k er o v e n n æ v nt e tilf æl d e æ n dri n g er p å p e n g e k o nt of ør e n d e i n stit ut s m ell e mr e g ni n g s k o nt o, bli v er d er
d a n n et i nf or m ati o n o m n y st at u s p å m ell e mr e g ni n g s k o nt o e n.

B e h a n dli n g h o s p e n g e k o nt of ør e n d e i n stit ut:
F or at si kr e, at d e e n d eli g e fr a g a n g e ell er til g a n g e af p e n g e er k e n dt, er d et n ø d v e n di gt at aj o urf ør e
li k vi dit et s b er e g ni n g e n i t a kt m e d m o dt a g el s e n af i nf o er.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:
TI 2 0 1 0 7 v       Til g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( P K)
TI 2 0 1 3 4 v       D e n e n k elt e d elt a g er s b er e g n e d e kr e dit eri n g er pr. p e n g e k o nt o pr. di s p o siti o n s d a g ( P K)
TI 2 0 1 3 5 v       D e n e n k elt e d elt a g er s f or v e nt e d e p e n g etr æ k pr . p e n g e k o nt o pr. di s p o siti o n s d a g ( P K)
TI 2 0 1 3 6 v       P e n g etr æ k pr. d e b et k o nt o i e n k o nt o gr u p p e ( U D)
TI 2 0 1 6 8 v       Fr a g a n g i li k vi dit et p å e n d e b etr e nt e k o nt o ( P K)
TI 2 0 1 7 7 v       Fr a g a n g i li k vi dit et ( P K)
TI 2 0 1 7 8 v       Til g a n g i li k vi dit et ( P K)
TI 2 0 1 8 2 v       N ett o p å vir k ni n g i li k vi dit et pr. di s p o siti o n s d a g ( P K)


B et ali n g sf or mi dli n g

F or m ål:
At f or mi dl e b et ali n g m ell e m e n d elt a g er o g d e n eft er r e gi st er et b er etti g e d e.

B e h a n dli n g i V P:
H vi s e x- k u p o n = 0, d a n n e s f or el ø bi g b et ali n g s f or mi dli n g 7 b a n k d a g e f ør e n d eli g b et ali n g sf or mi dli n g.
Æ n dri n g er m e d d el e s i n dtil d a g e n f ø r e n d eli g b et ali n g sf or mi dli n g.

D et e n d eli g e b et ali n g sf or mi dli n g s gr u n d l a g til p e n g e k o nt of ør e n d e i n stit ut d a n n e s p å b a g gr u n d af d e
r e gi str er e d e pr o v e n u er p å af vi kli n gs d ø g n et s st art d a g e n f ør b et ali n g sf or mi dli n g s d a g e n s a mt d e n
k o nt o gr u p p eri n g, d er er r e gi str er et til h a n d el s pr o d u kt et.




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E x- k u p o n f or s k elli g f r a 0:




E x- k u p o n = 0:




P å di s p o siti o n s d a g e n f or et a g e s d er p e n g e k o ntr ol af p eri o di s k e b et ali n g er. I p e n g e k o ntr oll e n s k er d er
f æll e s d æ k ni n g s k o ntr ol af s a mtli g e p eri o di s k e b et ali n g er (r e nt e, u dtr u k n e a n d el e, u d b ytt e o g a d h o c).

Pr o v e n u i D K K b e h a n dl e s i bl o k 3 5. Bl o k 3 5 h å n dt er er r e nt er o g all e t y p er pr o v e n u er af ø vri g e
f o n d s a kti v er. Pr o v e n u i E U R b e h a n dl e s i bl o k 4 5, pr o v e n u i I S K b e h a n dl e s i bl o k 6 5 o g pr o v e n u i S E K
b e h a n dl e s i bl o k 5 5.
I p e n g e k o ntr oll e n k o ntr oll er e s d et,
       at d e s a ml e d e b et ali n g er ( n ett o) p å d e n a n gi v n e p e n g e k o nt o i D a n m ar k s N ati o n al b a n k ell er i D e n
       E ur o p æi s k e C e ntr al b a n k ( E U R) i k k e o v er sti g er d et t r æ k ni n g s m a k si m u m, d er er still et til r å di g h e d f or
       p eri o di s k e b et ali n g er.
       at h vi s pri m ær b et ali n g s still er tilli g e h ar still et et tr æ k ni n g s m a k si m u m til r å di g h e d f or et u d st e d e n d e
       i n stit ut k o ntr oll er e s, at pri m ær b et ali n g s still er s e g n e b et ali n g er ( n etto) o g u d st e d er e n s b et ali n g er
       ( n ett o) i k k e o v er sti g er d et s a ml e d e tr æ k ni n g s m a k si m u m, d er er still et til r å di g h e d p å d e n a n gi v n e
       p e n g e k o nt o i D a n m ar k s N ati o n al b a n k ell er i D e n E ur o p æi s k e C e ntr al b a n k ( E U R).

B et ali n g er n e bli v er g e n n e mf ørt, h vi s d er er d æ k ni n g f or s a mtli g e b et ali n g er.



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S åfr e mt d er i k k e er d æ k ni n g, k a n b et ali n g e n i k k e g e n n e mf ør e s, o g b er e d s k a b s pl a n f or til b a g e k al d el s e af
r e nt e t a g e s i br u g, s e af s nit 1 2. 8 B er e d s k a b s pl a n f or til b a g e k al d el s e af r e nt e.

B e h a n dli n g h o s pri m ær b et ali n g s still er:
F or at e n r e nt e b et ali n g i D K K k a n g e n n e mf ør e s, s k al pri m ær b et ali n g s still er s e n e st p å di s p o siti o n s d a g e n
kl. 9. 0 0 h a v e still et et p eri o di s k s p e cifi kt tr æ k ni n g s m a k si m u m i D K K til r å di g h e d f or d et u d st e d e n d e
i n stit ut s v ar e n d e til d e p eri o di s k e b et ali n g er i D K K.

F or at e n r e nt e b et ali n g i E U R k a n g e n n e mf ør e s, s k al pri m ær b et ali n g s still er s e n e st p å di s p o siti o n s d a g e n
kl. 1 1. 3 5 h a v e still et et p eri o di s k s p e cifi kt tr æ k ni n g s m a k si m u m i E U R ti l r å di g h e d f or d et u d st e d e n d e
i n stit ut s v ar e n d e til d e p eri o di s k e b et ali n g er i E U R.

F or at e n r e nt e b et ali n g i I S K k a n g e n n e mf ør e s, s k al pr i m ær b et ali n g s still er s e n e st p å di s p o siti o n s d a g e n kl.
1 2. 1 5 h a v e still et et p eri o di s k s p e cif i kt tr æ k ni n g s m a k si m u m i I S K til rå di g h e d f or d et u d st e d e n d e i n stit ut
s v ar e n d e til d e p eri o di s k e b et ali n g er i I S K.

F or at e n r e nt e b et ali n g i S E K k a n g e n n e mf ør e s, s k al pri m ær b et ali n g s still er s e n e st p å di s p o siti o n s d a g e n
kl. 1 3. 4 5 h a v e still et et p eri o di s k s p e cifi kt tr æ k ni n g s m a k si m u m i S E K til r å di g h e d f or d et u d st e d e n d e
i n stit ut s v ar e n d e til d e p eri o di s k e b et ali n g er i S E K.

D e s a ml e d e b et ali n g er p o st er e s p å b er etti g e d e p e n g e k o nt of ør er s af k a st/ afr e g ni n g s k o nti. Pri m ær
b et ali n g s still er k a n y d erli g er e m o dt a g e b et ali n g er p å v e g n e af p e n g e k o nt of ør er.

Pr o v e n u et p o st er e s p å d e b er etti g e d e s p e n g e k o nti u d fr a b o gf øri n g s gr u n dl a g et fr a
b et ali n g sf or mi dli n g e n.

B e h a n dli n g i N ati o n al b a n k e n:
Pri m ær b et ali n g s still er, s o m s k al h a v e tr u k k et r e nt e b el ø b p å v e g n e af e n u d st e d er, s k al h a v e et
tr æ k ni n g s m a k si m u m i D a n m ar k s N ati o n al b a n k ell er i D e n E ur o p æi s k e C e ntr al b a n k ( E U R).

U d d at a:
V e d b et ali n g sf or mi dli n g e n d a n n e s f øl g e n d e i nf o- m e d d el el s er:
TI 2 0 1 3 8 v      P o st eri n g s gr u n dl a g pr. V P- k o nt o ( P K)
TI 2 0 2 4 4 v      Æ n dri n g er til p o st eri n g s gr u n dl a g pr. V P- k o nt o ( P K)
TI 2 0 1 9 7 v      P o st eri n g s gr u n dl a g pr. d e b et k o nt o ( P K)
TI 2 0 1 9 8 v      P o st eri n g s gr u n dl a g pr. af k a st/ afr e g ni n g s k o nt o ( P K)
TI 2 0 1 0 6 v      Af st e m ni n g s o pl., p eri o di s k e b et ali n g er ( U D)
TI 2 0 1 3 9 v      R e nt e a d vi s - b et ali n g o pl y s ni n g er ( KI)
TI 2 0 1 4 0 v      R e nt e a d vi s - a dr e s s e o pl y s ni n g er ( KI)
TI 2 0 2 4 6 v      Æ n dri n g er til r e nt e a d vi s - b et ali n g s o pl y s ni n g er( KI)

Eft er p e n g e k o ntr oll e n d a n n e s f øl g e n d e i nf o- m e d d el el s er:
TI 2 0 0 3 4 v      B o gf øri n g s p o st er fr a e n af vi kli n g s k ør s el - k o pi ( B S)


P å mi n d el s e o m æ n dri n g af v ari a b el r e nt e s at s

F or m ål:
At mi n d e d et u d st e d e n d e i n stit ut o m, at d et er ti d ti l at k o ntr oll er e o g e v e nt u elt i n dt a st e e n v ari a b el
r e nt e s at s.




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B e h a n dli n g i V P:
U d e n af vi g e n d e r e nt e b e h a n dli n g :
N år d er er 1 5 d a g e til st art e n af n æ st e r e nt e p eri o d e, u d s e n d e s i nf o TI 2 0 1 1 1 v. H vi s r e nt e s at s e n i k k e
æ n dr e s, b e n ytt e s d e n r e gi str er e d e r e nt e s at s f or h a n d el s pr o d u kt et f or e n d n u e n r e nt e p eri o d e.
M e d af vi g e n d e r e nt e b e h a n dli n g:
6 d a g e f ør r e nt ef orf al d u d s e n d e s i nf o TI 2 0 6 1 9 v. D e n m a n gl e n d e r e nt e s at s s k al r a p p ort er e s s å h urti gt s o m
m uli gt.

B e h a n dli n g h o s c e nt r al d elt a g er:
V e d v ari a b el r e nt e u d e n af vi g e n d e r e nt e b e h a n dli n g s k al d et u d st e d e n d e i n stit ut f a st s ætt e r e nt e s at s e n,
d er er g æl d e n d e f or d e n n æ st e r e nt e p eri o d e. E v e n t u el æ n dri n g s k al r e gi str er e s s e n e st d a g e n f ør
r e nt e p eri o d e n s st art.

V e d v ari a b el r e nt e m e d af vi g e n d e r e nt e b e h a n dli n g s k al u d st e d e n d e i n stit ut f a st s ætt e r e nt e s at s e n, d er er
g æl d e n d e f or d e n i g a n g v ær e n d e r e nt e p eri o d e. R e nt e s at s e n s k al r a p p ort er e s s e n e st 3 d a g e f ør f orf al d.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s e:
TI 2 0 1 1 1 v       P å mi n d el s e o m v ari a b el r e nt e - u d e n af vi g e n d e r e nt e b e h a n dli n g ( U D)
TI 2 0 6 1 9 v       P å mi n d el s e o m v ari a b el r e nt e - m e d af vi g e n d e r e nt e b e h a n dli n g ( U D)


P å mi n d el s e o m æ n dri n g af v ari a b el kr y d s k ur s

F or m ål:
At mi n d e d et u d st e d e n d e i n stit ut o m, at d et er ti d til e n e v e nt u el æ n dri n g af e n v ari a b el kr y d s k ur s.

B e h a n dli n g i V P:
N år d er er 1 5 d a g e til st art e n af n æ st e r e nt e p eri o d e, u d s e n d e s e n p å mi n d el s e til d et u d st e d e n d e i n stit ut
o m, at d et er ti d f or e v e nt u el i n dr a p p ort eri n g af e n n y kr y d s k ur s.

I n dr a p p ort er e s d er i k k e e n n y kr y d s k ur s, b e n ytte s d e n a kt u ell e kr y d s k ur s f or e n d n u e n r e nt e p eri o d e.

B e h a n dli n g h o s c e nt r al d elt a g er:
D et u d st e d e n d e i n stit ut s k al f a st s ætt e d e n n y e v ari a bl e kr y d s k ur s, d er er g æl d e n d e f or d e n/ d e n æ st e
r e nt e p eri o d er. E v e nt u el æ n dri n g s k al r e gi str er e s s e n e st d a ge n f ør r e nt e p eri o d e n s st art.

U d d at a:
D er d a n n e s f øl g e n d e i nf o- m e d d el el s er:
TI 2 0 1 7 3 v           P å mi n d el s e o m v ari a b el kr y d s k ur s ( U D)




Æ n dri n g af PI- k o nt o n u m m er r e nt e

V e d æ n dri n g af e n V P- k o nt o' s PI- k o nt o n u m m er til kr e dit eri n g af r e nt e s k al d et k o nt of ør e n d e i n stit ut v ær e
o p m ær k s o m p å, at æ n dri n g e n k u n k a n s k e fr a e x- k u p o n d a g e n o g i n dtil d a n n el s e af
b et ali n g sf or mi dli n g s gr u n dl a g et. R e nt e n vil v e d f orf al d bli v e o v erf ørt til d et n y e PI- k o nt o n u m m er.

Æ n dr e s PI- k o nt o n u m m er r e nt e i p eri o d e n m ell e m d a n n el s e af b et ali n g sf or mi dli n g s g r u n dl a g et o g f orf al d,
f år d et i n g e n i n d vir k ni n g f or b et ali n g sf or mi dli n g af r e nt er n e. D et k o nt of ør e n d e i n stit ut m å h er eft er s el v
f or et a g e d e f or n ø d n e o m p o st eri n g er.



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B e h a n dli n g h o s KI:
K o nt of ør e n d e i n stit ut i n dr a p p ort er er æ n dri n g af PI- k o nt o n u m m er r e nt e.

B e h a n dli n g i V P:
Æ n dri n g af PI- k o nt o n u m m er til kr e dit eri n g af r e nt e m e df ør er a ut o m ati s k e n fl yt ni n g af r e nt er n e til d et n y e
PI- k o nt o n u m m er f or r e nt e.


B er e d s k a b s pl a n f or til b a g e k al d el s e af r e nt e

Til br u g f or d e n sit u ati o n, h v or e n u d st e d er - d a n s k s o m u d e nl a n d s k - i k k e vil ell er k a n o pf yl d e si n
f or pli gti g el s e o v er f or i n v e st orer n e, er d er u d ar b ej d et e n b er e d s k a b s pl a n til h å n dt eri n g af n ø dli d e n d e
b et ali n g er/ til b a g e k al d el s e af r e nt e, jf. pr o c e d ur e 1 til 7 i n ær v ær e n d e af s nit.

Pr o c e d ur e 1 - 5 t a g er h øj d e f or d e sit u ati o n er, h v or u d st e d er e n i k k e k a n still e d e n f or n ø d n e b et ali n g. D a
d et gr u n dl æ g g e n d e er i n v e st or, d er b ær er ri si k o e n f or e n u d st e d er s m a n gl e n d e b et ali n g, i n d e b ær er
pr o c e d ur e 1 - 5, at h v er k e n i n v e st or s p e n g ei n stit ut, u d st e d er s p e n g ei n stit ut ell er V P u d s ætt e s f or e n
ø k o n o mi s k ri si k o v e d e n u d st e d er s m a n gl e n d e e v n e ell er vilj e til at b et al e.

Pr o c e d ur e 6 o g 7 o m h a n dl er d e sit u ati o n er, h v or d et er d e n pri m ær e b et ali n g s still er, d er i k k e k a n ell er vil
still e d æ k ni n g f or e n r e nt e b et ali n g. I di s s e sit u ati o n e r vil V P i s a m ar b ej d e m e d u d st e d e n d e i n stit ut pl a c er e
d e bit eri n g e n af r e nt e b et ali n g e n h o s ø v ri g e pri m ær e b et ali n g s still ere, d er vil still e d æ k ni n g f or
r e nt e b et ali n g e n, s ål e d e s at d e n n e i k k e bli v er n ø dli d e n d e.

P å h vil k et ti d s p u n kt d e e n k elt e pr o c e d ur er s k al a n v e n d e s, fr e m g år af n e d e n st å e n d e t e g ni n g:




B et ali n g e n er ui g e n k al d eli g n år p e n g e k o ntr oll e n er k ø rt. I n dtil d ett e ti d s p u n kt er b et ali n g e n m e d
f or b e h ol d.

F ør st e g a n g d er er e n n ø dli d e n d e b et ali n g / t il b a g e k al d el s e af e n r e nt e b et ali n g i et h a n d el s pr o d u kt,
a d vi s er er V P a lti d d e b er ørt e k o nt o- o g r etti g h e d s h a v er e s a mt d elt a g er n e i V P- s y st e m et.


1. Pr o c e d ur e f or n ø dli d e n d e r e nt e b et ali n g f ør d a n n el s e af li k vi dit et o g f ør e x- k u p o n d a g
H v a d s k er h v or n år:

P å ti d s p u n k t et h v or d e n n ø dli d e n d e b et ali n g k o n st at er e s
F ør st e g a n g d er er e n n ø dli d e n d e b et ali n g/til b a g e k al d el s e af e n r e nt e i et h a n d el s pr o d u kt, a d vi s er er V P
k o nt o h a v er e o g e vt. r etti g h e d s h a v er e m e d d et s a m m e.

V e d eft erf øl g e n d e n ø dli d e n d e b et ali n g er i s a m m e h a n d el s pr o d u kt f or et a g e s i n g e n a d vi s eri n g.


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